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 2680 John F. Kennedy Blvd
 2680 Kennedy Ventures LLC

 Portal v. Levine
 Civil Action No. 19-cv-19611 (MCA) (LDW)
 January 2021


 PREPARED BY:
 Samantha Davis
 704-805-4014
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   Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
   scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
   for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
   particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
   International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
   deferred maintenance and abandonment of their other management responsibilities for these
   properties resulted in profound and immediate issues for which this appointment was necessary. Due to
   an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
   provide critical operating information or to otherwise assist with the Receiver’s assumption of the
   management responsibilities necessary to stabilize these assets at the time of its appointment. This
   Inventory and Report is provided pursuant to the Court’s Order.
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2680 John F. Kennedy Blvd (1710-nj)                                                           Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                      Current Balance
       1000-0000          ASSETS



       1005-0000          CASH & EQUIVALENTS
       1020-0000            Cash-Operating                                                 63,456.75


       1099-9999          TOTAL CASH & EQUIVALENTS                                         63,456.75


       1999-9999          TOTAL ASSETS                                                     63,456.75



       2000-0000          LIABILITY AND EQUITY



       3000-0000          EQUITY
       3100-0300            Funding from Loan Servicer                                      6,524.26
       3800-0000            Current Year Earnings                                          13,644.73
       3811-0000            Prior Year Retained Earnings                                   43,287.76


       3900-9999          TOTAL EQUITY                                                     63,456.75


       3999-9999          TOTAL LIABILITY & EQUITY                                         63,456.75




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Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                                  Period to Date       %    Year to Date                     %
 4001-0000    REVENUE



 4005-0000    RENT
 4006-0000      Prepaid Income                           825.00      4.78        825.00                   4.78
 4110-0000      Rent                                  14,245.75     82.58     14,245.75                  82.58
 4117-0000      Subsidized Rent                        2,181.00     12.64      2,181.00                  12.64


 4299-4999    TOTAL RENT                              17,251.75    100.00     17,251.75                 100.00


 4998-9999    TOTAL REVENUE                           17,251.75    100.00     17,251.75                 100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5250-0000    ENGINEERING
 5255-0000      Engineering Compensation                 808.11      4.68        808.11                   4.68


 5299-9999    TOTAL ENGINEERING                          808.11      4.68        808.11                   4.68



 5450-0000    ELEVATOR/ESCALATOR
 5461-0000      Elevator/Esc Repairs and Maint           186.59      1.08        186.59                   1.08


 5499-9999    TOTAL ELEVATOR/ESCALATOR                   186.59      1.08        186.59                   1.08



 5800-0000    MANAGEMENT/ADMIN
 5805-0000      Management Fees                        2,375.00     13.77      2,375.00                  13.77
 5810-0000      Management Compensation                  148.80      0.86        148.80                   0.86
 5845-0000      Telephone                                 22.92      0.13         22.92                   0.13
 5895-0000      Miscellaneous Operating Expense           65.60      0.38         65.60                   0.38


 5899-9999    TOTAL MANAGEMENT/ADMIN                   2,612.32     15.14      2,612.32                  15.14


 5950-9999    TOTAL RECOVERABLE EXPENSES               3,607.02     20.91      3,607.02                  20.91


 6998-9999    TOTAL OPERATING EXPENSES                 3,607.02     20.91      3,607.02                  20.91


 6999-9999    NET OPERATING INCOME                    13,644.73     79.09     13,644.73                  79.09


 9496-9999    NET INCOME                              13,644.73     79.09     13,644.73                  79.09




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                                                                                                                                                                                                   2/9/2021 1:42 PM
                                                                                2680 John F. Kennedy Blvd (1710-nj)

                                                                                     Receipt Register
                                                                                       For Period = Jan 2021
 Control    Batch   Period    Date                              Person                 Property                 Cash Acct            Account           Recovery   Amount     Reference         Check #   Notes
R-1228010   467187 01/2021 1/4/2021    Jorge Franco(fran1710)            2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                        1,050.00               0073819168


R-1228011   467187 01/2021 1/4/2021    Faida Joseph(jose1710)            2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                        1,008.39               0072337138


R-1231150   468436 01/2021 1/8/2021    Steven Ha(hast1710)               2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                        1,037.00               123


R-1231151   468436 01/2021 1/8/2021    George Harrison(harr1710)         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          948.00               128


R-1231152   468436 01/2021 1/8/2021    Alberta Medina(albe1710)          2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          118.00               27116944672


R-1232823   468995 01/2021 1/12/2021   Christopher Graham(grah1710)      2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          922.00               149


R-1235229   469935 01/2021 1/20/2021   Kim Grooms(groo1710)              2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          942.00               19-213547274


R-1235231   469935 01/2021 1/20/2021   Pedro Rodriguez(pedr1710)         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          825.00               R108395499223


R-1235406   470111 01/2021 1/1/2021    Edily Reyes(edil1710)             2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          980.00
                                                                         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                         -980.00


R-1235690   470198 01/2021 1/21/2021   Juan Rojas(juan1710)              2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                        1,038.36               9943


R-1235691   470198 01/2021 1/21/2021   Victor Clark(clar1710)            2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          956.00               1154


R-1235692   470198 01/2021 1/21/2021   Luis Clara(cla-1710)              2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          967.00               4171


R-1237279   470966 01/2021 1/27/2021   Eddy Joseph(eddy1710)             2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                        1,000.00               283
                                                                         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                        1,000.00               283


R-1237286   470966 01/2021 1/27/2021   Pedro Rodriguez(pedr1710)         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          325.00               47-047001543
                                                                         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          300.00               47-047001543
                                                                         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                         -300.00               47-047001543


R-1237288   470966 01/2021 1/27/2021   Pedro Rodriguez(pedr1710)         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          325.00               47-047001544


R-1237290   470966 01/2021 1/27/2021   Pedro Rodriguez(pedr1710)         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          150.00               47-047001540
                                                                         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          175.00               47-047001540


R-1237291   470966 01/2021 1/27/2021   Pedro Rodriguez(pedr1710)         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          500.00               47-047001542


R-1237293   470966 01/2021 1/27/2021   Pedro Rodriguez(pedr1710)         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                          175.00               47-047001539
                                                                         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4006-0000 Prepaid Income                325.00               47-047001539


R-1237294   470966 01/2021 1/27/2021   Pedro Rodriguez(pedr1710)         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4006-0000 Prepaid Income                500.00               47-047001541

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                                                                                                                                                                                                                    2/9/2021 1:42 PM
                                                                                             2680 John F. Kennedy Blvd (1710-nj)

                                                                                                  Receipt Register
                                                                                                    For Period = Jan 2021
 Control    Batch   Period    Date                              Person                              Property                 Cash Acct            Account            Recovery     Amount      Reference         Check #   Notes


R-1237296   470966 01/2021 1/27/2021   Anthony Campbell & Linda Valentine(camp1710)   2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                             284.00                19-205131215


R-1237298   470966 01/2021 1/27/2021   Anthony Campbell & Linda Valentine(camp1710)   2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4110-0000 Rent                             500.00                19-205131257


R-1243527   473317 01/2021 1/5/2021    Maksood A Shaikh(maks1710)                     2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4117-0000 Subsidized Rent                  633.00                ACH


R-1243528   473317 01/2021 1/5/2021    Charles Hall(hall1710)                         2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4117-0000 Subsidized Rent                  716.00                ACH


R-1243530   473317 01/2021 1/5/2021    Alberta Medina(albe1710)                       2680 John F. Kennedy Blvd(1710-nj)    1020-0000    4117-0000 Subsidized Rent                  832.00                ACH
                                                                                                                                                                          Total   17,251.75




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                                                                                                                                                                                                                                                           2/9/2021 1:41 PM

                                                                                                                   2680 John F. Kennedy Blvd (1710-nj)

                                                                                                                         Check Register
                                                                                                                         For Period = Jan 2021
 Control    Batch   Period     Date                         Person                                Property                                   Account                  Recovery     Amount     Reference                                  Notes
K-1381606 278388 01/2021 1/11/2021 COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    2680 John F. Kennedy Blvd(1710-nj)    5810-0000 Management Compensation                         148.80 251


K-1381607 278388 01/2021 1/11/2021 Liberty Elevator Corp. (libe63)                  2680 John F. Kennedy Blvd(1710-nj)    5461-0000 Elevator/Esc Repairs and Maint                  186.59 252            ELEVATOR MAINTENANCE BILLING FOR 2680 JFK BLVD JERSEY CITY


K-1381608 278388 01/2021 1/11/2021 Verizon Wireless (veri408)                       2680 John F. Kennedy Blvd(1710-nj)    5845-0000 Telephone                                        22.92 253            12/13/20-01/12/21 - CELL PHONE SVC


K-1384877 279222 01/2021 1/19/2021 EMCOR Services Fluidics (emco9815)               2680 John F. Kennedy Blvd(1710-nj)    5255-0000 Engineering Compensation                        808.11 1192021        12/2020 - Engineering Comp - 2680 JFK


K-1389161 280218 01/2021 1/28/2021 COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)   2680 John F. Kennedy Blvd(1710-nj)    5805-0000 Management Fees                                2,375.00 254           01.21 Management Fee


K-1389162 280218 01/2021 1/28/2021 COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    2680 John F. Kennedy Blvd(1710-nj)    5895-0000 Miscellaneous Operating Expense                  65.60 255
                                                                                                                                                                           Total   3,607.02




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Aging Detail
DB Caption: USA LIVE 7s Property: 1710-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current    0-30    31-60   61-90       Over       Pre-               Total
                                                                     Code                                          Owed     Owed     Owed    Owed    90 Owed    payments              Owed
2680 John F. Kennedy Blvd (1710-nj)
Alberta Medina (albe1710)
1710-nj               Alberta Medina           Current   C-         subsidre     01/01/2020   05/2020             835.00      0.00    0.00    0.00    835.00        0.00             835.00
                                                         2289225
1710-nj                  Alberta Medina        Current   C-         subsidre     02/01/2020   05/2020             835.00      0.00    0.00    0.00    835.00        0.00             835.00
                                                         2289226
1710-nj                  Alberta Medina        Current   C-         subsidre     03/01/2020   05/2020             835.00      0.00    0.00    0.00    835.00        0.00             835.00
                                                         2289227
1710-nj                  Alberta Medina        Current   C-         subsidre     10/01/2019   10/2020             835.00      0.00    0.00    0.00    835.00        0.00             835.00
                                                         2402793
1710-nj                  Alberta Medina        Current   C-         subsidre     11/01/2019   10/2020             835.00      0.00    0.00    0.00    835.00        0.00             835.00
                                                         2402795
1710-nj                  Alberta Medina        Current   C-         subsidre     12/01/2019   10/2020             835.00      0.00    0.00    0.00    835.00        0.00             835.00
                                                         2402796
                         Alberta Medina                                                                          5,010.00     0.00    0.00    0.00   5,010.00       0.00           5,010.00


Cindy Duarte (duar1710)
1710-nj               Cindy Duarte             Current   C-         rent         10/01/2019   04/2020             800.00      0.00    0.00    0.00    800.00        0.00             800.00
                                                         2241916
1710-nj                  Cindy Duarte          Current   C-         rent         11/01/2019   04/2020             800.00      0.00    0.00    0.00    800.00        0.00             800.00
                                                         2241917
1710-nj                  Cindy Duarte          Current   C-         rent         04/01/2020   04/2020             750.00      0.00    0.00    0.00    750.00        0.00             750.00
                                                         2241922
1710-nj                  Cindy Duarte          Current   C-         rent         11/01/2020   11/2020             800.00      0.00    0.00    0.00    800.00        0.00             800.00
                                                         2395719
1710-nj                  Cindy Duarte          Current   C-         rent         01/01/2021   01/2021             800.00    800.00    0.00    0.00       0.00       0.00             800.00
                                                         2446810
                         Cindy Duarte                                                                            3,950.00   800.00    0.00    0.00   3,150.00       0.00           3,950.00


Eddy Joseph (eddy1710)
1710-nj             Eddy Joseph                Current   C-         rent         11/01/2019   04/2020            1,000.00     0.00    0.00    0.00   1,000.00       0.00           1,000.00
                                                         2241875
1710-nj                  Eddy Joseph           Current   C-         rent         12/01/2019   04/2020              70.00      0.00    0.00    0.00     70.00        0.00              70.00
                                                         2241876
1710-nj                  Eddy Joseph           Current   C-         rent         01/01/2020   04/2020            1,000.00     0.00    0.00    0.00   1,000.00       0.00           1,000.00
                                                         2241877
1710-nj                  Eddy Joseph           Current   C-         rent         04/01/2020   04/2020            1,000.00     0.00    0.00    0.00   1,000.00       0.00           1,000.00
                                                         2241880
1710-nj                  Eddy Joseph           Current   C-         rent         06/01/2020   06/2020            1,000.00     0.00    0.00    0.00   1,000.00       0.00           1,000.00
                                                         2259432
1710-nj                  Eddy Joseph           Current   C-         rent         08/01/2020   08/2020            1,000.00     0.00    0.00    0.00   1,000.00       0.00           1,000.00
                                                         2323462
1710-nj                  Eddy Joseph           Current   C-         rent         10/01/2020   10/2020            1,000.00     0.00    0.00    0.00   1,000.00       0.00           1,000.00
                                                         2363917
                         Eddy Joseph                                                                             6,070.00     0.00    0.00    0.00   6,070.00       0.00           6,070.00


Edily Reyes (edil1710)


                                                                                                                                                                  Tuesday, February 09, 2021
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Aging Detail
DB Caption: USA LIVE 7s Property: 1710-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current    0-30    31-60   61-90        Over        Pre-               Total
                                                                     Code                                           Owed     Owed     Owed    Owed     90 Owed     payments              Owed
1710-nj              Edily Reyes               Past      C-         rent         11/01/2019   04/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2241826
1710-nj              Edily Reyes               Past      C-         rent         12/01/2019   04/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2241827
1710-nj              Edily Reyes               Past      C-         rent         01/01/2020   04/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2241828
1710-nj              Edily Reyes               Past      C-         rent         02/01/2020   04/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2241829
1710-nj              Edily Reyes               Past      C-         rent         03/01/2020   04/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2241830
1710-nj              Edily Reyes               Past      C-         rent         04/01/2020   04/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2241831
1710-nj              Edily Reyes               Past      C-         rent         05/01/2020   05/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2241796
1710-nj              Edily Reyes               Past      C-         rent         06/01/2020   06/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2259422
1710-nj              Edily Reyes               Past      C-         rent         07/01/2020   07/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2287203
1710-nj              Edily Reyes               Past      C-         rent         08/01/2020   08/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2323452
1710-nj              Edily Reyes               Past      C-         rent         09/01/2020   09/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2338699
1710-nj              Edily Reyes               Past      C-         rent         10/01/2020   10/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2363907
1710-nj              Edily Reyes               Past      C-         rent         11/01/2020   11/2020              980.00      0.00    0.00     0.00     980.00        0.00             980.00
                                                         2395706
1710-nj              Edily Reyes               Past      C-         rent         12/01/2020   12/2020              980.00      0.00    0.00   980.00        0.00       0.00             980.00
                                                         2416533
                     Edily Reyes                                                                                 13,720.00     0.00    0.00   980.00   12,740.00       0.00          13,720.00


Jorge Franco (fran1710)
1710-nj               Jorge Franco             Current   C-         rent         05/01/2020   05/2020             1,050.00     0.00    0.00     0.00    1,050.00       0.00           1,050.00
                                                         2241793
1710-nj              Jorge Franco              Current   C-         rent         06/01/2020   06/2020             1,050.00     0.00    0.00     0.00    1,050.00       0.00           1,050.00
                                                         2259419
                     Jorge Franco                                                                                 2,100.00     0.00    0.00     0.00    2,100.00       0.00           2,100.00


Maksood A Shaikh (maks1710)
1710-nj             Maksood A Shaikh           Current   C-         subsidre     10/01/2019   10/2020              397.00      0.00    0.00     0.00     397.00        0.00             397.00
                                                         2403053
1710-nj              Maksood A Shaikh          Current   C-         rent         12/01/2020   12/2020              348.00      0.00    0.00   348.00        0.00       0.00             348.00
                                                         2416531
1710-nj              Maksood A Shaikh          Current   C-         rent         01/01/2021   01/2021              382.00    382.00    0.00     0.00        0.00       0.00             382.00
                                                         2446795
                     Maksood A Shaikh                                                                             1,127.00   382.00    0.00   348.00     397.00        0.00           1,127.00


Pedro Rodriguez (pedr1710)


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Aging Detail
DB Caption: USA LIVE 7s Property: 1710-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over        Pre-               Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed     payments              Owed
1710-nj               Pedro Rodriguez           Current   R-        Prepay       01/27/2021   01/2021                 0.00       0.00    0.00       0.00        0.00    -325.00            -325.00
                                                          1237293
1710-nj               Pedro Rodriguez           Current   R-        Prepay       01/27/2021   01/2021                 0.00       0.00    0.00       0.00        0.00    -500.00            -500.00
                                                          1237294
                      Pedro Rodriguez                                                                                 0.00       0.00    0.00       0.00        0.00    -825.00            -825.00


Robert Walters (walt1710)
1710-nj               Robert Walters            Current   C-        rent         04/01/2020   04/2020              946.00        0.00    0.00       0.00     946.00        0.00             946.00
                                                          2241824
1710-nj               Robert Walters            Current   C-        rent         05/01/2020   05/2020              946.00        0.00    0.00       0.00     946.00        0.00             946.00
                                                          2241801
1710-nj               Robert Walters            Current   C-        rent         06/01/2020   06/2020              946.00        0.00    0.00       0.00     946.00        0.00             946.00
                                                          2259428
1710-nj               Robert Walters            Current   C-        rent         07/01/2020   07/2020              946.00        0.00    0.00       0.00     946.00        0.00             946.00
                                                          2287209
1710-nj               Robert Walters            Current   C-        rent         08/01/2020   08/2020              946.00        0.00    0.00       0.00     946.00        0.00             946.00
                                                          2323458
1710-nj               Robert Walters            Current   C-        rent         09/01/2020   09/2020              946.00        0.00    0.00       0.00     946.00        0.00             946.00
                                                          2338705
1710-nj               Robert Walters            Current   C-        rent         10/01/2020   10/2020              946.00        0.00    0.00       0.00     946.00        0.00             946.00
                                                          2363913
1710-nj               Robert Walters            Current   C-        rent         11/01/2020   11/2020              946.00        0.00    0.00       0.00     946.00        0.00             946.00
                                                          2395712
1710-nj               Robert Walters            Current   C-        rent         12/01/2020   12/2020              946.00        0.00    0.00    946.00         0.00       0.00             946.00
                                                          2416539
1710-nj               Robert Walters            Current   C-        rent         01/01/2021   01/2021              946.00     946.00     0.00       0.00        0.00       0.00             946.00
                                                          2446803
                      Robert Walters                                                                              9,460.00    946.00     0.00    946.00     7,568.00       0.00           9,460.00


Steven Ha (hast1710)
1710-nj              Steven Ha                  Current   C-        rent         11/01/2020   11/2020               30.00        0.00    0.00       0.00      30.00        0.00              30.00
                                                          2395711
                      Steven Ha                                                                                     30.00        0.00    0.00       0.00      30.00        0.00              30.00


1710-nj                                                                                                          41,467.00   2,128.00    0.00   2,274.00   37,065.00    -825.00          40,642.00


Grand                                                                                                            41,467.00   2,128.00    0.00   2,274.00   37,065.00    -825.00          40,642.00
Total


UserId : samanthadavis Date : 2/9/2021 Time : 1:43 PM




                                                                                                                                                                         Tuesday, February 09, 2021
                                                                                                                                                                                          01:43 PM
                                             Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 12 of 274 PageID: 4182
                                                                                                                                                                                                                                                                                                      2/9/2021 1:55 PM


                                                                                                                               Payables Aging Report
                                                                                                                                               1710-nj
                                                                                                                                           Period: 01/2021
                                                                                                                                          As of : 01/31/2021
    Payee       Payee Name                       Doc Seq #    Control    Batch Id   Property   Invoice Date   Due Date    Post Month             Account          Invoice #    Base    Current      0-30           31-60          61-90          Over          Future          Notes
     Code                                                                                                                                                                     Curren   Owed         Owed           Owed           Owed            90           Invoice
                                                                                                                                                                                                                                                 Owed
     sillone    SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                              0.00
                                                             P-1944649   655438     1710-nj     1/12/2021     1/12/2021    01-2021     7914-0000 Legal Fees        1789305                  61.63          61.63           0.00           0.00          0.00            0.00 Sills Cummis & Gross Invoice
Total sillone                                                                                                                                                                               61.63      61.63              0.00           0.00           0.00         0.00


    veri408     Verizon Wireless                                                                                                                                                                                                                                        0.00
                                                             P-1943424   655301     1710-nj     1/12/2021     1/12/2021    01-2021     5845-0000 Telephone     423057200001/0121            22.98          22.98           0.00           0.00          0.00            0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                               22.98      22.98              0.00           0.00           0.00         0.00


Grand Total                                                                                                                                                                                 84.61      84.61              0.00           0.00           0.00         0.00




                                                                                                                                                 Page 1 of 1
                             Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 13 of 274 PageID: 4183
                       Rent Roll                                                                                                                             Page:
                                                                                                                                                             Date:
                                                                                                                                                                      1
                                                                                                                                                                      02/09/2021
                       2680 John F. Kennedy Blvd (1710-nj)                                                                                                   Time:     1:57 pm
                       January 2021


                                                                                                         Current                       Base Rent Inc.
                                         Square                                Security              Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name                 Feet             Term                Deposit    Chg Code       Amount        Amount PSF     Date       Rate                Comments

APT12         Robert Walters                 475        10/1/19 to              $0.00     rent             946.00             1.99   10/1/19       $946.00
                                                   Original Lease 10/1/19 to




APT14         Faida Joseph                   475        10/1/19 to              $0.00     rent            1,008.39            2.12   10/1/19     $1,008.39
                                                   Original Lease 10/1/19 to




APT21         Charles Hall                   425        10/1/19 to              $0.00     subsidre         716.00             1.68   10/1/19       $716.00
                                                   Original Lease 10/1/19 to




APT22         Luis Clara                     475        10/1/19 to              $0.00     rent             967.00             2.04   10/1/19       $967.00
                                                   Original Lease 10/1/19 to




APT23         Victor Clark                   425        10/1/19 to              $0.00     rent             956.00             2.25   10/1/19       $956.00
                                                   Original Lease 10/1/19 to




APT24         Maksood A Shaikh               475        10/1/19 to              $0.00     rent             382.00             0.80   4/1/20      $1,015.00
                                                   Original Lease 10/1/19 to
                                                                                          subsidre         633.00             1.33



APT31         Anthony Campbell & Linda       425        10/1/19 to              $0.00     rent             784.00             1.84   10/1/19       $784.00
                                                   Original Lease 10/1/19 to
              Valentine




APT32         Eddy Joseph                    475        10/1/19 to              $0.00     rent            1,000.00            2.11   10/1/19     $1,000.00
                                                   Original Lease 10/1/19 to




APT33         George Harrison                425        10/1/19 to              $0.00     rent             948.00             2.23   10/1/19       $948.00
                                                   Original Lease 10/1/19 to




APT34         Jorge Franco                   475        10/1/19 to              $0.00     rent            1,050.00            2.21   10/1/19     $1,050.00
                                                   Original Lease 10/1/19 to




APT41         Alberta Medina                 425        10/1/19 to              $0.00     rent              118.00            0.28   10/1/19       $950.00
                                                   Original Lease 10/1/19 to
                                                                                          subsidre         832.00             1.96
                                Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 14 of 274 PageID: 4184
                          Rent Roll                                                                                                                                       Page:
                                                                                                                                                                          Date:
                                                                                                                                                                                   2
                                                                                                                                                                                   02/09/2021
                          2680 John F. Kennedy Blvd (1710-nj)                                                                                                             Time:     1:57 pm
                          January 2021


                                                                                                                     Current                        Base Rent Inc.
                                          Square                                    Security                     Monthly Charges                    CPI or Step Up
    Suite No.   Tenant Name                Feet                 Term                Deposit    Chg Code              Amount         Amount PSF     Date       Rate                Comments

 APT42          Steven Ha                     475            10/1/19 to              $0.00     rent                    1,037.00            2.18   10/1/19     $1,037.00
                                                        Original Lease 10/1/19 to




 APT43          Juan Rojas                    425            10/1/19 to              $0.00     rent                    1,038.36            2.44   10/1/19     $1,038.36
                                                        Original Lease 10/1/19 to




 APT44          Pedro Rodriguez               475            10/1/19 to              $0.00     rent                    1,125.00            2.37   10/1/19     $1,125.00
                                                        Original Lease 10/1/19 to                                                                  4/1/20      -$300.00
                                                                                               rent                     -300.00           -0.63



 APTB1          Cindy Duarte                  425            10/1/19 to              $0.00     rent                     800.00             1.88   10/1/19       $800.00
                                                        Original Lease 10/1/19 to




 APTB2          Christopher Graham            475            10/1/19 to              $0.00     rent                     922.00             1.94   10/1/19       $922.00
                                                        Original Lease 10/1/19 to




 APTB3          Kim Grooms                    425            10/1/19 to              $0.00     rent                     942.00             2.22   10/1/19       $942.00
                                                        Original Lease 10/1/19 to




APT11           VACANT                        425                                                                                          0.00




APT13           VACANT                             0                                                                                       0.00




Totals for 2680 John F. Kennedy Blvd:        8,100                                   $0.00
                                                                                                      Current Monthly Charges
                Vacant:                        425     5.25%                                   rent                     13,723.75

                Occupied:                    7,675     94.75%                                  subsidre                  2,181.00
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 15 of 274 PageID: 4185


                                          2680 John F. Kennedy Operating                                                          2/9/2021


                                            Bank Reconciliation Report
                                                       1/31/2021


                                                    Posted by: DBO



  Balance Per Bank Statement as of 1/31/2021                                                              65,897.35
  Outstanding Checks

  Check Date               Check Number        Payee                                                         Amount
  1/28/2021                         254        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.               2,375.00
  1/28/2021                         255        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                      65.60
  Less:              Outstanding Checks                                                                    2,440.60
                     Reconciled Bank Balance                                                              63,456.75



  Balance per GL as of 1/31/2021                                                                          63,456.75
                     Reconciled Balance Per G/L                                                           63,456.75


  Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                     0.00




  Cleared Items:


  Cleared Checks

  Date               Tran #                    Notes                                            Amount            Date Cleared
  12/21/2020                        246        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.        2,375.00             1/31/2021
  12/30/2020                        247        coll666a - COLLIERS INT'L HOLDINGS (coll666a)              65.60           1/31/2021
  12/30/2020                        248        emco9815 - EMCOR Services Fluidics                        737.83           1/31/2021
  12/30/2020                        249        emco9815 - EMCOR Services Fluidics                    1,310.60             1/31/2021
  12/30/2020                        250        pseg1444 - PSE&G Co.                                      688.49           1/31/2021
  1/11/2021                         251        coll666a - COLLIERS INT'L HOLDINGS (coll666a)             148.80           1/31/2021
  1/11/2021                         252        libe63 - Liberty Elevator Corp.                           186.59           1/31/2021
  1/11/2021                         253        veri408 - Verizon Wireless                                 22.92           1/31/2021
  1/19/2021                   1192021          emco9815 - EMCOR Services Fluidics                        808.11           1/31/2021
  Total Cleared Checks                                                                              6,343.94
  Cleared Deposits

  Date               Tran #                    Notes                                            Amount            Date Cleared
  1/4/2021                         111                                                               2,058.39             1/31/2021
  1/5/2021                         120                                                               2,181.00             1/31/2021
  1/8/2021                         112                                                               2,103.00             1/31/2021
  1/12/2021                        113                                                                   922.00           1/31/2021
  1/20/2021                        114                                                               1,767.00             1/31/2021
  1/21/2021                        115                                                               2,961.36             1/31/2021
  1/27/2021                        116                                                               5,259.00             1/31/2021
  Total Cleared Deposits                                                                           17,251.75
   Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 16 of 274 PageID: 4186




       2680 KENNEDY VENTURES, LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                     4Contact your Relationship Manager to discuss
                                                                                     targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $54,989.54         Number of Days in Cycle                                  29
7 Deposits/Credits                                        $17,251.75         Minimum Balance This Cycle                       $54,989.54
9 Checks/Debits                                           ($6,343.94)        Average Collected Balance                        $59,682.08
Service Charges                                                 $0.00
Ending Balance 01/29/21                                   $65,897.35

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021             - JANUARY 29, 2021


Date       Description                                                  Deposits/Credits    Withdrawals/Debits          Resulting Balance
01/04      Customer Deposit                                                    $2,058.39                                        $57,047.93
01/05      ACH deposit JC HOUSING AUTH ACH                                     $2,181.00                                        $59,228.93
           010521 COLLIERS INTERNATION
           XX-XXX7433
01/08      Customer Deposit                                                    $2,103.00                                        $61,331.93
01/11      Check      246                                                                               $2,375.00               $58,956.93
01/11      Check      250                                                                                 $688.49               $58,268.44
01/12      Customer Deposit                                                     $922.00                                         $59,190.44
01/12      Check      247                                                                                  $65.60               $59,124.84
01/19      Wire transfer withdrawal Fluidics Inc.                                                         $808.11               $58,316.73

01/20      Customer Deposit                                                    $1,767.00                                        $60,083.73
01/20      Check     252                                                                                  $186.59               $59,897.14
01/21      Customer Deposit                                                    $2,961.36                                        $62,858.50
01/21      Check     251                                                                                  $148.80               $62,709.70
01/21      Check     253                                                                                   $22.92               $62,686.78
01/22      Check     249                                                                                $1,310.60               $61,376.18
01/22      Check     248                                                                                  $737.83               $60,638.35




                                                          Thank you for banking with us.                                     PAGE 1 OF 2

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 ACCOUNT DETAIL              CONTINUED FOR PERIOD JANUARY 01, 2021              - JANUARY 29, 2021
 Date    Description                                         Deposits/Credits     Withdrawals/Debits        Resulting Balance
 01/27   Customer Deposit                                           $5,259.00                                        $65,897.35
 Total                                                            $17,251.75                $6,343.94



         * designates gap in check sequence
 Check No.    Date                Amount      Check No.   Date           Amount       Check No.   Date                  Amount
 246          01/11             $2,375.00     249         01/22         $1,310.60     252         01/20                $186.59
 247          01/12                $65.60     250         01/11           $688.49     253         01/21                 $22.92
 248          01/22               $737.83     251         01/21           $148.80




                                                                                                             PAGE 2 OF 2



                                                                                                        PSI: 0 / SHC: 0 / LOB :C
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                                          2680 Kennedy Sec Dep                         2/9/2021


                                       Bank Reconciliation Report
                                                  1/31/2021


                                         Posted by: daviss on 2/9/2021



  Balance Per Bank Statement as of 1/31/2021                                    0.00
                     Reconciled Bank Balance                                    0.00



  Balance per GL as of 1/31/2021                                                0.00
                     Reconciled Balance Per G/L                                 0.00


  Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)   0.00
   Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 19 of 274 PageID: 4189




       2680 KENNEDY VENTURES LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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 January 2021




 REPARED BY:
 Connor Noonan
 704-910-8460
 connor.noonan@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 22 of 274 PageID: 4192




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              1. Statement of Case
              2. Balance Sheet
              3. Income Statement
              4. Receipt Register
              5. Check Register
              6. Aged Receivables
              7. Accounts Payable Aging
              8. Rent Roll
              9. Bank Reconciliation and Statement
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   Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
   scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
   for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
   particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
   International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
   deferred maintenance and abandonment of their other management responsibilities for these
   properties resulted in profound and immediate issues for which this appointment was necessary. Due to
   an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
   provide critical operating information or to otherwise assist with the Receiver’s assumption of the
   management responsibilities necessary to stabilize these assets at the time of its appointment. This
   Inventory and Report is provided pursuant to the Court’s Order.
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                                                                                                                                                                          2/2/2021 8:56 PM
                                                                             126 Center Street (1718-nj)

                                                                             Receipt Register
                                                                                For Period = Jan 2021
Control    Batch      Period        Date            Person                     Property            Cash Acct      Account       Recovery    Amount      Reference      Check #    Notes
R-1235271 469962   01/2021     1/21/2021   Amerigo Guzman(guzm1718)   126 Center Street(1718-nj)   1020-0000   4110-0000 Rent                  875.50               27114492104
                                                                                                                                    Total      875.50




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                                                                                                                                                                                                                                                         2/2/2021 8:58 PM

                                                                                                                        126 Center Street (1718-nj)
                                                                                                                         Check Register
                                                                                                                          For Period = Jan 2021
Control    Batch      Period        Date                        Person                              Property                            Account              Recovery    Amount       Reference                                     Notes
K-1379553 277960   01/2021     1/6/2021    COLLIERS INT'L HOLDINGS (coll666a) (coll666a)   126 Center Street(1718-nj)   5810-0000 Management Compensation                    148.80 252


K-1379554 277960   01/2021     1/6/2021    EMCOR Services Fluidics (emco9815)              126 Center Street(1718-nj)   5255-0000 Engineering Compensation                 1,096.64 253           May 2020 - Engineerg Comp - 126


K-1379555 277960   01/2021     1/6/2021    PSE&G Co. (pseg1444)                            126 Center Street(1718-nj)   5205-0000 Electricity                                 83.04 254           ELECTRICITY CHARGES FOR 126 CENTER ST CLIFTON 11/03/20-12/03/20


K-1379556 277960   01/2021     1/6/2021    Verizon Wireless (veri408)                      126 Center Street(1718-nj)   5845-0000 Telephone                                   22.92 255           12/13/20-01/12/21 - CELL PHONE SVC
                                                                                                                                                                 Total     1,351.40




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                                                                                                                                                                                     2/2/2021 9:08 PM

Aging Detail
DB Caption: USA LIVE 7s Property: 1718-nj    Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property       Customer     Lease                             Status    Tran#        Charge    Date          Month      Current        0-30     31-60     61-90         Over         Pre-        Total
                                                                                     Code                                 Owed        Owed      Owed      Owed      90 Owed      payments       Owed
126 Center Street (1718-nj)
Belkis M Soto (soto1718)
1718-nj                     Belkis M Soto                     Current   C-2199459    rent      2/1/2020      02/2020        3.00        0.00     0.00       0.00         3.00         0.00        3.00
1718-nj                     Belkis M Soto                     Current   C-2203032    rent      4/1/2020      04/2020      772.50        0.00     0.00       0.00       772.50         0.00      772.50
1718-nj                     Belkis M Soto                     Current   C-2230248    rent      5/1/2020      05/2020      772.50        0.00     0.00       0.00       772.50         0.00      772.50
1718-nj                     Belkis M Soto                     Current   C-2259342    rent      6/1/2020      06/2020      772.50        0.00     0.00       0.00       772.50         0.00      772.50
1718-nj                     Belkis M Soto                     Current   C-2287264    rent      7/1/2020      07/2020      772.50        0.00     0.00       0.00       772.50         0.00      772.50
1718-nj                     Belkis M Soto                     Current   C-2323515    rent      8/1/2020      08/2020      727.50        0.00     0.00       0.00       727.50         0.00      727.50
1718-nj                     Belkis M Soto                     Current   C-2338762    rent      9/1/2020      09/2020      727.50        0.00     0.00       0.00       727.50         0.00      727.50
1718-nj                     Belkis M Soto                     Current   C-2363243    rent      10/1/2020     10/2020      727.50        0.00     0.00       0.00       727.50         0.00      727.50
1718-nj                     Belkis M Soto                     Current   C-2392895    rent      11/1/2020     11/2020      727.50        0.00     0.00       0.00       727.50         0.00      727.50
1718-nj                     Belkis M Soto                     Current   C-2416596    rent      12/1/2020     12/2020      727.50        0.00     0.00     727.50         0.00         0.00      727.50
1718-nj                     Belkis M Soto                     Current   C-2446845    rent      1/1/2021      01/2021      727.50      727.50     0.00       0.00         0.00         0.00      727.50
                            Belkis M Soto                                                                               7,458.00     727.50      0.00    727.50      6,003.00        0.00     7,458.00


Eddy Urena (uren1718)
1718-nj                     Eddy Urena                        Current   C-2199440    rent      10/1/2019     02/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2199441    rent      11/1/2019     02/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2199442    rent      12/1/2019     02/2020       30.00        0.00     0.00       0.00        30.00         0.00       30.00
1718-nj                     Eddy Urena                        Current   C-2199443    rent      1/1/2020      02/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2199444    rent      2/1/2020      02/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2203609    rent      3/1/2020      03/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2203030    rent      4/1/2020      04/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2230246    rent      5/1/2020      05/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2259340    rent      6/1/2020      06/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2287262    rent      7/1/2020      07/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2323512    rent      8/1/2020      08/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2338759    rent      9/1/2020      09/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2363240    rent      10/1/2020     10/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2392892    rent      11/1/2020     11/2020     1,030.00       0.00     0.00       0.00      1,030.00        0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2416593    rent      12/1/2020     12/2020     1,030.00       0.00     0.00    1,030.00        0.00         0.00     1,030.00
1718-nj                     Eddy Urena                        Current   C-2446842    rent      1/1/2021      01/2021     1,030.00    1,030.00    0.00       0.00         0.00         0.00     1,030.00
                            Eddy Urena                                                                                 15,480.00    1,030.00     0.00   1,030.00    13,420.00        0.00    15,480.00


Juan Rodriguez (juan1718)
1718-nj                     Juan Rodriguez                    Current   C-2203025    rent      4/1/2020      04/2020       81.95        0.00     0.00       0.00        81.95         0.00       81.95
1718-nj                     Juan Rodriguez                    Current   C-2230241    rent      5/1/2020      05/2020      480.65        0.00     0.00       0.00       480.65         0.00      480.65
1718-nj                     Juan Rodriguez                    Current   R-1224425    Prepay    12/28/2020    12/2020        0.00        0.00     0.00       0.00         0.00       -99.35       -99.35
1718-nj                     Juan Rodriguez                    Current   C-2446837    rent      1/1/2021      01/2021      780.65      780.65     0.00       0.00         0.00         0.00      780.65
                            Juan Rodriguez                                                                              1,343.25     780.65      0.00       0.00      562.60       -99.35     1,243.90


Maria Garcia (mari1718)
1718-nj                     Maria Garcia                      Current   C-2199423    rent      1/1/2020      02/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2199424    rent      2/1/2020      02/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2203602    rent      3/1/2020      03/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2203023    rent      4/1/2020      04/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2230239    rent      5/1/2020      05/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2259333    rent      6/1/2020      06/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2287255    rent      7/1/2020      07/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2323506    rent      8/1/2020      08/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2338753    rent      9/1/2020      09/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2363234    rent      10/1/2020     10/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2392886    rent      11/1/2020     11/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2416587    rent      12/1/2020     12/2020     1,020.00       0.00     0.00    1,020.00        0.00         0.00     1,020.00
1718-nj                     Maria Garcia                      Current   C-2446836    rent      1/1/2021      01/2021     1,020.00    1,020.00    0.00       0.00         0.00         0.00     1,020.00
                            Maria Garcia                                                                               13,260.00    1,020.00     0.00   1,020.00    11,220.00        0.00    13,260.00


Mirella G. Humpiri (hump1718)
1718-nj                     Mirella G. Humpiri                Current   C-2416591    rent      12/1/2020     12/2020      927.00        0.00     0.00     927.00         0.00         0.00      927.00
1718-nj                     Mirella G. Humpiri                Current   C-2446840    rent      1/1/2021      01/2021      927.00      927.00     0.00       0.00         0.00         0.00      927.00
                            Mirella G. Humpiri                                                                          1,854.00     927.00      0.00    927.00          0.00        0.00     1,854.00


Rosalino Ramales (rosa1718)
1718-nj                     Rosalino Ramales                  Current   C-2199468    rent      1/1/2020      02/2020       70.00        0.00     0.00       0.00        70.00         0.00       70.00
1718-nj                     Rosalino Ramales                  Current   C-2199469    rent      2/1/2020      02/2020       70.00        0.00     0.00       0.00        70.00         0.00       70.00
1718-nj                     Rosalino Ramales                  Current   C-2203603    rent      3/1/2020      03/2020       70.00        0.00     0.00       0.00        70.00         0.00       70.00
1718-nj                     Rosalino Ramales                  Current   C-2203024    rent      4/1/2020      04/2020       70.00        0.00     0.00       0.00        70.00         0.00       70.00
1718-nj                     Rosalino Ramales                  Current   C-2230240    rent      5/1/2020      05/2020       70.00        0.00     0.00       0.00        70.00         0.00       70.00
1718-nj                     Rosalino Ramales                  Current   C-2259334    rent      6/1/2020      06/2020       70.00        0.00     0.00       0.00        70.00         0.00       70.00
1718-nj                     Rosalino Ramales                  Current   C-2287256    rent      7/1/2020      07/2020       70.00        0.00     0.00       0.00        70.00         0.00       70.00



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Aging Detail
DB Caption: USA LIVE 7s Property: 1718-nj   Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property       Customer      Lease                           Status    Tran#        Charge     Date         Month      Current        0-30     31-60     61-90         Over         Pre-        Total
                                                                                    Code                                 Owed        Owed      Owed      Owed      90 Owed      payments       Owed
                             Rosalino Ramales                                                                           490.00         0.00     0.00       0.00      490.00         0.00      490.00


Rosteing Emanuel Quispe (quis1718)
1718-nj                      Rosteing Emanuel Quispe         Current   C-2199435    rent       10/1/2019    02/2020     1,125.75       0.00     0.00       0.00      1,125.75        0.00     1,125.75
1718-nj                      Rosteing Emanuel Quispe         Current   C-2416592    rent       12/1/2020    12/2020     1,125.75       0.00     0.00    1,125.75        0.00         0.00     1,125.75
1718-nj                      Rosteing Emanuel Quispe         Current   C-2446841    rent       1/1/2021     01/2021     1,125.75    1,125.75    0.00       0.00         0.00         0.00     1,125.75
                             Rosteing Emanuel Quispe                                                                   3,377.25    1,125.75     0.00   1,125.75     1,125.75        0.00     3,377.25


Shakiya Munk (munk1718)
1718-nj                      Shakiya Munk                    Current   C-2258765    rent       10/1/2019    05/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2258766    rent       11/1/2019    05/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2258767    rent       12/1/2019    05/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2258768    rent       1/1/2020     05/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2258769    rent       2/1/2020     05/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2258770    rent       3/1/2020     05/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2258771    rent       4/1/2020     05/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2258772    rent       5/1/2020     05/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2259341    rent       6/1/2020     06/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2287263    rent       7/1/2020     07/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2323513    rent       8/1/2020     08/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2323514    subsidre   8/1/2020     08/2020      875.00        0.00     0.00       0.00       875.00         0.00      875.00
1718-nj                      Shakiya Munk                    Current   C-2338760    rent       9/1/2020     09/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2338761    subsidre   9/1/2020     09/2020      875.00        0.00     0.00       0.00       875.00         0.00      875.00
1718-nj                      Shakiya Munk                    Current   C-2363241    rent       10/1/2020    10/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2363242    subsidre   10/1/2020    10/2020      875.00        0.00     0.00       0.00       875.00         0.00      875.00
1718-nj                      Shakiya Munk                    Current   C-2392893    rent       11/1/2020    11/2020       26.25        0.00     0.00       0.00        26.25         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2392894    subsidre   11/1/2020    11/2020      875.00        0.00     0.00       0.00       875.00         0.00      875.00
1718-nj                      Shakiya Munk                    Current   C-2416594    rent       12/1/2020    12/2020       26.25        0.00     0.00      26.25         0.00         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2416595    subsidre   12/1/2020    12/2020      875.00        0.00     0.00     875.00         0.00         0.00      875.00
1718-nj                      Shakiya Munk                    Current   C-2446843    rent       1/1/2021     01/2021       26.25       26.25     0.00       0.00         0.00         0.00       26.25
1718-nj                      Shakiya Munk                    Current   C-2446844    subsidre   1/1/2021     01/2021      875.00      875.00     0.00       0.00         0.00         0.00      875.00
                             Shakiya Munk                                                                              5,670.00     901.25      0.00    901.25      3,867.50        0.00     5,670.00


Susana Perez Reboseno (susa1718)
1718-nj                      Susana Perez Reboseno           Current   C-2199431    rent       11/1/2019    02/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2199432    rent       12/1/2019    02/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2199433    rent       1/1/2020     02/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2199434    rent       2/1/2020     02/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2203606    rent       3/1/2020     03/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2203027    rent       4/1/2020     04/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2230243    rent       5/1/2020     05/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2259337    rent       6/1/2020     06/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2287259    rent       7/1/2020     07/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2323509    rent       8/1/2020     08/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2338756    rent       9/1/2020     09/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2363237    rent       10/1/2020    10/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2392889    rent       11/1/2020    11/2020      925.00        0.00     0.00       0.00       925.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2416590    rent       12/1/2020    12/2020      925.00        0.00     0.00     925.00         0.00         0.00      925.00
1718-nj                      Susana Perez Reboseno           Current   C-2446839    rent       1/1/2021     01/2021      925.00      925.00     0.00       0.00         0.00         0.00      925.00
                             Susana Perez Reboseno                                                                    13,875.00     925.00      0.00    925.00     12,025.00        0.00    13,875.00


1718-nj                                                                                                               62,807.50    7,437.15     0.00   6,656.50    48,713.85      -99.35    62,708.15


Grand Total                                                                                                           62,807.50    7,437.15     0.00   6,656.50    48,713.85      -99.35    62,708.15


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                                                                                                                                              Payables Aging Report
                                                                                                                                                             1718-nj
                                                                                                                                                         Period: 01/2021
                                                                                                                                                        As of : 01/31/2021
    Payee        Payee Name                            Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date     Post Month              Account                 Invoice #    Base    Current       0-30           31-60          61-90          Over          Future          Notes
    Code                                                                                                                                                                                     Curren   Owed          Owed           Owed           Owed            90           Invoice
                                                                                                                                                                                                                                                                 Owed
   coll1625      COLLIERS INT'L HOLDINGS (USA), INC.                                                                                                                                                                                                                                    0.00
                                                                   P-1843451    647107    1718-nj      7/1/2020      7/1/2020     07-2020     5805-0000 Management Fees      18-nj7.20MGMTFEE            2,300.00           0.00           0.00           0.00     2,300.00             0.00 07.20 Mgmt Fee
                                                                   P-1863335    648733    1718-nj      8/1/2020      8/1/2020     08-2020     5805-0000 Management Fees      18-nj8.20MGMTFEE            2,300.00           0.00           0.00           0.00     2,300.00             0.00 08.20 Mgmt Fee
                                                                   P-1880049    649974    1718-nj      9/1/2020      9/1/2020     09-2020     5805-0000 Management Fees      18-nj9.20MGMTFEE            2,300.00           0.00           0.00           0.00     2,300.00             0.00 09/20 Management Fee
                                                                   P-1894131    651218    1718-nj     10/1/2020     10/1/2020     10-2020     5805-0000 Management Fees      18-nj10.20MGMTFEE           2,300.00           0.00           0.00           0.00     2,300.00             0.00 10.20 Management Fee
                                                                   P-1912688    652900    1718-nj     11/1/2020     11/1/2020     11-2020     5805-0000 Management Fees      18-nj11.20MGMTFEE           2,300.00           0.00           0.00           0.00     2,300.00             0.00 11.20 Management Fees
                                                                   P-1929044    654188    1718-nj     12/1/2020     12/1/2020     12-2020     5805-0000 Management Fees      18-nj12.20MGMTFEE           2,300.00           0.00           0.00     2,300.00            0.00            0.00 12.20 Management Fees
                                                                   P-1942299    655213    1718-nj      1/1/2021      1/1/2021     01-2021     5805-0000 Management Fees      18-nj1.21MGMTFEE            2,300.00           0.00     2,300.00             0.00          0.00            0.00 01.21 Management Fee
Total coll1625                                                                                                                                                                                         16,100.00           0.00     2,300.00       2,300.00      11,500.00           0.00


   coll666a      COLLIERS INT'L HOLDINGS (coll666a)                                                                                                                                                                                                                                     0.00
                                                                   P-1940365    655030    1718-nj      1/1/2021      1/1/2021     01-2021     5895-0000 Miscellaneous Operati 1718svctr0121                65.60            0.00       65.60              0.00          0.00            0.00 Call Center Service Fee 01/2021
Total coll666a                                                                                                                                                                                             65.60           0.00        65.60             0.00           0.00         0.00


   coop351       Cooper Pest Solutions, Inc.                                                                                                                                                                                                                                            0.00
                                                                   P-1938883    654902    1718-nj      1/7/2021      2/6/2021     01-2021     5680-0000 Pest Control             1519157                  586.44       586.44              0.00           0.00          0.00            0.00 01/07/21 - PEST CONTROL - 126 Center St
Total coop351                                                                                                                                                                                            586.44       586.44              0.00           0.00           0.00         0.00


   emco9815      EMCOR Services Fluidics                                                                                                                                                                                                                                                0.00
                                                                   P-1804284    643896    1718-nj     4/27/2020     5/12/2020     05-2020     5255-0000 Engineering Compens      32002-01                2,263.52           0.00           0.00           0.00     2,263.52             0.00 OCT 2019- JAN 2020 - ENGINEERG C
                                                                   P-1797312    643264    1718-nj     4/17/2020      5/2/2020     04-2020     5255-0000 Engineering Compens     002051451                1,725.91           0.00           0.00           0.00     1,725.91             0.00 MAR 2020 - Engineering Comp - 12
                                                                   P-1932155    654384    1718-nj     12/11/2020    12/26/2020    12-2020     5255-0000 Engineering Compens     002054298                1,096.64           0.00     1,096.64             0.00          0.00            0.00 11/2020 - Engineerg Comp - 126 Center
                                                                   P-1938882    654902    1718-nj     1/11/2021     1/26/2021     01-2021     5255-0000 Engineering Compens     002054598                1,201.08    1,201.08              0.00           0.00          0.00            0.00 12/2020 - Engineering Comp - 126 Center
Total emco9815                                                                                                                                                                                          6,287.15    1,201.08        1,096.64             0.00     3,989.43           0.00


   pass1139      Passaic Valley Water Commission                                                                                                                                                                                                                                        0.00
                                                                   P-1829852    645996    1718-nj     5/27/2020     5/27/2020     06-2020     5215-0000 Water                   128928-2005               -730.34           0.00           0.00           0.00     -730.34              0.00 BILL CREDIT DO NOT PAY
Total pass1139                                                                                                                                                                                           -730.34           0.00           0.00           0.00      -730.34           0.00


   pseg1444      PSE&G Co.                                                                                                                                                                                                                                                              0.00
                                                                   P-1944176    655390    1718-nj      1/7/2021      1/7/2021     01-2021     5205-0000 Electricity          7482404708/0121               77.90           77.90           0.00           0.00          0.00            0.00 12/04-01/05/21 - ELECTRICITY - 126 Center St
Total pseg1444                                                                                                                                                                                             77.90       77.90              0.00           0.00           0.00         0.00


    veri408      Verizon Wireless                                                                                                                                                                                                                                                       0.00
                                                                   P-1943424    655301    1718-nj     1/12/2021     1/12/2021     01-2021     5845-0000 Telephone            423057200001/0121             22.98           22.98           0.00           0.00          0.00            0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                              22.98       22.98              0.00           0.00           0.00         0.00


Grand Total                                                                                                                                                                                            22,409.73    1,888.40        3,462.24       2,300.00      14,759.09           0.00




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                                Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 31 of 274 PageID: 4201
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   Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 34 of 274 PageID: 4204




       CLIFTON 126 CENTER LLC
       DISTRICT OF NEW JERSEY                                                          4Contact your Relationship Manager to discuss
                                                                                         targeted solutions for your evolving business needs.
       C/O COLLIERS INTERNATIONAL REMS US, LLC
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                   $7,234.44            Number of Days in Cycle                                  29
1 Deposits/Credits                                            $875.50            Minimum Balance This Cycle                          $597.75
9 Checks/Debits                                           ($6,742.65)            Average Collected Balance                         $4,437.12
Service Charges                                                 $0.00
Ending Balance 01/29/21                                     $1,367.29

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021                  - JANUARY 29, 2021


Date       Description                                                     Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/08      Check     246                                                                                      $103.96                 $7,130.48
01/11      Check     252                                                                                      $148.80                 $6,981.68
01/13      Check     253                                                                                    $1,096.64                 $5,885.04
01/19      Check     244                                                                                    $3,022.82                 $2,862.22
01/19      Check     247                                                                                    $1,148.85                 $1,713.37
01/19      Check     248                                                                                    $1,096.64                   $616.73
01/19      Check     249                                                                                       $18.98                   $597.75
01/20      Customer Deposit                                                         $875.50                                           $1,473.25
01/20      Check     254                                                                                        $83.04                $1,390.21
01/25      Check     255                                                                                        $22.92                $1,367.29
Total                                                                               $875.50                 $6,742.65



            * designates gap in check sequence
Check No.         Date                   Amount          Check No.      Date            Amount      Check No.      Date                Amount
244               01/19                $3,022.82         248            01/19         $1,096.64     253            01/13            $1,096.64
246*              01/08                  $103.96         249            01/19            $18.98     254            01/20               $83.04
247               01/19                $1,148.85         252*           01/11           $148.80     255            01/25               $22.92


                                                          Thank you for banking with us.                                         PAGE 1 OF 2

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       CLIFTON 126 CENTER LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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  191 First Street
  Englewood Funding LLC

  Portal v. Levine
  Civil Action No. 19-cv-19611 (MCA) (LDW)
  January 2021




  PREPARED BY: Bryan Faulkner
 704-413-6731
 Bryan.Faulkner@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 40 of 274 PageID: 4210




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              1. Statement of Case
              2. Balance Sheet
              3. Income Statement
              4. Receipt Register
              5. Check Register
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              7. Accounts Payable Aging
              8. Rent Roll
              9. Bank Reconciliation and Statement
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   Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
   scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
   for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
   particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
   International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
   deferred maintenance and abandonment of their other management responsibilities for these
   properties resulted in profound and immediate issues for which this appointment was necessary. Due to
   an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
   provide critical operating information or to otherwise assist with the Receiver’s assumption of the
   management responsibilities necessary to stabilize these assets at the time of its appointment. This
   Inventory and Report is provided pursuant to the Court’s Order.
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191 First Street (1702-nj)                                                                    Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                      Current Balance
        1000-0000            ASSETS



        1005-0000            CASH & EQUIVALENTS
        1020-0000              Cash-Operating                                                1,899.88


        1099-9999            TOTAL CASH & EQUIVALENTS                                        1,899.88


        1999-9999            TOTAL ASSETS                                                    1,899.88



        2000-0000            LIABILITY AND EQUITY



        3000-0000            EQUITY
        3100-0300              Funding from Loan Servicer                                   14,075.00
        3800-0000              Current Year Earnings                                         1,047.41
        3811-0000              Prior Year Retained Earnings                                -13,222.53


        3900-9999            TOTAL EQUITY                                                    1,899.88


        3999-9999            TOTAL LIABILITY & EQUITY                                        1,899.88




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191 First Street (1702-nj)                                                                        Page 1

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                             Period to Date       %    Year to Date                    %
 4001-0000    REVENUE



 4005-0000    RENT
 4110-0000      Rent                             11,760.00    100.00     11,760.00                100.00


 4299-4999    TOTAL RENT                         11,760.00    100.00     11,760.00                100.00


 4998-9999    TOTAL REVENUE                      11,760.00    100.00     11,760.00                100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5150-0000    INSURANCE
 5157-0000       Insurance                        2,636.00     22.42      2,636.00                 22.42


 5199-9999    TOTAL INSURANCE                     2,636.00     22.42      2,636.00                 22.42



 5200-0000    UTILITIES
 5205-0000      Electricity                          91.63      0.78         91.63                  0.78
 5211-0000      Fuel                              5,062.68     43.05      5,062.68                 43.05
 5215-0000      Water                               495.40      4.21        495.40                  4.21


 5249-9999    TOTAL UTILITIES                     5,649.71     48.04      5,649.71                 48.04



 5650-0000    GEN BLDG REPAIR/MAINT.
 5680-0000      Pest Control                        103.96      0.88        103.96                   0.88


 5699-9999    TOTAL GEN BLDG REPAIR/MAINT.          103.96      0.88        103.96                   0.88



 5800-0000    MANAGEMENT/ADMIN
 5805-0000      Management Fees                   2,300.00     19.56      2,300.00                 19.56
 5845-0000      Telephone                            22.92      0.19         22.92                  0.19


 5899-9999    TOTAL MANAGEMENT/ADMIN              2,322.92     19.75      2,322.92                 19.75


 5950-9999    TOTAL RECOVERABLE EXPENSES         10,712.59     91.09     10,712.59                 91.09


 6998-9999    TOTAL OPERATING EXPENSES           10,712.59     91.09     10,712.59                 91.09


 6999-9999    NET OPERATING INCOME                1,047.41      8.91      1,047.41                   8.91


 9496-9999    NET INCOME                          1,047.41      8.91      1,047.41                   8.91




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                                                                                           191 First Street (1702-nj)

                                                                                           Receipt Register
                                                                                            For Period = Jan 2021
 Control    Batch   Period    Date                            Person                                Property            Cash Acct       Account      Recovery     Amount      Reference     Check #     Notes
R-1229265   467829 01/2021 1/6/2021    Joyce Borbon(joyc1702)                              191 First Street(1702-nj)    1020-0000   4110-0000 Rent                 1,250.00               101


R-1229271   467829 01/2021 1/6/2021    Emerson Argueta(argu1702)                           191 First Street(1702-nj)    1020-0000   4110-0000 Rent                  700.00                19121213819


R-1229274   467829 01/2021 1/6/2021    Emerson Argueta(argu1702)                           191 First Street(1702-nj)    1020-0000   4110-0000 Rent                 1,000.00               19121213818


R-1229276   467829 01/2021 1/6/2021    Oraine Thompson(thom1702)                           191 First Street(1702-nj)    1020-0000   4110-0000 Rent                 1,200.00               1003


R-1231091   468426 01/2021 1/8/2021    Joyce Wooden(wood1702)                              191 First Street(1702-nj)    1020-0000   4110-0000 Rent                  950.00                27192306374


R-1232512   468918 01/2021 1/12/2021   Lisa Alexander(alex1702)                            191 First Street(1702-nj)    1020-0000   4110-0000 Rent                 1,450.00               112


R-1232513   468918 01/2021 1/12/2021   Iglesia Evangelica Indepient el Shaddai(igle1702)   191 First Street(1702-nj)    1020-0000   4110-0000 Rent                 1,260.00               779


R-1234962   469826 01/2021 1/20/2021   Phelicia Barnes(barn1702)                           191 First Street(1702-nj)    1020-0000   4110-0000 Rent                  500.00                19217286957


R-1234964   469826 01/2021 1/20/2021   Phelicia Barnes(barn1702)                           191 First Street(1702-nj)    1020-0000   4110-0000 Rent                  400.00                19217286960


R-1234965   469826 01/2021 1/20/2021   Phelicia Barnes(barn1702)                           191 First Street(1702-nj)    1020-0000   4110-0000 Rent                  500.00                19217286958


R-1234972   469826 01/2021 1/20/2021   Danilo Collado(dani1702)                            191 First Street(1702-nj)    1020-0000   4110-0000 Rent                  300.00                27192309816


R-1234973   469826 01/2021 1/20/2021   Danilo Collado(dani1702)                            191 First Street(1702-nj)    1020-0000   4110-0000 Rent                 1,000.00               27192309805


R-1237983   471205 01/2021 1/27/2021   Joyce Borbon(joyc1702)                              191 First Street(1702-nj)    1020-0000   4110-0000 Rent                 1,250.00               103
                                                                                                                                                          Total   11,760.00




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                                                                                                                 191 First Street (1702-nj)

                                                                                                                 Check Register
                                                                                                                   For Period = Jan 2021
 Control    Batch    Period    Date                             Person                              Property                        Account        Recovery     Amount      Reference                                    Notes
K-1379456   277934 01/2021 1/6/2021     Cooper Pest Solutions, Inc. (coop351)              191 First Street(1702-nj)   5680-0000 Pest Control                     103.96 290            GENERAL MAINTENANCE FOR 191 FIRST ST


K-1379457   277934 01/2021 1/6/2021     SUEZ Water (unit3718)                              191 First Street(1702-nj)   5215-0000 Water                            495.40 291            WATER CHARGES FOR 191 FIRST ST 11/19/20- 12/18/20


K-1381883   278461 01/2021 1/12/2021    SUMMA ENERGY CORP (summa515)                       191 First Street(1702-nj)   5211-0000 Fuel                             983.34 292            HEATING OIL FOR 191 FIRST ST ENGLEWOOD 406.7 GALLONS
                                                                                           191 First Street(1702-nj)   5211-0000 Fuel                            1,393.07 292           heating oil for 191 first st 569.8 gallons
                                                                                           191 First Street(1702-nj)   5211-0000 Fuel                             827.54 292            HEATING OIL CHARGE FOR 191 FIRST ST 335.4 GALLONS


K-1381884   278461 01/2021 1/12/2021    Verizon Wireless (veri408)                         191 First Street(1702-nj)   5845-0000 Telephone                         22.92 293            12/13/20-01/12/21 - CELL PHONE SVC


K-1385291   279357 01/2021 1/20/2021    PSE&G Co. (pseg1444)                               191 First Street(1702-nj)   5205-0000 Electricity                       91.63 294            ELECTRICITY CHARGES FOR 191 FIRST ST ENGLEWOOD


K-1385292   279357 01/2021 1/20/2021    SUMMA ENERGY CORP (summa515)                       191 First Street(1702-nj)   5211-0000 Fuel                            1,165.99 295           HEATING OIL FOR 191 FIRST ST ENGLEWOOD 467.4GALLONS


K-1385935   279475 01/2021 1/21/2021    F.M. Christiano Insurance Agency, Inc. (fmch299)   191 First Street(1702-nj)   5157-0000 Insurance                       2,636.00 12121         January Installment


K-1389328   280247 01/2021 1/29/2021    COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)     191 First Street(1702-nj)   5805-0000 Management Fees                 2,300.00 296           12.20 Mgmt Fee


K-1389329   280248 01/2021 1/29/2021    COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)     191 First Street(1702-nj)   5805-0000 Management Fees                 2,300.00 297           12/20 Mgmt Fee


K-1389330   280248 01/2021 1/29/2021    SUMMA ENERGY CORP (summa515)                       191 First Street(1702-nj)   5211-0000 Fuel                             692.74 298            HEATING OIL FOR 191 FIRST ST ENGLEWOOD 268.2 GALLONS


K-1389494           01/2021 1/29/2021   COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)     191 First Street(1702-nj)   5805-0000 Management Fees                -2,300.00 296           12.20 Mgmt Fee
                                                                                                                                                        Total   10,712.59




                                                                                                                        Page 1 of 1
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 46 of 274 PageID: 4216
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Aging Detail
DB Caption: USA LIVE 7s Property: 1702-nj      Status: Current, Past, Future All Selected Accounts Age As Of: 01/31/2021 Post To: 01/2021
Property      Customer       Lease                                             Status    Tran#       Charge    Date        Month            Current       0-30 31-60       61-90         Over        Pre-      Total
                                                                                                     Code                                     Owed       Owed     Owed      Owed     90 Owed     payments      Owed
191 First Street (1702-nj)
Danielle Miller (mill1702)
1702-nj                      Danielle Miller                                   Past      C-2242848   rent      10/1/2019   04/2020           800.00       0.00     0.00      0.00      800.00        0.00     800.00
1702-nj                      Danielle Miller                                   Past      C-2242849   rent      11/1/2019   04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Danielle Miller                                   Past      C-2242851   rent      1/1/2020    04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Danielle Miller                                   Past      C-2242853   rent      3/1/2020    04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Danielle Miller                                   Past      C-2242854   rent      4/1/2020    04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Danielle Miller                                   Past      C-2242711   rent      5/1/2020    05/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Danielle Miller                                   Past      C-2259954   rent      6/1/2020    06/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Danielle Miller                                   Past      C-2287080   rent      7/1/2020    07/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Danielle Miller                                   Past      C-2323364   rent      8/1/2020    08/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
                             Danielle Miller                                                                                          12,000.00           0.00    0.00       0.00 12,000.00          0.00 12,000.00


Danilo Collado (dani1702)
1702-nj                      Danilo Collado                                    Current   C-2242838   rent      2/1/2020    04/2020           900.00       0.00     0.00      0.00      900.00        0.00     900.00
1702-nj                      Danilo Collado                                    Current   C-2242840   rent      4/1/2020    04/2020          1,100.00      0.00     0.00      0.00     1,100.00       0.00    1,100.00
1702-nj                      Danilo Collado                                    Current   C-2242704   rent      5/1/2020    05/2020           495.00       0.00     0.00      0.00      495.00        0.00     495.00
1702-nj                      Danilo Collado                                    Current   C-2416409   rent      12/1/2020   12/2020          1,300.00      0.00     0.00   1,300.00       0.00        0.00    1,300.00
                             Danilo Collado                                                                                             3,795.00          0.00    0.00 1,300.00      2,495.00        0.00   3,795.00


Eboni Clark (clar1702)
1702-nj                      Eboni Clark                                       Current   C-2242820   rent      10/1/2019   04/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2242821   rent      11/1/2019   04/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2242822   rent      12/1/2019   04/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2242823   rent      1/1/2020    04/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2242824   rent      2/1/2020    04/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2242825   rent      3/1/2020    04/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2242826   rent      4/1/2020    04/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2242709   rent      5/1/2020    05/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2259950   rent      6/1/2020    06/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2287076   rent      7/1/2020    07/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2323360   rent      8/1/2020    08/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2323361   subsidre 8/1/2020     08/2020           885.00       0.00     0.00      0.00      885.00        0.00     885.00
1702-nj                      Eboni Clark                                       Current   C-2338575   rent      9/1/2020    09/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2338576   subsidre 9/1/2020     09/2020           885.00       0.00     0.00      0.00      885.00        0.00     885.00
1702-nj                      Eboni Clark                                       Current   C-2363761   rent      10/1/2020   10/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2363762   subsidre 10/1/2020    10/2020           885.00       0.00     0.00      0.00      885.00        0.00     885.00
1702-nj                      Eboni Clark                                       Current   C-2395119   rent      11/1/2020   11/2020           571.00       0.00     0.00      0.00      571.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2395120   subsidre 11/1/2020    11/2020           885.00       0.00     0.00      0.00      885.00        0.00     885.00
1702-nj                      Eboni Clark                                       Current   C-2416413   rent      12/1/2020   12/2020           571.00       0.00     0.00    571.00        0.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2416414   subsidre 12/1/2020    12/2020           885.00       0.00     0.00    885.00        0.00        0.00     885.00
1702-nj                      Eboni Clark                                       Current   C-2446703   rent      1/1/2021    01/2021           571.00     571.00     0.00      0.00        0.00        0.00     571.00
1702-nj                      Eboni Clark                                       Current   C-2446704   subsidre 1/1/2021     01/2021           885.00     885.00     0.00      0.00        0.00        0.00     885.00
                             Eboni Clark                                                                                              14,446.00 1,456.00          0.00 1,456.00 11,534.00            0.00 14,446.00


Emerson Argueta (argu1702)
1702-nj                      Emerson Argueta                                   Current   C-2416408   rent      12/1/2020   12/2020          1,700.00      0.00     0.00   1,700.00       0.00        0.00    1,700.00
                             Emerson Argueta                                                                                            1,700.00          0.00    0.00 1,700.00          0.00        0.00   1,700.00


Erika Figueroa (figu1702)
1702-nj                      Erika Figueroa                                    Current   C-2242855   rent      10/1/2019   04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2242856   rent      11/1/2019   04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2242857   rent      12/1/2019   04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2242858   rent      1/1/2020    04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2242859   rent      2/1/2020    04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2242860   rent      3/1/2020    04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2242861   rent      4/1/2020    04/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2242713   rent      5/1/2020    05/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2259956   rent      6/1/2020    06/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2287082   rent      7/1/2020    07/2020           700.00       0.00     0.00      0.00      700.00        0.00     700.00
1702-nj                      Erika Figueroa                                    Current   C-2323366   rent      8/1/2020    08/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2338581   rent      9/1/2020    09/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2363767   rent      10/1/2020   10/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2395125   rent      11/1/2020   11/2020          1,400.00      0.00     0.00      0.00     1,400.00       0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2416418   rent      12/1/2020   12/2020          1,400.00      0.00     0.00   1,400.00       0.00        0.00    1,400.00
1702-nj                      Erika Figueroa                                    Current   C-2446708   rent      1/1/2021    01/2021          1,400.00   1,400.00    0.00      0.00        0.00        0.00    1,400.00
                             Erika Figueroa                                                                                           21,700.00 1,400.00          0.00 1,400.00 18,900.00            0.00 21,700.00


Iglesia Evangelica Indepient el Shaddai (igle1702)
1702-nj                      Iglesia Evangelica Indepient el Shaddai           Current   C-2242828   rent      11/1/2019   04/2020           920.00       0.00     0.00      0.00      920.00        0.00     920.00
1702-nj                      Iglesia Evangelica Indepient el Shaddai           Current   C-2395124   rent      11/1/2020   11/2020            63.00       0.00     0.00      0.00       63.00        0.00      63.00


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Aging Detail
DB Caption: USA LIVE 7s Property: 1702-nj     Status: Current, Past, Future All Selected Accounts Age As Of: 01/31/2021 Post To: 01/2021
Property       Customer     Lease                                             Status    Tran#       Charge    Date        Month            Current       0-30 31-60      61-90       Over        Pre-      Total
                                                                                                    Code                                     Owed       Owed     Owed    Owed    90 Owed     payments      Owed
1702-nj                     Iglesia Evangelica Indepient el Shaddai           Current   C-2416417   rent      12/1/2020   12/2020            63.00       0.00     0.00   63.00       0.00        0.00      63.00
1702-nj                     Iglesia Evangelica Indepient el Shaddai           Current   C-2446707   rent      1/1/2021    01/2021          1,323.00   1,323.00    0.00    0.00       0.00        0.00    1,323.00
                            Iglesia Evangelica Indepient el Shaddai                                                                    2,369.00 1,323.00         0.00    63.00    983.00         0.00   2,369.00


Jessica Garcia (garc1702)
1702-nj                     Jessica Garcia                                    Current   C-2226297   rent      11/1/2019   03/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2226298   rent      12/1/2019   03/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2226299   rent      1/1/2020    03/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2226300   rent      2/1/2020    03/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2226301   rent      3/1/2020    03/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2248402   rent      4/1/2020    04/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2230756   rent      5/1/2020    05/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2259948   rent      6/1/2020    06/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2287074   rent      7/1/2020    07/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2323358   rent      8/1/2020    08/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
1702-nj                     Jessica Garcia                                    Current   C-2338573   rent      9/1/2020    09/2020          1,300.00      0.00     0.00    0.00    1,300.00       0.00    1,300.00
                            Jessica Garcia                                                                                           14,300.00           0.00    0.00     0.00 14,300.00         0.00 14,300.00


Mario Zamuria and Patricia C (zamu1702)
1702-nj                     Mario Zamuria and Patricia C                      Current   C-2259947   rent      6/1/2020    06/2020          1,400.00      0.00     0.00    0.00    1,400.00       0.00    1,400.00
                            Mario Zamuria and Patricia C                                                                               1,400.00          0.00    0.00     0.00   1,400.00        0.00   1,400.00


Oraine Thompson (thom1702)
1702-nj                     Oraine Thompson                                   Current   C-2226308   rent      10/1/2019   03/2020          1,000.00      0.00     0.00    0.00    1,000.00       0.00    1,000.00
1702-nj                     Oraine Thompson                                   Current   C-2226309   rent      11/1/2019   03/2020          1,200.00      0.00     0.00    0.00    1,200.00       0.00    1,200.00
1702-nj                     Oraine Thompson                                   Current   C-2226312   rent      1/1/2020    03/2020           600.00       0.00     0.00    0.00     600.00        0.00     600.00
                            Oraine Thompson                                                                                            2,800.00          0.00    0.00     0.00   2,800.00        0.00   2,800.00


Phelicia Barnes (barn1702)
1702-nj                     Phelicia Barnes                                   Current   C-2446701   rent      1/1/2021    01/2021          1,400.00   1,400.00    0.00    0.00       0.00        0.00    1,400.00
                            Phelicia Barnes                                                                                            1,400.00 1,400.00         0.00     0.00       0.00        0.00   1,400.00


1702-nj                                                                                                                              75,910.00 5,579.00          0.00 5,919.00 64,412.00         0.00 75,910.00


Grand Total                                                                                                                          75,910.00 5,579.00          0.00 5,919.00 64,412.00         0.00 75,910.00


UserId : bryanfaulkner Date : 2/8/2021 Time : 4:07 PM




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                                                                                                                                               Payables Aging Report
                                                                                                                                                                1702-nj
                                                                                                                                                            Period: 01/2021
                                                                                                                                                           As of : 01/31/2021
  Payee     Payee Name                            Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date     Post Month                        Account                    Invoice #         Base      Current      0-30      31-60      61-90       Over         Future Notes
  Code                                                                                                                                                                                                    Currency    Owed        Owed      Owed       Owed         90          Invoice
                                                                                                                                                                                                                                                                  Owed
 coll1625   COLLIERS INT'L HOLDINGS (USA), INC.                                                                                                                                                                                                                                    0.00
                                                              P-1941067   655077     1702-nj      1/1/2021      1/1/2021     01-2021     5805-0000 Management Fees                   1702-nj1.21MGMTFEE                2,300.00     0.00   2,300.00       0.00           0.00      0.00 12.20 Mgmt Fee
Total coll1625                                                                                                                                                                                                        2,300.00      0.00   2,300.00       0.00        0.00         0.00


 coll666a   COLLIERS INT'L HOLDINGS (coll666a)                                                                                                                                                                                                                                     0.00
                                                              P-1940349   655030     1702-nj      1/1/2021      1/1/2021     01-2021     5895-0000 Miscellaneous Operating Expense      1702svctr0121                    65.60      0.00      65.60       0.00           0.00      0.00 Call Center Service Fee 01/2021
                                                              P-1929411   654210     1702-nj     12/1/2020                   12-2020     5895-0000 Miscellaneous Operating Expense      1702svctr1220                    65.60      0.00       0.00      65.60           0.00      0.00 Call Center Service Fee 12/2020
                                                              P-1932803   654425     1702-nj     12/20/2020    12/20/2020    12-2020     5810-0000 Management Compensation              1702pr122020                    148.80      0.00     148.80       0.00           0.00      0.00 Reimb Payroll 11/23-12/20/2020
Total coll666a                                                                                                                                                                                                         280.00       0.00    214.40      65.60         0.00         0.00


emco9815 EMCOR Services Fluidics                                                                                                                                                                                                                                                   0.00
                                                              P-1898086   651595     1702-nj     9/17/2020     10/2/2020     10-2020     5255-0000 Engineering Compensation              002053174                     3,652.46     0.00       0.00       0.00     3,652.46        0.00 AUG 2020 - Engineerg Comp - 191
                                                              P-1898114   651595     1702-nj     10/15/2020    10/30/2020    10-2020     5255-0000 Engineering Compensation              002053512                     3,826.39     0.00       0.00       0.00     3,826.39        0.00 SEPT 2020- Engineerg Comp- 191 F
                                                              P-1905086   652250     1702-nj     10/26/2020    11/10/2020    11-2020     5255-0000 Engineering Compensation              002053612                       31.64      0.00       0.00       0.00       31.64         0.00 SEPT 2020-Engineerg Comp- 191 Fi
                                                              P-1905086   652250     1702-nj     10/26/2020    11/10/2020    11-2020     5655-0000 General Building Expense              002053612                      298.14      0.00       0.00       0.00      298.14         0.00 SEPT 2020-Gen Bldg Exp- 191 Firs
                                                              P-1915693   653149     1702-nj     11/18/2020    12/3/2020     12-2020     5255-0000 Engineering Compensation              002053879                       11.50      0.00       0.00      11.50           0.00      0.00 OCT 2020 - ENGINEERG COMP - 191
                                                              P-1915693   653149     1702-nj     11/18/2020    12/3/2020     12-2020     5655-0000 General Building Expense              002053879                       19.46      0.00       0.00      19.46           0.00      0.00 OCT 2020 - GEN BLDG EXP- 191 Fir
                                                              P-1915697   653149     1702-nj     11/18/2020    12/3/2020     12-2020     5255-0000 Engineering Compensation              002053915                     3,826.39     0.00       0.00   3,826.39           0.00      0.00 OCT 2020 - ENGINEERG COMP - 191
                                                              P-1825981   645688     1702-nj     6/10/2020     6/25/2020     06-2020     5255-0000 Engineering Compensation              002052118                     3,652.46     0.00       0.00       0.00     3,652.46        0.00 May 2020 - Engineerg Comp - 191
                                                              P-1851176   647773     1702-nj     7/22/2020      8/6/2020     08-2020     5255-0000 Engineering Compensation              002052528                     3,826.39     0.00       0.00       0.00     3,826.39        0.00 06/2020 - Engineerg Comp - 191 F
                                                              P-1862522   648662     1702-nj     8/13/2020     8/28/2020     08-2020     5255-0000 Engineering Compensation              002052794                     4,000.31     0.00       0.00       0.00     4,000.31        0.00 JUL 2020 - Engineerg Comp - 191
                                                              P-1931687   654349     1702-nj     12/10/2020    12/25/2020    12-2020     5255-0000 Engineering Compensation              002054268                     3,652.46     0.00   3,652.46       0.00           0.00      0.00 Nov 2020 - Engineerg Comp - 191 First
                                                              P-1931690   654349     1702-nj     12/17/2020     1/1/2021     12-2020     5255-0000 Engineering Compensation              002054350                       30.48      0.00      30.48       0.00           0.00      0.00 11/2020 - Engineerg Comp - 191 First
                                                              P-1931690   654349     1702-nj     12/17/2020     1/1/2021     12-2020     5655-0000 General Building Expense              002054350                       42.93      0.00      42.93       0.00           0.00      0.00 11/2020 - Gen Bldg Exp - 191 First
Total emco9815                                                                                                                                                                                                       26,871.01      0.00   3,725.87   3,857.35   19,287.79         0.00


  sillone   SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                                             0.00
                                                              P-1902068   652019     1702-nj     6/10/2020     6/10/2020     11-2020     5865-0000 Professional Fees                     1776732 2                    13,707.82     0.00       0.00       0.00    13,707.82        0.00 Legal Services though 05/31/20
                                                              P-1928437   654157     1702-nj     12/8/2020     12/8/2020     12-2020     7905-0000 Legal                                  1787301                       892.00      0.00     892.00       0.00           0.00      0.00 11/30/20
                                                              P-1928441   654157     1702-nj     11/9/2020     11/9/2020     12-2020     7905-0000 Legal                                  1785497                      1,709.35     0.00       0.00   1,709.35           0.00      0.00 10/31/20
                                                              P-1944716   655454     1702-nj     1/12/2021     1/12/2021     01-2021     7905-0000 Legal                                  1789286                       872.48    872.48       0.00       0.00           0.00      0.00 legal services through 12/31
Total sillone                                                                                                                                                                                                        17,181.65    872.48    892.00    1,709.35   13,707.82         0.00


 tolplu62   TOLEDO PLUMBING & HEATING INC                                                                                                                                                                                                                                          0.00
                                                              P-1905101   652250     1702-nj     10/7/2020     10/12/2020    11-2020     5405-0000 Plumbing                                10735                       1,316.68     0.00       0.00       0.00     1,316.68        0.00 REPLACEMENT OF STEM AND PIPING F
                                                              P-1826006   645688     1702-nj     6/12/2020     6/17/2020     06-2020     5420-0000 Plumbing R & M                          10002                       8,210.13     0.00       0.00       0.00     8,210.13        0.00 REPLACEMENT OF COMMERCIAL WATER
Total tolplu62                                                                                                                                                                                                        9,526.81      0.00      0.00        0.00    9,526.81         0.00


 unit3718 SUEZ Water                                                                                                                                                                                                                                                               0.00
                                                              P-1898082   651595     1702-nj     4/14/2020     4/14/2020     10-2020     5215-0000 Water                                093738-2004                      -12.66     0.00       0.00       0.00       -12.66        0.00 CREDIT
                                                              P-1898083   651595     1702-nj     4/20/2020     4/20/2020     10-2020     5215-0000 Water                               093738-200420                     -83.15     0.00       0.00       0.00       -83.15        0.00 BILL CREDIT
Total unit3718                                                                                                                                                                                                          -95.81      0.00      0.00        0.00      -95.81         0.00


  veri408   Verizon Wireless                                                                                                                                                                                                                                                       0.00
                                                              P-1943424   655301     1702-nj     1/12/2021     1/12/2021     01-2021     5845-0000 Telephone                         4423057200001/0121                  22.98     22.98       0.00       0.00           0.00      0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                                            22.98     22.98      0.00        0.00        0.00         0.00


Grand Total                                                                                                                                                                                                          56,086.64    895.46   7,132.27   5,632.30   42,426.61         0.00




                                                                                                                                                             Page 1 of 1
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                                                                                                                                                                                                                                                                     2/8/2021 4:09 PM

                                                                                                                                           Rent Roll
                                                                                                                       Property: 1702-nj From Date: 01/01/2021 By Property
                 Property                Unit(s)                       Lease                       Lease Type                Area          Lease From     Lease To    Term    Monthly      Monthly      Annual       Annual      Annual      Annual      Security     LOC Amount/
                                                                                                                                                                                Rent        Rent         Rent         Rent        Rec.        Misc       Deposit     Bank Guarantee
                                                                                                                                                                                           Per Area                  Per Area    Per Area    Per Area
1702-nj - 191 First Street,Englewood
Current Leases
1702-nj                                   APT1       Phelicia Barnes                              Residential                       0.00    10/1/2019                  0.00     1,400.00        0.00     16,800.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                  APT11       Danilo Collado                               Residential                       0.00    10/1/2019                  0.00     1,300.00        0.00     15,600.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                   APT2       Eboni Clark                                  Residential                       0.00    10/1/2019                  0.00     1,456.00        0.00     17,472.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                   APT3       Lisa Alexander                               Residential                       0.00    10/1/2019                  0.00     1,450.00        0.00     17,400.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                   APT4       Erika Figueroa                               Residential                       0.00    5/1/2019                   0.00     1,400.00        0.00     16,800.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                   APT6       Joyce Borbon                                 Residential                       0.00    10/1/2019                  0.00     1,250.00        0.00     15,000.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                   APT8       Emerson Argueta                              Residential                       0.00    10/1/2019                  0.00     1,700.00        0.00     20,400.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                   APT9       Joyce Wooden                                 Residential                       0.00    10/1/2019                  0.00      950.00         0.00     11,400.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                 CHURCH       Iglesia Evangelica Indepient el Shaddai      Residential                       0.00    10/1/2019                  0.00     1,323.00        0.00     15,876.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                LEFTCOMM      Oraine Thompson                              Residential                       0.00    10/1/2019                  0.00     1,200.00        0.00     14,400.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                  APT10       VACANT                                                                     800.00                                 0.00        0.00         0.00          0.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                  APT12       VACANT                                                                         0.00                               0.00        0.00         0.00          0.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                   APT5       VACANT                                                                         0.00                               0.00        0.00         0.00          0.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                   APT7       VACANT                                                                         0.00                               0.00        0.00         0.00          0.00        0.00        0.00        0.00        0.00               0.00
1702-nj                                 RTCOMM       VACANT                                                                         0.00                               0.00        0.00         0.00          0.00        0.00        0.00        0.00        0.00               0.00
Total Current                                                                                                                  800.00                                         13,429.00       16.79    161,148.00      201.44        0.00        0.00        0.00               0.00


                                       Total Units                                  Total Area       Percentage          Monthly Rent      Annual Rent
Occupied                                 10.00                                             0.00                 0.00          13,429.00      161,148.00
Vacant                                    5.00                                           800.00            100.00                   0.00           0.00
Total                                    15.00                                         800.00                               13,429.00       161,148.00




                                                                                                                                            Page 1 of 1
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                                          191 First Street Operating                                                             2/2/2021


                                          Bank Reconcilation Report
                                                     01/31/2021




  Balance Per Bank Statement as of 01/31/2021                                                              4,962.91
  Outstanding Checks

  Check Date               Check Number      Payee                                                           Amount
  12/30/2020                      289        pseg1444 - PSE&G Co.                                             -70.29
  01/29/2021                      297        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                -2,300.00
  01/29/2021                      298        summa515 - SUMMA ENERGY CORP                                    -692.74
  Less:              Outstanding Checks                                                                   -3,063.03
                     Reconciled Bank Balance                                                               1,899.88



  Balance per GL as of 01/31/2021                                                                          1,899.88
                     Reconciled Balance Per G/L                                                            1,899.88
  Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                  0.00



  Cleared Items:


  Cleared Checks

  Date               Tran #                  Notes                                              Amount            Date Cleared
  01/06/2021                     290         coop351 - Cooper Pest Solutions, Inc.                       103.96        01/31/2021
  01/06/2021                     291         unit3718 - SUEZ Water                                       495.40        01/31/2021
  01/12/2021                     292         summa515 - SUMMA ENERGY CORP                            3,203.95          01/31/2021
  01/12/2021                     293         veri408 - Verizon Wireless                                   22.92        01/31/2021
  01/20/2021                     294         pseg1444 - PSE&G Co.                                         91.63        01/31/2021
  01/20/2021                     295         summa515 - SUMMA ENERGY CORP                            1,165.99          01/31/2021
  01/21/2021                    12121        fmch299 - F.M. Christiano Insurance Agency, Inc.        2,636.00          01/31/2021
  Total Cleared Checks                                                                              7,719.85
  Cleared Deposits

  Date               Tran #                  Notes                                              Amount            Date Cleared
  01/06/2021                     84                                                                  4,150.00          01/31/2021
  01/08/2021                     85                                                                      950.00        01/31/2021
  01/12/2021                     86                                                                  2,710.00          01/31/2021
  01/20/2021                     87                                                                  2,700.00          01/31/2021
  01/27/2021                     88                                                                  1,250.00          01/31/2021
  Total Cleared Deposits                                                                           11,760.00
   Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 51 of 274 PageID: 4221




       ENGLEWOOD FUNDING, LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                     4Contact your Relationship Manager to discuss
                                                                                     targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                     $922.76        Number of Days in Cycle                                  29
5 Deposits/Credits                                        $11,760.00         Minimum Balance This Cycle                          $922.76
7 Checks/Debits                                           ($7,719.85)        Average Collected Balance                         $5,054.23
Service Charges                                                 $0.00
Ending Balance 01/29/21                                     $4,962.91

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021             - JANUARY 29, 2021


Date       Description                                                  Deposits/Credits    Withdrawals/Debits          Resulting Balance
01/06      Customer Deposit                                                    $4,150.00                                         $5,072.76
01/08      Customer Deposit                                                      $950.00                                         $6,022.76
01/12      Customer Deposit                                                    $2,710.00                                         $8,732.76
01/12      Check      290                                                                                 $103.96                $8,628.80
01/19      Check      291                                                                                 $495.40                $8,133.40
01/20      Customer Deposit                                                    $2,700.00                                        $10,833.40
01/21      Wire transfer withdrawal FM Christiano                                                       $2,636.00                $8,197.40
           In surance
01/21      Check      292                                                                               $3,203.95                 $4,993.45
01/21      Check      293                                                                                  $22.92                 $4,970.53
01/25      Check      295                                                                               $1,165.99                 $3,804.54
01/25      Check      294                                                                                  $91.63                 $3,712.91
01/27      Customer Deposit                                                    $1,250.00                                          $4,962.91
Total                                                                        $11,760.00                 $7,719.85




                                                          Thank you for banking with us.                                     PAGE 1 OF 2

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 ACCOUNT DETAIL             CONTINUED FOR PERIOD JANUARY 01, 2021     - JANUARY 29, 2021


        * designates gap in check sequence
 Check No.   Date                Amount      Check No.   Date     Amount     Check No.   Date                Amount
 290         01/12               $103.96     292         01/21   $3,203.95   294         01/25              $91.63
 291         01/19               $495.40     293         01/21      $22.92   295         01/25           $1,165.99




                                                                                                  PAGE 2 OF 2



                                                                                             PSI: 1 / SHC: 0 / LOB :C
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                                       Englewood Funding Sec Dep                       2/2/2021


                                        Bank Reconcilation Report
                                                  01/31/2021




  Balance Per Bank Statement as of 01/31/2021                                   0.00
                    Reconciled Bank Balance                                     0.00



  Balance per GL as of 01/31/2021                                               0.00
                     Reconciled Balance Per G/L                                 0.00
  Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)   0.00
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       ENGLEWOOD FUNDING LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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                                                                        PSI: 0 / SHC: 0 / LOB :C
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  88 McKinley Street; 170 South Park St
  Hackensack Norse LLC

  Portal v. Levine
  Civil Action No. 19-cv-19611 (MCA) (LDW)
  January 2021




   PREPARED BY:
   Samantha Davis
   samantha.davis@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 57 of 274 PageID: 4227




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              2. Balance Sheet
              3. Income Statement
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              7. Accounts Payable Aging
              8. Rent Roll
              9. Bank Reconciliation and Statement
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   Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
   scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of
   dollars for the purchase of residential apartment buildings located throughout the State of New Jersey,
   as more particularly identified and described in the Schedule annexed to this Court’s Order appointing
   Colliers International NJ LLC to serve as the Receiver for the properties at issue. The corporate
   borrowers deferred maintenance and abandonment of their other management responsibilities for
   these properties resulted in profound and immediate issues for which this appointment was necessary.
   Due to an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused
   to provide critical operating information or to otherwise assist with the Receiver’s assumption of the
   management responsibilities necessary to stabilize these assets at the time of its appointment. This
   Inventory and Report is provided pursuant to the Court’s Order.
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88 McKinley St & 170 S. Park St (1694-nj)                                                     Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                      Current Balance
       1000-0000          ASSETS



       1005-0000          CASH & EQUIVALENTS
       1020-0000            Cash-Operating                                                 41,064.72


       1099-9999          TOTAL CASH & EQUIVALENTS                                         41,064.72


       1999-9999          TOTAL ASSETS                                                     41,064.72



       2000-0000          LIABILITY AND EQUITY



       3000-0000          EQUITY
       3100-0300            Funding from Loan Servicer                                      12,738.92
       3550-2700            Distribution to Loan Servicer                                  -42,464.00
       3800-0000            Current Year Earnings                                            8,858.95
       3811-0000            Prior Year Retained Earnings                                    61,930.85


       3900-9999          TOTAL EQUITY                                                     41,064.72


       3999-9999          TOTAL LIABILITY & EQUITY                                         41,064.72




                                                                           Tuesday, February 09, 2021
                                                                                            01:29 PM
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88 McKinley St & 170 S. Park St (1694-nj)                                                               Page 1

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                                  Period to Date       %    Year to Date                     %
 4001-0000    REVENUE



 4005-0000    RENT
 4006-0000      Prepaid Income                           466.00      1.75        466.00                   1.75
 4110-0000      Rent                                  23,515.00     88.44     23,515.00                  88.44
 4117-0000      Subsidized Rent                        2,609.00      9.81      2,609.00                   9.81


 4299-4999    TOTAL RENT                              26,590.00    100.00     26,590.00                 100.00


 4998-9999    TOTAL REVENUE                           26,590.00    100.00     26,590.00                 100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5200-0000    UTILITIES
 5205-0000      Electricity                              815.68      3.07        815.68                   3.07
 5215-0000      Water                                  1,011.56      3.80      1,011.56                   3.80


 5249-9999    TOTAL UTILITIES                          1,827.24      6.87      1,827.24                   6.87



 5250-0000    ENGINEERING
 5255-0000      Engineering Compensation               1,716.66      6.46      1,716.66                   6.46


 5299-9999    TOTAL ENGINEERING                        1,716.66      6.46      1,716.66                   6.46



 5600-0000    ROADS/GROUNDS
 5635-0000      Snow Removal                           6,397.50     24.06      6,397.50                  24.06


 5649-9999    TOTAL ROADS/GROUNDS                      6,397.50     24.06      6,397.50                  24.06



 5650-0000    GEN BLDG REPAIR/MAINT.
 5658-0000      General Property Inspection            1,280.00      4.81      1,280.00                   4.81
 5680-0000      Pest Control                           1,722.33      6.48      1,722.33                   6.48


 5699-9999    TOTAL GEN BLDG REPAIR/MAINT.             3,002.33     11.29      3,002.33                  11.29



 5800-0000    MANAGEMENT/ADMIN
 5805-0000      Management Fees                        4,550.00     17.11      4,550.00                  17.11
 5810-0000      Management Compensation                  148.80      0.56        148.80                   0.56
 5845-0000      Telephone                                 22.92      0.09         22.92                   0.09
 5895-0000      Miscellaneous Operating Expense           65.60      0.25         65.60                   0.25


 5899-9999    TOTAL MANAGEMENT/ADMIN                   4,787.32     18.00      4,787.32                  18.00


 5950-9999    TOTAL RECOVERABLE EXPENSES              17,731.05     66.68     17,731.05                  66.68



                                                                                     Tuesday, February 09, 2021
                                                                                                      01:29 PM
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88 McKinley St & 170 S. Park St (1694-nj)                                                        Page 2

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                            Period to Date      %    Year to Date                     %
 6998-9999    TOTAL OPERATING EXPENSES          17,731.05    66.68     17,731.05                  66.68


 6999-9999    NET OPERATING INCOME               8,858.95    33.32      8,858.95                  33.32


 9496-9999    NET INCOME                         8,858.95    33.32      8,858.95                  33.32




                                                                              Tuesday, February 09, 2021
                                                                                               01:29 PM
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                                                                                                                                                                                                               2/9/2021 1:36 PM

                                                                                  88 McKinley St & 170 S. Park St (1694-nj)

                                                                                         Receipt Register
                                                                                            For Period = Jan 2021
 Control    Batch   Period    Date                           Person                   Property                      Cash Acct            Account            Recovery   Amount      Reference         Check #      Notes
R-1227983 467187 01/2021 1/4/2021     Addie Best(best1694)            88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           194.00                1236


R-1227984 467187 01/2021 1/4/2021     Maria JaQuez(mari1694)          88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,000.00                8714107246


R-1229430 467892 01/2021 1/6/2021     Queen Lane(lane1694)            88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,144.00                4926


R-1229431 467892 01/2021 1/6/2021     Phyllis L. Hammond(hamm1694)    88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,051.00                121


R-1229433 467892 01/2021 1/6/2021     Rodney Hayer(haye1694)          88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           500.00                R108316716992


R-1229443 467892 01/2021 1/6/2021     Maria Zhagui(zhah1694)          88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,000.00                R108820123368


R-1229444 467892 01/2021 1/6/2021     Maria Zhagui(zhah1694)          88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           220.00                R108820123379


R-1231128 468436 01/2021 1/8/2021     Antonia Florentino(flor1694)    88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           112.00                128


R-1231132 468436 01/2021 1/8/2021     Josephine Hill(hill1694)        88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                            91.00                R108820124369


R-1231133 468436 01/2021 1/8/2021     Anastacio Castillo (cast1694)   88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,000.00                R108820123577


R-1231134 468436 01/2021 1/8/2021     Anastacio Castillo (cast1694)   88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                            20.00                R108820123588


R-1231136 468436 01/2021 1/8/2021     Hernando Torres(torr1694)       88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,075.00                132


R-1231174 468454 01/2021 1/1/2021     Addie Best(best1694)            88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4117-0000 Subsidized Rent                875.00                ACH


R-1231178 468454 01/2021 1/1/2021     Antonia Florentino(flor1694)    88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4117-0000 Subsidized Rent                925.00                ACH
                                                                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                  13.00                ACH


R-1231180 468454 01/2021 1/1/2021     Josephine Hill(hill1694)        88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4117-0000 Subsidized Rent                809.00                ACH


R-1231446 468564 01/2021 1/11/2021 Lenora Brown(brow1694)             88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           132.00                Apply
                                                                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             8.00                Apply
                                                                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             8.00                Apply
                                                                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             8.00                Apply
                                                                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             8.00                Apply
                                                                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                          -164.00                Apply


R-1231969 468759 01/2021 1/12/2021 Antonia Florentino(flor1694)       88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                            13.00                Apply
                                                                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                 -13.00                Apply


R-1231970 468759 01/2021 1/12/2021 Gloria Aguirre(agui1694)           88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income               -1,000.00               Apply
                                                                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,000.00                Apply


R-1231975 468759 01/2021 1/12/2021 Mario Cabrera(cabr1694)            88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           960.00                Apply


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                                                                                                                                                                                                                             2/9/2021 1:36 PM

                                                                                             88 McKinley St & 170 S. Park St (1694-nj)

                                                                                                    Receipt Register
                                                                                                       For Period = Jan 2021
 Control    Batch   Period    Date                           Person                              Property                      Cash Acct            Account            Recovery   Amount     Reference         Check #          Notes
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                -960.00               Apply


R-1231980 468759 01/2021 1/12/2021 Mayra Guzman & Harry H. Fernandez(guzz1694)   88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                -511.00               Apply           *      12/18/20
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           511.00               Apply


R-1231984 468759 01/2021 1/12/2021 Rodney Hayer(haye1694)                        88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           375.00               Apply
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                 -75.00               Apply           prepd-c 10/26/20
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                -300.00               Apply


R-1231990 468759 01/2021 1/12/2021 Tara Hill(thil1694)                           88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                -119.00               Apply           prepd-c 09/08/20
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4117-0000 Subsidized Rent                138.00               Apply
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4117-0000 Subsidized Rent               -138.00               Apply
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           119.00               Apply


R-1232793 468995 01/2021 1/12/2021 Viletha Aultmon(ault1694)                     88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           964.00               1590


R-1232795 468995 01/2021 1/12/2021 Dale Kent(kent1694)                           88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,200.00               007503


R-1234490 469631 01/2021 1/14/2021 Miriam Sanchez(sanc1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                            20.00               0000432163
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                         1,030.00               0000432163


R-1235198 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           226.00               19-144675632


R-1235200 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           227.00               19-171266709


R-1235201 469935 01/2021 1/20/2021 Tiwane Buggs(bugg1694)                        88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           925.00               114


R-1235202 469935 01/2021 1/20/2021 Michelle Hall(hall1694)                       88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           875.00               525


R-1235203 469935 01/2021 1/20/2021 Portia Chambers(cham1694)                     88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           914.00               229


R-1235205 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           227.00               R108436393164


R-1235206 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           227.00               R108436393220


R-1235207 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           227.00               R108436393219


R-1235209 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             1.00               R108436393208
                                                                                 88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                 226.00               R108436393208


R-1235210 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                 227.00               R108436393197


R-1235213 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                 227.00               R108436393186


R-1235214 469935 01/2021 1/20/2021 Jerica Degroat(degr1694)                      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                 227.00               R108436393175


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                                                                                     88 McKinley St & 170 S. Park St (1694-nj)

                                                                                            Receipt Register
                                                                                               For Period = Jan 2021
 Control    Batch   Period    Date                        Person                         Property                      Cash Acct            Account           Recovery     Amount      Reference         Check #          Notes


R-1235672 470198 01/2021 1/21/2021 John Smith(john1694)                  88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                            875.00                128


R-1235677 470198 01/2021 1/21/2021 Rodney Hayer(haye1694)                88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                  125.00                R108820153387
                                                                         88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                  375.00                R108820153387


R-1235680 470198 01/2021 1/21/2021 Ronald & Latosha Evans(evan1694)      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             15.00                R108820154025
                                                                         88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                            875.00                R108820154025


R-1235685 470198 01/2021 1/21/2021 Tara Hill(thil1694)                   88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                              46.00               R108820125612
                                                                         88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             46.00                R108820125612
                                                                         88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             73.00                R108820125612
                                                                         88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             19.00                R108820125612


R-1237141 470906 01/2021 1/27/2021 Addie Best(best1694)                  88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                  194.00                1238            *


R-1237143 470906 01/2021 1/27/2021 Dale Kent(kent1694)                   88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           1,200.00               007533


R-1237144 470906 01/2021 1/27/2021 Ronald & Latosha Evans(evan1694)      88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                             20.00                R108316714055
                                                                         88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                  870.00                R108316714055


R-1237146 470906 01/2021 1/27/2021 Leidy Alejandra Rodriguez(rodr1694)   88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           1,075.00               0001734808


R-1237147 470906 01/2021 1/27/2021 Sharon Cosgrove(cosg1694)             88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                            823.00                148


R-1237148 470906 01/2021 1/27/2021 Mario Cabrera(cabr1694)               88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4006-0000 Prepaid Income                  960.00                555


R-1237149 470906 01/2021 1/27/2021 Maria JaQuez(mari1694)                88 McKinley St & 170 S. Park St(1694-nj)      1020-0000   4110-0000 Rent                           1,000.00               8714107307
                                                                                                                                                                   Total   26,590.00




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                                                                                                                                   88 McKinley St & 170 S. Park St (1694-nj)

                                                                                                                                          Check Register
                                                                                                                                            For Period = Jan 2021
 Control    Batch   Period    Date                              Person                                   Property                                          Account                 Recovery     Amount      Reference                                             Notes
K-1381615   278391 01/2021 1/11/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    88 McKinley St & 170 S. Park St(1694-nj)       5810-0000 Management Compensation                          148.80 354


K-1381616   278391 01/2021 1/11/2021   Cooper Pest Solutions, Inc. (coop351)            88 McKinley St & 170 S. Park St(1694-nj)       5680-0000 Pest Control                                     314.88 355            4th follow up for bed bug treatment for 170 s park st apt 4


K-1381617   278391 01/2021 1/11/2021   Lawns by Yorkshire (lawn9)                       88 McKinley St & 170 S. Park St(1694-nj)       5635-0000 Snow Removal                                    3,198.75 356           SNOW REMOVAL CNTRACT PAYMENT 3 OF 5 FOR 88 MCKINLEY ST HACKENSACK


K-1381618   278391 01/2021 1/11/2021   Lawns by Yorkshire (lawn9)                       88 McKinley St & 170 S. Park St(1694-nj)       5635-0000 Snow Removal                                    3,198.75 357           SNOW REMOVAL CONTRACT PAYMENT 3 OF 5 FOR 170 S PARK ST HACKENSACK


K-1381619   278391 01/2021 1/11/2021   Verizon Wireless (veri408)                       88 McKinley St & 170 S. Park St(1694-nj)       5845-0000 Telephone                                         22.92 358            12/13/20-01/12/21 - CELL PHONE SVC


K-1384876   279222 01/2021 1/19/2021   EMCOR Services Fluidics (emco9815)               88 McKinley St & 170 S. Park St(1694-nj)       5255-0000 Engineering Compensation                        1,716.66 1192021       12/2020 - Engineering Comp - 88 McKinley


K-1384954   279256 01/2021 1/20/2021   Cooper Pest Solutions, Inc. (coop351)            88 McKinley St & 170 S. Park St(1694-nj)       5680-0000 Pest Control                                     586.44 359            ANNUAL BATING FOR 88 MCKINLEY ST HACKENSACK


K-1384955   279256 01/2021 1/20/2021   Cooper Pest Solutions, Inc. (coop351)            88 McKinley St & 170 S. Park St(1694-nj)       5680-0000 Pest Control                                     821.01 360            ANNUAL BATING FOR 170 S PARK ST HACKENSACK


K-1384956   279256 01/2021 1/20/2021   SUEZ Water (unit3718)                            88 McKinley St & 170 S. Park St(1694-nj)       5215-0000 Water                                           1,011.56 361           WATER CHARGES FOR 170 S PARK ST HACKENSACK 11/02/20- 12/07/20


K-1387196   279752 01/2021 1/21/2021   STATE OF NEW JERSEY (stat662)                    88 McKinley St & 170 S. Park St(1694-nj)       5658-0000 General Property Inspection                     1,280.00 1252021       BHI cyclical inspection 12/20


K-1388592   280084 01/2021 1/28/2021   COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)   88 McKinley St & 170 S. Park St(1694-nj)       5805-0000 Management Fees                                 4,550.00 362           01.21 Management Fee


K-1388593   280084 01/2021 1/28/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    88 McKinley St & 170 S. Park St(1694-nj)       5895-0000 Miscellaneous Operating Expense                   65.60 363


K-1388594   280084 01/2021 1/28/2021   Di Dio Electric Inc. (didi1100)                  88 McKinley St & 170 S. Park St(1694-nj)       5205-0000 Electricity                                      815.68 364            BASEBOARD REPLACEMENT FOR 88 MCKINLEY ST APT 3
                                                                                                                                                                                        Total   17,731.05




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Aging Detail
DB Caption: USA LIVE 7s Property: 1694-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current    0-30   31-60   61-90        Over       Pre-               Total
                                                                     Code                                          Owed     Owed    Owed    Owed     90 Owed    payments              Owed
88 McKinley St & 170 S. Park St (1694-nj)
Addie Best (best1694)
1694-nj               Addie Best               Current   C-         rent         12/01/2020   12/2020             194.00     0.00    0.00   194.00       0.00       0.00             194.00
                                                         2416237
1694-nj                 Addie Best             Current   R-         Prepay       01/27/2021   01/2021                0.00    0.00    0.00     0.00       0.00    -194.00            -194.00
                                                         1237141
                        Addie Best                                                                                194.00     0.00    0.00   194.00       0.00    -194.00               0.00


Antonia Florentino (flor1694)
1694-nj                  Antonia Florentino    Current   R-         Prepay       11/09/2020   11/2020                0.00    0.00    0.00     0.00       0.00     -14.00              -14.00
                                                         1218804
1694-nj                 Antonia Florentino     Current   R-         Prepay       12/09/2020   12/2020                0.00    0.00    0.00     0.00       0.00    -125.00            -125.00
                                                         1219345
1694-nj                 Antonia Florentino     Current   R-         Prepay       12/15/2020   12/2020                0.00    0.00    0.00     0.00       0.00     -26.00              -26.00
                                                         1221453
                        Antonia Florentino                                                                           0.00    0.00    0.00     0.00       0.00    -165.00            -165.00


Cressie Lee (leec1694)
1694-nj                Cressie Lee             Past      C-         rent         10/01/2019   02/2020            1,195.00    0.00    0.00     0.00   1,195.00       0.00           1,195.00
                                                         2198185
1694-nj                 Cressie Lee            Past      C-         rent         11/01/2019   02/2020              20.00     0.00    0.00     0.00     20.00        0.00              20.00
                                                         2198186
                        Cressie Lee                                                                              1,215.00    0.00    0.00     0.00   1,215.00       0.00           1,215.00


Horace Corry (corr1694)
1694-nj               Horace Corry             Current   C-         rent         10/01/2019   02/2020            1,235.00    0.00    0.00     0.00   1,235.00       0.00           1,235.00
                                                         2198205
1694-nj                 Horace Corry           Current   C-         rent         11/01/2019   02/2020             665.00     0.00    0.00     0.00    665.00        0.00             665.00
                                                         2198206
1694-nj                 Horace Corry           Current   C-         rent         12/01/2019   02/2020            1,235.00    0.00    0.00     0.00   1,235.00       0.00           1,235.00
                                                         2198207
1694-nj                 Horace Corry           Current   C-         rent         01/01/2020   02/2020             565.00     0.00    0.00     0.00    565.00        0.00             565.00
                                                         2198208
1694-nj                 Horace Corry           Current   C-         rent         02/01/2020   02/2020            1,235.00    0.00    0.00     0.00   1,235.00       0.00           1,235.00
                                                         2198209
1694-nj                 Horace Corry           Current   C-         rent         03/01/2020   03/2020             635.00     0.00    0.00     0.00    635.00        0.00             635.00
                                                         2203389
1694-nj                 Horace Corry           Current   C-         rent         04/01/2020   04/2020             635.00     0.00    0.00     0.00    635.00        0.00             635.00
                                                         2202810
1694-nj                 Horace Corry           Current   C-         rent         05/01/2020   05/2020            1,235.00    0.00    0.00     0.00   1,235.00       0.00           1,235.00
                                                         2230435
1694-nj                 Horace Corry           Current   C-         rent         06/01/2020   06/2020             936.00     0.00    0.00     0.00    936.00        0.00             936.00
                                                         2259562
1694-nj                 Horace Corry           Current   C-         rent         07/01/2020   07/2020             936.00     0.00    0.00     0.00    936.00        0.00             936.00
                                                         2286914
1694-nj                 Horace Corry           Current   C-         rent         08/01/2020   08/2020             936.00     0.00    0.00     0.00    936.00        0.00             936.00
                                                         2323234


                                                                                                                                                                  Tuesday, February 09, 2021
                                                                                                                                                                                   01:45 PM
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Aging Detail
DB Caption: USA LIVE 7s Property: 1694-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over        Pre-               Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed     payments              Owed
1694-nj               Horace Corry             Current   C-         rent         09/01/2020   09/2020              935.00        0.00    0.00       0.00     935.00        0.00             935.00
                                                         2338406
1694-nj               Horace Corry             Current   C-         rent         10/01/2020   10/2020             1,235.00       0.00    0.00       0.00    1,235.00       0.00           1,235.00
                                                         2363460
1694-nj               Horace Corry             Current   C-         rent         11/01/2020   11/2020             1,235.00       0.00    0.00       0.00    1,235.00       0.00           1,235.00
                                                         2393714
1694-nj               Horace Corry             Current   C-         rent         12/01/2020   12/2020             1,235.00       0.00    0.00   1,235.00        0.00       0.00           1,235.00
                                                         2416247
1694-nj               Horace Corry             Current   C-         rent         01/01/2021   01/2021             1,235.00   1,235.00    0.00       0.00        0.00       0.00           1,235.00
                                                         2446593
                      Horace Corry                                                                               16,123.00   1,235.00    0.00   1,235.00   13,653.00       0.00          16,123.00


Jerica Degroat (degr1694)
1694-nj               Jerica Degroat           Current   C-         subsidre     10/01/2019   08/2020              383.00        0.00    0.00       0.00     383.00        0.00             383.00
                                                         2344718
1694-nj               Jerica Degroat           Current   C-         subsidre     11/01/2019   08/2020              383.00        0.00    0.00       0.00     383.00        0.00             383.00
                                                         2344719
1694-nj               Jerica Degroat           Current   C-         subsidre     06/01/2020   08/2020              797.00        0.00    0.00       0.00     797.00        0.00             797.00
                                                         2344654
1694-nj               Jerica Degroat           Current   C-         subsidre     07/01/2020   08/2020             1,174.00       0.00    0.00       0.00    1,174.00       0.00           1,174.00
                                                         2344655
1694-nj               Jerica Degroat           Current   C-         subsidre     08/01/2020   08/2020             1,173.00       0.00    0.00       0.00    1,173.00       0.00           1,173.00
                                                         2344638
1694-nj               Jerica Degroat           Current   C-         subsidre     09/01/2020   09/2020             1,173.00       0.00    0.00       0.00    1,173.00       0.00           1,173.00
                                                         2344645
1694-nj               Jerica Degroat           Current   C-         subsidre     10/01/2020   10/2020             1,173.00       0.00    0.00       0.00    1,173.00       0.00           1,173.00
                                                         2363480
1694-nj               Jerica Degroat           Current   C-         subsidre     11/01/2020   11/2020             1,173.00       0.00    0.00       0.00    1,173.00       0.00           1,173.00
                                                         2393734
1694-nj               Jerica Degroat           Current   C-         subsidre     12/01/2020   12/2020             1,173.00       0.00    0.00   1,173.00        0.00       0.00           1,173.00
                                                         2416267
1694-nj               Jerica Degroat           Current   C-         subsidre     01/01/2021   01/2021             1,173.00   1,173.00    0.00       0.00        0.00       0.00           1,173.00
                                                         2446613
1694-nj               Jerica Degroat           Current   R-         Prepay       01/20/2021   01/2021                 0.00       0.00    0.00       0.00        0.00    -226.00            -226.00
                                                         1235209
1694-nj               Jerica Degroat           Current   R-         Prepay       01/20/2021   01/2021                 0.00       0.00    0.00       0.00        0.00    -227.00            -227.00
                                                         1235210
1694-nj               Jerica Degroat           Current   R-         Prepay       01/20/2021   01/2021                 0.00       0.00    0.00       0.00        0.00    -227.00            -227.00
                                                         1235213
1694-nj               Jerica Degroat           Current   R-         Prepay       01/20/2021   01/2021                 0.00       0.00    0.00       0.00        0.00    -227.00            -227.00
                                                         1235214
                      Jerica Degroat                                                                              9,775.00   1,173.00    0.00   1,173.00    7,429.00    -907.00           8,868.00


John Smith (john1694)
1694-nj               John Smith               Current   R-         Prepay       11/24/2020   11/2020                 0.00       0.00    0.00       0.00        0.00      -3.00               -3.00
                                                         1218518
                      John Smith                                                                                      0.00       0.00    0.00       0.00        0.00      -3.00               -3.00



                                                                                                                                                                         Tuesday, February 09, 2021
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Aging Detail
DB Caption: USA LIVE 7s Property: 1694-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current    0-30    31-60   61-90        Over       Pre-               Total
                                                                     Code                                          Owed     Owed     Owed    Owed     90 Owed    payments              Owed
Leidy Alejandra Rodriguez (rodr1694)
1694-nj                Leidy Alejandra Rodriguez Current    C-        rent       07/01/2020   07/2020            1,075.00     0.00    0.00     0.00   1,075.00       0.00           1,075.00
                                                            2286912
                      Leidy Alejandra Rodriguez                                                                  1,075.00     0.00    0.00     0.00   1,075.00       0.00           1,075.00


Lenora Brown (brow1694)
1694-nj              Lenora Brown                 Current   C-        rent       12/01/2019   03/2020              51.00      0.00    0.00     0.00     51.00        0.00              51.00
                                                            2229630
1694-nj               Lenora Brown                Current   C-        rent       05/01/2020   05/2020             701.00      0.00    0.00     0.00    701.00        0.00             701.00
                                                            2230434
1694-nj               Lenora Brown                Current   C-        subsidre   09/01/2020   09/2020             265.00      0.00    0.00     0.00    265.00        0.00             265.00
                                                            2338405
1694-nj               Lenora Brown                Current   C-        rent       10/01/2020   10/2020             701.00      0.00    0.00     0.00    701.00        0.00             701.00
                                                            2363458
1694-nj               Lenora Brown                Current   C-        subsidre   10/01/2020   10/2020             265.00      0.00    0.00     0.00    265.00        0.00             265.00
                                                            2363459
1694-nj               Lenora Brown                Current   C-        subsidre   11/01/2020   11/2020             265.00      0.00    0.00     0.00    265.00        0.00             265.00
                                                            2393713
1694-nj               Lenora Brown                Current   C-        rent       12/01/2020   12/2020             701.00      0.00    0.00   701.00       0.00       0.00             701.00
                                                            2416245
1694-nj               Lenora Brown                Current   C-        subsidre   12/01/2020   12/2020             265.00      0.00    0.00   265.00       0.00       0.00             265.00
                                                            2416246
1694-nj               Lenora Brown                Current   C-        rent       01/01/2021   01/2021             701.00    701.00    0.00     0.00       0.00       0.00             701.00
                                                            2446591
1694-nj               Lenora Brown                Current   C-        subsidre   01/01/2021   01/2021             265.00    265.00    0.00     0.00       0.00       0.00             265.00
                                                            2446592
                      Lenora Brown                                                                               4,180.00   966.00    0.00   966.00   2,248.00       0.00           4,180.00


Maria Zhagui (zhah1694)
1694-nj              Maria Zhagui                 Current   C-        rent       10/01/2019   04/2020             780.00      0.00    0.00     0.00    780.00        0.00             780.00
                                                            2249831
1694-nj               Maria Zhagui                Current   C-        rent       05/01/2020   05/2020            1,220.00     0.00    0.00     0.00   1,220.00       0.00           1,220.00
                                                            2249838
                      Maria Zhagui                                                                               2,000.00     0.00    0.00     0.00   2,000.00       0.00           2,000.00


Mario Cabrera (cabr1694)
1694-nj               Mario Cabrera               Current   R-        Prepay     01/27/2021   01/2021                0.00     0.00    0.00     0.00       0.00    -960.00            -960.00
                                                            1237148
                      Mario Cabrera                                                                                  0.00     0.00    0.00     0.00       0.00    -960.00            -960.00


Maurice Wells (well1694)
1694-nj               Maurice Wells               Current   C-        rent       02/01/2020   02/2020             800.00      0.00    0.00     0.00    800.00        0.00             800.00
                                                            2198234
1694-nj               Maurice Wells               Current   C-        rent       04/01/2020   04/2020             970.00      0.00    0.00     0.00    970.00        0.00             970.00
                                                            2202825
1694-nj               Maurice Wells               Current   C-        rent       05/01/2020   05/2020             970.00      0.00    0.00     0.00    970.00        0.00             970.00
                                                            2230451

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Aging Detail
DB Caption: USA LIVE 7s Property: 1694-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current    0-30    31-60   61-90        Over       Pre-                Total
                                                                     Code                                           Owed     Owed     Owed    Owed     90 Owed    payments               Owed
1694-nj              Maurice Wells             Current   C-         rent         06/01/2020   06/2020              970.00      0.00    0.00     0.00    970.00        0.00              970.00
                                                         2259579
1694-nj              Maurice Wells             Current   C-         rent         07/01/2020   07/2020              970.00      0.00    0.00     0.00    970.00        0.00              970.00
                                                         2286930
1694-nj              Maurice Wells             Current   C-         rent         08/01/2020   08/2020              970.00      0.00    0.00     0.00    970.00        0.00              970.00
                                                         2323252
1694-nj              Maurice Wells             Current   C-         rent         09/01/2020   09/2020              970.00      0.00    0.00     0.00    970.00        0.00              970.00
                                                         2338424
1694-nj              Maurice Wells             Current   C-         rent         10/01/2020   10/2020              970.00      0.00    0.00     0.00    970.00        0.00              970.00
                                                         2363478
1694-nj              Maurice Wells             Current   C-         rent         11/01/2020   11/2020              970.00      0.00    0.00     0.00    970.00        0.00              970.00
                                                         2393732
1694-nj              Maurice Wells             Current   C-         rent         12/01/2020   12/2020              970.00      0.00    0.00   970.00       0.00       0.00              970.00
                                                         2416265
1694-nj              Maurice Wells             Current   C-         rent         01/01/2021   01/2021              970.00    970.00    0.00     0.00       0.00       0.00              970.00
                                                         2446611
                     Maurice Wells                                                                               10,500.00   970.00    0.00   970.00   8,560.00       0.00           10,500.00


Mayra Guzman & Harry H. Fernandez (guzz1694)
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       10/18/2019   10/2019                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1053347
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       11/11/2019   11/2019                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1057682
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       11/11/2019   11/2019                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1057686
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       12/31/2019   01/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1090522
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       01/24/2020   01/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1084572
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       05/11/2020   05/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1131479
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       05/11/2020   05/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1131482
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       05/11/2020   05/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1131486
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       05/11/2020   05/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1131487
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       06/16/2020   06/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1146426
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       11/09/2020   11/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1218808
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       11/09/2020   11/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1218818
1694-nj             Mayra Guzman & Harry       Current   R-         Prepay       12/18/2020   12/2020                 0.00     0.00    0.00     0.00       0.00    -511.00             -511.00
                    H. Fernandez                         1222657
                    Mayra Guzman & Harry                                                                              0.00     0.00    0.00     0.00       0.00   -6,643.00           -6,643.00
                    H. Fernandez


Miriam Sanchez (sanc1694)

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Aging Detail
DB Caption: USA LIVE 7s Property: 1694-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current    0-30   31-60   61-90        Over       Pre-               Total
                                                                     Code                                          Owed     Owed    Owed    Owed     90 Owed    payments              Owed
1694-nj              Miriam Sanchez            Current   C-         rent         10/01/2020   10/2020             280.00     0.00    0.00     0.00    280.00        0.00             280.00
                                                         2363456
                     Miriam Sanchez                                                                               280.00     0.00    0.00     0.00    280.00        0.00             280.00


Portia Chambers (cham1694)
1694-nj              Portia Chambers           Current   C-         rent         11/01/2019   02/2020             528.00     0.00    0.00     0.00    528.00        0.00             528.00
                                                         2198256
1694-nj              Portia Chambers           Current   C-         rent         06/01/2020   06/2020             914.00     0.00    0.00     0.00    914.00        0.00             914.00
                                                         2259578
1694-nj              Portia Chambers           Current   C-         rent         07/01/2020   07/2020             914.00     0.00    0.00     0.00    914.00        0.00             914.00
                                                         2286929
1694-nj              Portia Chambers           Current   C-         rent         08/01/2020   08/2020             914.00     0.00    0.00     0.00    914.00        0.00             914.00
                                                         2323251
1694-nj              Portia Chambers           Current   C-         rent         09/01/2020   09/2020             914.00     0.00    0.00     0.00    914.00        0.00             914.00
                                                         2338423
1694-nj              Portia Chambers           Current   C-         rent         10/01/2020   10/2020             914.00     0.00    0.00     0.00    914.00        0.00             914.00
                                                         2363477
1694-nj              Portia Chambers           Current   C-         rent         11/01/2020   11/2020             914.00     0.00    0.00     0.00    914.00        0.00             914.00
                                                         2393731
1694-nj              Portia Chambers           Current   C-         rent         12/01/2020   12/2020             914.00     0.00    0.00   914.00       0.00       0.00             914.00
                                                         2416264
                     Portia Chambers                                                                             6,926.00    0.00    0.00   914.00   6,012.00       0.00           6,926.00


Robert Murphy (robe1694)
1694-nj              Robert Murphy             Current   C-         rent         10/01/2019   04/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2249839
1694-nj              Robert Murphy             Current   C-         rent         11/01/2019   04/2020             120.71     0.00    0.00     0.00    120.71        0.00             120.71
                                                         2249840
1694-nj              Robert Murphy             Current   C-         rent         01/01/2020   04/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2249842
1694-nj              Robert Murphy             Current   C-         rent         02/01/2020   04/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2249843
1694-nj              Robert Murphy             Current   C-         rent         05/01/2020   05/2020              29.00     0.00    0.00     0.00     29.00        0.00              29.00
                                                         2249846
1694-nj              Robert Murphy             Current   C-         rent         06/01/2020   06/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2259571
1694-nj              Robert Murphy             Current   C-         rent         07/01/2020   07/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2286923
1694-nj              Robert Murphy             Current   C-         subsidre     08/01/2020   08/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2323245
1694-nj              Robert Murphy             Current   C-         subsidre     09/01/2020   09/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2338417
1694-nj              Robert Murphy             Current   C-         subsidre     10/01/2020   10/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2363471
1694-nj              Robert Murphy             Current   C-         subsidre     11/01/2020   11/2020             543.00     0.00    0.00     0.00    543.00        0.00             543.00
                                                         2393725
1694-nj              Robert Murphy             Current   C-         subsidre     12/01/2020   12/2020             543.00     0.00    0.00   543.00       0.00       0.00             543.00
                                                         2416258


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Aging Detail
DB Caption: USA LIVE 7s Property: 1694-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current    0-30    31-60     61-90        Over       Pre-                Total
                                                                     Code                                          Owed     Owed     Owed      Owed     90 Owed    payments               Owed
1694-nj                Robert Murphy            Current   C-        subsidre     01/01/2021   01/2021             543.00    543.00    0.00       0.00       0.00       0.00              543.00
                                                          2446604
                       Robert Murphy                                                                             6,122.71   543.00    0.00    543.00    5,036.71       0.00            6,122.71


Rodney Hayer (haye1694)
1694-nj             Rodney Hayer                Current   R-        Prepay       03/04/2020   03/2020                0.00     0.00    0.00       0.00       0.00    -500.00             -500.00
                                                          1103927
1694-nj                Rodney Hayer             Current   R-        Prepay       03/30/2020   03/2020                0.00     0.00    0.00       0.00       0.00    -500.00             -500.00
                                                          1113240
1694-nj                Rodney Hayer             Current   R-        Prepay       05/27/2020   05/2020                0.00     0.00    0.00       0.00       0.00    -500.00             -500.00
                                                          1136711
1694-nj                Rodney Hayer             Current   R-        Prepay       08/17/2020   08/2020                0.00     0.00    0.00       0.00       0.00    -500.00             -500.00
                                                          1171447
1694-nj                Rodney Hayer             Current   R-        Prepay       09/29/2020   09/2020                0.00     0.00    0.00       0.00       0.00    -500.00             -500.00
                                                          1188441
1694-nj                Rodney Hayer             Current   R-        Prepay       11/09/2020   11/2020                0.00     0.00    0.00       0.00       0.00    -500.00             -500.00
                                                          1218820
1694-nj                Rodney Hayer             Current   R-        Prepay       12/14/2020   12/2020                0.00     0.00    0.00       0.00       0.00    -500.00             -500.00
                                                          1225614
1694-nj                Rodney Hayer             Current   R-        Prepay       12/22/2020   12/2020                0.00     0.00    0.00       0.00       0.00    -200.00             -200.00
                                                          1224977
1694-nj                Rodney Hayer             Current   R-        Prepay       01/21/2021   01/2021                0.00     0.00    0.00       0.00       0.00    -375.00             -375.00
                                                          1235677
1694-nj                Rodney Hayer             Current   R-        Prepay       01/21/2021   01/2021                0.00     0.00    0.00       0.00       0.00    -125.00             -125.00
                                                          1235677
                       Rodney Hayer                                                                                  0.00     0.00    0.00       0.00       0.00   -4,200.00           -4,200.00


Ronald & Latosha Evans (evan1694)
1694-nj              Ronald & Latosha Evans     Current   R-        Prepay       01/27/2021   01/2021                0.00     0.00    0.00       0.00       0.00    -870.00             -870.00
                                                          1237144
                       Ronald & Latosha Evans                                                                        0.00     0.00    0.00       0.00       0.00    -870.00             -870.00


Tara Hill (thil1694)
1694-nj                Tara Hill                Current   C-        subsidre     10/01/2020   10/2020            1,131.00     0.00    0.00       0.00   1,131.00       0.00            1,131.00
                                                          2363481
1694-nj                Tara Hill                Current   C-        subsidre     11/01/2020   11/2020            1,131.00     0.00    0.00       0.00   1,131.00       0.00            1,131.00
                                                          2393735
1694-nj                Tara Hill                Current   C-        subsidre     12/01/2020   12/2020            1,131.00     0.00    0.00   1,131.00       0.00       0.00            1,131.00
                                                          2416268
1694-nj                Tara Hill                Current   C-        rent         01/01/2020   01/2021             255.00      0.00    0.00       0.00    255.00        0.00              255.00
                                                          2455504
1694-nj                Tara Hill                Current   C-        rent         02/01/2020   01/2021             255.00      0.00    0.00       0.00    255.00        0.00              255.00
                                                          2455543
1694-nj                Tara Hill                Current   C-        rent         03/01/2020   01/2021             255.00      0.00    0.00       0.00    255.00        0.00              255.00
                                                          2455544
1694-nj                Tara Hill                Current   C-        rent         04/01/2020   01/2021             255.00      0.00    0.00       0.00    255.00        0.00              255.00
                                                          2455545


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Aging Detail
DB Caption: USA LIVE 7s Property: 1694-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over        Pre-                 Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed     payments                Owed
1694-nj               Tara Hill                 Current   C-        rent         05/01/2020   01/2021              255.00        0.00    0.00       0.00     255.00         0.00              255.00
                                                          2455546
1694-nj               Tara Hill                 Current   C-        rent         08/01/2020   01/2021              138.00        0.00    0.00       0.00     138.00         0.00              138.00
                                                          2455547
1694-nj               Tara Hill                 Current   C-        rent         09/01/2020   01/2021              138.00        0.00    0.00       0.00     138.00         0.00              138.00
                                                          2455548
1694-nj               Tara Hill                 Current   C-        rent         10/01/2020   01/2021               92.00        0.00    0.00       0.00      92.00         0.00               92.00
                                                          2455549
1694-nj               Tara Hill                 Current   C-        rent         11/01/2020   01/2021               92.00        0.00    0.00       0.00      92.00         0.00               92.00
                                                          2455550
1694-nj               Tara Hill                 Current   C-        rent         12/01/2020   01/2021               65.00        0.00    0.00     65.00         0.00        0.00               65.00
                                                          2455551
1694-nj               Tara Hill                 Current   C-        subsidre     01/01/2021   01/2021             1,131.00   1,131.00    0.00       0.00        0.00        0.00            1,131.00
                                                          2446614
                      Tara Hill                                                                                   6,324.00   1,131.00    0.00   1,196.00    3,997.00        0.00            6,324.00


Tiwane Buggs (bugg1694)
1694-nj             Tiwane Buggs                Current   C-        rent         12/01/2020   12/2020               40.00        0.00    0.00     40.00         0.00        0.00               40.00
                                                          2416252
1694-nj               Tiwane Buggs              Current   C-        rent         01/01/2021   01/2021               40.00      40.00     0.00       0.00        0.00        0.00               40.00
                                                          2446598
                      Tiwane Buggs                                                                                  80.00      40.00     0.00     40.00         0.00        0.00               80.00


1694-nj                                                                                                          64,794.71   6,058.00    0.00   7,231.00   51,505.71   -13,942.00          50,852.71


Grand                                                                                                            64,794.71   6,058.00    0.00   7,231.00   51,505.71   -13,942.00          50,852.71
Total


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                                                                                                                                 Payables Aging Report
                                                                                                                                                1694-nj
                                                                                                                                           Period: 01/2021
                                                                                                                                          As of : 01/31/2021
 Payee     Payee Name                   Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date    Post Month          Account                   Invoice #        Base      Current      0-30       31-60     61-90    Over    Future Notes
  Code                                                                                                                                                                         Currency    Owed        Owed       Owed      Owed      90     Invoice
                                                                                                                                                                                                                                     Owed
 sillone   SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                            0.00
                                                    P-1944653   655438     1694-nj     1/12/2021     1/12/2021    01-2021     7914-0000 Legal Fees             1789291                     2,343.02    2,343.02      0.00     0.00    0.00       0.00 Sills Cummis & Gross Invoice
Total sillone                                                                                                                                                                             2,343.02    2,343.02      0.00     0.00     0.00      0.00


unit3718 SUEZ Water                                                                                                                                                                                                                              0.00
                                                    P-1943426   655301     1694-nj     12/31/2020    1/15/2021    01-2021     5215-0000 Water                471020-2012                    499.78        0.00     499.78     0.00    0.00       0.00 WATER CHARGES FOR 88 MCKINLEY ST HACKENSACK
Total unit3718                                                                                                                                                                             499.78         0.00 499.78        0.00     0.00      0.00


 veri408 Verizon Wireless                                                                                                                                                                                                                        0.00
                                                    P-1943424   655301     1694-nj     1/12/2021     1/12/2021    01-2021     5845-0000 Telephone         4423057200001/0121                 22.98       22.98       0.00     0.00    0.00       0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                               22.98       22.98       0.00     0.00     0.00      0.00


Grand Total                                                                                                                                                                               2,865.78    2,366.00    499.78     0.00     0.00      0.00




                                                                                                                                                  Page 1 of 1
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                          Rent Roll                                                                                                                            Page:
                                                                                                                                                               Date:
                                                                                                                                                                        1
                                                                                                                                                                        02/09/2021
                          88 McKinley St & 170 S. Park St (1694-nj)                                                                                            Time:     1:57 pm
                          January 2021


                                                                                                           Current                       Base Rent Inc.
                                           Square                                Security              Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name                   Feet             Term                Deposit    Chg Code       Amount        Amount PSF     Date       Rate                Comments

170APT1       Maurice Wells                    600        10/1/19 to              $0.00     rent             970.00             1.62   10/1/19       $970.00
                                                     Original Lease 10/1/19 to




170APT10      Tara Hill                        800        10/1/19 to              $0.00     rent             138.00             0.17   6/1/20      $1,131.00
                                                     Original Lease 10/1/19 to                                                         8/1/20        $138.00
                                                                                            subsidre        1,131.00            1.41



170APT11      Mario Cabrera                    600        10/1/19 to              $0.00     rent             960.00             1.60   10/1/19       $960.00
                                                     Original Lease 10/1/19 to




170APT12      Anastacio Castillo               600        10/1/19 to              $0.00     rent            1,020.00            1.70   10/1/19     $1,020.00
                                                     Original Lease 10/1/19 to




170APT13      Queen Lane                       800        10/1/19 to              $0.00     rent            1,144.00            1.43   10/1/19     $1,144.00
                                                     Original Lease 10/1/19 to




170APT2       Jerica Degroat                   800        10/1/19 to              $0.00     rent             227.00             0.28   8/1/20      $1,400.00
                                                     Original Lease 10/1/19 to
                                                                                            subsidre        1,173.00            1.47



170APT4       Lenora Brown                     600        10/1/19 to              $0.00     rent             701.00             1.17   10/1/19       $966.00
                                                     Original Lease 10/1/19 to
                                                                                            subsidre         265.00             0.44



170APT5       Mayra Guzman & Harry H.          600        10/1/19 to              $0.00     rent              511.00            0.85   10/1/19       $511.00
                                                     Original Lease 10/1/19 to
              Fernandez




170APT6       Rodney Hayer                     600        10/1/19 to              $0.00     rent             875.00             1.46   8/1/20        $875.00
                                                     Original Lease 10/1/19 to




170APT7       Horace Corry                     600        10/1/19 to              $0.00     rent            1,235.00            2.06   10/1/19     $1,235.00
                                                     Original Lease 10/1/19 to




170APT8       John Smith                       600        10/1/19 to              $0.00     rent             875.00             1.46   10/1/19       $875.00
                                                     Original Lease 10/1/19 to
                             Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 75 of 274 PageID: 4245
                       Rent Roll                                                                                                                            Page:
                                                                                                                                                            Date:
                                                                                                                                                                     2
                                                                                                                                                                     02/09/2021
                       88 McKinley St & 170 S. Park St (1694-nj)                                                                                            Time:     1:57 pm
                       January 2021


                                                                                                        Current                       Base Rent Inc.
                                        Square                                Security              Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name                Feet             Term                Deposit    Chg Code       Amount        Amount PSF     Date       Rate                Comments

170APT9       Maria Zhagui                  800        10/1/19 to              $0.00     rent            1,220.00            1.53   10/1/19     $1,220.00
                                                  Original Lease 10/1/19 to




88APT1        Robert Murphy                 600        10/1/19 to              $0.00     subsidre         543.00             0.91   10/1/19       $543.00
                                                  Original Lease 10/1/19 to




88APT1A       Portia Chambers               600        10/1/19 to              $0.00     rent             914.00             1.52   10/1/19       $914.00
                                                  Original Lease 10/1/19 to




88APT2        Josephine Hill                600        10/1/19 to              $0.00     rent              91.00             0.15   10/1/20       $900.00
                                                  Original Lease 10/1/19 to
                                                                                         subsidre         809.00             1.35



88APT2A       Hernando Torres               600        10/1/19 to              $0.00     rent            1,075.00            1.79   10/1/19     $1,075.00
                                                  Original Lease 10/1/19 to




88APT3        Sharon Cosgrove               600        10/1/19 to              $0.00     rent             823.00             1.37   10/1/19       $823.00
                                                  Original Lease 10/1/19 to




88APT3A       Gloria Aguirre                600        10/1/19 to              $0.00     rent            1,000.00            1.67   10/1/19     $1,000.00
                                                  Original Lease 10/1/19 to




88APT4        Ronald & Latosha Evans        600        10/1/19 to              $0.00     rent             875.00             1.46   8/1/20        $875.00
                                                  Original Lease 10/1/19 to




88APT4A       Maria JaQuez                  600        10/1/19 to              $0.00     rent            1,000.00            1.67   10/1/19     $1,000.00
                                                  Original Lease 10/1/19 to




88APT5        SUPER- Luis Alvarez           800        10/1/19 to              $0.00                                         0.00
                                                  Original Lease 10/1/19 to




88APT5A       Dale Kent                     800        10/1/19 to              $0.00     rent            1,200.00            1.50   10/1/19     $1,200.00
                                                  Original Lease 10/1/19 to
                                Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 76 of 274 PageID: 4246
                          Rent Roll                                                                                                                                        Page:
                                                                                                                                                                           Date:
                                                                                                                                                                                    3
                                                                                                                                                                                    02/09/2021
                          88 McKinley St & 170 S. Park St (1694-nj)                                                                                                        Time:     1:57 pm
                          January 2021


                                                                                                                      Current                        Base Rent Inc.
                                             Square                                  Security                     Monthly Charges                    CPI or Step Up
    Suite No.    Tenant Name                  Feet               Term                Deposit    Chg Code              Amount         Amount PSF     Date       Rate                Comments

 88APT6          Tiwane Buggs                    600          10/1/19 to              $0.00     rent                     965.00             1.61   10/1/19       $965.00
                                                         Original Lease 10/1/19 to




 88APT6A         Addie Best                      600          10/1/19 to              $0.00     rent                     194.00             0.32   10/1/19       $875.00
                                                         Original Lease 10/1/19 to                                                                  8/1/20       $194.00
                                                                                                subsidre                 875.00             1.46



 88APT7          Phyllis L. Hammond              600          10/1/19 to              $0.00     rent                    1,051.00            1.75   10/1/19     $1,051.00
                                                         Original Lease 10/1/19 to




 88APT7A         Michelle Hall                   600          10/1/19 to              $0.00     rent                     875.00             1.46   10/1/19       $875.00
                                                         Original Lease 10/1/19 to




 88APT8          Miriam Sanchez                  600          10/1/19 to              $0.00     rent                    1,030.00            1.72   10/1/19     $1,030.00
                                                         Original Lease 10/1/19 to




 88APT8A         Antonia Florentino              600          10/1/19 to              $0.00     rent                     125.00             0.21   10/1/19     $1,050.00
                                                         Original Lease 10/1/19 to
                                                                                                subsidre                 925.00             1.54



 88APT9          Viletha Aultmon                 600          10/1/19 to              $0.00     rent                     964.00             1.61   10/1/19       $964.00
                                                         Original Lease 10/1/19 to




 88APT9A         Leidy Alejandra Rodriguez       600          10/1/19 to              $0.00     rent                    1,075.00            1.79   10/1/19     $1,075.00
                                                         Original Lease 10/1/19 to




 170APT14        VACANT                          800                                                                                        0.00




 170APT3         VACANT                          600                                                                                        0.00




Totals for 88 McKinley St & 170 S. Park        20,600                                 $0.00
                                                                                                       Current Monthly Charges
                Vacant:                         1,400   6.80%                                   rent                     23,133.00

                Occupied:                      19,200   93.20%                                  subsidre                  5,721.00
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 77 of 274 PageID: 4247


                                         88 McKinley St, 170 S Park Ope                                     2/9/2021


                                          Bank Reconciliation Report
                                                      1/31/2021


                                                   Posted by: DBO



  Balance Per Bank Statement as of 1/31/2021                                                   47,215.63
  Outstanding Checks

  Check Date              Check Number        Payee                                              Amount
  12/30/2020                       353        unit3718 - SUEZ Water                               719.63
  1/28/2021                        362        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.     4,550.00
  1/28/2021                        363        coll666a - COLLIERS INT'L HOLDINGS (coll666a)        65.60
  1/28/2021                        364        didi1100 - Di Dio Electric Inc.                     815.68
  Less:              Outstanding Checks                                                         6,150.91
                     Reconciled Bank Balance                                                   41,064.72



  Balance per GL as of 1/31/2021                                                               41,064.72
                     Reconciled Balance Per G/L                                                41,064.72


  Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                       0.00
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 78 of 274 PageID: 4248


                                        88 McKinley St, 170 S Park Ope                                                         2/9/2021


                                         Bank Reconciliation Report
                                                     1/31/2021


                                                  Posted by: DBO


  Cleared Items:


  Cleared Checks

  Date               Tran #                  Notes                                            Amount            Date Cleared
  12/1/2020                      335         lawn9 - Lawns by Yorkshire                            3,198.75          1/31/2021
  12/1/2020                      336         lawn9 - Lawns by Yorkshire                            3,198.75          1/31/2021
  12/16/2020                     344         coop351 - Cooper Pest Solutions, Inc.                     133.28        1/31/2021
  12/16/2020                     345         tolplu62 - TOLEDO PLUMBING & HEATING INC                  586.44        1/31/2021
  12/21/2020                     346         coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.        4,550.00          1/31/2021
  12/30/2020                     347         coll666a - COLLIERS INT'L HOLDINGS (coll666a)              65.60        1/31/2021
  12/30/2020                     348         coop351 - Cooper Pest Solutions, Inc.                     125.96        1/31/2021
  12/30/2020                     349         emco9815 - EMCOR Services Fluidics                        662.80        1/31/2021
  12/30/2020                     350         emco9815 - EMCOR Services Fluidics                    1,567.39          1/31/2021
  12/30/2020                     351         pseg1444 - PSE&G Co.                                      144.48        1/31/2021
  12/30/2020                     352         pseg1444 - PSE&G Co.                                      321.75        1/31/2021
  1/11/2021                      354         coll666a - COLLIERS INT'L HOLDINGS (coll666a)             148.80        1/31/2021
  1/11/2021                      355         coop351 - Cooper Pest Solutions, Inc.                     314.88        1/31/2021
  1/11/2021                      356         lawn9 - Lawns by Yorkshire                            3,198.75          1/31/2021
  1/11/2021                      357         lawn9 - Lawns by Yorkshire                            3,198.75          1/31/2021
  1/11/2021                      358         veri408 - Verizon Wireless                                 22.92        1/31/2021
  1/19/2021                   1192021        emco9815 - EMCOR Services Fluidics                    1,716.66          1/31/2021
  1/20/2021                      359         coop351 - Cooper Pest Solutions, Inc.                     586.44        1/31/2021
  1/20/2021                      360         coop351 - Cooper Pest Solutions, Inc.                     821.01        1/31/2021
  1/20/2021                      361         unit3718 - SUEZ Water                                 1,011.56          1/31/2021
  1/21/2021                   1252021        stat662 - STATE OF NEW JERSEY                         1,280.00          1/31/2021
  Total Cleared Checks                                                                           26,854.97
  Cleared Deposits

  Date               Tran #                  Notes                                            Amount            Date Cleared
  1/1/2021                      194                                                                2,622.00          1/31/2021
  1/4/2021                      191                                                                1,194.00          1/31/2021
  1/6/2021                      192                                                                3,915.00          1/31/2021
  1/8/2021                      193                                                                2,298.00          1/31/2021
  1/12/2021                     195                                                                2,164.00          1/31/2021
  1/14/2021                     196                                                                1,050.00          1/31/2021
  1/20/2021                     197                                                                4,756.00          1/31/2021
  1/21/2021                     198                                                                2,449.00          1/31/2021
  1/27/2021                     199                                                                6,142.00          1/31/2021
  Total Cleared Deposits                                                                         26,590.00
   Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 79 of 274 PageID: 4249




       HACKENSACK NORSE, LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                    4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $47,480.60        Number of Days in Cycle                                  29
10 Deposits/Credits                                       $26,590.00        Minimum Balance This Cycle                       $38,031.40
21 Checks/Debits                                        ($26,854.97)        Average Collected Balance                        $47,664.31
Service Charges                                                $0.00
Ending Balance 01/29/21                                   $47,215.63

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021            - JANUARY 29, 2021


Date       Description                                                 Deposits/Credits    Withdrawals/Debits          Resulting Balance
01/04      Customer Deposit                                                   $1,194.00                                        $48,674.60
01/05      Check      345                                                                                $586.44               $48,088.16
01/06      Customer Deposit                                                   $2,695.00                                        $50,783.16
01/06      ACH deposit HABC HOUSING CHO HAP                                   $2,622.00                                        $53,405.16
           CHECKS 010621 LENOX MCKINLEY, LLC
           00000DXXXXX8301
01/06      Check      344                                                                                $133.28               $53,271.88
01/07      Customer Deposit                                                   $1,220.00                                        $54,491.88
01/08      Customer Deposit                                                   $2,298.00                                        $56,789.88
01/11      Check      346                                                                              $4,550.00               $52,239.88
01/11      Check      352                                                                                $321.75               $51,918.13
01/11      Check      351                                                                                $144.48               $51,773.65
01/12      Customer Deposit                                                   $2,164.00                                        $53,937.65
01/12      Check      347                                                                                  $65.60              $53,872.05
01/14      Customer Deposit                                                   $1,050.00                                        $54,922.05
01/15      Check      336                                                                              $3,198.75               $51,723.30
01/15      Check      335                                                                              $3,198.75               $48,524.55
01/19      Wire transfer withdrawal Fluidics Inc.                                                      $1,716.66               $46,807.89

01/19      Check           356                                                                         $3,198.75               $43,609.14

                                                          Thank you for banking with us.                                    PAGE 1 OF 2

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Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 80 of 274 PageID: 4250




 ACCOUNT DETAIL              CONTINUED FOR PERIOD JANUARY 01, 2021              - JANUARY 29, 2021
 Date    Description                                         Deposits/Credits     Withdrawals/Debits         Resulting Balance
 01/19   Check     357                                                                       $3,198.75                $40,410.39
 01/19   Check     350                                                                       $1,567.39                $38,843.00
 01/19   Check     349                                                                         $662.80                $38,180.20
 01/19   Check     354                                                                         $148.80                $38,031.40
 01/20   Customer Deposit                                           $4,756.00                                         $42,787.40
 01/21   Customer Deposit                                           $2,449.00                                         $45,236.40
 01/21   Check     355                                                                         $314.88                $44,921.52
 01/21   Check     348                                                                         $125.96                $44,795.56
 01/22   ACH Withdrawal NJ WEB PMT 11010                                                     $1,280.00                $43,515.56
         NJWEB11010         SAMANTHA DAVIS

 01/27   Customer Deposit                                           $6,142.00                                         $49,657.56
 01/27   Check     360                                                                         $821.01                $48,836.55
 01/27   Check     359                                                                         $586.44                $48,250.11
 01/27   Check     358                                                                          $22.92                $48,227.19
 01/28   Check     361                                                                       $1,011.56                $47,215.63
 Total                                                            $26,590.00                $26,854.97



         * designates gap in check sequence
 Check No.    Date                Amount      Check No.   Date           Amount       Check No.   Date                   Amount
 335          01/15             $3,198.75     349         01/19           $662.80     356         01/19              $3,198.75
 336          01/15             $3,198.75     350         01/19         $1,567.39     357         01/19              $3,198.75
 344*         01/06               $133.28     351         01/11           $144.48     358         01/27                 $22.92
 345          01/05               $586.44     352         01/11           $321.75     359         01/27                $586.44
 346          01/11             $4,550.00     354*        01/19           $148.80     360         01/27                $821.01
 347          01/12                $65.60     355         01/21           $314.88     361         01/28              $1,011.56
 348          01/21               $125.96




                                                                                                              PAGE 2 OF 2



                                                                                                         PSI: 0 / SHC: 0 / LOB :C
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                                       Hackensack Norse Sec Dep                        2/9/2021


                                       Bank Reconciliation Report
                                                  1/31/2021


                                         Posted by: daviss on 2/9/2021



  Balance Per Bank Statement as of 1/31/2021                                    0.00
                     Reconciled Bank Balance                                    0.00



  Balance per GL as of 1/31/2021                                                0.00
                     Reconciled Balance Per G/L                                 0.00


  Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)   0.00
   Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 82 of 274 PageID: 4252




       HACKENSACK NORSE LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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 17 Teaneck Road
 Jordan Ventures LLC

 Portal. v. Levine, et al. Civil Action No. 19-
 cv-19611 (MCA) (LDW)
 January 2021


 PREPARED BY:
 Samantha Davis
 704-805-4014
 samantha.davis@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 85 of 274 PageID: 4255




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               Balance Sheet
               Income Statement
               Receipt Register
               Check Register
               $JHG5HFHLYDEOHV
               Accounts Payable Aging
               %DQN5ROO
               Bank Reconciliation and
                 Statement
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 86 of 274 PageID: 4256



   Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
   scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
   for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
   particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
   International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
   deferred maintenance and abandonment of their other management responsibilities for these
   properties resulted in profound and immediate issues for which this appointment was necessary. Due to
   an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
   provide critical operating information or to otherwise assist with the Receiver’s assumption of the
   management responsibilities necessary to stabilize these assets at the time of its appointment. This
   Inventory and Report is provided pursuant to the Court’s Order.
     Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 87 of 274 PageID: 4257
17 Teaneck Road (1673-nj)                                                                    Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                     Current Balance
       1000-0000            ASSETS



       1005-0000            CASH & EQUIVALENTS
       1020-0000              Cash-Operating                                                4,889.91


       1099-9999            TOTAL CASH & EQUIVALENTS                                        4,889.91


       1999-9999            TOTAL ASSETS                                                    4,889.91



       2000-0000            LIABILITY AND EQUITY



       3000-0000            EQUITY
       3100-0300              Funding from Loan Servicer                                   64,456.52
       3800-0000              Current Year Earnings                                         3,833.63
       3811-0000              Prior Year Retained Earnings                                -63,400.24


       3900-9999            TOTAL EQUITY                                                    4,889.91


       3999-9999            TOTAL LIABILITY & EQUITY                                        4,889.91




                                                                           Monday, February 08, 2021
                                                                                           09:35 AM
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17 Teaneck Road (1673-nj)                                                                         Page 1

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                             Period to Date       %    Year to Date                    %
 4001-0000    REVENUE



 4005-0000    RENT
 4110-0000      Rent                              4,867.26    100.00      4,867.26                100.00


 4299-4999    TOTAL RENT                          4,867.26    100.00      4,867.26                100.00


 4998-9999    TOTAL REVENUE                       4,867.26    100.00      4,867.26                100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5200-0000    UTILITIES
 5205-0000      Electricity                          64.88      1.33         64.88                  1.33
 5210-0000      Gas                                 841.87     17.30        841.87                 17.30


 5249-9999    TOTAL UTILITIES                       906.75     18.63        906.75                 18.63



 5650-0000    GEN BLDG REPAIR/MAINT.
 5680-0000      Pest Control                        103.96      2.14        103.96                   2.14


 5699-9999    TOTAL GEN BLDG REPAIR/MAINT.          103.96      2.14        103.96                   2.14



 5800-0000    MANAGEMENT/ADMIN
 5845-0000      Telephone                            22.92      0.47         22.92                   0.47


 5899-9999    TOTAL MANAGEMENT/ADMIN                 22.92      0.47         22.92                   0.47


 5950-9999    TOTAL RECOVERABLE EXPENSES          1,033.63     21.24      1,033.63                 21.24


 6998-9999    TOTAL OPERATING EXPENSES            1,033.63     21.24      1,033.63                 21.24


 6999-9999    NET OPERATING INCOME                3,833.63     78.76      3,833.63                 78.76


 9496-9999    NET INCOME                          3,833.63     78.76      3,833.63                 78.76




                                                                                Monday, February 08, 2021
                                                                                                09:38 AM
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                                                                                                                                                             2/8/2021 11:18 AM
                                                                           17 Teaneck Road (1673-nj)

                                                                           Receipt Register
                                                                             For Period = Jan 2021
 Control   Batch   Period    Date                    Person                         Property           Cash Acct   Account    Amount     Reference     Check #         Notes
R-1225604 466364 01/2021 1/1/2021    Marcin Kosior(kos1673)                17 Teaneck Road(1673-nj)    1020-0000                 0.00                             :Reverse Charge
R-1227951 467187 01/2021 1/4/2021    Angel & Sharida Deonarine(deon1673)   17 Teaneck Road(1673-nj)    1020-0000               743.26                0000005063
R-1229379 467876 01/2021 1/6/2021    Stephen Grapentine(grap1673)          17 Teaneck Road(1673-nj)    1020-0000               805.00                331
R-1231109 468436 01/2021 1/8/2021    Leonardo Valentin(val1673)            17 Teaneck Road(1673-nj)    1020-0000               824.00                122
R-1231110 468436 01/2021 1/8/2021    Jose Gomez(gome1673)                  17 Teaneck Road(1673-nj)    1020-0000               895.00                133
R-1232779 468995 01/2021 1/12/2021 Ingrid Harewood(hare1673)               17 Teaneck Road(1673-nj)    1020-0000               800.00                95932969-7
R-1235180 469935 01/2021 1/20/2021 Felipe Aud(aug1673)                     17 Teaneck Road(1673-nj)    1020-0000               800.00                131
                                                                                                                      Total   4,867.26




                                                                                 Page 1 of 1
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                                                                                                                                                   2/8/2021 11:18 AM
                                                           17 Teaneck Road (1673-nj)

                                                            Check Register
                                                             For Period = Jan 2021
 Control   Batch   Period   Date                      Person                           Property          Account    Amount     Reference   Notes
K-1381647 278398 01/2021 1/11/2021   Cooper Pest Solutions, Inc. (coop351)    17 Teaneck Road(1673-nj)               103.96 253
K-1381648 278398 01/2021 1/11/2021   PSE&G Co. (pseg1444)                     17 Teaneck Road(1673-nj)                  4.95 254
K-1381649 278398 01/2021 1/11/2021   PSE&G Co. (pseg1444)                     17 Teaneck Road(1673-nj)               901.80 255
K-1381650 278398 01/2021 1/11/2021   Verizon Wireless (veri408)               17 Teaneck Road(1673-nj)                22.92 256
                                                                                                            Total   1,033.63




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                                                         Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 91 of 274 PageID: 4261
                                                                                                                                                                                            Page 1
Aging Detail
DB Caption: USA LIVE 7s Property: 1673-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over        Pre-               Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed     payments              Owed
17 Teaneck Road (1673-nj)
Angel & Sharida Deonarine (deon1673)
1673-nj              Angel & Sharida           Current   C-         rent         08/01/2020   10/2020             1,486.52       0.00    0.00       0.00    1,486.52       0.00            1,486.52
                     Deonarine                           2395938
                     Angel & Sharida                                                                              1,486.52       0.00    0.00       0.00    1,486.52       0.00            1,486.52
                     Deonarine


Felipe Aud (aug1673)
1673-nj              Felipe Aud                Current   C-         rent         08/01/2020   10/2020              800.00        0.00    0.00       0.00     800.00        0.00             800.00
                                                         2395963
                        Felipe Aud                                                                                 800.00        0.00    0.00       0.00     800.00        0.00             800.00


Gill Nisar (nisa1673)
1673-nj                 Gill Nisar             Current   C-         rent         10/01/2019   02/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2193910
1673-nj                 Gill Nisar             Current   C-         rent         11/01/2019   02/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2193911
1673-nj                 Gill Nisar             Current   C-         rent         12/01/2019   02/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2193912
1673-nj                 Gill Nisar             Current   C-         rent         01/01/2020   02/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2193913
1673-nj                 Gill Nisar             Current   C-         rent         02/01/2020   02/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2202167
1673-nj                 Gill Nisar             Current   C-         rent         03/01/2020   03/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2203106
1673-nj                 Gill Nisar             Current   C-         rent         04/01/2020   04/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2202557
1673-nj                 Gill Nisar             Current   C-         rent         05/01/2020   05/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2230677
1673-nj                 Gill Nisar             Current   C-         rent         06/01/2020   06/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2259854
1673-nj                 Gill Nisar             Current   C-         rent         07/01/2020   07/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2286558
1673-nj                 Gill Nisar             Current   C-         rent         08/01/2020   08/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2322869
1673-nj                 Gill Nisar             Current   C-         rent         09/01/2020   09/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2338037
1673-nj                 Gill Nisar             Current   C-         rent         10/01/2020   10/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2363821
1673-nj                 Gill Nisar             Current   C-         rent         11/01/2020   11/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2395616
1673-nj                 Gill Nisar             Current   C-         rent         12/01/2020   12/2020             1,125.00       0.00    0.00   1,125.00        0.00       0.00            1,125.00
                                                         2415864
1673-nj                 Gill Nisar             Current   C-         rent         01/01/2021   01/2021             1,125.00   1,125.00    0.00       0.00        0.00       0.00            1,125.00
                                                         2446218
                        Gill Nisar                                                                               18,000.00   1,125.00    0.00   1,125.00   15,750.00       0.00          18,000.00


Jennifer Calchi (calc1673)

                                                                                                                                                                          Monday, February 08, 2021
                                                                                                                                                                                          11:25 AM
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                                                                                                                                                                                            Page 2
Aging Detail
DB Caption: USA LIVE 7s Property: 1673-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over        Pre-               Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed     payments              Owed
1673-nj               Jennifer Calchi          Past      C-         rent         10/01/2020   10/2020               27.23        0.00    0.00       0.00      27.23        0.00              27.23
                                                         2363818
                      Jennifer Calchi                                                                               27.23        0.00    0.00       0.00      27.23        0.00              27.23


Leonardo Valentin (val1673)
1673-nj                Leonardo Valentin       Current   R-         Prepay       11/11/2020   11/2020                 0.00       0.00    0.00       0.00        0.00      -2.00               -2.00
                                                         1207344
1673-nj               Leonardo Valentin        Current   R-         Prepay       12/07/2020   12/2020                 0.00       0.00    0.00       0.00        0.00      -1.00               -1.00
                                                         1217181
                      Leonardo Valentin                                                                               0.00       0.00    0.00       0.00        0.00      -3.00               -3.00


Marcin Kosior (kos1673)
1673-nj               Marcin Kosior            Past      C-         rent         10/01/2019   02/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2193906
1673-nj               Marcin Kosior            Past      C-         rent         11/01/2019   02/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2193907
1673-nj               Marcin Kosior            Past      C-         rent         12/01/2019   02/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2193908
1673-nj               Marcin Kosior            Past      C-         rent         01/01/2020   02/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2193909
1673-nj               Marcin Kosior            Past      C-         rent         02/01/2020   02/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2202169
1673-nj               Marcin Kosior            Past      C-         rent         03/01/2020   03/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2203108
1673-nj               Marcin Kosior            Past      C-         rent         04/01/2020   04/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2202559
1673-nj               Marcin Kosior            Past      C-         rent         05/01/2020   05/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2230679
1673-nj               Marcin Kosior            Past      C-         rent         06/01/2020   06/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2259856
1673-nj               Marcin Kosior            Past      C-         rent         07/01/2020   07/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2286560
1673-nj               Marcin Kosior            Past      C-         rent         08/01/2020   08/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2322871
1673-nj               Marcin Kosior            Past      C-         rent         09/01/2020   09/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2338039
1673-nj               Marcin Kosior            Past      C-         rent         10/01/2020   10/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2363823
1673-nj               Marcin Kosior            Past      C-         rent         11/01/2020   11/2020              750.00        0.00    0.00       0.00     750.00        0.00             750.00
                                                         2395618
                      Marcin Kosior                                                                              10,500.00       0.00    0.00       0.00   10,500.00       0.00          10,500.00


1673-nj                                                                                                          30,813.75   1,125.00    0.00   1,125.00   28,563.75      -3.00          30,810.75


Grand                                                                                                            30,813.75   1,125.00    0.00   1,125.00   28,563.75      -3.00          30,810.75
Total



                                                                                                                                                                          Monday, February 08, 2021
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                                                                                                                                                                                   Page 3
Aging Detail
DB Caption: USA LIVE 7s Property: 1673-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month              Current    0-30   31-60   61-90       Over       Pre-               Total
                                                                     Code                                         Owed     Owed    Owed    Owed    90 Owed    payments              Owed
UserId : samanthadavis Date : 2/8/2021 Time : 11:25 AM




                                                                                                                                                                 Monday, February 08, 2021
                                                                                                                                                                                 11:25 AM
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                                                                                                                                                                                                                                                                                                                                       2/8/2021 11:28 AM


                                                                                                                                      Payables Aging Report
                                                                                                                                                      1673-nj
                                                                                                                                                  Period: 01/2021
                                                                                                                                                 As of : 01/31/2021
    Payee        Payee Name                            Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date     Post Month             Account                  Invoice #    Base    Current       0-30           31-60          61-90          Over          Future          Notes
     Code                                                                                                                                                                                    Curren   Owed          Owed           Owed           Owed            90           Invoice
                                                                                                                                                                                                                                                                 Owed
    coll1625     COLLIERS INT'L HOLDINGS (USA), INC.                                                                                                                                                                                                                                    0.00
                                                                   P-1928869   654178     1673-nj     12/1/2020     12/1/2020     12-2020     5805-0000 Management Fees     73-nj12.20MGMFEE             2,300.00           0.00           0.00     2,300.00            0.00            0.00 12.20 Management Fees
                                                                   P-1893109   651173     1673-nj     10/1/2020     10/1/2020     10-2020     5805-0000 Management Fees     73-nj10.20MGMTFEE            2,300.00           0.00           0.00           0.00     2,300.00             0.00 1673-nj 10.20 Management Fee
                                                                   P-1910529   652737     1673-nj     11/1/2020     11/1/2020     11-2020     5805-0000 Management Fees     73-nj11.20MGMTFEE            2,300.00           0.00           0.00           0.00     2,300.00             0.00 11.20 MGMT Fees
                                                                   P-1940703   655056     1673-nj      1/1/2021      1/1/2021     01-2021     5805-0000 Management Fees     73-nj1.21MGMTFEE             2,300.00           0.00     2,300.00             0.00          0.00            0.00 01.21 Management Fee
Total coll1625                                                                                                                                                                                          9,200.00           0.00     2,300.00       2,300.00       4,600.00           0.00


    coll666a     COLLIERS INT'L HOLDINGS (coll666a)                                                                                                                                                                                                                                     0.00
                                                                   P-1940320   655030     1673-nj      1/1/2021      1/1/2021     01-2021     5895-0000 Miscellaneous Operat 1673svctr0121                 65.60            0.00       65.60              0.00          0.00            0.00 Call Center Service Fee 01/2021
                                                                   P-1929382   654210     1673-nj     12/1/2020                   12-2020     5895-0000 Miscellaneous Operat 1673svctr1220                 65.60            0.00           0.00       65.60             0.00            0.00 Call Center Service Fee 12/2020
                                                                   P-1932774   654425     1673-nj     12/20/2020    12/20/2020    12-2020     5810-0000 Management Compen 1673pr122020                    148.80            0.00      148.80              0.00          0.00            0.00 Reimb Payroll 11/23-12/20/2020
Total coll666a                                                                                                                                                                                           280.00            0.00      214.40           65.60             0.00         0.00


   emco9815      EMCOR Services Fluidics                                                                                                                                                                                                                                                0.00
                                                                   P-1896515   651479     1673-nj     10/15/2020    10/30/2020    10-2020     5255-0000 Engineering Compens     002053511                3,744.29           0.00           0.00           0.00     3,744.29             0.00 SEPT 2020- Engineerg Comp- 17 Te
                                                                   P-1914761   653052     1673-nj     11/18/2020    12/3/2020     11-2020     5255-0000 Engineering Compens     002053914                3,744.29           0.00           0.00     3,744.29            0.00            0.00 OCT 2020 - ENGINEERG COMP - 17 T
                                                                   P-1931732   654350     1673-nj     12/15/2020    12/30/2020    12-2020     5255-0000 Engineering Compens     002054321                3,574.09           0.00     3,574.09             0.00          0.00            0.00 11/2020 -Engineerg Comp - 17 Teaneck
                                                                   P-1931733   654350     1673-nj     12/18/2020     1/2/2021     12-2020     5655-0000 General Building Expe   002054411                  42.91            0.00       42.91              0.00          0.00            0.00 11/2020 - Gen Bldg Exp - 17 Teaneck
                                                                   P-1938331   654843     1673-nj     1/11/2021     1/26/2021     01-2021     5255-0000 Engineering Compens     002054591                3,914.48     3,914.48             0.00           0.00          0.00            0.00 12/2020 - Engineering Comp - 17 Teaneck
Total emco9815                                                                                                                                                                                        15,020.06      3,914.48       3,617.00       3,744.29       3,744.29           0.00


     sillone     SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                                             0.00
                                                                   P-1928879   654178     1673-nj     12/8/2020     12/8/2020     12-2020     7914-0000 Legal Fees               1787322                  378.05            0.00      378.05              0.00          0.00            0.00 Sills Legal Invoice 12.08.20
                                                                   P-1928882   654178     1673-nj     8/14/2020     8/14/2020     12-2020     7914-0000 Legal Fees               1781345                 1,808.55           0.00           0.00           0.00     1,808.55             0.00 Sills Legal Invoice 08.14.20
                                                                   P-1944646   655438     1673-nj     1/12/2021     1/12/2021     01-2021     7914-0000 Legal Fees               1789307                 1,356.60     1,356.60             0.00           0.00          0.00            0.00 Sills Cummis & Gross Invoice
Total sillone                                                                                                                                                                                           3,543.20     1,356.60        378.05              0.00     1,808.55           0.00


   unit3718      SUEZ Water                                                                                                                                                                                                                                                             0.00
                                                                   P-1943413   655301     1673-nj     12/17/2020     1/4/2021     01-2021     5215-0000 Water                   480897-2012               179.13            0.00      179.13              0.00          0.00            0.00 WATER CHARGESFOR 17 TEANECK RD
Total unit3718                                                                                                                                                                                           179.13            0.00      179.13              0.00           0.00         0.00


    veri408      Verizon Wireless                                                                                                                                                                                                                                                       0.00
                                                                   P-1943424   655301     1673-nj     1/12/2021     1/12/2021     01-2021     5845-0000 Telephone          423057200001/0121               22.98           22.98           0.00           0.00          0.00            0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                              22.98        22.98             0.00           0.00           0.00         0.00


Grand Total                                                                                                                                                                                           28,245.37      5,294.06       6,688.58       6,109.89      10,152.84           0.00




                                                                                                                                                                 Page 1 of 1
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                           Rent Roll                                                                                                                             Page:
                                                                                                                                                                 Date:
                                                                                                                                                                          1
                                                                                                                                                                          02/08/2021
                           17 Teaneck Road (1673-nj)                                                                                                             Time:     9:35 am
                           January 2021


                                                                                                             Current                       Base Rent Inc.
                                           Square                                  Security              Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name                   Feet               Term                Deposit    Chg Code       Amount        Amount PSF     Date       Rate                Comments

APT1A         Angel & Sharida Deonarine        350          10/1/19 to              $0.00     rent             743.26             2.12   10/1/19       $743.26
                                                       Original Lease 10/1/19 to




APT2A         Stephen Grapentine               350          10/1/19 to              $0.00     rent             805.00             2.30   10/1/19       $805.00
                                                       Original Lease 10/1/19 to




APT2C         Felipe Aud                       350          10/1/19 to              $0.00     rent             800.00             2.29   10/1/19       $800.00
                                                       Original Lease 10/1/19 to




APT2D         Gill Nisar                       350          10/1/19 to              $0.00     rent            1,125.00            3.21   10/1/19     $1,125.00
                                                       Original Lease 10/1/19 to




APT3B         Jose Gomez                       475          10/1/19 to              $0.00     rent             895.00             1.88   10/1/19       $895.00
                                                       Original Lease 10/1/19 to




APT3D         Leonardo Valentin                350          10/1/19 to              $0.00     rent             824.00             2.35   10/1/19       $824.00
                                                       Original Lease 10/1/19 to




APT4A         Ingrid Harewood                  350          10/1/19 to              $0.00     rent             800.00             2.29   10/1/19       $800.00
                                                       Original Lease 10/1/19 to




APT1B         VACANT                           475                                                                                0.00




APT1D         VACANT                           475                                                                                0.00




APT2B         VACANT                           350                                                                                0.00




APT3A         VACANT                           350                                                                                0.00
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                          Rent Roll                                                                                                                  Page:
                                                                                                                                                     Date:
                                                                                                                                                              2
                                                                                                                                                              02/08/2021
                          17 Teaneck Road (1673-nj)                                                                                                  Time:     9:35 am
                          January 2021


                                                                                                      Current                       Base Rent Inc.
                                          Square                     Security                     Monthly Charges                   CPI or Step Up
    Suite No.   Tenant Name                Feet               Term   Deposit    Chg Code              Amount         Amount PSF    Date       Rate           Comments

APT3C            VACANT                       475                                                                           0.00




APT4B            VACANT                       350                                                                           0.00




APT4C            VACANT                       475                                                                           0.00




APT4D            VACANT                       350                                                                           0.00




Totals for 17 Teaneck Road:                  5,875                    $0.00
                                                                                       Current Monthly Charges
                Vacant:                      3,300   56.17%                     rent                      5,992.26

                Occupied:                    2,575   43.83%
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                                       17 Teaneck Road Operating                                                     2/8/2021


                                        Bank Reconcilation Report
                                                    01/31/2021




  Balance Per Bank Statement as of 01/31/2021                                                  4,889.91
                    Reconciled Bank Balance                                                    4,889.91



  Balance per GL as of 01/31/2021                                                              4,889.91
                     Reconciled Balance Per G/L                                                4,889.91
  Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                      0.00



  Cleared Items:


  Cleared Checks

  Date               Tran #                 Notes                                   Amount            Date Cleared
  01/11/2021                     253        coop351 - Cooper Pest Solutions, Inc.            103.96       01/31/2021
  01/11/2021                     254        pseg1444 - PSE&G Co.                               4.95       01/31/2021
  01/11/2021                     255        pseg1444 - PSE&G Co.                             901.80       01/31/2021
  01/11/2021                     256        veri408 - Verizon Wireless                        22.92       01/31/2021
  Total Cleared Checks                                                                  1,033.63
  Cleared Deposits

  Date               Tran #                 Notes                                   Amount            Date Cleared
  01/04/2021                     83                                                          743.26       01/31/2021
  01/06/2021                     84                                                          805.00       01/31/2021
  01/08/2021                     85                                                      1,719.00         01/31/2021
  01/12/2021                     86                                                          800.00       01/31/2021
  01/20/2021                     87                                                          800.00       01/31/2021
  Total Cleared Deposits                                                                4,867.26
   Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 98 of 274 PageID: 4268




       JORDAN VENTURES LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                         4Contact your Relationship Manager to discuss
                                                                                         targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                   $1,056.28            Number of Days in Cycle                                  29
5 Deposits/Credits                                          $4,867.26            Minimum Balance This Cycle                        $1,056.28
4 Checks/Debits                                           ($1,033.63)            Average Collected Balance                         $3,958.42
Service Charges                                                 $0.00
Ending Balance 01/29/21                                     $4,889.91

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021                  - JANUARY 29, 2021


Date       Description                                                     Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/04      Customer Deposit                                                          $743.26                                          $1,799.54
01/06      Customer Deposit                                                          $805.00                                          $2,604.54
01/08      Customer Deposit                                                        $1,719.00                                          $4,323.54
01/12      Customer Deposit                                                          $800.00                                          $5,123.54
01/20      Customer Deposit                                                          $800.00                                          $5,923.54
01/21      Check     253                                                                                      $103.96                 $5,819.58
01/22      Check     255                                                                                      $901.80                 $4,917.78
01/22      Check     254                                                                                        $4.95                 $4,912.83
01/27      Check     256                                                                                       $22.92                 $4,889.91
Total                                                                              $4,867.26                $1,033.63



            * designates gap in check sequence
Check No.         Date                   Amount          Check No.      Date            Amount      Check No.      Date                Amount
253               01/21                   $103.96        255            01/22           $901.80     256            01/27               $22.92
254               01/22                     $4.95




                                                          Thank you for banking with us.                                         PAGE 1 OF 2

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                                                                        PSI: 1 / SHC: 0 / LOB :C
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                                          Jordan Ventures Sec Dep                       2/8/2021


                                         Bank Reconcilation Report
                                                   01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                   0.00
                     Reconciled Bank Balance                                     0.00



   Balance per GL as of 01/31/2021                                               0.00
                      Reconciled Balance Per G/L                                 0.00
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)   0.00
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 101 of 274 PageID: 4271




       JORDAN VENTURES LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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                                                                        PSI: 0 / SHC: 0 / LOB :C
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  388 Smith Street
  PA Norse LLC


  Portal v. Levine
  Civil Action No. 19-cv-19611 (MCA) (LDW)
  January 2021




  PREPARED BY: Kirsten Cole

  kirsten.cole@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 104 of 274 PageID: 4274




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               1. Statement of Case
               2. Balance Sheet
               3. Income Statement
               4. Receipt Register
               5. Check Register
               6. Aged Receivables
               7. Accounts Payable Aging
               8. Rent Roll
               9. Bank Reconciliation and Statement
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    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of
    dollars for the purchase of residential apartment buildings located throughout the State of New Jersey,
    as more particularly identified and described in the Schedule annexed to this Court’s Order appointing
    Colliers International NJ LLC to serve as the Receiver for the properties at issue. The corporate
    borrowers deferred maintenance and abandonment of their other management responsibilities for
    these properties resulted in profound and immediate issues for which this appointment was necessary.
    Due to an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused
    to provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
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                                                                                              2/4/2021 8:35 AM
                                  388 Smith St (1684-nj)

                                  Balance Sheet
                                      Period = Jan 2021
                               Book = Cash ; Tree = ysi_bs
                                                                         Current Balance
  1000-0000    ASSETS




  1005-0000    CASH & EQUIVALENTS
   1020-0000     Cash-Operating                                                    4,619.56


  1099-9999    TOTAL CASH & EQUIVALENTS                                           4,619.56


  1999-9999    TOTAL ASSETS                                                       4,619.56




  2000-0000    LIABILITY AND EQUITY




  3000-0000    EQUITY
   3100-0300     Funding from Loan Servicer                                      119,688.00
   3500-0000     Owner Contribution                                                  540.00
   3800-0000     Current Year Earnings                                               563.33
   3811-0000     Prior Year Retained Earnings                                   -116,171.77


  3900-9999    TOTAL EQUITY                                                       4,619.56


  3999-9999    TOTAL LIABILITY & EQUITY                                           4,619.56




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                                                                                                               2/4/2021 8:34 AM
                                               388 Smith St (1684-nj)

                                             Income Statement
                                                 Period = Jan 2021
                                             Book = Cash ; Tree = ysi_is
                                                Period to Date             %            Year to Date                %
  4001-0000   REVENUE




  4005-0000   RENT
  4006-0000     Prepaid Income                                -40.00            -0.41              -40.00                 -0.41
  4110-0000     Rent                                        9,709.63           100.41            9,709.63                100.41


  4299-4999   TOTAL RENT                                   9,669.63            100.00           9,669.63                 100.00


  4998-9999   TOTAL REVENUE                                9,669.63            100.00           9,669.63                 100.00




  5000-0000   OPERATING EXPENSES




  5001-0000   RECOVERABLE EXPENSES




  5200-0000   UTILITIES
  5205-0000     Electricity                                    24.65             0.25                  24.65               0.25
  5210-0000     Gas                                            89.38             0.92                  89.38               0.92


  5249-9999   TOTAL UTILITIES                                114.03              1.18             114.03                   1.18




  5250-0000   ENGINEERING
  5255-0000     Engineering Compensation                    1,772.65            18.33            1,772.65                 18.33


  5299-9999   TOTAL ENGINEERING                            1,772.65             18.33           1,772.65                  18.33




  5650-0000   GEN BLDG REPAIR/MAINT.
  5655-0000     General Building Expense                    1,678.61            17.36            1,678.61                 17.36
  5680-0000     Pest Control                                  703.73             7.28             703.73                   7.28


  5699-9999   TOTAL GEN BLDG REPAIR/MAINT.                 2,382.34             24.64           2,382.34                  24.64




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                                                                                                                   2/4/2021 8:34 AM
                                                    388 Smith St (1684-nj)

                                                  Income Statement
                                                      Period = Jan 2021
                                                  Book = Cash ; Tree = ysi_is
                                                     Period to Date             %           Year to Date                %
  5800-0000   MANAGEMENT/ADMIN
  5805-0000     Management Fees                                  4,600.00           47.57            4,600.00                 47.57
  5810-0000     Management Compensation                            148.80            1.54             148.80                   1.54
  5845-0000     Telephone                                           22.88            0.24                  22.88               0.24
  5895-0000     Miscellaneous Operating Expense                     65.60            0.68                  65.60               0.68


  5899-9999   TOTAL MANAGEMENT/ADMIN                            4,837.28            50.03           4,837.28                  50.03


  5950-9999   TOTAL RECOVERABLE EXPENSES                        9,106.30            94.17           9,106.30                  94.17


  6998-9999   TOTAL OPERATING EXPENSES                          9,106.30            94.17           9,106.30                  94.17


  6999-9999   NET OPERATING INCOME                                563.33             5.83             563.33                   5.83


  9496-9999   NET INCOME                                          563.33             5.83             563.33                   5.83




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                                                                                                                                                                                                      2/4/2021 8:37 AM

                                                                                               388 Smith St (1684-nj)

                                                                                            Receipt Register
                                                                                               For Period = Jan 2021
  Control    Batch   Period    Date                           Person                      Property   Cash Acct            Account           Recovery     Amount     Reference           Check #         Notes
 R-1227888   467161 01/2021 1/5/2021    Virginia Mejia(meji1684)                         1684-nj     1020-0000   4110-0000 Rent                            40.00                Apply
                                                                                         1684-nj     1020-0000   4006-0000 Prepaid Income                  -40.00               Apply             *      08/13/20


 R-1231266   468509 01/2021 1/8/2021    Valentin Rodrigues(rodr1684)                     1684-nj     1020-0000   4110-0000 Rent                           950.00                MO-19-208833863


 R-1231267   468509 01/2021 1/8/2021    Gonzalo Cordero(bord1684)                        1684-nj     1020-0000   4110-0000 Rent                           950.00                MO-27053650776


 R-1231268   468509 01/2021 1/8/2021    Fernandez, Rodriguez, Espinal(fern)              1684-nj     1020-0000   4110-0000 Rent                           937.63                MO-27053650765


 R-1232254   468822 01/2021 1/12/2021   Jose Jorge(jj1684)                               1684-nj     1020-0000   4110-0000 Rent                           980.00                MO-19-208833865


 R-1235449   470150 01/2021 1/20/2021   Juan Florentino and Juana Florentino(jfjf1684)   1684-nj     1020-0000   4110-0000 Rent                           815.00                158


 R-1235467   470155 01/2021 1/21/2021   Magali Cruz(cruz1684)                            1684-nj     1020-0000   4110-0000 Rent                           962.00                MO-8713970483


 R-1239236   471574 01/2021 1/27/2021   Virginia Mejia(meji1684)                         1684-nj     1020-0000   4110-0000 Rent                          1,000.00               1004
                                                                                         1684-nj     1020-0000   4110-0000 Rent                          1,000.00               1004


 R-1239238   471574 01/2021 1/27/2021   Verusca Y Lugo(veru1684)                         1684-nj     1020-0000   4110-0000 Rent                          1,100.00               107


 R-1239239   471574 01/2021 1/27/2021   Maria Ortega Santos(orte1684)                    1684-nj     1020-0000   4110-0000 Rent                           975.00                MO-8002582958
                                                                                                                                                 Total   9,669.63




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                                                                                                                                                                                                                        2/4/2021 8:37 AM

                                                                                                          388 Smith St (1684-nj)

                                                                                                         Check Register
                                                                                                          For Period = Jan 2021
  Control     Batch    Period     Date                             Person                     Property                       Account                 Recovery     Amount     Reference                        Notes
 K-1379362   277912   01/2021   1/6/2021    COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)   1684-nj     5805-0000 Management Fees                                2,300.00 289           12.20 MGMT FEE


 K-1379363   277912   01/2021   1/6/2021    COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    1684-nj     5810-0000 Management Compensation                         148.80 290


 K-1379364   277912   01/2021   1/6/2021    Cooper Pest Solutions, Inc. (coop351)            1684-nj     5680-0000 Pest Control                                    703.73 291            12/31/20- PEST CONTROL -388 Smith St


 K-1381940   278482   01/2021   1/12/2021   ELIZABETHTOWN GAS (eliz5412)                     1684-nj     5210-0000 Gas                                              89.38 292            11/20-12/22/20 - GAS - 388 Smith St


 K-1381941   278482   01/2021   1/12/2021   Verizon Wireless (veri408)                       1684-nj     5845-0000 Telephone                                        22.88 293            12/13/20-01/12/21 - CELL PHONE SVC


 K-1385202   279319   01/2021   1/20/2021   EMCOR Services Fluidics (emco9815)               1684-nj     5655-0000 General Building Expense                       1,678.61 1202021       OCT 2020 - Gen Bldg Exp - 388 Sm


 K-1385203   279319   01/2021   1/20/2021   EMCOR Services Fluidics (emco9815)               1684-nj     5255-0000 Engineering Compensation                       1,026.27 1202021       OCT 2020 - ENGINEERG COMP - 388


 K-1385204   279319   01/2021   1/20/2021   EMCOR Services Fluidics (emco9815)               1684-nj     5255-0000 Engineering Compensation                        746.38 1202021        11/2020 - Engineerg Comp - 388 Smith St


 K-1387305   279798   01/2021   1/26/2021   COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)   1684-nj     5805-0000 Management Fees                                2,300.00 294           01/21 management fee


 K-1387306   279798   01/2021   1/26/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    1684-nj     5895-0000 Miscellaneous Operating Expense                  65.60 295


 K-1387307   279798   01/2021   1/26/2021   PSE&G Co. (pseg1444)                             1684-nj     5205-0000 Electricity                                      24.65 296            12/04-01/05/21 - ELECTRICITY - 388 Smith St
                                                                                                                                                          Total   9,106.30




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                                                                                                                                                                             2/4/2021 8:27 AM

 Aging Detail
 DB Caption: USA LIVE 7s Property: 1684-nj     Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
 Property       Customer      Lease                                Status    Tran#       Charge    Date        Month      Current       0-30 31-60      61-90     Over        Pre-     Total
                                                                                         Code                               Owed       Owed     Owed    Owed 90 Owed      payments     Owed
 388 Smith St (1684-nj)
 Fernandez, Rodriguez, Espinal (fern)
 1684-nj                      Fernandez, Rodriguez, Espinal        Current   C-2269115   rent      1/1/2020    05/2020     200.00        0.00    0.00     0.00   200.00       0.00    200.00
 1684-nj                      Fernandez, Rodriguez, Espinal        Current   C-2392001   rent      11/1/2020   11/2020        0.10       0.00    0.00     0.00     0.10       0.00       0.10
                              Fernandez, Rodriguez, Espinal                                                               200.10        0.00    0.00     0.00    200.10       0.00   200.10


 Ines Espinal (espi1684)
 1684-nj                      Ines Espinal                         Current   C-2269077   rent      10/1/2019   05/2020     250.00        0.00    0.00     0.00   250.00       0.00    250.00
 1684-nj                      Ines Espinal                         Current   C-2415995   rent      12/1/2020   12/2020     950.00        0.00    0.00   950.00     0.00       0.00    950.00
 1684-nj                      Ines Espinal                         Current   C-2441237   rent      1/1/2021    01/2021     950.00     950.00     0.00     0.00     0.00       0.00    950.00
                              Ines Espinal                                                                               2,150.00    950.00     0.00 950.00      250.00       0.00 2,150.00


 Jose Jorge (jj1684)
 1684-nj                      Jose Jorge                           Current   C-2269063   rent      10/1/2019   05/2020     959.00        0.00    0.00     0.00   959.00       0.00    959.00
 1684-nj                      Jose Jorge                           Current   C-2322997   rent      8/1/2020    08/2020     980.00        0.00    0.00     0.00   980.00       0.00    980.00
                              Jose Jorge                                                                                 1,939.00       0.00    0.00     0.00 1,939.00        0.00 1,939.00


 Juana Polanco (juan1684)
 1684-nj                      Juana Polanco                        Current   C-2269047   rent      6/1/2020    06/2020     957.60        0.00    0.00     0.00   957.60       0.00    957.60
                              Juana Polanco                                                                               957.60        0.00    0.00     0.00    957.60       0.00   957.60


 Virginia Mejia (meji1684)
 1684-nj                      Virginia Mejia                       Current   C-2325934   rent      4/1/2020    07/2020     634.00        0.00    0.00     0.00   634.00       0.00    634.00
 1684-nj                      Virginia Mejia                       Current   C-2325935   rent      5/1/2020    07/2020      66.00        0.00    0.00     0.00    66.00       0.00     66.00
 1684-nj                      Virginia Mejia                       Current   C-2441234   rent      1/1/2021    01/2021    1,000.00   1,000.00    0.00     0.00     0.00       0.00   1,000.00
                              Virginia Mejia                                                                             1,700.00 1,000.00      0.00     0.00    700.00       0.00 1,700.00


 1684-nj                                                                                                                 6,946.70 1,950.00      0.00 950.00 4,046.70          0.00 6,946.70


 Grand Total                                                                                                             6,946.70 1,950.00      0.00 950.00 4,046.70          0.00 6,946.70


 UserId : kirstencole Date : 2/4/2021 Time : 8:27 AM




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                                                                                                                                                                                                                                                                                                                   2/4/2021 8:39 AM


                                                                                                                                        Payables Aging Report
                                                                                                                                                       1684-nj
                                                                                                                                                   Period: 01/2021
                                                                                                                                                  As of : 01/31/2021
  Payee       Payee Name                      Doc Seq #    Control    Batch Id Property   Invoice Date   Due Date     Post Month                  Account                      Invoice #         Base      Current     0-30      31-60      61-90    Over         Future Notes
   Code                                                                                                                                                                                         Currency    Owed       Owed      Owed       Owed      90          Invoice
                                                                                                                                                                                                                                                    Owed
  ciper260 CITY OF PERTH AMBOY                                                                                                                                                                                                                                       0.00
                                                          P-1930576   654286    1684-nj    12/15/2020    12/15/2020    12-2020     5215-0000 Water                            7926-0/1220                   2,658.93      0.00   2,658.93    0.00          0.00      0.00 9/4-12/4/20 - WATER - 388 SMITH
                                                          P-1930576   654286    1684-nj    12/15/2020    12/15/2020    12-2020     5220-0000 Sewer                            7926-0/1220                   2,326.29      0.00   2,326.29    0.00          0.00      0.00 9/4-12/4/20 - SEWTER - 388 SMITH
 Total ciper260                                                                                                                                                                                             4,985.22     0.00 4,985.22       0.00       0.00         0.00


  denv20      Denville Hardware & Paint Co.                                                                                                                                                                                                                          0.00
                                                          P-1775721   641266    1684-nj    2/28/2020     3/29/2020     03-2020     5780-1000 Life Safety - Alarms                39112                        -76.73      0.00       0.00    0.00      -76.73        0.00 388 SMITH STREET - CREDIT MEMO 3
 Total denv20                                                                                                                                                                                                 -76.73     0.00       0.00     0.00     -76.73         0.00


  didi1100 Di Dio Electric Inc.                                                                                                                                                                                                                                      0.00
                                                          P-1927956   654112    1684-nj    12/10/2020    12/10/2020    12-2020     5320-0000 Electrical R & M                    145463                     1,704.93      0.00   1,704.93    0.00          0.00      0.00 12/2/20 - Electrical R&M - 388 S
                                                          P-1939326   654949    1684-nj    1/14/2021     1/14/2021     01-2021     5320-0000 Electrical R & M                    145499                       655.74    655.74       0.00    0.00          0.00      0.00 1/5/21 - Electrical R&M - 388 Smith
                                                          P-1939327   654949    1684-nj    1/14/2021     1/14/2021     01-2021     5320-0000 Electrical R & M                    145498                       388.12    388.12       0.00    0.00          0.00      0.00 1/5/21 - Electrical R&M - 388 Smith
                                                          P-1935243   654615    1684-nj     1/5/2021      1/5/2021     01-2021     5320-0000 Electrical R & M                    145488                       197.26    197.26       0.00    0.00          0.00      0.00 1/5/21 - Electrical R&M - 388 Smith St
                                                          P-1935241   654615    1684-nj     1/5/2021      1/5/2021     01-2021     5320-0000 Electrical R & M                    145489                       859.40    859.40       0.00    0.00          0.00      0.00 12/18/20 - Electrical R&M - 388 Smith St
                                                          P-1935242   654615    1684-nj     1/5/2021      1/5/2021     01-2021     5320-0000 Electrical R & M                    145490                       613.09    613.09       0.00    0.00          0.00      0.00 12/31/20 - Electrical R&M - 388 Smith St
 Total didi1100                                                                                                                                                                                             4,418.54 2,713.61 1,704.93       0.00       0.00         0.00


 emco9815 EMCOR Services Fluidics                                                                                                                                                                                                                                    0.00
                                                          P-1929952   654261    1684-nj    12/18/2020     1/2/2021     12-2020     5255-0000 Engineering Compensation          002054406                       39.11      0.00     39.11     0.00          0.00      0.00 11/2020 - Engineerg Comp - 388 Smith St
                                                          P-1929952   654261    1684-nj    12/18/2020     1/2/2021     12-2020     5655-0000 General Building Expense          002054406                    1,699.57      0.00   1,699.57    0.00          0.00      0.00 11/2020 - Gen Bldg Exp - 388 Smith St
 Total emco9815                                                                                                                                                                                             1,738.68     0.00 1,738.68       0.00       0.00         0.00


    smit      SMITHSON CONSTRUCTION LLC                                                                                                                                                                                                                              0.00
                                                          P-1944580   655429    1684-nj    10/21/2020    10/21/2020    01-2021     6650-0600 Roofing                           1190/10.20                  39,600.00      0.00       0.00    0.00   39,600.00        0.00 extended work/roofing - 388 smith st
 Total smit                                                                                                                                                                                                39,600.00     0.00       0.00     0.00 39,600.00          0.00


  veri408     Verizon Wireless                                                                                                                                                                                                                                       0.00
                                                          P-1943424   655301    1684-nj    1/12/2021     1/12/2021     01-2021     5845-0000 Telephone                     4423057200001/0121                  22.99     22.99       0.00    0.00          0.00      0.00 Cell Phone - 12/13/20-01/12/21
 Total veri408                                                                                                                                                                                                22.99     22.99       0.00     0.00       0.00         0.00


 Grand Total                                                                                                                                                                                               50,688.70 2,736.60 8,428.83       0.00 39,523.27          0.00




                                                                                                                                                             Page 1 of 1
                             Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 113 of 274 PageID: 4283
                       Rent Roll                                                                                                                                 Page:
                                                                                                                                                                 Date:
                                                                                                                                                                          1
                                                                                                                                                                          02/04/2021
                       388 Smith St (1684-nj)                                                                                                                    Time:     8:40 am
                       January 2021


                                                                                                             Current                       Base Rent Inc.
                                              Square                               Security              Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name                      Feet            Term                Deposit    Chg Code       Amount        Amount PSF     Date       Rate                Comments

APT101        Gonzalo Cordero                               10/1/19 to              $0.00     rent             950.00             0.00   10/1/19       $950.00
                                                       Original Lease 10/1/19 to




APT102        Jose Jorge                                    10/1/19 to              $0.00     rent             980.00             0.00   10/1/19       $980.00
                                                       Original Lease 10/1/19 to




APT103        Maria Ortega Santos                           10/1/19 to              $0.00     rent             975.00             0.00   10/1/19       $975.00
                                                       Original Lease 10/1/19 to




APT104        Ines Espinal                                  10/1/19 to              $0.00     rent             950.00             0.00   10/1/19       $950.00
                                                       Original Lease 10/1/19 to




APT105        Magali Cruz                                   10/1/19 to              $0.00     rent             962.00             0.00   10/1/19       $962.00
                                                       Original Lease 10/1/19 to




APT106        Valentin Rodrigues                            10/1/19 to              $0.00     rent             950.00             0.00   10/1/19       $950.00
                                                       Original Lease 10/1/19 to




APT202        Verusca Y Lugo                                10/1/19 to              $0.00     rent            1,100.00            0.00   10/1/19     $1,100.00
                                                       Original Lease 10/1/19 to




APT203        Fernandez, Rodriguez, Espinal                 10/1/19 to              $0.00     rent             937.63             0.00   10/1/19       $937.63
                                                       Original Lease 10/1/19 to




APT204        Virginia Mejia                                10/1/19 to              $0.00     rent            1,000.00            0.00   10/1/19     $1,000.00
                                                       Original Lease 10/1/19 to




APT205        Super- Ismael Resto                           10/1/19 to              $0.00                                         0.00
                                                       Original Lease 10/1/19 to




APT206        Juan Florentino and Juana                     10/1/19 to              $0.00     rent             815.00             0.00   10/1/19       $815.00
                                                       Original Lease 10/1/19 to
              Florentino
                                 Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 114 of 274 PageID: 4284
                           Rent Roll                                                                                                                      Page:
                                                                                                                                                          Date:
                                                                                                                                                                   2
                                                                                                                                                                   02/04/2021
                           388 Smith St (1684-nj)                                                                                                         Time:     8:40 am
                           January 2021


                                                                                                           Current                       Base Rent Inc.
                                            Square                        Security                     Monthly Charges                   CPI or Step Up
    Suite No.    Tenant Name                 Feet                  Term   Deposit    Chg Code              Amount         Amount PSF    Date       Rate           Comments

 APT201          VACANT                              0                                                                           0.00




Totals for 388 Smith St:                             0                     $0.00
                                                                                            Current Monthly Charges
                Vacant:                              0    0.00%                      rent                      9,619.63

                Occupied:                            0   100.00%
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 115 of 274 PageID: 4285


                                           388 Smith Street Operating                                                           2/4/2021


                                           Bank Reconcilation Report
                                                      01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                                           10,549.89
   Outstanding Checks

   Check Date               Check Number      Payee                                                         Amount
   12/30/2020                      278        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.              -2,300.00
   12/30/2020                      279        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                  -65.60
   12/30/2020                      280        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                 -148.80
   12/30/2020                      281        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                  -65.60
   12/30/2020                      282        coop351 - Cooper Pest Solutions, Inc.                         -103.96
   12/30/2020                      283        eliz5412 - ELIZABETHTOWN GAS                                   -61.65
   12/30/2020                      284        eliz5412 - ELIZABETHTOWN GAS                                  -120.16
   12/30/2020                      285        pseg1444 - PSE&G Co.                                           -18.46
   12/30/2020                      286        pseg1444 - PSE&G Co.                                           -17.55
   12/30/2020                      287        tolplu62 - TOLEDO PLUMBING & HEATING INC                      -602.43
   12/30/2020                      288        veri408 - Verizon Wireless                                     -35.87
   01/26/2021                      294        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.              -2,300.00
   01/26/2021                      295        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                  -65.60
   01/26/2021                      296        pseg1444 - PSE&G Co.                                           -24.65
   Less:              Outstanding Checks                                                                 -5,930.33
                      Reconciled Bank Balance                                                             4,619.56



   Balance per GL as of 01/31/2021                                                                        4,619.56
                      Reconciled Balance Per G/L                                                          4,619.56
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                0.00



   Cleared Items:


   Cleared Checks

   Date               Tran #                  Notes                                            Amount            Date Cleared
   01/06/2021                     289         coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.        2,300.00          01/31/2021
   01/06/2021                     290         coll666a - COLLIERS INT'L HOLDINGS (coll666a)             148.80        01/31/2021
   01/06/2021                     291         coop351 - Cooper Pest Solutions, Inc.                     703.73        01/31/2021
   01/12/2021                     292         eliz5412 - ELIZABETHTOWN GAS                               89.38        01/31/2021
   01/12/2021                     293         veri408 - Verizon Wireless                                 22.88        01/31/2021
   01/20/2021                  1202021        emco9815 - EMCOR Services Fluidics                    1,678.61          01/31/2021
   01/20/2021                  1202021        emco9815 - EMCOR Services Fluidics                    1,026.27          01/31/2021
   01/20/2021                  1202021        emco9815 - EMCOR Services Fluidics                        746.38        01/31/2021
   Total Cleared Checks                                                                            6,716.05
   Cleared Deposits

   Date               Tran #                  Notes                                            Amount            Date Cleared
   01/08/2021                     84                                                                2,837.63          01/31/2021
   01/12/2021                     85                                                                    980.00        01/31/2021
   01/20/2021                     86                                                                    815.00        01/31/2021
   01/21/2021                     87                                                                    962.00        01/31/2021
   01/27/2021                     88                                                                4,075.00          01/31/2021
   Total Cleared Deposits                                                                          9,669.63
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 116 of 274 PageID: 4286




       PA NORSE, LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                         4Contact your Relationship Manager to discuss
                                                                                         targeted solutions for your evolving business needs.
       AS RECIEVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                   $7,596.31            Number of Days in Cycle                                  29
5 Deposits/Credits                                          $9,669.63            Minimum Balance This Cycle                        $5,625.15
6 Checks/Debits                                           ($6,716.05)            Average Collected Balance                         $7,778.38
Service Charges                                                 $0.00
Ending Balance 01/29/21                                   $10,549.89

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021                  - JANUARY 29, 2021


Date       Description                                                     Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/08      Customer Deposit                                                        $2,837.63                                        $10,433.94
01/11      Check      289                                                                                   $2,300.00                $8,133.94
01/11      Check      290                                                                                     $148.80                $7,985.14
01/12      Customer Deposit                                                         $980.00                                          $8,965.14
01/12      Check      291                                                                                     $703.73                $8,261.41
01/20      Customer Deposit                                                         $815.00                                          $9,076.41
01/20      Wire transfer withdrawal Fluidics Inc                                                            $3,451.26                $5,625.15

01/21      Customer Deposit                                                          $962.00                                         $6,587.15
01/27      Customer Deposit                                                        $4,075.00                                        $10,662.15
01/27      Check     292                                                                                        $89.38              $10,572.77
01/28      Check     293                                                                                        $22.88              $10,549.89
Total                                                                              $9,669.63                $6,716.05



            * designates gap in check sequence
Check No.         Date                   Amount          Check No.      Date            Amount      Check No.      Date                Amount
289               01/11                $2,300.00         290            01/11           $148.80     291            01/12              $703.73



                                                          Thank you for banking with us.                                         PAGE 1 OF 2

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Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 117 of 274 PageID: 4287




 ACCOUNT DETAIL      CONTINUED FOR PERIOD JANUARY 01, 2021     - JANUARY 29, 2021
 Check No.   Date       Amount    Check No.   Date      Amount        Check No.   Date               Amount
 292         01/27       $89.38   293         01/28          $22.88




                                                                                          PAGE 2 OF 2



                                                                                     PSI: 1 / SHC: 0 / LOB :C
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 118 of 274 PageID: 4288


                                              PA Norse Sec Dep                          2/4/2021


                                         Bank Reconcilation Report
                                                   01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                   0.00
                     Reconciled Bank Balance                                     0.00



   Balance per GL as of 01/31/2021                                               0.00
                      Reconciled Balance Per G/L                                 0.00
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)   0.00
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 119 of 274 PageID: 4289




       PA NORSE LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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                                                                             PAGE 2 OF 2



                                                                        PSI: 0 / SHC: 0 / LOB :C
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  352-354 New Brunswick Avenue
  Perth NB Ventures LLC


  Portal v. Levine
  Civil Action No. 19-cv-19611 (MCA) (LDW)
  January 2021




  PREPARED BY:
  Gunner Franklin
  704-910-8465
  gunner.franklin@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 122 of 274 PageID: 4292




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               2. Balance Sheet
               3. Income Statement
               4. Receipt Register
               5. Check Register
               6. Aged Receivables
               7. Accounts Payable Aging
               8. Rent Roll
               9. Bank Reconciliation and Statement
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 123 of 274 PageID: 4293



    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of
    dollars for the purchase of residential apartment buildings located throughout the State of New Jersey,
    as more particularly identified and described in the Schedule annexed to this Court’s Order appointing
    Colliers International NJ LLC to serve as the Receiver for the properties at issue. The corporate
    borrowers deferred maintenance and abandonment of their other management responsibilities for
    these properties resulted in profound and immediate issues for which this appointment was necessary.
    Due to an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused
    to provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
    Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 124 of 274 PageID: 4294
352-354 New Brunswick Avenue (1707-nj)                                                        Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                     Current Balance
       1000-0000          ASSETS



       1005-0000          CASH & EQUIVALENTS
       1020-0000            Cash-Operating                                                  7,426.01
       1032-0200            Cash-Security Deposits                                          1,502.61


       1099-9999          TOTAL CASH & EQUIVALENTS                                          8,928.62


       1999-9999          TOTAL ASSETS                                                      8,928.62



       2000-0000          LIABILITY AND EQUITY



       2000-0001          LIABILITIES



       2900-0000          OTHER LIABILITIES
       2910-0000            Security Deposits                                               1,500.00


       2999-8999          TOTAL OTHER LIABILITIES                                           1,500.00


       2999-9999          TOTAL LIABILITIES                                                 1,500.00



       3000-0000          EQUITY
       3100-0300            Funding from Loan Servicer                                       6,213.67
       3800-0000            Current Year Earnings                                            4,449.62
       3811-0000            Prior Year Retained Earnings                                    -3,234.67


       3900-9999          TOTAL EQUITY                                                      7,428.62


       3999-9999          TOTAL LIABILITY & EQUITY                                          8,928.62




                                                                          Thursday, February 11, 2021
                                                                                            10:39 AM
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352-354 New Brunswick Avenue (1707-nj)                                                                  Page 1

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                                  Period to Date       %    Year to Date                     %
 4001-0000    REVENUE



 4005-0000    RENT
 4006-0000      Prepaid Income                             0.09      0.00          0.09                   0.00
 4110-0000      Rent                                  10,889.09    100.00     10,889.09                 100.00


 4299-4999    TOTAL RENT                              10,889.18    100.00     10,889.18                 100.00



 4800-0000    OTHER INCOME
 4880-0000      Interest Income                            0.26      0.00          0.26                   0.00


 4899-9999    TOTAL OTHER INCOME                           0.26      0.00          0.26                   0.00


 4998-9999    TOTAL REVENUE                           10,889.44    100.00     10,889.44                 100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5200-0000    UTILITIES
 5205-0000      Electricity                               57.24      0.53         57.24                   0.53


 5249-9999    TOTAL UTILITIES                             57.24      0.53         57.24                   0.53



 5250-0000    ENGINEERING
 5255-0000      Engineering Compensation               1,979.32     18.18      1,979.32                  18.18


 5299-9999    TOTAL ENGINEERING                        1,979.32     18.18      1,979.32                  18.18



 5600-0000    ROADS/GROUNDS
 5635-0000      Snow Removal                           1,279.50     11.75      1,279.50                  11.75


 5649-9999    TOTAL ROADS/GROUNDS                      1,279.50     11.75      1,279.50                  11.75



 5650-0000    GEN BLDG REPAIR/MAINT.
 5680-0000      Pest Control                             586.44      5.39        586.44                   5.39


 5699-9999    TOTAL GEN BLDG REPAIR/MAINT.               586.44      5.39        586.44                   5.39



 5800-0000    MANAGEMENT/ADMIN
 5805-0000      Management Fees                        2,300.00     21.12      2,300.00                  21.12
 5810-0000      Management Compensation                  148.80      1.37        148.80                   1.37
 5845-0000      Telephone                                 22.92      0.21         22.92                   0.21
 5895-0000      Miscellaneous Operating Expense           65.60      0.60         65.60                   0.60


 5899-9999    TOTAL MANAGEMENT/ADMIN                   2,537.32     23.30      2,537.32                  23.30

                                                                                    Thursday, February 11, 2021
                                                                                                      10:41 AM
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352-354 New Brunswick Avenue (1707-nj)                                                           Page 2

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                           Period to Date      %     Year to Date                     %


 5950-9999    TOTAL RECOVERABLE EXPENSES        6,439.82    59.14       6,439.82                  59.14


 6998-9999    TOTAL OPERATING EXPENSES          6,439.82    59.14       6,439.82                  59.14


 6999-9999    NET OPERATING INCOME              4,449.62    40.86       4,449.62                  40.86


 9496-9999    NET INCOME                        4,449.62    40.86       4,449.62                  40.86




                                                                             Thursday, February 11, 2021
                                                                                               10:41 AM
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                                                                                                                                                                                                                       2/11/2021 10:42 AM
                                                                                                352-354 New Brunswick Avenue (1707-nj)

                                                                                                      Receipt Register
                                                                                                         For Period = Jan 2021
 Control    Batch    Period     Date                            Person                                 Property                   Cash Acct            Account           Recovery    Amount      Reference           Check #      Notes
R-1229653   467966 01/2021 1/6/2021     Pedro Ramierez(rami1707)                        352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                          1,000.00               MO-R108840703422


R-1229660   467966 01/2021 1/6/2021     Pedro Ramierez(rami1707)                        352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                          1,000.00               MO-R108840703444


R-1231346   468526 01/2021 1/8/2021     Silvia Collahua(silv1707)                       352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                           950.00                MO-27023149890


R-1233519   469224 01/2021 1/12/2021 Luis Nunez(luis1707)                               352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                          1,000.00               75556594


R-1235412   470115 01/2021 1/15/2021 Pedro Ramierez(rami1707)                           352-354 New Brunswick Avenue(1707-nj)    1020-0000    4006-0000 Prepaid Income                1,000.00               MO-1400009431


R-1235463   470153 01/2021 1/20/2021 Rosia Corcino B(rosi1707)                          352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                           900.00                MO-R108840740778


R-1235464   470153 01/2021 1/20/2021 Yamilka Valdez(vald1707)                           352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                          1,000.00               MO-8714312237


R-1236410   470579 01/2021 1/21/2021 Nandos Restaurant & Pizzaria LLC(nand1707)         352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                          2,400.00               1097


R-1236628   470656 01/2021 1/26/2021 Pedro Ramierez(rami1707)                           352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                          1,000.00               Apply
                                                                                        352-354 New Brunswick Avenue(1707-nj)    1020-0000    4006-0000 Prepaid Income               -1,000.00               Apply


R-1239145   471547 01/2021 1/27/2021 Ginarte, Gallardo, Gonzalez & Winograd(gina1707)   352-354 New Brunswick Avenue(1707-nj)    1020-0000    4006-0000 Prepaid Income                    0.09               49705               prepd-c
                                                                                        352-354 New Brunswick Avenue(1707-nj)    1020-0000    4110-0000 Rent                          1,639.09               49705
                                                                                                                                                                             Total   10,889.18




                                                                                                              Page 1 of 1
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                                                                                                                                                                                                                                                                 2/11/2021 10:43 AM

                                                                                                                        352-354 New Brunswick Avenue (1707-nj)

                                                                                                                               Check Register
                                                                                                                                    For Period = Jan 2021
 Control     Batch    Period      Date                             Person                                   Property                                         Account                 Recovery     Amount     Reference                                Notes
K-1379704   278003   01/2021   1/6/2021    COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    352-354 New Brunswick Avenue(1707-nj)        5810-0000 Management Compensation                         148.80 263


K-1379705   278003   01/2021   1/6/2021    Cooper Pest Solutions, Inc. (coop351)            352-354 New Brunswick Avenue(1707-nj)        5680-0000 Pest Control                                    586.44 264            12/29/20- PEST CONTROL -352 New Brunswick


K-1379706   278003   01/2021   1/6/2021    EMCOR Services Fluidics (emco9815)               352-354 New Brunswick Avenue(1707-nj)        5255-0000 Engineering Compensation                       1,979.32 265           11/2020 - Engineerg Comp - 352/354 New Brunswick


K-1379707   278003   01/2021   1/6/2021    Verizon Wireless (veri408)                       352-354 New Brunswick Avenue(1707-nj)        5845-0000 Telephone                                        22.92 266            12/13/20-01/12/21 - CELL PHONE SVC


K-1382804   278676   01/2021   1/13/2021   Lawns by Yorkshire (lawn9)                       352-354 New Brunswick Avenue(1707-nj)        5635-0000 Snow Removal                                   1,279.50 267           01/2021- Snow Removal - 3 of 5 pymts


K-1389233   280230   01/2021   1/29/2021   COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)   352-354 New Brunswick Avenue(1707-nj)        5805-0000 Management Fees                                2,300.00 268           01/21 Management Fee


K-1389234   280230   01/2021   1/29/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    352-354 New Brunswick Avenue(1707-nj)        5895-0000 Miscellaneous Operating Expense                  65.60 269


K-1389235   280230   01/2021   1/29/2021   PSE&G Co. (pseg1444)                             352-354 New Brunswick Avenue(1707-nj)        5205-0000 Electricity                                      57.24 270            12/04-01/06/21 - ELECTRICITY - 352 New Brunswick Ave HMTR
                                                                                                                                                                                          Total   6,439.82




                                                                                                                                        Page 1 of 1
                                                          Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 129 of 274 PageID: 4299
                                                                                                                                                                                        Page 1
Aging Detail
DB Caption: USA LIVE 7s Property: 1707-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current      0-30    31-60   61-90       Over       Pre-                Total
                                                                     Code                                          Owed       Owed     Owed    Owed    90 Owed    payments               Owed
352-354 New Brunswick Avenue (1707-nj)
Darlin Placencia (darl1707)
1707-nj                 Darlin Placencia       Current    C-        rent         04/01/2020   04/2020             400.00        0.00    0.00    0.00    400.00        0.00              400.00
                                                          2249443
1707-nj               Darlin Placencia         Current    C-        rent         05/01/2020   05/2020            1,100.00       0.00    0.00    0.00   1,100.00       0.00            1,100.00
                                                          2249411
1707-nj               Darlin Placencia         Current    C-        rent         07/01/2020   07/2020             100.00        0.00    0.00    0.00    100.00        0.00              100.00
                                                          2287154
                      Darlin Placencia                                                                           1,600.00       0.00    0.00    0.00   1,600.00       0.00            1,600.00


Ginarte, Gallardo, Gonzalez & Winograd (gina1707)
1707-nj                Ginarte, Gallardo,       Current   R-        Prepay       01/27/2021   01/2021                0.00       0.00    0.00    0.00       0.00       -0.09               -0.09
                       Gonzalez & Winograd                1239145
                       Ginarte, Gallardo,                                                                            0.00       0.00    0.00    0.00       0.00       -0.09               -0.09
                       Gonzalez & Winograd


Nandos Restaurant & Pizzaria LLC (nand1707)
1707-nj              Nandos Restaurant &       Current    R-        Prepay       06/16/2020   06/2020                0.00       0.00    0.00    0.00       0.00   -2,400.00           -2,400.00
                     Pizzaria LLC                         1147915
1707-nj              Nandos Restaurant &       Current    R-        Prepay       07/20/2020   07/2020                0.00       0.00    0.00    0.00       0.00   -2,400.00           -2,400.00
                     Pizzaria LLC                         1159252
                     Nandos Restaurant &                                                                             0.00       0.00    0.00    0.00       0.00   -4,800.00           -4,800.00
                     Pizzaria LLC


Outfront (outf1707)
1707-nj               Outfront                 Current    C-        rent         10/01/2020   10/2020             283.38        0.00    0.00    0.00    283.38        0.00              283.38
                                                          2363367
1707-nj               Outfront                 Current    C-        rent         01/01/2021   01/2021             291.67     291.67     0.00    0.00       0.00       0.00              291.67
                                                          2446745
                      Outfront                                                                                    575.05     291.67     0.00    0.00    283.38        0.00              575.05


Pedro Ramierez (rami1707)
1707-nj              Pedro Ramierez            Current    C-        rent         01/26/2021   01/2021            1,000.00   1,000.00    0.00    0.00       0.00       0.00            1,000.00
                                                          2472454
1707-nj               Pedro Ramierez           Current    C-        rent         01/26/2021   01/2021            1,000.00   1,000.00    0.00    0.00       0.00       0.00            1,000.00
                                                          2472455
1707-nj               Pedro Ramierez           Current    C-        rent         01/26/2021   01/2021            1,000.00   1,000.00    0.00    0.00       0.00       0.00            1,000.00
                                                          2472456
1707-nj               Pedro Ramierez           Current    C-        rent         01/26/2021   01/2021            1,000.00   1,000.00    0.00    0.00       0.00       0.00            1,000.00
                                                          2472457
                      Pedro Ramierez                                                                             4,000.00   4,000.00    0.00    0.00       0.00       0.00            4,000.00


Rosana Cambana (rosa1707)
1707-nj             Rosana Cambana             Current    R-        Prepay       08/20/2020   08/2020                0.00       0.00    0.00    0.00       0.00    -280.00             -280.00
                                                          1173003
                      Rosana Cambana                                                                                 0.00       0.00    0.00    0.00       0.00    -280.00             -280.00


                                                                                                                                                                    Thursday, February 11, 2021
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Aging Detail
DB Caption: USA LIVE 7s Property: 1707-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current      0-30    31-60   61-90        Over       Pre-                Total
                                                                     Code                                          Owed       Owed     Owed    Owed     90 Owed    payments               Owed


Rosia Corcino B (rosi1707)
1707-nj                Rosia Corcino B         Current   C-         rent         12/01/2019   05/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2258423
1707-nj                Rosia Corcino B         Current   C-         rent         01/01/2020   05/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2258424
1707-nj                Rosia Corcino B         Current   C-         rent         02/01/2020   05/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2258425
1707-nj                Rosia Corcino B         Current   C-         rent         03/01/2020   05/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2258426
1707-nj                Rosia Corcino B         Current   C-         rent         04/01/2020   05/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2258427
1707-nj                Rosia Corcino B         Current   C-         rent         05/01/2020   05/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2258428
1707-nj                Rosia Corcino B         Current   C-         rent         06/01/2020   06/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2302596
1707-nj                Rosia Corcino B         Current   C-         rent         07/01/2020   07/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2287153
1707-nj                Rosia Corcino B         Current   C-         rent         08/01/2020   08/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2323404
1707-nj                Rosia Corcino B         Current   C-         rent         09/01/2020   09/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2338648
1707-nj                Rosia Corcino B         Current   C-         rent         10/01/2020   10/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2363364
1707-nj                Rosia Corcino B         Current   C-         rent         11/01/2020   11/2020             200.00        0.00    0.00     0.00    200.00        0.00              200.00
                                                         2393549
1707-nj                Rosia Corcino B         Current   C-         rent         12/01/2020   12/2020             200.00        0.00    0.00   200.00       0.00       0.00              200.00
                                                         2416480
1707-nj                Rosia Corcino B         Current   C-         rent         01/01/2021   01/2021            1,100.00   1,100.00    0.00     0.00       0.00       0.00            1,100.00
                                                         2446742
                       Rosia Corcino B                                                                           3,700.00   1,100.00    0.00   200.00   2,400.00       0.00            3,700.00


Silvia Collahua (silv1707)
1707-nj                 Silvia Collahua        Current   C-         rent         10/01/2019   04/2020              47.50        0.00    0.00     0.00     47.50        0.00               47.50
                                                         2249444
1707-nj                Silvia Collahua         Current   C-         rent         11/01/2019   04/2020              47.50        0.00    0.00     0.00     47.50        0.00               47.50
                                                         2249445
1707-nj                Silvia Collahua         Current   C-         rent         12/01/2019   04/2020              47.50        0.00    0.00     0.00     47.50        0.00               47.50
                                                         2249446
1707-nj                Silvia Collahua         Current   C-         rent         01/01/2020   04/2020              47.50        0.00    0.00     0.00     47.50        0.00               47.50
                                                         2249447
1707-nj                Silvia Collahua         Current   C-         rent         02/01/2020   04/2020              47.50        0.00    0.00     0.00     47.50        0.00               47.50
                                                         2249448
1707-nj                Silvia Collahua         Current   C-         rent         03/01/2020   04/2020              47.50        0.00    0.00     0.00     47.50        0.00               47.50
                                                         2249449
1707-nj                Silvia Collahua         Current   C-         rent         04/01/2020   04/2020              47.50        0.00    0.00     0.00     47.50        0.00               47.50
                                                         2249450
1707-nj                Silvia Collahua         Current   C-         rent         05/01/2020   05/2020              47.50        0.00    0.00     0.00     47.50        0.00               47.50
                                                         2249412

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Aging Detail
DB Caption: USA LIVE 7s Property: 1707-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over       Pre-                Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed    payments               Owed
1707-nj              Silvia Collahua           Current   C-         rent         06/01/2020   07/2020               47.50        0.00    0.00       0.00     47.50        0.00               47.50
                                                         2330380
1707-nj              Silvia Collahua           Current   C-         rent         07/01/2020   07/2020               47.50        0.00    0.00       0.00     47.50        0.00               47.50
                                                         2287155
1707-nj              Silvia Collahua           Current   C-         rent         08/01/2020   08/2020               47.50        0.00    0.00       0.00     47.50        0.00               47.50
                                                         2323405
1707-nj              Silvia Collahua           Current   C-         rent         09/01/2020   09/2020               47.50        0.00    0.00       0.00     47.50        0.00               47.50
                                                         2338649
1707-nj              Silvia Collahua           Current   C-         rent         10/01/2020   10/2020               47.50        0.00    0.00       0.00     47.50        0.00               47.50
                                                         2363365
1707-nj              Silvia Collahua           Current   C-         rent         11/01/2020   11/2020               47.50        0.00    0.00       0.00     47.50        0.00               47.50
                                                         2393550
1707-nj              Silvia Collahua           Current   C-         rent         12/01/2020   12/2020               47.50        0.00    0.00     47.50        0.00       0.00               47.50
                                                         2416481
1707-nj              Silvia Collahua           Current   C-         rent         01/01/2021   01/2021              997.50     997.50     0.00       0.00       0.00       0.00              997.50
                                                         2446743
                     Silvia Collahua                                                                              1,710.00    997.50     0.00     47.50     665.00        0.00            1,710.00


Yamilka Valdez (vald1707)
1707-nj               Yamilka Valdez           Current   R-         Prepay       08/18/2020   08/2020                 0.00       0.00    0.00       0.00       0.00    -500.00             -500.00
                                                         1173631
1707-nj              Yamilka Valdez            Current   R-         Prepay       08/18/2020   08/2020                 0.00       0.00    0.00       0.00       0.00   -1,000.00           -1,000.00
                                                         1173633
1707-nj              Yamilka Valdez            Current   R-         Prepay       08/18/2020   08/2020                 0.00       0.00    0.00       0.00       0.00   -1,000.00           -1,000.00
                                                         1173634
1707-nj              Yamilka Valdez            Current   R-         Prepay       09/08/2020   09/2020                 0.00       0.00    0.00       0.00       0.00   -1,000.00           -1,000.00
                                                         1180420
                     Yamilka Valdez                                                                                   0.00       0.00    0.00       0.00       0.00   -3,500.00           -3,500.00


Yoselin Santana (sant1707)
1707-nj               Yoselin Santana          Current   C-         rent         08/01/2020   08/2020             1,000.00       0.00    0.00       0.00   1,000.00       0.00            1,000.00
                                                         2323408
1707-nj              Yoselin Santana           Current   C-         rent         09/01/2020   09/2020             1,000.00       0.00    0.00       0.00   1,000.00       0.00            1,000.00
                                                         2338652
1707-nj              Yoselin Santana           Current   C-         rent         10/01/2020   10/2020             1,000.00       0.00    0.00       0.00   1,000.00       0.00            1,000.00
                                                         2363368
1707-nj              Yoselin Santana           Current   C-         rent         11/01/2020   11/2020             1,000.00       0.00    0.00       0.00   1,000.00       0.00            1,000.00
                                                         2393553
1707-nj              Yoselin Santana           Current   C-         rent         12/01/2020   12/2020             1,000.00       0.00    0.00   1,000.00       0.00       0.00            1,000.00
                                                         2416484
1707-nj              Yoselin Santana           Current   C-         rent         01/01/2021   01/2021             1,000.00   1,000.00    0.00       0.00       0.00       0.00            1,000.00
                                                         2446746
                     Yoselin Santana                                                                              6,000.00   1,000.00    0.00   1,000.00   4,000.00       0.00            6,000.00


1707-nj                                                                                                          17,585.05   7,389.17    0.00   1,247.50   8,948.38   -8,580.09           9,004.96


Grand                                                                                                            17,585.05   7,389.17    0.00   1,247.50   8,948.38   -8,580.09           9,004.96
Total

                                                                                                                                                                        Thursday, February 11, 2021
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Aging Detail
DB Caption: USA LIVE 7s Property: 1707-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month              Current    0-30   31-60   61-90       Over       Pre-                Total
                                                                     Code                                         Owed     Owed    Owed    Owed    90 Owed    payments               Owed


UserId : gunnerfranklin Date : 2/11/2021 Time : 10:43 AM




                                                                                                                                                                Thursday, February 11, 2021
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                                                                                                                                                                                                                                                                                                                          2/11/2021 10:48 AM


                                                                                                                               Payables Aging Report
                                                                                                                                               1707-nj
                                                                                                                                           Period: 01/2021
                                                                                                                                          As of : 01/31/2021
    Payee       Payee Name                       Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date    Post Month             Account                Invoice #    Base      Current      0-30       31-60          61-90          Over          Future       Notes
     Code                                                                                                                                                                           Currency   Owed         Owed       Owed           Owed            90           Invoice
                                                                                                                                                                                                                                                     Owed
     sillone    SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                               0.00
                                                             P-1944709   655453     1707-nj     1/12/2021     1/12/2021    01-2021     7914-0000 Legal Fees              1789304                   201.87     201.87           0.00           0.00          0.00         0.00 For Legal Services Rendered through December 31, 2020
Total sillone                                                                                                                                                                                     201.87      201.87       0.00           0.00              0.00        0.00


    veri408     Verizon Wireless                                                                                                                                                                                                                                         0.00
                                                             P-1943424   655301     1707-nj     1/12/2021     1/12/2021    01-2021     5845-0000 Telephone          4423057200001/0121              22.98      22.98           0.00           0.00          0.00         0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                      22.98       22.98       0.00           0.00              0.00        0.00


Grand Total                                                                                                                                                                                       224.85      224.85       0.00           0.00              0.00        0.00




                                                                                                                                                               Page 1 of 1
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                         Rent Roll                                                                                                                                            Page:
                                                                                                                                                                              Date:
                                                                                                                                                                                       1
                                                                                                                                                                                       02/11/2021
                         352-354 New Brunswick Avenue (1707-nj)                                                                                                               Time:    10:48 am
                         January 2021


                                                                                                                          Current                       Base Rent Inc.
                                              Square                                           Security               Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name                      Feet                    Term                    Deposit     Chg Code       Amount        Amount PSF     Date       Rate                Comments

APT1          Rosia Corcino B                     941               10/1/19 to                  $0.00      rent            1,100.00            1.17   10/1/19     $1,100.00
                                                               Original Lease 10/1/19 to




APT2          Luis Nunez                          941                6/4/19 to                  $0.00      rent            1,000.00            1.06   6/4/19      $1,000.00
                                                               Original Lease 6/4/19 to




APT3          Yoselin Santana                     941           3/1/20 to 3/1/21               $1,500.00   rent            1,000.00            1.06   3/1/20      $1,000.00
                                                            Original Lease 3/1/20 to3/1/21




APT4          Yamilka Valdez                      941          8/1/20 to 7/31/21                $0.00      rent            1,000.00            1.06   8/1/20      $1,000.00
                                                            Original Lease 8/1/20 to7/31/21




APT6          Silvia Collahua                     941               10/1/19 to                  $0.00      rent             997.50             1.06   10/1/19       $997.50
                                                               Original Lease 10/1/19 to




APT7          SUPER- Miguel Polanco               941               5/15/20 to                  $0.00                                          0.00
                                                               Original Lease 5/15/20 to




APT8          Pedro Ramierez                      941               10/1/19 to                  $0.00      rent            1,000.00            1.06   10/1/19     $1,000.00
                                                               Original Lease 10/1/19 to




COMM-1        Nandos Restaurant & Pizzaria        941               10/1/19 to                  $0.00      rent            2,400.00            2.55   10/1/19     $2,400.00
                                                               Original Lease 10/1/19 to
              LLC




COMM-2        Ginarte, Gallardo, Gonzalez &       941         11/1/11 to 10/31/21               $0.00      rent            1,639.09            1.74   11/1/11     $1,639.09
                                                           Original Lease 11/1/11 to10/31/21
              Winograd




SIGN          Outfront                            941               10/1/19 to                  $0.00      rent             291.67             0.31   10/1/19       $291.67
                                                               Original Lease 10/1/19 to




APT5          VACANT                                   0                                                                                       0.00
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                         Rent Roll                                                                                    Page:
                                                                                                                      Date:
                                                                                                                              2
                                                                                                                              02/11/2021
                         352-354 New Brunswick Avenue (1707-nj)                                                       Time:   10:48 am
                         January 2021

Totals for 352-354 New Brunswick Aven      9,410                  $1,500.00
                                                                                     Current Monthly Charges
               Vacant:                        0     0.00%                     rent                     10,428.26

               Occupied:                   9,410   100.00%
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                                          352-354 New Brunswick Avenue                                                                   2/11/2021


                                           Bank Reconciliation Report
                                                       1/31/2021


                                                    Posted by: DBO



   Balance Per Bank Statement as of 1/31/2021                                                                       9,848.85
   Outstanding Checks

   Check Date               Check Number       Payee                                                                   Amount
   1/29/2021                        268        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                        2,300.00
   1/29/2021                        269        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                              65.60
   1/29/2021                        270        pseg1444 - PSE&G Co.                                                       57.24
   Less:              Outstanding Checks                                                                            2,422.84
                      Reconciled Bank Balance                                                                       7,426.01



   Balance per GL as of 1/31/2021                                                                                   7,426.01
                      Reconciled Balance Per G/L                                                                    7,426.01


   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                            0.00


                                                                                   By Gunner Franklin at 10:52 am, Feb 11, 2021

   Cleared Items:


   Cleared Checks

   Date               Tran #                   Notes                                                   Amount             Date Cleared
   12/1/2020                        254        lawn9 - Lawns by Yorkshire                                      1,279.50           1/31/2021
   12/16/2020                       257        emco9815 - EMCOR Services Fluidics                              1,810.74           1/31/2021
   12/16/2020                       258        lawn9 - Lawns by Yorkshire                                      1,279.50           1/31/2021
   12/16/2020                       259        tolplu62 - TOLEDO PLUMBING & HEATING INC                        1,876.19           1/31/2021
   12/30/2020                       260        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                  2,300.00           1/31/2021
   12/30/2020                       261        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                      65.60           1/31/2021
   12/30/2020                       262        pseg1444 - PSE&G Co.                                               49.56           1/31/2021
   1/6/2021                         263        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                     148.80           1/31/2021
   1/6/2021                         264        coop351 - Cooper Pest Solutions, Inc.                             586.44           1/31/2021
   1/6/2021                         265        emco9815 - EMCOR Services Fluidics                              1,979.32           1/31/2021
   1/6/2021                         266        veri408 - Verizon Wireless                                         22.92           1/31/2021
   1/13/2021                        267        lawn9 - Lawns by Yorkshire                                      1,279.50           1/31/2021
   Total Cleared Checks                                                                                     12,678.07
   Cleared Deposits

   Date               Tran #                   Notes                                                   Amount             Date Cleared
   1/6/2021                         76                                                                         2,000.00           1/31/2021
   1/8/2021                         77                                                                           950.00           1/31/2021
   1/12/2021                        78                                                                         1,000.00           1/31/2021
   1/15/2021                        79                                                                         1,000.00           1/31/2021
   1/20/2021                        80                                                                         1,900.00           1/31/2021
   1/21/2021                        81                                                                         2,400.00           1/31/2021
   1/27/2021                        82                                                                         1,639.18           1/31/2021
   Total Cleared Deposits                                                                                   10,889.18
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       PERTH NB VENTURES LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                    4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $11,637.74        Number of Days in Cycle                                  29
7 Deposits/Credits                                        $10,889.18        Minimum Balance This Cycle                        $3,932.59
12 Checks/Debits                                        ($12,678.07)        Average Collected Balance                         $7,412.39
Service Charges                                                $0.00
Ending Balance 01/29/21                                    $9,848.85

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021            - JANUARY 29, 2021


Date       Description                                                 Deposits/Credits    Withdrawals/Debits          Resulting Balance
01/04      Check     258                                                                               $1,279.50               $10,358.24
01/05      Check     259                                                                               $1,876.19                $8,482.05
01/05      Check     257                                                                               $1,810.74                $6,671.31
01/06      Customer Deposit                                                   $2,000.00                                         $8,671.31
01/07      Check     262                                                                                   $49.56               $8,621.75
01/08      Customer Deposit                                                    $950.00                                          $9,571.75
01/08      Check     260                                                                               $2,300.00                $7,271.75
01/08      Check     261                                                                                  $65.60                $7,206.15
01/11      Check     263                                                                                 $148.80                $7,057.35
01/12      Customer Deposit                                                   $1,000.00                                         $8,057.35
01/12      Check     264                                                                                 $586.44                $7,470.91
01/13      Check     265                                                                               $1,979.32                $5,491.59
01/15      Customer Deposit                                                   $1,000.00                                         $6,491.59
01/15      Check     254                                                                               $1,279.50                $5,212.09
01/19      Check     267                                                                               $1,279.50                $3,932.59
01/20      Customer Deposit                                                   $1,900.00                                         $5,832.59
01/21      Customer Deposit                                                   $2,400.00                                         $8,232.59
01/25      Check     266                                                                                   $22.92               $8,209.67




                                                          Thank you for banking with us.                                    PAGE 1 OF 2

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 ACCOUNT DETAIL              CONTINUED FOR PERIOD JANUARY 01, 2021              - JANUARY 29, 2021
 Date    Description                                         Deposits/Credits     Withdrawals/Debits         Resulting Balance
 01/27   Customer Deposit                                           $1,639.18                                           $9,848.85
 Total                                                            $10,889.18                $12,678.07



         * designates gap in check sequence
 Check No.    Date                Amount      Check No.   Date           Amount       Check No.   Date                   Amount
 254          01/15             $1,279.50     260         01/08         $2,300.00     264         01/12                $586.44
 257*         01/05             $1,810.74     261         01/08            $65.60     265         01/13              $1,979.32
 258          01/04             $1,279.50     262         01/07            $49.56     266         01/25                 $22.92
 259          01/05             $1,876.19     263         01/11           $148.80     267         01/19              $1,279.50




                                                                                                              PAGE 2 OF 2



                                                                                                         PSI: 1 / SHC: 0 / LOB :C
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                                                  Perth NB Sec Dep                                                                     2/11/2021


                                              Bank Reconciliation Report
                                                         1/31/2021


                                                      Posted by: DBO



   Balance Per Bank Statement as of 1/31/2021                                                                    1,502.61
                         Reconciled Bank Balance                                                                 1,502.61



   Balance per GL as of 1/31/2021                                                                                1,502.61
                         Reconciled Balance Per G/L                                                              1,502.61


   Difference            (Reconciled Bank Balance And Reconciled Balance Per G/L)                                       0.00


                                                                                 By Gunner Franklin at 10:53 am, Feb 11, 2021

   Cleared Items:


   Cleared Other Items

   Date                  Tran #                  Notes                                             Amount               Date Cleared
   1/31/2021                      JE 513172      :PostRecurring Interest 01.21                                   0.26           1/31/2021
   Total Cleared Other Items                                                                                    0.26
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 140 of 274 PageID: 4310




       PERTH NB VENTURES LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                     4Contact your Relationship Manager to discuss
                                                                                      targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                   $1,502.35        Number of Days in Cycle                                    29
0 Deposits/Credits                                              $0.00        Minimum Balance This Cycle                         $1,502.35
Interest Paid                                                   $0.26        Average Collected Balance                          $1,502.35
0 Checks/Debits                                                 $0.00        Interest Earned During this Cycle                       $0.26
Service Charges                                                 $0.00        Interest Paid Year-To-Date                              $0.26
Ending Balance 01/29/21                                     $1,502.61        Annual Percentage Yield                                0.20%
                                                                             (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021             - JANUARY 29, 2021


Date       Description                                                  Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/31      Interest paid                                                           $0.26                                           $1,502.61
Total                                                                              $0.26                      $0.00




                                                          Thank you for banking with us.                                      PAGE 1 OF 2

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  197-199 Grant Street; 359-361 Gordon St
  Plainfield Norse LLC


  Portal v. Levine
  Civil Action No. 19-cv-19611 (MCA) (LDW)
  January 2021




  PREPARED BY:
  Gunner Franklin
  704-910-8465
  gunner.franklin@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 142 of 274 PageID: 4312




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               1. Statement of Case
               2. Balance Sheet
               3. Income Statement
               4. Receipt Register
               5. Check Register
               6. Aged Receivables
               7. Accounts Payable Aging
               8. Rent Roll
               9. Bank Reconciliation and Statement
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    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of
    dollars for the purchase of residential apartment buildings located throughout the State of New Jersey,
    as more particularly identified and described in the Schedule annexed to this Court’s Order appointing
    Colliers International NJ LLC to serve as the Receiver for the properties at issue. The corporate
    borrowers deferred maintenance and abandonment of their other management responsibilities for
    these properties resulted in profound and immediate issues for which this appointment was necessary.
    Due to an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused
    to provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
    Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 144 of 274 PageID: 4314
197-199 Grant Street and 359-361 Gordon Street (1703-nj)                                      Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                     Current Balance
       1000-0000          ASSETS



       1005-0000          CASH & EQUIVALENTS
       1020-0000            Cash-Operating                                                 12,421.60


       1099-9999          TOTAL CASH & EQUIVALENTS                                         12,421.60


       1999-9999          TOTAL ASSETS                                                     12,421.60



       2000-0000          LIABILITY AND EQUITY



       3000-0000          EQUITY
       3100-0300            Funding from Loan Servicer                                     13,263.70
       3800-0000            Current Year Earnings                                           9,618.67
       3811-0000            Prior Year Retained Earnings                                  -10,460.77


       3900-9999          TOTAL EQUITY                                                     12,421.60


       3999-9999          TOTAL LIABILITY & EQUITY                                         12,421.60




                                                                          Thursday, February 11, 2021
                                                                                            12:34 AM
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197-199 Grant Street and 359-361 Gordon Street (1703-nj)                                                         Page 1

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                                           Period to Date       %    Year to Date                     %
 4001-0000    REVENUE



 4005-0000    RENT
 4006-0000      Prepaid Income                                  1,744.61     12.20      1,744.61                  12.20
 4110-0000      Rent                                           12,558.39     87.80     12,558.39                  87.80


 4299-4999    TOTAL RENT                                       14,303.00    100.00     14,303.00                 100.00


 4998-9999    TOTAL REVENUE                                    14,303.00    100.00     14,303.00                 100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5200-0000    UTILITIES
 5205-0000      Electricity                                        42.95      0.30         42.95                   0.30
 5215-0000      Water                                             971.00      6.79        971.00                   6.79
 5220-0000      Sewer                                           1,431.87     10.01      1,431.87                  10.01


 5249-9999    TOTAL UTILITIES                                   2,445.82     17.10      2,445.82                  17.10



 5300-0000    ELECTRICAL
 5320-0000      Electrical R & M                                  506.47      3.54        506.47                   3.54


 5349-9999    TOTAL ELECTRICAL                                    506.47      3.54        506.47                   3.54



 5800-0000    MANAGEMENT/ADMIN
 5810-0000      Management Compensation                           148.80      1.04        148.80                   1.04
 5845-0000      Telephone                                          22.92      0.16         22.92                   0.16
 5895-0000      Miscellaneous Operating Expense                    65.60      0.46         65.60                   0.46


 5899-9999    TOTAL MANAGEMENT/ADMIN                              237.32      1.66        237.32                   1.66


 5950-9999    TOTAL RECOVERABLE EXPENSES                        3,189.61     22.30      3,189.61                  22.30


 6998-9999    TOTAL OPERATING EXPENSES                          3,189.61     22.30      3,189.61                  22.30


 6999-9999    NET OPERATING INCOME                             11,113.39     77.70     11,113.39                  77.70



 7000-0000    NON-OPERATING EXPENSES



 7900-0000    PROFESSIONAL OTHER
 7914-0000      Legal Fees                                      1,494.72     10.45      1,494.72                  10.45


 7949-9999    TOTAL PROFESSIONAL OTHER                          1,494.72     10.45      1,494.72                  10.45


 9399-9999    TOTAL NON-OPERATING EXPENSES                      1,494.72     10.45      1,494.72                  10.45

                                                                                             Thursday, February 11, 2021
                                                                                                               12:35 AM
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197-199 Grant Street and 359-361 Gordon Street (1703-nj)                                                        Page 2

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                                           Period to Date      %    Year to Date                     %


 9496-9999    NET INCOME                                        9,618.67    67.25      9,618.67                  67.25




                                                                                            Thursday, February 11, 2021
                                                                                                              12:35 AM
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                                                                                                                                                                                                                                              2/11/2021 12:42 AM

                                                                                                      197-199 Grant Street and 359-361 Gordon Street (1703-nj)

                                                                                                                     Receipt Register
                                                                                                                         For Period = Jan 2021
 Control    Batch   Period      Date                         Person                                           Property                             Cash Acct              Account           Recovery   Amount     Reference         Check #             Notes
R-1235461   470152 01/2021   1/20/2021    Flor Pujols Luna(luna1703)                197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          100.00               MO-R108840742747


R-1235462   470152 01/2021   1/20/2021    Flor Pujols Luna(luna1703)                197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,000.00               MO-R108840742736


R-1236253   470491 01/2021   1/21/2021    Etanistao Germosen(germ1703)              197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          200.00               MO-19-203800577


R-1236254   470491 01/2021   1/21/2021    Etanistao Germosen(germ1703)              197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,000.00               MO-19-203800576


R-1236255   470491 01/2021   1/21/2021    Victoria Montero(mont1703)                197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                           20.00               318
                                                                                    197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                           20.00               318
                                                                                    197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                           20.00               318


R-1236256   470491 01/2021   1/21/2021    Victoria Montero(mont1703)                197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,020.00               317


R-1237495   471015 01/2021   12/8/2020    Andres Ramos & Paloma Ricardo(rica1703)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,000.00               MO-19-169114049


R-1237498   471015 01/2021   12/8/2020    Andres Ramos & Paloma Ricardo(rica1703)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          200.00               MO-19-169114048
                                                                                    197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          300.00               MO-19-169114048


R-1237500   471015 01/2021   12/8/2020    Andres Ramos & Paloma Ricardo(rica1703)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          500.00               MO-19-169114050


R-1237504   471015 01/2021   12/8/2020    Andres Ramos & Paloma Ricardo(rica1703)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          400.00               MO-19-169114047
                                                                                    197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          600.00               MO-19-169114047


R-1237533   471025 01/2021   12/23/2020   M. Sanchez Garcia(garc1703)               197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,050.00               118


R-1237534   471025 01/2021   12/23/2020   Andres Ramos & Paloma Ricardo(rica1703)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          200.00               MO-19-205296314


R-1237535   471025 01/2021   12/23/2020   Andres Ramos & Paloma Ricardo(rica1703)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          400.00               MO-19-205296313
                                                                                    197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4006-0000 Prepaid Income                600.00               MO-19-205296313     prepd-c


R-1237536   471025 01/2021   12/23/2020   Etanistao Germosen(germ1703)              197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,000.00               MO-19-203800420


R-1237537   471025 01/2021   12/23/2020   Etanistao Germosen(germ1703)              197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                          200.00               MO-19-203800421


R-1239840   471806 01/2021   1/27/2021    M. Sanchez Garcia(garc1703)               197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,100.00               120


R-1239841   471806 01/2021   1/27/2021    Caridad Emiliano(emil1703)                197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                           82.00               MO-19-205364951


R-1239842   471806 01/2021   1/27/2021    Caridad Emiliano(emil1703)                197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,000.00               MO-19-205364950


R-1239846   471806 01/2021   1/27/2021    Andres Ramos & Paloma Ricardo(rica1703)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4006-0000 Prepaid Income                200.00               MO-19-205365026     prepd-c


R-1239851   471806 01/2021   1/27/2021    Andres Ramos & Paloma Ricardo(rica1703)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4006-0000 Prepaid Income              1,000.00               MO-19-205364954     prepd-c


R-1239853   471806 01/2021   1/27/2021    Kenia Eduordo(eduo1703)                   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                           91.00               MO-R108840747114


R-1239854   471806 01/2021   1/27/2021    Kenia Eduordo(eduo1703)                   197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4110-0000 Rent                        1,055.39               MO-R108840747103
                                                                                    197-199 Grant Street and 359-361 Gordon Street(1703-nj)      1020-0000       4006-0000 Prepaid Income                -55.39               MO-R108840747103    prepd-c 09/18/20

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                                                                                                                                                                            2/11/2021 12:42 AM

                                                         197-199 Grant Street and 359-361 Gordon Street (1703-nj)

                                                                       Receipt Register
                                                                           For Period = Jan 2021
Control   Batch   Period    Date       Person                   Property                              Cash Acct     Account   Recovery    Amount      Reference   Check #            Notes
                                                                                                                                  Total   14,303.00




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                                                                                                                                                                                                                                                                2/11/2021 12:43 AM

                                                                                                             197-199 Grant Street and 359-361 Gordon Street (1703-nj)

                                                                                                                             Check Register
                                                                                                                              For Period = Jan 2021
 Control    Batch   Period    Date                            Person                                            Property                                                 Account                  Recovery    Amount     Reference                        Notes
K-1379708   278004 01/2021 1/6/2021    CITY OF PERTH AMBOY (ciper260)                  197-199 Grant Street and 359-361 Gordon Street(1703-nj)        5215-0000 Water                                          971.00 237            8/28-12/1/20 - WATER - 199 Grant


K-1379709   278004 01/2021 1/6/2021    COLLIERS INT'L HOLDINGS (coll666a) (coll666a)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)        5810-0000 Management Compensation                        148.80 238


K-1379710   278004 01/2021 1/6/2021    SILLS, CUMMIS & GROSS P.C. (sillone)            197-199 Grant Street and 359-361 Gordon Street(1703-nj)        7914-0000 Legal Fees                                    1,494.72 239           For legal services rendered thro


K-1379711   278004 01/2021 1/6/2021    Verizon Wireless (veri408)                      197-199 Grant Street and 359-361 Gordon Street(1703-nj)        5845-0000 Telephone                                       22.92 240            12/13/20-01/12/21 - CELL PHONE SVC


K-1389229   280229 01/2021 1/29/2021   CITY OF PERTH AMBOY (ciper260)                  197-199 Grant Street and 359-361 Gordon Street(1703-nj)        5220-0000 Sewer                                         1,431.87 241           8/28-12/1/20 - SEWER - 199 Grant


K-1389230   280229 01/2021 1/29/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)   197-199 Grant Street and 359-361 Gordon Street(1703-nj)        5895-0000 Miscellaneous Operating Expense                 65.60 242


K-1389231   280229 01/2021 1/29/2021   Di Dio Electric Inc. (didi1100)                 197-199 Grant Street and 359-361 Gordon Street(1703-nj)        5320-0000 Electrical R & M                               506.47 243            12/18/20 - Electrical R&M - 361 Gordon St


K-1389232   280229 01/2021 1/29/2021   PSE&G Co. (pseg1444)                            197-199 Grant Street and 359-361 Gordon Street(1703-nj)        5205-0000 Electricity                                     42.95 244            12/04-01/05/21 - ELECTRICITY - 199 Grant St
                                                                                                                                                                                                      Total   4,684.33




                                                                                                                                    Page 1 of 1
                                                           Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 150 of 274 PageID: 4320
                                                                                                                                                                                        Page 1
Aging Detail
DB Caption: USA LIVE 7s Property: 1703-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current      0-30    31-60   61-90       Over       Pre-                Total
                                                                     Code                                          Owed       Owed     Owed    Owed    90 Owed    payments               Owed
197-199 Grant Street and 359-361 Gordon Street (1703-nj)
Andres Ramos & Paloma Ricardo (rica1703)
1703-nj               Andres Ramos & Paloma Current        R-        Prepay      12/23/2020   01/2021                0.00       0.00    0.00    0.00       0.00    -600.00             -600.00
                      Ricardo                              1237535
1703-nj               Andres Ramos & Paloma Current        R-        Prepay      01/27/2021   01/2021                0.00       0.00    0.00    0.00       0.00    -200.00             -200.00
                      Ricardo                              1239846
1703-nj               Andres Ramos & Paloma Current        R-        Prepay      01/27/2021   01/2021                0.00       0.00    0.00    0.00       0.00   -1,000.00           -1,000.00
                      Ricardo                              1239851
1703-nj               Andres Ramos & Paloma Current        C-        secdep      01/28/2021   01/2021            1,800.00   1,800.00    0.00    0.00       0.00       0.00            1,800.00
                      Ricardo                              2474901
                      Andres Ramos & Paloma                                                                      1,800.00   1,800.00    0.00    0.00       0.00   -1,800.00               0.00
                      Ricardo


Caridad Emiliano (emil1703)
1703-nj                Caridad Emiliano         Current    C-        rent        12/01/2020   12/2020                0.13       0.00    0.00    0.13       0.00       0.00                0.13
                                                           2416421
1703-nj               Caridad Emiliano          Current    C-        rent        01/01/2021   01/2021            1,082.13   1,082.13    0.00    0.00       0.00       0.00            1,082.13
                                                           2446711
                      Caridad Emiliano                                                                           1,082.26   1,082.13    0.00    0.13       0.00       0.00            1,082.26


Etanistao Germosen (germ1703)
1703-nj              Etanistao Germosen         Current    C-        rent        10/01/2020   10/2020            1,200.00       0.00    0.00    0.00   1,200.00       0.00            1,200.00
                                                           2363361
1703-nj               Etanistao Germosen        Current    C-        rent        11/01/2020   11/2020            1,200.00       0.00    0.00    0.00   1,200.00       0.00            1,200.00
                                                           2393546
                      Etanistao Germosen                                                                         2,400.00       0.00    0.00    0.00   2,400.00       0.00            2,400.00


Juan Ocana (ocan1703)
1703-nj             Juan Ocana                  Past       C-        rent        10/01/2019   02/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2198620
1703-nj               Juan Ocana                Past       C-        rent        11/01/2019   02/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2198621
1703-nj               Juan Ocana                Past       C-        rent        12/01/2019   02/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2198622
1703-nj               Juan Ocana                Past       C-        rent        01/01/2020   02/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2198623
1703-nj               Juan Ocana                Past       C-        rent        02/01/2020   02/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2198624
1703-nj               Juan Ocana                Past       C-        rent        03/01/2020   03/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2203480
1703-nj               Juan Ocana                Past       C-        rent        04/01/2020   04/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2202901
1703-nj               Juan Ocana                Past       C-        rent        05/01/2020   05/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2230265
1703-nj               Juan Ocana                Past       C-        rent        06/01/2020   06/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2288376
1703-nj               Juan Ocana                Past       C-        rent        07/01/2020   07/2020              57.22        0.00    0.00    0.00     57.22        0.00               57.22
                                                           2287083

                                                                                                                                                                    Thursday, February 11, 2021
                                                                                                                                                                                      12:44 AM
                                                           Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 151 of 274 PageID: 4321
                                                                                                                                                                                            Page 2
Aging Detail
DB Caption: USA LIVE 7s Property: 1703-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over       Pre-                Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed    payments               Owed
1703-nj               Juan Ocana                 Past      C-        rent        08/01/2020   08/2020             1,197.22       0.00    0.00       0.00   1,197.22       0.00            1,197.22
                                                           2323367
1703-nj               Juan Ocana                 Past      C-        rent        09/01/2020   09/2020             1,197.22       0.00    0.00       0.00   1,197.22       0.00            1,197.22
                                                           2338582
1703-nj               Juan Ocana                 Past      C-        rent        10/01/2020   10/2020             1,197.22       0.00    0.00       0.00   1,197.22       0.00            1,197.22
                                                           2363355
1703-nj               Juan Ocana                 Past      C-        rent        11/01/2020   11/2020             1,197.22       0.00    0.00       0.00   1,197.22       0.00            1,197.22
                                                           2393540
1703-nj               Juan Ocana                 Past      C-        rent        12/01/2020   12/2020             1,197.22       0.00    0.00   1,197.22       0.00       0.00            1,197.22
                                                           2416419
1703-nj               Juan Ocana                 Past      C-        rent        01/01/2021   01/2021             1,197.22   1,197.22    0.00       0.00       0.00       0.00            1,197.22
                                                           2446709
                      Juan Ocana                                                                                  7,755.52   1,197.22    0.00   1,197.22   5,361.08       0.00            7,755.52


Kenia Eduordo (eduo1703)
1703-nj              Kenia Eduordo               Current   R-        Prepay      09/17/2020   09/2020                 0.00       0.00    0.00       0.00       0.00    -204.76             -204.76
                                                           1183952
                      Kenia Eduordo                                                                                   0.00       0.00    0.00       0.00       0.00    -204.76             -204.76


Victoria Montero (mont1703)
1703-nj                Victoria Montero          Current   C-        rent        09/01/2020   09/2020              120.00        0.00    0.00       0.00    120.00        0.00              120.00
                                                           2338586
                      Victoria Montero                                                                             120.00        0.00    0.00       0.00    120.00        0.00              120.00


1703-nj                                                                                                          13,157.78   4,079.35    0.00   1,197.35   7,881.08   -2,004.76          11,153.02


Grand                                                                                                            13,157.78   4,079.35    0.00   1,197.35   7,881.08   -2,004.76          11,153.02
Total


UserId : gunnerfranklin Date : 2/11/2021 Time : 12:44 AM




                                                                                                                                                                        Thursday, February 11, 2021
                                                                                                                                                                                          12:44 AM
                                              Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 152 of 274 PageID: 4322
                                                                                                                                                                                                                                                                                                                               2/11/2021 12:50 AM


                                                                                                                                       Payables Aging Report
                                                                                                                                                      1703-nj
                                                                                                                                                   Period: 01/2021
                                                                                                                                                 As of : 01/31/2021
    Payee        Payee Name                             Doc Seq #    Control    Batch Id   Property   Invoice Date   Due Date     Post Month             Account                 Invoice #    Base      Current      0-30          31-60       61-90         Over          Future       Notes
    Code                                                                                                                                                                                     Currency   Owed         Owed          Owed        Owed           90           Invoice
                                                                                                                                                                                                                                                             Owed
   coll1625      COLLIERS INT'L HOLDINGS (USA), INC.                                                                                                                                                                                                                             0.00
                                                                    P-1913247   652932     1703-nj     11/1/2020     11/1/2020     11-2020     5805-0000 Management Fees1703-nj11.20MGMTFEE               4,600.00          0.00        0.00          0.00    4,600.00           0.00 11/20 Management Fee
                                                                    P-1926779   654011     1703-nj     12/1/2020     12/1/2020     12-2020     5805-0000 Management Fees1703-nj12.20MGMTFEE               4,600.00          0.00        0.00    4,600.00            0.00         0.00 12/20 Management Fee
                                                                    P-1942996   655284     1703-nj      1/1/2021      1/1/2021     01-2021     5805-0000 Management Fees1703-nj1.21MGMTFEE                4,600.00          0.00    4,600.00          0.00          0.00         0.00 01/21 Management Fee
                                                                    P-1880158   649994     1703-nj      9/1/2020      9/1/2020     09-2020     5805-0000 Management Fees1703-nj9.20MGMTFEE                4,600.00          0.00        0.00          0.00    4,600.00           0.00 09/20 Management Fee
                                                                    P-1894205   651227     1703-nj     10/1/2020     10/1/2020     10-2020     5805-0000 Management Fees1703-nj10.20MGMTFEE               4,600.00          0.00        0.00          0.00    4,600.00           0.00 10/20 Management Fee
Total coll1625                                                                                                                                                                                          23,000.00           0.00   4,600.00    4,600.00      13,800.00          0.00


  emco9815       EMCOR Services Fluidics                                                                                                                                                                                                                                         0.00
                                                                    P-1833380   646297     1703-nj     6/22/2020      7/7/2020     06-2020     5255-0000 Engineering Compensation
                                                                                                                                                                              002052252                   3,110.10          0.00        0.00          0.00    3,110.10           0.00 05/2020 - Engineerg Comp - 197-1
                                                                    P-1851589   647805     1703-nj     7/24/2020      8/8/2020     08-2020     5255-0000 Engineering Compensation
                                                                                                                                                                              002052570                   3,258.20          0.00        0.00          0.00    3,258.20           0.00 JUN 2020 - Engineerg Comp - 197-
                                                                    P-1862408   648649     1703-nj     8/20/2020      9/4/2020     08-2020     5255-0000 Engineering Compensation
                                                                                                                                                                              002052835                   3,406.30          0.00        0.00          0.00    3,406.30           0.00 JUL 2020 - Engineering Comp - 19
                                                                    P-1890235   650905     1703-nj     9/28/2020     10/13/2020    10-2020     5255-0000 Engineering Compensation
                                                                                                                                                                              002053317                   3,110.10          0.00        0.00          0.00    3,110.10           0.00 AUG 2020 - Engineerg Comp - 199
                                                                    P-1896654   651490     1703-nj     10/15/2020    10/30/2020    10-2020     5255-0000 Engineering Compensation
                                                                                                                                                                              002053517                   3,258.20          0.00        0.00          0.00    3,258.20           0.00 SEPT 2020- Engineerg Comp- 199 G
                                                                    P-1915764   653151     1703-nj     11/18/2020    12/3/2020     12-2020     5255-0000 Engineering Compensation
                                                                                                                                                                              002053920                   3,258.20          0.00        0.00    3,258.20            0.00         0.00 OCT 2020 - ENGINEERG COMP - 199
                                                                    P-1931361   654328     1703-nj     12/11/2020    12/26/2020    12-2020     5255-0000 Engineering Compensation
                                                                                                                                                                              002054296                   2,830.21          0.00    2,830.21          0.00          0.00         0.00 11/2020 - Engineerg Comp - 199 Grant
Total emco9815                                                                                                                                                                                          22,231.31           0.00   2,830.21    3,258.20      16,142.90          0.00


  impa1575       IMPALA EMPIRE CLEANING SERVICES CORP                                                                                                                                                                                                                            0.00
                                                                    P-1812150   644537     1703-nj     5/12/2020     5/12/2020     05-2020     5655-0000 General Building Expense 359                    10,818.54          0.00        0.00          0.00   10,818.54           0.00 5/12/20 - General Bldg Exp Viola
                                                                    P-1847279   647419     1703-nj     7/14/2020     7/14/2020     07-2020     5655-0000 General Building Expense 421                     6,802.68          0.00        0.00          0.00    6,802.68           0.00 06/03/20 - General Bldg Exp/Read
                                                                    P-1847280   647419     1703-nj     7/15/2020     7/15/2020     07-2020     5655-0000 General Building Expense 422                     6,061.63          0.00        0.00          0.00    6,061.63           0.00 06/03/2020 - General Bldg Exp -
                                                                    P-1873969   649506     1703-nj      9/8/2020      9/8/2020     09-2020     5843-0000 Repairs & Maintenance      473                   5,672.45          0.00        0.00          0.00    5,672.45           0.00 FEB 22-27 & SEP 1, 2020 - FAILED
                                                                    P-1890238   650905     1703-nj     10/5/2020     10/5/2020     10-2020     5843-0000 Repairs & Maintenance      493                  10,523.89          0.00        0.00          0.00   10,523.89           0.00 9/4/20 - Repairs, Failed Inspect
Total impa1575                                                                                                                                                                                          39,879.19           0.00       0.00        0.00      39,879.19          0.00


    sillone      SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                                      0.00
                                                                    P-1944714   655453     1703-nj     1/12/2021     1/12/2021     01-2021     7914-0000 Legal Fees              1789290                    899.30     899.30           0.00          0.00          0.00         0.00 For Legal Services Rendered through December 31, 2020
Total sillone                                                                                                                                                                                              899.30      899.30          0.00        0.00             0.00        0.00


    veri408      Verizon Wireless                                                                                                                                                                                                                                                0.00
                                                                    P-1943424   655301     1703-nj     1/12/2021     1/12/2021     01-2021     5845-0000 Telephone         4423057200001/0121                22.98      22.98           0.00          0.00          0.00         0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                               22.98       22.98          0.00        0.00             0.00        0.00


Grand Total                                                                                                                                                                                             86,032.78      922.28      7,430.21    7,858.20      69,822.09          0.00




                                                                                                                                                                      Page 1 of 1
                                Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 153 of 274 PageID: 4323
                          Rent Roll                                                                                                                                              Page:
                                                                                                                                                                                 Date:
                                                                                                                                                                                          1
                                                                                                                                                                                          02/11/2021
                          197-199 Grant Street and 359-361 Gordon Street (1703-nj)                                                                                               Time:    12:51 am
                          January 2021


                                                                                                                           Current                         Base Rent Inc.
                                           Square                                         Security                     Monthly Charges                     CPI or Step Up
    Suite No.    Tenant Name                Feet                  Term                    Deposit    Chg Code              Amount         Amount PSF     Date        Rate                Comments

 199APT1         Flor Pujols Luna              673             10/1/19 to                  $0.00     rent                    1,100.00            1.63   10/1/19      $1,100.00
                                                          Original Lease 10/1/19 to




 199APT2         Kenia Eduordo                 673             10/1/19 to                  $0.00     rent                    1,146.39            1.70   10/1/19      $1,146.39
                                                          Original Lease 10/1/19 to




 359APT1         M. Sanchez Garcia             673             10/1/19 to                  $0.00     rent                    1,100.00            1.63   10/1/19      $1,100.00
                                                          Original Lease 10/1/19 to




 359APT2         Caridad Emiliano              673             10/1/19 to                  $0.00     rent                    1,082.13            1.61   10/1/19      $1,082.13
                                                          Original Lease 10/1/19 to




 361AAPT1        Andres Ramos & Paloma         673       11/10/20 to 11/9/21               $0.00     rent                    1,200.00            1.78   11/10/20     $1,200.00
                                                      Original Lease 11/10/20 to11/9/21
                 Ricardo




 361APT2         Etanistao Germosen            673             10/1/19 to                  $0.00     rent                    1,200.00            1.78   10/1/19      $1,200.00
                                                          Original Lease 10/1/19 to




 361APT4         Victoria Montero              673             10/1/19 to                  $0.00     rent                    1,020.00            1.52   10/1/19      $1,020.00
                                                          Original Lease 10/1/19 to




 361APT1         VACANT                        673                                                                                               0.00




 361APT3         VACANT                        673                                                                                               0.00




Totals for 197-199 Grant Street and 359-      6,057                                        $0.00
                                                                                                            Current Monthly Charges
                Vacant:                       1,346    22.22%                                        rent                      7,848.52

                Occupied:                     4,711    77.78%
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 154 of 274 PageID: 4324


                                          197-199 Grant 359-361 Gordon                                                                 2/11/2021


                                           Bank Reconciliation Report
                                                      1/31/2021


                                                   Posted by: DBO



   Balance Per Bank Statement as of 1/31/2021                                                                   14,468.49
   Outstanding Checks

   Check Date              Check Number       Payee                                                                 Amount
   1/29/2021                        241       ciper260 - CITY OF PERTH AMBOY                                       1,431.87
   1/29/2021                        242       coll666a - COLLIERS INT'L HOLDINGS (coll666a)                             65.60
   1/29/2021                        243       didi1100 - Di Dio Electric Inc.                                        506.47
   1/29/2021                        244       pseg1444 - PSE&G Co.                                                      42.95
   Less:              Outstanding Checks                                                                         2,046.89
                      Reconciled Bank Balance                                                                   12,421.60



   Balance per GL as of 1/31/2021                                                                               12,421.60
                      Reconciled Balance Per G/L                                                                12,421.60


   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                          0.00


                                                                                By Gunner Franklin at 12:54 am, Feb 11, 2021

   Cleared Items:


   Cleared Checks

   Date               Tran #                  Notes                                                  Amount             Date Cleared
   12/30/2020                       233       coll666a - COLLIERS INT'L HOLDINGS (coll666a)                     65.60           1/31/2021
   12/30/2020                       234       pseg1444 - PSE&G Co.                                              42.66           1/31/2021
   12/30/2020                       235       sillone - SILLS, CUMMIS & GROSS P.C.                           2,136.88           1/31/2021
   12/30/2020                       236       smit - SMITHSON CONSTRUCTION LLC                                 659.78           1/31/2021
   1/6/2021                         237       ciper260 - CITY OF PERTH AMBOY                                   971.00           1/31/2021
   1/6/2021                         238       coll666a - COLLIERS INT'L HOLDINGS (coll666a)                    148.80           1/31/2021
   1/6/2021                         239       sillone - SILLS, CUMMIS & GROSS P.C.                           1,494.72           1/31/2021
   1/6/2021                         240       veri408 - Verizon Wireless                                        22.92           1/31/2021
   Total Cleared Checks                                                                                    5,542.36
   Cleared Deposits

   Date               Tran #                  Notes                                                  Amount             Date Cleared
   1/20/2021                        69                                                                       1,100.00           1/31/2021
   1/21/2021                        70                                                                       2,280.00           1/31/2021
   1/27/2021                        73                                                                       4,473.00           1/31/2021
   Total Cleared Deposits                                                                                  7,853.00
   Cleared Book Reconciling Items

   Date               Tran #                  Notes                                                  Amount             Date Cleared
   12/31/2020                   GF            Batch #1 for new tenant at 361A Gordon St. pending             3,000.00           1/31/2021
                                              Ruben's approval of the new lease agreement
   12/31/2020                   GF            Batch #2 for new tenant at 361A Gordon St. pending             3,450.00           1/31/2021
                                              Ruben's approval of the new lease agreement
   Total Cleared Book Reconciling Items                                                                    6,450.00
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 155 of 274 PageID: 4325




       PLAINFIELD NORSE LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                         4Contact your Relationship Manager to discuss
                                                                                         targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $12,157.85             Number of Days in Cycle                                  29
3 Deposits/Credits                                          $7,853.00            Minimum Balance This Cycle                        $8,133.13
8 Checks/Debits                                           ($5,542.36)            Average Collected Balance                        $10,888.93
Service Charges                                                 $0.00
Ending Balance 01/29/21                                   $14,468.49

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021                  - JANUARY 29, 2021


Date       Description                                                     Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/07      Check     236                                                                                      $659.78               $11,498.07
01/07      Check     234                                                                                       $42.66               $11,455.41
01/08      Check     233                                                                                       $65.60               $11,389.81
01/11      Check     238                                                                                      $148.80               $11,241.01
01/12      Check     235                                                                                    $2,136.88                $9,104.13
01/15      Check     237                                                                                      $971.00                $8,133.13
01/20      Customer Deposit                                                        $1,100.00                                         $9,233.13
01/21      Customer Deposit                                                        $2,280.00                                        $11,513.13
01/25      Check     239                                                                                    $1,494.72               $10,018.41
01/25      Check     240                                                                                       $22.92                $9,995.49
01/27      Customer Deposit                                                        $4,473.00                                        $14,468.49
Total                                                                              $7,853.00                $5,542.36



            * designates gap in check sequence
Check No.         Date                   Amount          Check No.      Date            Amount      Check No.      Date                Amount
233               01/08                    $65.60        235            01/12         $2,136.88     237            01/15              $971.00
234               01/07                    $42.66        236            01/07           $659.78     238            01/11              $148.80


                                                          Thank you for banking with us.                                         PAGE 1 OF 2

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 ACCOUNT DETAIL      CONTINUED FOR PERIOD JANUARY 01, 2021     - JANUARY 29, 2021
 Check No.   Date       Amount     Check No.   Date     Amount        Check No.   Date               Amount
 239         01/25     $1,494.72   240         01/25         $22.92




                                                                                          PAGE 2 OF 2



                                                                                     PSI: 1 / SHC: 0 / LOB :C
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                                          Plainfield Norse Sec Dep                                                       2/11/2021


                                        Bank Reconciliation Report
                                                    1/31/2021


                                                   Posted by: DBO



   Balance Per Bank Statement as of 1/31/2021                                                                   0.00
                      Reconciled Bank Balance                                                                   0.00



   Balance per GL as of 1/31/2021                                                                               0.00
                      Reconciled Balance Per G/L                                                                0.00


   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                  0.00


                                                                          By Gunner Franklin at 12:57 am, Feb 11, 2021
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 158 of 274 PageID: 4328




       PLAINFIELD NORSE LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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200 Madison Avenue and 499 Amboy Avenue
Plainfield PA Ventures LLC
Portal v. Levine
Civil Action No. 19-cv-19611 (MCA) (LDW)
January 2021




      PREPARED BY:
      Gunner Franklin
      704-910-8465
      gunner.franklin@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 160 of 274 PageID: 4330




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               1. Statement of Case
               2. Balance Sheet
               3. Income Statement
               4. Receipt Register
               5. Check Register
               6. Aged Receivables
               7. Accounts Payable Aging
               8. Rent Roll
               9. Bank Reconciliation and Statement
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    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of
    dollars for the purchase of residential apartment buildings located throughout the State of New Jersey,
    as more particularly identified and described in the Schedule annexed to this Court’s Order appointing
    Colliers International NJ LLC to serve as the Receiver for the properties at issue. The corporate
    borrowers deferred maintenance and abandonment of their other management responsibilities for
    these properties resulted in profound and immediate issues for which this appointment was necessary.
    Due to an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused
    to provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
    Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 162 of 274 PageID: 4332
499 Amboy Avenue (1724-nj)                                                                    Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                     Current Balance
       1000-0000          ASSETS



       1005-0000          CASH & EQUIVALENTS
       1020-0000            Cash-Operating                                                    928.14


       1099-9999          TOTAL CASH & EQUIVALENTS                                            928.14


       1999-9999          TOTAL ASSETS                                                        928.14



       2000-0000          LIABILITY AND EQUITY



       3000-0000          EQUITY
       3100-0300            Funding from Loan Servicer                                     28,478.64
       3800-0000            Current Year Earnings                                              60.89
       3811-0000            Prior Year Retained Earnings                                  -27,611.39


       3900-9999          TOTAL EQUITY                                                        928.14


       3999-9999          TOTAL LIABILITY & EQUITY                                            928.14




                                                                          Saturday, February 06, 2021
                                                                                            12:52 PM
    Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 163 of 274 PageID: 4333
499 Amboy Avenue (1724-nj)                                                                              Page 1

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                                  Period to Date       %    Year to Date                     %
 4001-0000    REVENUE



 4005-0000    RENT
 4006-0000      Prepaid Income                             4.00      0.11          4.00                   0.11
 4110-0000      Rent                                   3,476.00     99.89      3,476.00                  99.89


 4299-4999    TOTAL RENT                               3,480.00    100.00      3,480.00                 100.00


 4998-9999    TOTAL REVENUE                            3,480.00    100.00      3,480.00                 100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5300-0000    ELECTRICAL
 5320-0000      Electrical R & M                         881.79     25.34        881.79                  25.34


 5349-9999    TOTAL ELECTRICAL                           881.79     25.34        881.79                  25.34



 5800-0000    MANAGEMENT/ADMIN
 5805-0000      Management Fees                        2,300.00     66.09      2,300.00                  66.09
 5810-0000      Management Compensation                  148.80      4.28        148.80                   4.28
 5845-0000      Telephone                                 22.92      0.66         22.92                   0.66
 5895-0000      Miscellaneous Operating Expense           65.60      1.89         65.60                   1.89


 5899-9999    TOTAL MANAGEMENT/ADMIN                   2,537.32     72.91      2,537.32                  72.91


 5950-9999    TOTAL RECOVERABLE EXPENSES               3,419.11     98.25      3,419.11                  98.25


 6998-9999    TOTAL OPERATING EXPENSES                 3,419.11     98.25      3,419.11                  98.25


 6999-9999    NET OPERATING INCOME                        60.89      1.75         60.89                   1.75


 9496-9999    NET INCOME                                  60.89      1.75         60.89                   1.75




                                                                                    Saturday, February 06, 2021
                                                                                                      12:51 PM
                    Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 164 of 274 PageID: 4334
                                                                                                                                                         2/6/2021 12:58 PM
                                                                         499 Amboy Avenue (1724-nj)

                                                                         Receipt Register
                                                                            For Period = Jan 2021
 Control    Batch    Period   Date                 Person                       Property              Cash Acct   Account    Amount     Reference       Check #       Notes
R-1229668   467972 01/2021 1/6/2021    Elizabeth Placencia(eliz1724)   499 Amboy Avenue(1724-nj)      1020-0000               800.00                MO-8714110556
R-1229671   467972 01/2021 1/6/2021    Elizabeth Placencia(eliz1724)   499 Amboy Avenue(1724-nj)      1020-0000               800.00                MO-8714110505
R-1235465   470154 01/2021 1/20/2021   Juan Mojica(juan1724)           499 Amboy Avenue(1724-nj)      1020-0000              1,000.00               MO-19-221132498
R-1235466   470154 01/2021 1/20/2021   Juan Mojica(juan1724)           499 Amboy Avenue(1724-nj)      1020-0000                80.00                MO-19-221132499
R-1239861   471816 01/2021 1/27/2021   Elizabeth Placencia(eliz1724)   499 Amboy Avenue(1724-nj)      1020-0000               800.00                MO-8714110614
                                                                                                                     Total   3,480.00




                                                                                Page 1 of 1
                     Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 165 of 274 PageID: 4335

                                                                                                                                                               2/6/2021 1:03 PM
                                                                           499 Amboy Avenue (1724-nj)

                                                                            Check Register
                                                                              For Period = Jan 2021
 Control    Batch     Period    Date                              Person                                       Property           Account    Amount     Reference   Notes
K-1379698   278001   01/2021 1/6/2021    COLLIERS INT'L HOLDINGS (coll666a) (coll666a)                499 Amboy Avenue(1724-nj)               148.80 201
K-1379699   278001   01/2021 1/6/2021    Verizon Wireless (veri408)                                   499 Amboy Avenue(1724-nj)                22.92 202
K-1382805   278677   01/2021 1/13/2021   Di Dio Electric Inc. (didi1100)                              499 Amboy Avenue(1724-nj)               881.79 203
K-1389179   280221   01/2021 1/28/2021   COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)               499 Amboy Avenue(1724-nj)              2,300.00 204
K-1389180   280221   01/2021 1/28/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)                499 Amboy Avenue(1724-nj)                65.60 205
                                                                                                                                     Total   3,419.11




                                                                                       Page 1 of 1
                                                            Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 166 of 274 PageID: 4336
                                                                                                                                                                                           Page 1
Aging Detail
DB Caption: USA LIVE 7s Property: 1724-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current      0-30    31-60     61-90        Over       Pre-                Total
                                                                     Code                                          Owed       Owed     Owed      Owed     90 Owed    payments               Owed
499 Amboy Avenue (1724-nj)
Juan Mojica (juan1724)
1724-nj                Juan Mojica                Current   R-        Prepay     01/15/2020   01/2020                0.00       0.00    0.00       0.00       0.00    -234.26             -234.26
                                                            1082442
1724-nj                Juan Mojica                Current   R-        Prepay     01/15/2020   01/2020                0.00       0.00    0.00       0.00       0.00     -76.00              -76.00
                                                            1082443
1724-nj                Juan Mojica                Current   R-        Prepay     04/28/2020   04/2020                0.00       0.00    0.00       0.00       0.00     -76.00              -76.00
                                                            1124838
1724-nj                Juan Mojica                Current   R-        Prepay     04/29/2020   04/2020                0.00       0.00    0.00       0.00       0.00   -1,000.00           -1,000.00
                                                            1124832
1724-nj                Juan Mojica                Current   R-        Prepay     01/20/2021   01/2021                0.00       0.00    0.00       0.00       0.00       -4.00               -4.00
                                                            1235466
                       Juan Mojica                                                                                   0.00       0.00    0.00       0.00       0.00   -1,390.26           -1,390.26


Juice Bar (juic1724)
1724-nj                Juice Bar                  Current   C-        rent       10/01/2020   10/2020            1,000.00       0.00    0.00       0.00   1,000.00       0.00            1,000.00
                                                            2363370
1724-nj                Juice Bar                  Current   C-        rent       11/01/2020   11/2020            1,000.00       0.00    0.00       0.00   1,000.00       0.00            1,000.00
                                                            2393561
1724-nj                Juice Bar                  Current   C-        rent       12/01/2020   12/2020            1,000.00       0.00    0.00   1,000.00       0.00       0.00            1,000.00
                                                            2416616
1724-nj                Juice Bar                  Current   C-        rent       01/01/2021   01/2021            1,000.00   1,000.00    0.00       0.00       0.00       0.00            1,000.00
                                                            2446861
                       Juice Bar                                                                                 4,000.00   1,000.00    0.00   1,000.00   2,000.00       0.00            4,000.00


1724-nj                                                                                                          4,000.00   1,000.00    0.00   1,000.00   2,000.00   -1,390.26           2,609.74


Grand                                                                                                            4,000.00   1,000.00    0.00   1,000.00   2,000.00   -1,390.26           2,609.74
Total


UserId : gunnerfranklin Date : 2/6/2021 Time : 1:03 PM




                                                                                                                                                                       Saturday, February 06, 2021
                                                                                                                                                                                         01:03 PM
                                          Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 167 of 274 PageID: 4337
                                                                                                                                                                                                                                                                                                      2/6/2021 1:06 PM

                                                                                                                                     Payables Aging Report
                                                                                                                                                     1724-nj
                                                                                                                                                 Period: 01/2021
                                                                                                                                                As of : 01/31/2021
    Payee        Payee Name                            Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date    Post Month             Account             Invoice #    Base      Current       0-30          31-60          61-90          Over          Future       Notes
    Code                                                                                                                                                                               Currency   Owed          Owed          Owed           Owed            90           Invoice
                                                                                                                                                                                                                                                            Owed
   coll1625      COLLIERS INT'L HOLDINGS (USA), INC.                                                                                                                                                                                                                            0.00
                                                                   P-1942973   655284     1724-nj      1/1/2021     1/1/2021     01-2021     5805-0000 Management Fees 1724-nj1.21MGMTFEE            2,300.00          0.00     2,300.00             0.00          0.00         0.00 01/21 Management Fee
Total coll1625                                                                                                                                                                                     2,300.00            0.00   2,300.00           0.00              0.00        0.00


    veri408      Verizon Wireless                                                                                                                                                                                                                                               0.00
                                                                   P-1943424   655301     1724-nj     1/12/2021     1/12/2021    01-2021     5845-0000 Telephone      4423057200001/0121               22.98       22.98              0.00           0.00          0.00         0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                         22.98        22.98           0.00          0.00              0.00        0.00


Grand Total                                                                                                                                                                                        2,322.98        22.98      2,300.00           0.00              0.00        0.00




                                                                                                                                                   Page 1 of 1
                               Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 168 of 274 PageID: 4338
                         Rent Roll                                                                                                                                       Page:
                                                                                                                                                                         Date:
                                                                                                                                                                                  1
                                                                                                                                                                                  02/06/2021
                         499 Amboy Avenue (1724-nj)                                                                                                                      Time:     1:07 pm
                         January 2021


                                                                                                                    Current                        Base Rent Inc.
                                        Square                                     Security                     Monthly Charges                    CPI or Step Up
   Suite No.    Tenant Name              Feet                  Term                Deposit    Chg Code              Amount         Amount PSF     Date       Rate                Comments

 APT1R          Miguel Polanco-Super                        10/1/19 to              $0.00                                                 0.00
                                                       Original Lease 10/1/19 to




 APT2A          Juan Mojica                                 10/1/19 to              $0.00     rent                    1,076.00            0.00   10/1/19     $1,076.00
                                                       Original Lease 10/1/19 to




 APT2B          Elizabeth Placencia                         10/1/19 to              $0.00     rent                     800.00             0.00   10/1/19       $800.00
                                                       Original Lease 10/1/19 to




 COMM           Juice Bar                                   10/1/19 to              $0.00     rent                    1,000.00            0.00   10/1/19     $1,000.00
                                                       Original Lease 10/1/19 to




Totals for 499 Amboy Avenue:                                                        $0.00
                                                                                                     Current Monthly Charges
               Vacant:                           0    0.00%                                   rent                      2,876.00

               Occupied:                             100.00%
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 169 of 274 PageID: 4339


                                           499 Amboy Ave Operating                                                                     2/5/2021


                                           Bank Reconcilation Report
                                                      01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                                                   3,972.27
   Outstanding Checks

   Check Date               Check Number      Payee                                                                Amount
   12/30/2020                      200        emco9815 - EMCOR Services Fluidics                                   -678.53
   01/28/2021                      204        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                     -2,300.00
   01/28/2021                      205        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                         -65.60
   Less:              Outstanding Checks                                                                        -3,044.13
                      Reconciled Bank Balance                                                                      928.14



   Balance per GL as of 01/31/2021                                                                                 928.14
                      Reconciled Balance Per G/L                                                                   928.14
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                       0.00


                                                                                By Gunner Franklin at 1:17 pm, Feb 06, 2021
   Cleared Items:


   Cleared Checks

   Date               Tran #                  Notes                                                  Amount            Date Cleared
   12/30/2020                     194         coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                2,300.00          01/31/2021
   12/30/2020                     195         coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                2,300.00          01/31/2021
   12/30/2020                     196         coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                2,300.00          01/31/2021
   12/30/2020                     197         coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                2,300.00          01/31/2021
   12/30/2020                     198         coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.                2,300.00          01/31/2021
   12/30/2020                     199         coll666a - COLLIERS INT'L HOLDINGS (coll666a)                    65.60          01/31/2021
   01/06/2021                     201         coll666a - COLLIERS INT'L HOLDINGS (coll666a)                   148.80          01/31/2021
   01/06/2021                     202         veri408 - Verizon Wireless                                       22.92          01/31/2021
   01/13/2021                     203         didi1100 - Di Dio Electric Inc.                                 881.79          01/31/2021
   Total Cleared Checks                                                                                   12,619.11
   Cleared Deposits

   Date               Tran #                  Notes                                                  Amount            Date Cleared
   01/06/2021                     35                                                                        1,600.00          01/31/2021
   01/20/2021                     36                                                                        1,080.00          01/31/2021
   01/27/2021                     37                                                                          800.00          01/31/2021
   Total Cleared Deposits                                                                                  3,480.00
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 170 of 274 PageID: 4340




       PLAINFIELD PA VENTURES LLC
       DISTRICT OF NEW JERSEY                                                         4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       C/O COLLIERS INTERNATIONAL REMS US, LLC
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $13,111.38            Number of Days in Cycle                                  29
3 Deposits/Credits                                         $3,480.00            Minimum Balance This Cycle                        $2,996.98
9 Checks/Debits                                         ($12,619.11)            Average Collected Balance                         $5,685.94
Service Charges                                                $0.00
Ending Balance 01/29/21                                    $3,972.27

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021                 - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/06      Customer Deposit                                                       $1,600.00                                        $14,711.38
01/08      Check     195                                                                                   $2,300.00               $12,411.38
01/08      Check     197                                                                                   $2,300.00               $10,111.38
01/08      Check     198                                                                                   $2,300.00                $7,811.38
01/08      Check     196                                                                                   $2,300.00                $5,511.38
01/08      Check     194                                                                                   $2,300.00                $3,211.38
01/08      Check     199                                                                                      $65.60                $3,145.78
01/11      Check     201                                                                                     $148.80                $2,996.98
01/20      Customer Deposit                                                       $1,080.00                                         $4,076.98
01/25      Check     202                                                                                       $22.92               $4,054.06
01/27      Customer Deposit                                                        $800.00                                          $4,854.06
01/27      Check     203                                                                                     $881.79                $3,972.27
Total                                                                             $3,480.00               $12,619.11



            * designates gap in check sequence
Check No.         Date                   Amount          Check No.     Date            Amount      Check No.      Date                Amount
194               01/08                $2,300.00         195           01/08         $2,300.00     196            01/08            $2,300.00


                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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 ACCOUNT DETAIL      CONTINUED FOR PERIOD JANUARY 01, 2021   - JANUARY 29, 2021
 Check No.   Date       Amount     Check No.   Date     Amount     Check No.   Date                Amount
 197         01/08     $2,300.00   199         01/08      $65.60   202         01/25               $22.92
 198         01/08     $2,300.00   201*        01/11     $148.80   203         01/27              $881.79




                                                                                        PAGE 2 OF 2



                                                                                   PSI: 1 / SHC: 0 / LOB :C
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                                            Plainfield PA Sec Dep                                                              2/5/2021


                                         Bank Reconcilation Report
                                                   01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                                                        0.00
                     Reconciled Bank Balance                                                                          0.00



   Balance per GL as of 01/31/2021                                                                                    0.00
                      Reconciled Balance Per G/L                                                                      0.00
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                        0.00


                                                                                 By Gunner Franklin at 1:31 pm, Feb 06, 2021
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       PLAINFIELD PA VENTURES LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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  77 Hope Ave.
  Post Avenue Ventures LLC

  Portal v Levine
  Civil Action No. 19-cv-19611 (MCA) (LDW)
  January 2021




  PREPARED BY:
  Kirsten Cole
  704-910-8426
  kirsten.cole@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 175 of 274 PageID: 4345




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               2. Balance Sheet
               3. Income Statement
               4. Receipt Register
               5. Check Register
               6. Aged Receivables
               7. Accounts Payable Aging
               8. Rent Roll
               9. Bank Reconciliation and Statement
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    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
    for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
    particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
    International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
    deferred maintenance and abandonment of their other management responsibilities for these
    properties resulted in profound and immediate issues for which this appointment was necessary. Due to
    an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
    provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
    Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 177 of 274 PageID: 4347
77 Hope Ave (1697-nj)                                                                         Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                     Current Balance
       1000-0000          ASSETS



       1005-0000          CASH & EQUIVALENTS
       1020-0000            Cash-Operating                                                 14,707.82
       1032-0200            Cash-Security Deposits                                              0.05


       1099-9999          TOTAL CASH & EQUIVALENTS                                         14,707.87


       1999-9999          TOTAL ASSETS                                                     14,707.87



       2000-0000          LIABILITY AND EQUITY



       2000-0001          LIABILITIES



       2900-0000          OTHER LIABILITIES
       2910-0000            Security Deposits                                               1,425.00


       2999-8999          TOTAL OTHER LIABILITIES                                           1,425.00


       2999-9999          TOTAL LIABILITIES                                                 1,425.00



       3000-0000          EQUITY
       3100-0300            Funding from Loan Servicer                                     11,447.17
       3800-0000            Current Year Earnings                                          10,047.03
       3811-0000            Prior Year Retained Earnings                                   -8,211.33


       3900-9999          TOTAL EQUITY                                                     13,282.87


       3999-9999          TOTAL LIABILITY & EQUITY                                         14,707.87




                                                                            Friday, February 05, 2021
                                                                                            12:01 PM
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                                                                                                             2/5/2021 12:02 PM
                                             77 Hope Ave (1697-nj)

                                           Income Statement
                                               Period = Jan 2021
                                           Book = Cash ; Tree = ysi_is
                                              Period to Date             %            Year to Date                 %
  4001-0000   REVENUE




  4005-0000   RENT
  4006-0000     Prepaid Income                             -944.50            -9.22             -944.50                  -9.22
  4110-0000     Rent                                     11,192.50           109.22           11,192.50                 109.22


  4299-4999   TOTAL RENT                                10,248.00            100.00          10,248.00                  100.00


  4998-9999   TOTAL REVENUE                             10,248.00            100.00          10,248.00                  100.00




  5000-0000   OPERATING EXPENSES




  5001-0000   RECOVERABLE EXPENSES




  5200-0000   UTILITIES
  5205-0000     Electricity                                  29.25             0.29                  29.25                0.29


  5249-9999   TOTAL UTILITIES                               29.25              0.29              29.25                    0.29




  5800-0000   MANAGEMENT/ADMIN
  5810-0000     Management Compensation                     148.80             1.45             148.80                    1.45
  5845-0000     Telephone                                    22.92             0.22                  22.92                0.22


  5899-9999   TOTAL MANAGEMENT/ADMIN                       171.72              1.68             171.72                    1.68


  5950-9999   TOTAL RECOVERABLE EXPENSES                   200.97              1.96             200.97                    1.96


  6998-9999   TOTAL OPERATING EXPENSES                     200.97              1.96             200.97                    1.96


  6999-9999   NET OPERATING INCOME                      10,047.03             98.04          10,047.03                   98.04


  9496-9999   NET INCOME                                10,047.03             98.04          10,047.03                   98.04




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                                                                                                                                                                   2/5/2021 12:05 PM

                                                                            77 Hope Ave (1697-nj)

                                                                           Receipt Register
                                                                            For Period = Jan 2021
  Control   Batch   Period    Date                    Person     Property     Cash Acct             Account          Recovery   Amount     Reference     Check #          Notes
 R-1229664 467968 01/2021 1/7/2021    Alberto Rendon(rend1697)   1697-nj     1020-0000    4110-0000 Rent                         819.50                APPLY010721
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income               -819.50               APPLY010721 prepd-c 12/17/20


 R-1230102 468131 01/2021 1/8/2021    Ivan Acosta(acos1697)      1697-nj     1020-0000    4110-0000 Rent                         800.00                119605365


 R-1230105 468131 01/2021 1/8/2021    Antonia Ariza(ariz1697)    1697-nj     1020-0000    4110-0000 Rent                         808.00                0000958332


 R-1230106 468133 01/2021 1/8/2021    Ivan Acosta(acos1697)      1697-nj     1020-0000    4110-0000 Rent                          12.00                APPLY010821
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                -12.00               APPLY010821 prepd-c 10/09/20


 R-1230108 468133 01/2021 1/8/2021    Antonia Ariza(ariz1697)    1697-nj     1020-0000    4006-0000 Prepaid Income                 -2.70               APPLY010821 prepd-c 10/18/19
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -2.70               APPLY010821 prepd-c 11/11/19
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -2.70               APPLY010821 prepd-c 12/13/19
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -2.70               APPLY010821 prepd-c 01/14/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -2.70               APPLY010821 *      02/12/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -2.70               APPLY010821 prepd-c 03/11/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -2.70               APPLY010821 prepd-c 04/07/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -5.70               APPLY010821 prepd-c 05/07/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -5.70               APPLY010821 prepd-c 06/05/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -5.70               APPLY010821 prepd-c 07/20/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -5.70               APPLY010821 prepd-c 08/12/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -5.70               APPLY010821 prepd-c 09/09/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -5.70               APPLY010821 prepd-c 12/08/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -5.70               APPLY010821 prepd-c 12/08/20
                                                                 1697-nj     1020-0000    4110-0000 Rent                          47.50                APPLY010821
                                                                 1697-nj     1020-0000    4110-0000 Rent                          11.30                APPLY010821


 R-1234894 469792 01/2021 1/20/2021 Josefina Narveza(narv1697)   1697-nj     1020-0000    4110-0000 Rent                           0.70                145973043
                                                                 1697-nj     1020-0000    4110-0000 Rent                         819.30                145973043


 R-1234898 469794 01/2021 1/20/2021 Josefina Narveza(narv1697)   1697-nj     1020-0000    4110-0000 Rent                           5.60                APPLY012021
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -0.70               APPLY012021 prepd-c 10/18/19
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -0.70               APPLY012021 prepd-c 11/14/19
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -0.70               APPLY012021 prepd-c 12/11/19
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -0.70               APPLY012021 prepd-c 01/14/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -0.70               APPLY012021 prepd-c 02/10/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -0.70               APPLY012021 prepd-c 03/13/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -0.70               APPLY012021 prepd-c 04/07/20
                                                                 1697-nj     1020-0000    4006-0000 Prepaid Income                 -0.70               APPLY012021 prepd-c 05/07/20




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                                                                                                                                                                                 2/5/2021 12:05 PM

                                                                                     77 Hope Ave (1697-nj)

                                                                                    Receipt Register
                                                                                     For Period = Jan 2021
  Control    Batch   Period    Date                   Person              Property     Cash Acct             Account             Recovery    Amount     Reference     Check #           Notes


 R-1235364 470069 01/2021 1/21/2021 Alberto Rendon(rend1697)              1697-nj     1020-0000    4006-0000 Prepaid Income                     1.40                102
                                                                          1697-nj     1020-0000    4110-0000 Rent                             818.60                102


 R-1235366 470069 01/2021 1/21/2021 Lidia Benitez(lidi1697)               1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                              25.00                0001024732
                                                                          1697-nj     1020-0000    4110-0000 Rent                             825.00                0001024732


 R-1240503 472106 01/2021 1/27/2021 Iris G Ortiz(orti1697)                1697-nj     1020-0000    4110-0000 Rent                             825.00                139
                                                                          1697-nj     1020-0000    4110-0000 Rent                             775.00                139


 R-1240504 472106 01/2021 1/27/2021 Sergio Quiroz(quir1697)               1697-nj     1020-0000    4110-0000 Rent                             900.00                0001024752


 R-1240505 472106 01/2021 1/27/2021 Hilcia M. Lopez Aguasanta(agua1697)   1697-nj     1020-0000    4110-0000 Rent                             950.00                0001024708


 R-1240506 472106 01/2021 1/27/2021 Hilcia M. Lopez Aguasanta(agua1697)   1697-nj     1020-0000    2910-0000 Security Deposits                400.00                0000995774


 R-1240507 472106 01/2021 1/27/2021 Hilcia M. Lopez Aguasanta(agua1697)   1697-nj     1020-0000    2910-0000 Security Deposits               1,000.00               0000995775


 R-1240508 472106 01/2021 1/27/2021 Hilcia M. Lopez Aguasanta(agua1697)   1697-nj     1020-0000    2910-0000 Security Deposits                 25.00                00001024709


 R-1242000 472722 01/2021 1/31/2021 Iris G Ortiz(orti1697)                1697-nj     1020-0000    4110-0000 Rent                              50.00                APPLY013121
                                                                          1697-nj     1020-0000    4006-0000 Prepaid Income                    -50.00               APPLY013121 prepd-c 10/27/20
                                                                                                                                     Total   9,298.00




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                                                                                                                                                                                              2/5/2021 12:04 PM

                                                                                                  77 Hope Ave (1697-nj)

                                                                                                  Check Register
                                                                                                  For Period = Jan 2021
  Control    Batch   Period    Date                           Person                     Property                    Account            Recovery     Amount    Reference                     Notes
 K-1379373   277917 01/2021 1/6/2021    COLLIERS INT'L HOLDINGS (coll666a) (coll666a)   1697-nj     5810-0000 Management Compensation                 148.80 233


 K-1381955   278487 01/2021 1/12/2021   PSE&G Co. (pseg1444)                            1697-nj     5205-0000 Electricity                              29.25 234           11/20-12/23/20 - ELECTRICITY - 77 Hope


 K-1381956   278487 01/2021 1/12/2021   Verizon Wireless (veri408)                      1697-nj     5845-0000 Telephone                                22.92 235           12/13/20-01/12/21 - CELL PHONE SVC
                                                                                                                                             Total    200.97




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                                                                                                                                                                     2/5/2021 11:54 AM

 Aging Detail
 DB Caption: USA LIVE 7s Property: 1697-nj        Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
 Property       Customer      Lease                    Status    Tran#       Charge    Date        Month        Current       0-30 31-60      61-90      Over         Pre-       Total
                                                                             Code                                 Owed      Owed      Owed    Owed 90 Owed        payments      Owed
 77 Hope Ave (1697-nj)
 Alberto Rendon (rend1697)
 1697-nj                      Alberto Rendon           Current   R-1235364   Prepay    1/21/2021   01/2021          0.00      0.00     0.00     0.00      0.00        -1.40       -1.40
                              Alberto Rendon                                                                        0.00      0.00    0.00     0.00       0.00       -1.40       -1.40


 Antonia Ariza (ariz1697)
 1697-nj                      Antonia Ariza            Current   C-2363730   rent      10/1/2020   10/2020          0.80      0.00     0.00     0.00      0.80        0.00        0.80
                              Antonia Ariza                                                                         0.80      0.00    0.00     0.00       0.80        0.00        0.80


 Facunda Alvarez (alva1697)
 1697-nj                      Facunda Alvarez          Current   C-2266393   rent      3/1/2020    05/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2266394   rent      4/1/2020    05/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2266341   rent      5/1/2020    05/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2266350   rent      6/1/2020    06/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2287001   rent      7/1/2020    07/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2323285   rent      8/1/2020    08/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2338499   rent      9/1/2020    09/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2363732   rent      10/1/2020   10/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2395084   rent      11/1/2020   11/2020        925.00      0.00     0.00     0.00    925.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2416335   rent      12/1/2020   12/2020        925.00      0.00     0.00   925.00      0.00        0.00      925.00
 1697-nj                      Facunda Alvarez          Current   C-2441845   rent      1/1/2021    01/2021        925.00    925.00     0.00     0.00      0.00        0.00      925.00
                              Facunda Alvarez                                                                10,175.00     925.00     0.00 925.00 8,325.00            0.00 10,175.00


 Josefina Narveza (narv1697)
 1697-nj                      Josefina Narveza         Current   R-1170328   Prepay    8/12/2020   08/2020          0.00      0.00     0.00     0.00      0.00        -2.10       -2.10
 1697-nj                      Josefina Narveza         Current   R-1195055   Prepay    10/7/2020   10/2020          0.00      0.00     0.00     0.00      0.00        -0.70       -0.70
                              Josefina Narveza                                                                      0.00      0.00    0.00     0.00       0.00       -2.80       -2.80


 Mario Anibalarias (anib1697)
 1697-nj                      Mario Anibalarias        Current   C-2266376   rent      4/1/2020    05/2020      1,125.00      0.00     0.00     0.00   1,125.00       0.00     1,125.00
 1697-nj                      Mario Anibalarias        Current   C-2441849   rent      1/1/2021    01/2021      1,125.00   1,125.00    0.00     0.00      0.00        0.00     1,125.00
                              Mario Anibalarias                                                                2,250.00 1,125.00      0.00     0.00 1,125.00          0.00    2,250.00


 1697-nj                                                                                                     12,425.80 2,050.00       0.00 925.00 9,450.80           -4.20 12,421.60


 Grand Total                                                                                                 12,425.80 2,050.00       0.00 925.00 9,450.80           -4.20 12,421.60


 UserId : kirstencole Date : 2/5/2021 Time : 11:54 AM




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                                                                                                                                      Payables Aging Report
                                                                                                                                                     1697-nj
                                                                                                                                                 Period: 01/2021
                                                                                                                                               As of : 01/31/2021
   Payee     Payee Name                            Doc Seq #    Control    Batch Id Property   Invoice Date   Due Date Post Month                     Account                        Invoice #        Base      Current    0-30       31-60      61-90   Over    Future Notes
   Code                                                                                                                                                                                              Currency    Owed      Owed       Owed       Owed     90     Invoice
                                                                                                                                                                                                                                                         Owed
  coll1625   COLLIERS INT'L HOLDINGS (USA), INC.                                                                                                                                                                                                                    0.00
                                                               P-1940530   655044    1697-nj     1/1/2021     1/1/2021    01-2021   5805-0000 Management Fees                   1697-nj1.21MGMTFEE              2,300.00       0.00   2,300.00    0.00    0.00      0.00 01/21 management fee
 Total coll1625                                                                                                                                                                                                 2,300.00      0.00 2,300.00       0.00    0.00      0.00


  coll666a   COLLIERS INT'L HOLDINGS (coll666a)                                                                                                                                                                                                                     0.00
                                                               P-1940344   655030    1697-nj     1/1/2021     1/1/2021    01-2021   5895-0000 Miscellaneous Operating Expense      1697svctr0121                   65.60       0.00     65.60     0.00    0.00      0.00 Call Center Service Fee 01/2021
 Total coll666a                                                                                                                                                                                                   65.60       0.00      65.60     0.00    0.00      0.00


  coop351 Cooper Pest Solutions, Inc.                                                                                                                                                                                                                               0.00
                                                               P-1939328   654949    1697-nj    1/13/2021     2/12/2021   01-2021   5680-0000 Pest Control                           1519925                      103.96    103.96        0.00    0.00    0.00      0.00 1/13/21 - PEST CONTROL - 77 Hope Ave
                                                               P-1937876   654807    1697-nj     1/8/2021     1/8/2021    01-2021   5680-0000 Pest Control                           1519313                      586.44    586.44        0.00    0.00    0.00      0.00 1/8/21 - PEST CONTROL - 77 Hope
 Total coop351                                                                                                                                                                                                   690.40    690.40        0.00     0.00    0.00      0.00


  didi1100 Di Dio Electric Inc.                                                                                                                                                                                                                                     0.00
                                                               P-1939329   654949    1697-nj    1/14/2021     1/14/2021   01-2021   5320-0000 Electrical R & M                        145495                      851.93    851.93        0.00    0.00    0.00      0.00 1/4/21 - Electrical R&M - 77 Hope
                                                               P-1939330   654949    1697-nj    1/14/2021     1/14/2021   01-2021   5320-0000 Electrical R & M                        145496                      410.51    410.51        0.00    0.00    0.00      0.00 1/4/21 - Electrical R&M - 77 Hope Ave
 Total didi1100                                                                                                                                                                                                 1,262.44 1,262.44        0.00     0.00    0.00      0.00


 emco9815 EMCOR Services Fluidics                                                                                                                                                                                                                                   0.00
                                                               P-1937875   654807    1697-nj    1/11/2021     1/26/2021   01-2021   5255-0000 Engineering Compensation              002054574                   2,395.73   2,395.73       0.00    0.00    0.00      0.00 12/2020 - Engineering Comp - 77 Hope
 Total emco9815                                                                                                                                                                                                 2,395.73 2,395.73        0.00     0.00    0.00      0.00


   sillone   SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                             0.00
                                                               P-1944584   655429    1697-nj    1/12/2021     1/12/2021   01-2021   7914-0000 Legal Fees                             1789292                      323.42    323.42        0.00    0.00    0.00      0.00 legal services through 12/31/20
 Total sillone                                                                                                                                                                                                   323.42    323.42        0.00     0.00    0.00      0.00


  veri408    Verizon Wireless                                                                                                                                                                                                                                       0.00
                                                               P-1943424   655301    1697-nj    1/12/2021     1/12/2021   01-2021   5845-0000 Telephone                         4423057200001/0121                 22.98     22.98        0.00    0.00    0.00      0.00 Cell Phone - 12/13/20-01/12/21
 Total veri408                                                                                                                                                                                                    22.98      22.98       0.00     0.00    0.00      0.00


 Grand Total                                                                                                                                                                                                    7,060.57 4,694.97 2,365.60        0.00    0.00      0.00




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                           Rent Roll                                                                                                                                                Page:
                                                                                                                                                                                    Date:
                                                                                                                                                                                             1
                                                                                                                                                                                             02/05/2021
                           77 Hope Ave (1697-nj)                                                                                                                                    Time:    12:07 pm
                           January 2021


                                                                                                                               Current                        Base Rent Inc.
                                             Square                                          Security                      Monthly Charges                    CPI or Step Up
    Suite No.    Tenant Name                  Feet                    Term                   Deposit     Chg Code              Amount         Amount PSF     Date       Rate                Comments

 APT1            Mario Anibalarias               638              10/1/19 to                   $0.00     rent                    1,125.00            1.76   10/1/19     $1,125.00
                                                             Original Lease 10/1/19 to




 APT2            Sergio Quiroz                   392              10/1/19 to                   $0.00     rent                     900.00             2.30   10/1/19       $900.00
                                                             Original Lease 10/1/19 to




 APT3            Hilcia M. Lopez Aguasanta                   1/1/21 to 12/31/21              $1,425.00   rent                     950.00             0.00   1/1/21        $950.00
                                                          Original Lease 1/1/21 to12/31/21




 APT4            Facunda Alvarez                 392              10/1/19 to                   $0.00     rent                     925.00             2.36   10/1/19       $925.00
                                                             Original Lease 10/1/19 to




 APT5            Alberto Rendon                  392              10/1/19 to                   $0.00     rent                     819.50             2.09   10/1/19       $819.50
                                                             Original Lease 10/1/19 to




 APT6            Josefina Narveza                392              10/1/19 to                   $0.00     rent                     819.30             2.09   10/1/19       $819.30
                                                             Original Lease 10/1/19 to




 APT7            Ivan Acosta                     392              10/1/19 to                   $0.00     rent                     812.00             2.07   10/1/19       $812.00
                                                             Original Lease 10/1/19 to




 APT8            Antonia Ariza                   392              10/1/19 to                   $0.00     rent                     819.30             2.09   10/1/19       $819.30
                                                             Original Lease 10/1/19 to




 APT9            Lidia Benitez                   392              10/1/19 to                   $0.00     rent                     825.00             2.10   10/1/19       $825.00
                                                             Original Lease 10/1/19 to




 APTR1           Iris G Ortiz                    776              10/1/19 to                   $0.00     rent                     825.00             1.06   10/1/19       $825.00
                                                             Original Lease 10/1/19 to




Totals for 77 Hope Ave:                         4,158                                        $1,425.00
                                                                                                                Current Monthly Charges
                Vacant:                               0      0.00%                                       rent                      8,820.10

                Occupied:                       4,158     100.00%
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                                               77 Hope Ave Operating                                                               2/5/2021


                                              Bank Reconcilation Report
                                                         01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                                              20,044.54
   Outstanding Checks

   Check Date                  Check Number      Payee                                                         Amount
   12/30/2020                         228        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.              -2,300.00
   12/30/2020                         229        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                  -65.60
   12/30/2020                         230        emco9815 - EMCOR Services Fluidics                          -2,187.40
   12/30/2020                         231        emco9815 - EMCOR Services Fluidics                            -757.52
   12/30/2020                         232        pseg1444 - PSE&G Co.                                           -26.20
   Less:              Outstanding Checks                                                                    -5,336.72
                      Reconciled Bank Balance                                                               14,707.82



   Balance per GL as of 01/31/2021                                                                          14,707.82
                      Reconciled Balance Per G/L                                                            14,707.82
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                   0.00



   Cleared Items:


   Cleared Checks

   Date               Tran #                     Notes                                            Amount            Date Cleared
   12/08/2020                        226         didi1100 - Di Dio Electric Inc.                           920.17        01/31/2021
   12/15/2020                        227         emco9815 - EMCOR Services Fluidics                    2,091.52          01/31/2021
   01/06/2021                        233         coll666a - COLLIERS INT'L HOLDINGS (coll666a)             148.80        01/31/2021
   01/12/2021                        234         pseg1444 - PSE&G Co.                                       29.25        01/31/2021
   01/12/2021                        235         veri408 - Verizon Wireless                                 22.92        01/31/2021
   Total Cleared Checks                                                                               3,212.66
   Cleared Deposits

   Date               Tran #                     Notes                                            Amount            Date Cleared
   01/08/2021                        65                                                                1,608.00          01/31/2021
   01/20/2021                        66                                                                    820.00        01/31/2021
   01/21/2021                        67                                                                1,995.00          01/31/2021
   01/27/2021                        68                                                                4,875.00          01/31/2021
   Total Cleared Deposits                                                                             9,298.00
   Cleared Other Items

   Date               Tran #                     Notes                                            Amount            Date Cleared
   01/27/2021                   JE 512051        :Reversed by J-512052                                 2,375.00          01/31/2021
   Total Cleared Other Items                                                                          2,375.00
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       POST AVENUE VENTURES, LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                         4Contact your Relationship Manager to discuss
                                                                                         targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $11,584.20             Number of Days in Cycle                                  29
4 Deposits/Credits                                        $11,673.00             Minimum Balance This Cycle                        $8,572.51
5 Checks/Debits                                           ($3,212.66)            Average Collected Balance                        $11,839.72
Service Charges                                                 $0.00
Ending Balance 01/29/21                                   $20,044.54

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021                  - JANUARY 29, 2021


Date       Description                                                     Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/05      Check     227                                                                                    $2,091.52                $9,492.68
01/06      Check     226                                                                                      $920.17                $8,572.51
01/08      Customer Deposit                                                        $1,608.00                                        $10,180.51
01/11      Check     233                                                                                      $148.80               $10,031.71
01/20      Customer Deposit                                                          $820.00                                        $10,851.71
01/21      Customer Deposit                                                        $1,995.00                                        $12,846.71
01/25      Check     234                                                                                        $29.25              $12,817.46
01/27      Customer Deposit                                                        $7,250.00                                        $20,067.46
01/28      Check     235                                                                                        $22.92              $20,044.54
Total                                                                            $11,673.00                 $3,212.66



            * designates gap in check sequence
Check No.         Date                   Amount          Check No.      Date            Amount      Check No.      Date                Amount
226               01/06                  $920.17         233*           01/11           $148.80     235            01/28               $22.92
227               01/05                $2,091.52         234            01/25            $29.25




                                                          Thank you for banking with us.                                         PAGE 1 OF 2

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                                           Post Ave Vent Sec Dep                        2/5/2021


                                         Bank Reconcilation Report
                                                   01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                   0.05
                     Reconciled Bank Balance                                     0.05



   Balance per GL as of 01/31/2021                                               0.05
                      Reconciled Balance Per G/L                                 0.05
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)   0.00
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 189 of 274 PageID: 4359




       POST AVENUE VENTURES LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.05        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.05
Interest Paid                                                     $0.00        Average Collected Balance                               $0.05
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.05        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.05


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.05

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

Products and services are offered by Capital One, N.A., Member FDIC.
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                                                                             PAGE 2 OF 2



                                                                        PSI: 0 / SHC: 0 / LOB :C
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 191 of 274 PageID: 4361




  516 Kennedy Blvd
  Sussex Norse LLC

  Portal v. Levine
  Civil Action No. 19-cv-19611 (MCA) (LDW)
  January 2021


  PREPARED BY:
  Samantha Davis
  704-805-4014
  samantha.davis@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 192 of 274 PageID: 4362




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               1. Statement of Case
               2. Balance Sheet
               3. Income Statement
               4. Receipt Register
               5. Check Register
               6. Aged Receivables
               7. Accounts Payable Aging
               8. Rent Roll
               9. Bank Reconciliation and Statement
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 193 of 274 PageID: 4363



    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
    for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
    particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
    International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
    deferred maintenance and abandonment of their other management responsibilities for these
    properties resulted in profound and immediate issues for which this appointment was necessary. Due to
    an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
    provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
    Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 194 of 274 PageID: 4364
516 Kennedy Blvd (1709-nj)                                                                   Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                     Current Balance
       1000-0000          ASSETS



       1005-0000          CASH & EQUIVALENTS
       1020-0000            Cash-Operating                                                42,463.48


       1099-9999          TOTAL CASH & EQUIVALENTS                                        42,463.48


       1999-9999          TOTAL ASSETS                                                    42,463.48



       2000-0000          LIABILITY AND EQUITY



       3000-0000          EQUITY
       3100-0300            Funding from Loan Servicer                                     11,151.26
       3550-0000            Owner Distribution                                            -35,817.44
       3800-0000            Current Year Earnings                                           4,963.89
       3811-0000            Prior Year Retained Earnings                                   62,165.77


       3900-9999          TOTAL EQUITY                                                    42,463.48


       3999-9999          TOTAL LIABILITY & EQUITY                                        42,463.48




                                                                          Tuesday, February 09, 2021
                                                                                           01:28 PM
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516 Kennedy Blvd (1709-nj)                                                                              Page 1

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                                  Period to Date       %    Year to Date                     %
 4001-0000    REVENUE



 4005-0000    RENT
 4006-0000      Prepaid Income                        -1,339.60    -17.17     -1,339.60                 -17.17
 4110-0000      Rent                                   9,143.40    117.17      9,143.40                 117.17


 4299-4999    TOTAL RENT                               7,803.80    100.00      7,803.80                 100.00


 4998-9999    TOTAL REVENUE                            7,803.80    100.00      7,803.80                 100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5650-0000    GEN BLDG REPAIR/MAINT.
 5680-0000      Pest Control                             703.73      9.02        703.73                   9.02


 5699-9999    TOTAL GEN BLDG REPAIR/MAINT.               703.73      9.02        703.73                   9.02



 5800-0000    MANAGEMENT/ADMIN
 5805-0000      Management Fees                        2,300.00     29.47      2,300.00                  29.47
 5810-0000      Management Compensation                  148.80      1.91        148.80                   1.91
 5845-0000      Telephone                                 22.92      0.29         22.92                   0.29
 5850-0000      Postage/Delivery                        -401.14     -5.14       -401.14                  -5.14
 5895-0000      Miscellaneous Operating Expense           65.60      0.84         65.60                   0.84


 5899-9999    TOTAL MANAGEMENT/ADMIN                   2,136.18     27.37      2,136.18                  27.37


 5950-9999    TOTAL RECOVERABLE EXPENSES               2,839.91     36.39      2,839.91                  36.39


 6998-9999    TOTAL OPERATING EXPENSES                 2,839.91     36.39      2,839.91                  36.39


 6999-9999    NET OPERATING INCOME                     4,963.89     63.61      4,963.89                  63.61


 9496-9999    NET INCOME                               4,963.89     63.61      4,963.89                  63.61




                                                                                     Tuesday, February 09, 2021
                                                                                                      01:28 PM
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                                                                                                                                                                                            2/9/2021 1:40 PM
                                                                                           516 Kennedy Blvd (1709-nj)

                                                                                           Receipt Register
                                                                                             For Period = Jan 2021
 Control    Batch   Period    Date                  Person                      Property              Cash Acct             Account            Recovery     Amount      Reference     Check #         Notes
R-1229451   467892 01/2021 1/6/2021    Fedex                           516 Kennedy Blvd(1709-nj)     1020-0000    5850-0000 Postage/Delivery                  401.14                0005752778


R-1231143   468436 01/2021 1/8/2021    Cristobal Castro(cast1709)      516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                              500.00                27136339222


R-1231145   468436 01/2021 1/8/2021    Cristobal Castro(cast1709)      516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                              547.00                27136339211


R-1231146   468436 01/2021 1/8/2021    Ana Contreras(cont1709)         516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                               50.00                27136338952


R-1231147   468436 01/2021 1/8/2021    Ana Contreras(cont1709)         516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                            1,000.00                27136338963


R-1231148   468436 01/2021 1/8/2021    Cindy Cuero Hidalgo(cind1709)   516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                            1,200.00                124


R-1232016   468759 01/2021 1/12/2021   Nairoby Mercedes(merc1709)      516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                            1,250.00                Apply
                                                                       516 Kennedy Blvd(1709-nj)     1020-0000    4006-0000 Prepaid Income                   -250.00                Apply
                                                                       516 Kennedy Blvd(1709-nj)     1020-0000    4006-0000 Prepaid Income                  -1,000.00               Apply


R-1232019   468759 01/2021 1/12/2021   Wendeline Gomez(gome1709)       516 Kennedy Blvd(1709-nj)     1020-0000    4006-0000 Prepaid Income                    -80.00                Apply         *    12/18/20
                                                                       516 Kennedy Blvd(1709-nj)     1020-0000    4006-0000 Prepaid Income                    -10.00                Apply         *    12/18/20
                                                                       516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                               90.00                Apply


R-1232819   468995 01/2021 1/12/2021   Beraly Ramirez(rami1709)        516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                            1,000.00                27136339290


R-1232820   468995 01/2021 1/12/2021   Beraly Ramirez(rami1709)        516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                              200.00                27136339301


R-1232844   469012 01/2021 1/13/2021   Rocio Cruz(crus1709)            516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                               50.00                8714193492


R-1232845   469012 01/2021 1/13/2021   Rocio Cruz(crus1709)            516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                            1,000.00                8714193491


R-1235223   469935 01/2021 1/20/2021   Serenity Lawton(lawt1709)       516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                            1,206.40                185
                                                                       516 Kennedy Blvd(1709-nj)     1020-0000    4006-0000 Prepaid Income                      0.40                185


R-1235224   469935 01/2021 1/20/2021   Rubier Perez(rube1709)          516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                              500.00                8714339231


R-1235226   469935 01/2021 1/20/2021   Rubier Perez(rube1709)          516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                               50.00                8714339233


R-1235227   469935 01/2021 1/20/2021   Rubier Perez(rube1709)          516 Kennedy Blvd(1709-nj)     1020-0000    4110-0000 Rent                              500.00                8714339232
                                                                                                                                                    Total   8,204.94



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                                                                                                                                                                                                                             2/9/2021 1:40 PM

                                                                                                        516 Kennedy Blvd (1709-nj)

                                                                                                         Check Register
                                                                                                          For Period = Jan 2021
 Control    Batch   Period     Date                        Person                            Property                                Account                 Recovery     Amount     Reference                       Notes
K-1381609 278389 01/2021 1/11/2021 COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    516 Kennedy Blvd(1709-nj)    5810-0000 Management Compensation                         148.80 230


K-1381610 278389 01/2021 1/11/2021 Verizon Wireless (veri408)                       516 Kennedy Blvd(1709-nj)    5845-0000 Telephone                                        22.92 231            12/13/20-01/12/21 - CELL PHONE SVC


K-1385287 279355 01/2021 1/20/2021 Cooper Pest Solutions, Inc. (coop351)            516 Kennedy Blvd(1709-nj)    5680-0000 Pest Control                                    703.73 232            01/07/21 - PEST CONTROL - 514 Kennedy Blvd


K-1389177 280220 01/2021 1/28/2021 COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)   516 Kennedy Blvd(1709-nj)    5805-0000 Management Fees                                2,300.00 233           01.21 Management Fee


K-1389178 280220 01/2021 1/28/2021 COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    516 Kennedy Blvd(1709-nj)    5895-0000 Miscellaneous Operating Expense                  65.60 234
                                                                                                                                                                  Total   3,241.05




                                                                                                                Page 1 of 1
                                                         Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 198 of 274 PageID: 4368
                                                                                                                                                                                            Page 1
Aging Detail
DB Caption: USA LIVE 7s Property: 1709-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over        Pre-               Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed     payments              Owed
516 Kennedy Blvd (1709-nj)
Beraly Ramirez (rami1709)
1709-nj               Beraly Ramirez           Current   C-         rent         11/01/2019   04/2020             1,200.00       0.00    0.00       0.00    1,200.00       0.00           1,200.00
                                                         2249390
                       Beraly Ramirez                                                                             1,200.00       0.00    0.00       0.00    1,200.00       0.00           1,200.00


Hilda Cortez (cort1709)
1709-nj                 Hilda Cortez           Current   C-         rent         12/01/2019   04/2020             1,095.00       0.00    0.00       0.00    1,095.00       0.00           1,095.00
                                                         2249349
1709-nj                Hilda Cortez            Current   C-         rent         02/01/2020   04/2020             1,095.00       0.00    0.00       0.00    1,095.00       0.00           1,095.00
                                                         2249351
1709-nj                Hilda Cortez            Current   C-         rent         03/01/2020   04/2020             1,095.00       0.00    0.00       0.00    1,095.00       0.00           1,095.00
                                                         2249352
1709-nj                Hilda Cortez            Current   C-         rent         04/01/2020   04/2020             1,095.00       0.00    0.00       0.00    1,095.00       0.00           1,095.00
                                                         2249353
1709-nj                Hilda Cortez            Current   C-         rent         05/01/2020   05/2020             1,095.00       0.00    0.00       0.00    1,095.00       0.00           1,095.00
                                                         2249333
1709-nj                Hilda Cortez            Current   C-         rent         06/01/2020   06/2020             1,095.00       0.00    0.00       0.00    1,095.00       0.00           1,095.00
                                                         2259411
1709-nj                Hilda Cortez            Current   C-         rent         06/04/2020   06/2020               30.00        0.00    0.00       0.00      30.00        0.00              30.00
                                                         2284977
1709-nj                Hilda Cortez            Current   C-         rent         07/01/2020   07/2020             1,100.00       0.00    0.00       0.00    1,100.00       0.00           1,100.00
                                                         2287192
1709-nj                Hilda Cortez            Current   C-         rent         08/01/2020   08/2020             1,100.00       0.00    0.00       0.00    1,100.00       0.00           1,100.00
                                                         2323441
1709-nj                Hilda Cortez            Current   C-         rent         09/01/2020   09/2020             1,100.00       0.00    0.00       0.00    1,100.00       0.00           1,100.00
                                                         2338688
1709-nj                Hilda Cortez            Current   C-         rent         10/01/2020   10/2020             1,100.00       0.00    0.00       0.00    1,100.00       0.00           1,100.00
                                                         2363895
1709-nj                Hilda Cortez            Current   C-         rent         12/01/2020   12/2020             1,100.00       0.00    0.00   1,100.00        0.00       0.00           1,100.00
                                                         2416521
1709-nj                Hilda Cortez            Current   C-         rent         01/01/2021   01/2021             1,100.00   1,100.00    0.00       0.00        0.00       0.00           1,100.00
                                                         2446785
                       Hilda Cortez                                                                              13,200.00   1,100.00    0.00   1,100.00   11,000.00       0.00          13,200.00


Mergani H. Taha (taha1709)
1709-nj               Mergani H. Taha          Current   C-         rent         01/01/2021   01/2021             1,144.00   1,144.00    0.00       0.00        0.00       0.00           1,144.00
                                                         2446782
                       Mergani H. Taha                                                                            1,144.00   1,144.00    0.00       0.00        0.00       0.00           1,144.00


Rocio Cruz (crus1709)
1709-nj               Rocio Cruz               Current   C-         rent         10/01/2019   04/2020             1,050.00       0.00    0.00       0.00    1,050.00       0.00           1,050.00
                                                         2251413
                       Rocio Cruz                                                                                 1,050.00       0.00    0.00       0.00    1,050.00       0.00           1,050.00


Serenity Lawton (lawt1709)


                                                                                                                                                                         Tuesday, February 09, 2021
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                                                                                                                                                                                            Page 2
Aging Detail
DB Caption: USA LIVE 7s Property: 1709-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over        Pre-               Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed     payments              Owed
1709-nj               Serenity Lawton           Current   R-        Prepay       01/20/2021   01/2021                 0.00       0.00    0.00       0.00        0.00      -0.40               -0.40
                                                          1235223
                      Serenity Lawton                                                                                 0.00       0.00    0.00       0.00        0.00      -0.40               -0.40


Wendeline Gomez (gome1709)
1709-nj             Wendeline Gomez             Current   C-        rent         01/01/2021   01/2021              920.00     920.00     0.00       0.00        0.00       0.00             920.00
                                                          2446788
                      Wendeline Gomez                                                                              920.00     920.00     0.00       0.00        0.00       0.00             920.00


1709-nj                                                                                                          17,514.00   3,164.00    0.00   1,100.00   13,250.00      -0.40          17,513.60


Grand                                                                                                            17,514.00   3,164.00    0.00   1,100.00   13,250.00      -0.40          17,513.60
Total


UserId : samanthadavis Date : 2/9/2021 Time : 1:43 PM




                                                                                                                                                                         Tuesday, February 09, 2021
                                                                                                                                                                                          01:43 PM
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                                                                                                                                                                                                                                                                                                   2/9/2021 1:54 PM


                                                                                                                            Payables Aging Report
                                                                                                                                            1709-nj
                                                                                                                                        Period: 01/2021
                                                                                                                                       As of : 01/31/2021
    Payee       Payee Name                    Doc Seq #    Control    Batch Id   Property   Invoice Date   Due Date    Post Month             Account          Invoice #    Base    Current      0-30           31-60          61-90          Over          Future          Notes
     Code                                                                                                                                                                  Curren   Owed         Owed           Owed           Owed            90           Invoice
                                                                                                                                                                                                                                              Owed
     sillone    SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                           0.00
                                                          P-1944650   655438     1709-nj     1/12/2021     1/12/2021    01-2021     7914-0000 Legal Fees        1789298                 225.25      225.25              0.00           0.00          0.00            0.00 Sills Cummis & Gross Invoice
Total sillone                                                                                                                                                                          225.25      225.25              0.00           0.00           0.00         0.00


    veri408     Verizon Wireless                                                                                                                                                                                                                                     0.00
                                                          P-1943424   655301     1709-nj     1/12/2021     1/12/2021    01-2021     5845-0000 Telephone     423057200001/0121            22.98          22.98           0.00           0.00          0.00            0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                            22.98      22.98              0.00           0.00           0.00         0.00


Grand Total                                                                                                                                                                            248.23      248.23              0.00           0.00           0.00         0.00




                                                                                                                                              Page 1 of 1
                             Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 201 of 274 PageID: 4371
                       Rent Roll                                                                                                                           Page:
                                                                                                                                                           Date:
                                                                                                                                                                    1
                                                                                                                                                                    02/09/2021
                       516 Kennedy Blvd (1709-nj)                                                                                                          Time:     1:57 pm
                       January 2021


                                                                                                       Current                       Base Rent Inc.
                                       Square                                Security              Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name               Feet             Term                Deposit    Chg Code       Amount        Amount PSF     Date       Rate                Comments

APT1          Rocio Cruz                   550        10/1/19 to              $0.00     rent            1,050.00            1.91   10/1/19     $1,050.00
                                                 Original Lease 10/1/19 to




APT10         Rubier Perez                 550        10/1/19 to              $0.00     rent            1,050.00            1.91   10/1/19     $1,050.00
                                                 Original Lease 10/1/19 to




APT11         Nairoby Mercedes             600        10/1/19 to              $0.00     rent            1,250.00            2.08   10/1/19     $1,250.00
                                                 Original Lease 10/1/19 to




APT12         Hilda Cortez                 550        10/1/19 to              $0.00     rent            1,100.00            2.00   10/1/19     $1,100.00
                                                 Original Lease 10/1/19 to




APT2          Ana Contreras                550        10/1/19 to              $0.00     rent            1,050.00            1.91   10/1/19     $1,050.00
                                                 Original Lease 10/1/19 to




APT3          Wendeline Gomez              550        10/1/19 to              $0.00     rent            1,010.00            1.84   10/1/19     $1,010.00
                                                 Original Lease 10/1/19 to




APT4          Cristobal Castro             550        10/1/19 to              $0.00     rent            1,047.00            1.90   10/1/19     $1,047.00
                                                 Original Lease 10/1/19 to




APT5          Serenity Lawton              600        10/1/19 to              $0.00     rent            1,206.40            2.01   10/1/19     $1,206.40
                                                 Original Lease 10/1/19 to




APT6          Super-Jorge Avalos                      10/1/19 to              $0.00                                         0.00
                                                 Original Lease 10/1/19 to




APT7          Mergani H. Taha              550        10/1/19 to              $0.00     rent            1,144.00            2.08   10/1/19     $1,144.00
                                                 Original Lease 10/1/19 to




APT8          Cindy Cuero Hidalgo          600        10/1/19 to              $0.00     rent            1,200.00            2.00   10/1/19     $1,200.00
                                                 Original Lease 10/1/19 to
                                Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 202 of 274 PageID: 4372
                          Rent Roll                                                                                                                                        Page:
                                                                                                                                                                           Date:
                                                                                                                                                                                    2
                                                                                                                                                                                    02/09/2021
                          516 Kennedy Blvd (1709-nj)                                                                                                                       Time:     1:57 pm
                          January 2021


                                                                                                                      Current                        Base Rent Inc.
                                          Square                                     Security                     Monthly Charges                    CPI or Step Up
   Suite No.    Tenant Name                Feet                  Term                Deposit    Chg Code              Amount         Amount PSF     Date       Rate                Comments

 APT9           Beraly Ramirez                600             10/1/19 to              $0.00     rent                    1,200.00            2.00   10/1/19     $1,200.00
                                                         Original Lease 10/1/19 to




Totals for 516 Kennedy Blvd:                 6,250                                    $0.00
                                                                                                       Current Monthly Charges
                Vacant:                            0    0.00%                                   rent                     12,307.40

                Occupied:                    6,250     100.00%
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                                            516 Kennedy Blvd Oper                                                                2/9/2021


                                           Bank Reconciliation Report
                                                      1/31/2021


                                                   Posted by: DBO



   Balance Per Bank Statement as of 1/31/2021                                                            45,532.81
   Outstanding Checks

   Check Date               Check Number      Payee                                                         Amount
   1/20/2021                        232       coop351 - Cooper Pest Solutions, Inc.                          703.73
   1/28/2021                        233       coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.               2,300.00
   1/28/2021                        234       coll666a - COLLIERS INT'L HOLDINGS (coll666a)                      65.60
   Less:              Outstanding Checks                                                                  3,069.33
                      Reconciled Bank Balance                                                            42,463.48



   Balance per GL as of 1/31/2021                                                                        42,463.48
                      Reconciled Balance Per G/L                                                         42,463.48


   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                   0.00




   Cleared Items:


   Cleared Checks

   Date               Tran #                  Notes                                            Amount            Date Cleared
   12/21/2020                       225       coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.        2,300.00             1/31/2021
   12/30/2020                       226       cityb630 - CITY OF BAYONNE                                120.00           1/31/2021
   12/30/2020                       227       cityb630 - CITY OF BAYONNE                                120.00           1/31/2021
   12/30/2020                       228       coll666a - COLLIERS INT'L HOLDINGS (coll666a)              65.60           1/31/2021
   12/30/2020                       229       emco9815 - EMCOR Services Fluidics                    1,350.02             1/31/2021
   1/11/2021                        230       coll666a - COLLIERS INT'L HOLDINGS (coll666a)             148.80           1/31/2021
   1/11/2021                        231       veri408 - Verizon Wireless                                 22.92           1/31/2021
   Total Cleared Checks                                                                            4,127.34
   Cleared Deposits

   Date               Tran #                  Notes                                            Amount            Date Cleared
   1/6/2021                         82                                                                  401.14           1/31/2021
   1/8/2021                         83                                                              3,297.00             1/31/2021
   1/12/2021                        84                                                              1,200.00             1/31/2021
   1/13/2021                        85                                                              1,050.00             1/31/2021
   1/20/2021                        86                                                              2,256.80             1/31/2021
   Total Cleared Deposits                                                                          8,204.94
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 204 of 274 PageID: 4374




       SUSSEX NORSE LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                         4Contact your Relationship Manager to discuss
                                                                                         targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $41,455.21             Number of Days in Cycle                                  29
5 Deposits/Credits                                          $8,204.94            Minimum Balance This Cycle                       $41,455.21
7 Checks/Debits                                           ($4,127.34)            Average Collected Balance                        $43,897.10
Service Charges                                                 $0.00
Ending Balance 01/29/21                                   $45,532.81

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021                  - JANUARY 29, 2021


Date       Description                                                     Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/07      Customer Deposit                                                          $401.14                                        $41,856.35
01/08      Customer Deposit                                                        $3,297.00                                        $45,153.35
01/11      Check     225                                                                                    $2,300.00               $42,853.35
01/12      Customer Deposit                                                        $1,200.00                                        $44,053.35
01/12      Check     228                                                                                        $65.60              $43,987.75
01/13      Customer Deposit                                                        $1,050.00                                        $45,037.75
01/15      Check     227                                                                                      $120.00               $44,917.75
01/15      Check     226                                                                                      $120.00               $44,797.75
01/19      Check     229                                                                                    $1,350.02               $43,447.73
01/19      Check     230                                                                                      $148.80               $43,298.93
01/20      Customer Deposit                                                        $2,256.80                                        $45,555.73
01/27      Check     231                                                                                        $22.92              $45,532.81
Total                                                                              $8,204.94                $4,127.34



            * designates gap in check sequence
Check No.         Date                   Amount          Check No.      Date            Amount      Check No.      Date                Amount
225               01/11                $2,300.00         226            01/15           $120.00     227            01/15              $120.00


                                                          Thank you for banking with us.                                         PAGE 1 OF 2

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 ACCOUNT DETAIL      CONTINUED FOR PERIOD JANUARY 01, 2021   - JANUARY 29, 2021
 Check No.   Date       Amount     Check No.   Date     Amount     Check No.   Date                Amount
 228         01/12        $65.60   230         01/19     $148.80   231         01/27               $22.92
 229         01/19     $1,350.02




                                                                                        PAGE 2 OF 2



                                                                                   PSI: 1 / SHC: 0 / LOB :C
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 206 of 274 PageID: 4376


                                           Sussex Norse Sec Dep                         2/9/2021


                                        Bank Reconciliation Report
                                                   1/31/2021


                                          Posted by: daviss on 2/9/2021



   Balance Per Bank Statement as of 1/31/2021                                    0.00
                      Reconciled Bank Balance                                    0.00



   Balance per GL as of 1/31/2021                                                0.00
                      Reconciled Balance Per G/L                                 0.00


   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)   0.00
  Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 207 of 274 PageID: 4377




       SUSSEX NORSE LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

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                                                                        PSI: 0 / SHC: 0 / LOB :C
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  1407 Palisade Avenue
  Teaneck Plaza Ventures LLC

  Portal v. Levine
  Civil Action No. 19-cv-19611 (MCA) (LDW)
  January 2021



  PREPARED BY:
  Sam Davis
  704-805-4014
  samantha.davis@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 210 of 274 PageID: 4380




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                Statement of Case
                Balance Sheet
                Income Statement
                Receipt Register
                Check Register
                $JHG5HFHLYDEOHV
                Accounts Payable Aging
                5HQW5ROO
                Bank Reconciliation and
                  Statement
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 211 of 274 PageID: 4381



    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
    for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
    particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
    International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
    deferred maintenance and abandonment of their other management responsibilities for these
    properties resulted in profound and immediate issues for which this appointment was necessary. Due to
    an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
    provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
    Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 212 of 274 PageID: 4382
1407 Palisade Avenue (1690-nj)                                                                Page 1

Balance Sheet
Period = Jan 2021
Book = Cash ; Tree = ysi_bs
                                                                                     Current Balance
       1000-0000          ASSETS



       1005-0000          CASH & EQUIVALENTS
       1020-0000            Cash-Operating                                                 31,723.59
       1032-0200            Cash-Security Deposits                                          3,657.93


       1099-9999          TOTAL CASH & EQUIVALENTS                                         35,381.52



       1700-0000          FIXED ASSETS
       1735-0000             Capital Improvements                                           7,000.00


       1799-9999          TOTAL FIXED ASSETS                                                7,000.00


       1999-9999          TOTAL ASSETS                                                     42,381.52



       2000-0000          LIABILITY AND EQUITY



       2000-0001          LIABILITIES



       2900-0000          OTHER LIABILITIES
       2910-0000            Security Deposits                                               3,655.00


       2999-8999          TOTAL OTHER LIABILITIES                                           3,655.00


       2999-9999          TOTAL LIABILITIES                                                 3,655.00



       3000-0000          EQUITY
       3800-0000            Current Year Earnings                                          11,507.55
       3811-0000            Prior Year Retained Earnings                                   27,218.97


       3900-9999          TOTAL EQUITY                                                     38,726.52


       3999-9999          TOTAL LIABILITY & EQUITY                                         42,381.52




                                                                          Thursday, February 04, 2021
                                                                                            12:22 PM
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1407 Palisade Avenue (1690-nj)                                                                          Page 1

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                                  Period to Date       %    Year to Date                     %
 4001-0000    REVENUE



 4005-0000    RENT
 4006-0000      Prepaid Income                             4.00      0.02          4.00                   0.02
 4110-0000      Rent                                  18,749.84     99.98     18,749.84                  99.98


 4299-4999    TOTAL RENT                              18,753.84    100.00     18,753.84                 100.00



 4800-0000    OTHER INCOME
 4880-0000      Interest Income                            0.62      0.00          0.62                   0.00


 4899-9999    TOTAL OTHER INCOME                           0.62      0.00          0.62                   0.00


 4998-9999    TOTAL REVENUE                           18,754.46    100.00     18,754.46                 100.00



 5000-0000    OPERATING EXPENSES



 5001-0000    RECOVERABLE EXPENSES



 5200-0000    UTILITIES
 5215-0000      Water                                    367.59      1.96        367.59                   1.96
 5230-0000      Refuse Removal                         1,460.95      7.79      1,460.95                   7.79


 5249-9999    TOTAL UTILITIES                          1,828.54      9.75      1,828.54                   9.75



 5550-0000    LANDSCAPING
 5591-0000      Snow Removal                           1,492.75      7.96      1,492.75                   7.96


 5599-9999    TOTAL LANDSCAPING                        1,492.75      7.96      1,492.75                   7.96



 5650-0000    GEN BLDG REPAIR/MAINT.
 5680-0000      Pest Control                             938.30      5.00        938.30                   5.00


 5699-9999    TOTAL GEN BLDG REPAIR/MAINT.               938.30      5.00        938.30                   5.00



 5800-0000    MANAGEMENT/ADMIN
 5805-0000      Management Fees                        2,750.00     14.66      2,750.00                  14.66
 5810-0000      Management Compensation                  148.80      0.79        148.80                   0.79
 5845-0000      Telephone                                 22.92      0.12         22.92                   0.12
 5895-0000      Miscellaneous Operating Expense           65.60      0.35         65.60                   0.35


 5899-9999    TOTAL MANAGEMENT/ADMIN                   2,987.32     15.93      2,987.32                  15.93


 5950-9999    TOTAL RECOVERABLE EXPENSES               7,246.91     38.64      7,246.91                  38.64


 6998-9999    TOTAL OPERATING EXPENSES                 7,246.91     38.64      7,246.91                  38.64



                                                                                    Thursday, February 04, 2021
                                                                                                      12:26 PM
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1407 Palisade Avenue (1690-nj)                                                                   Page 2

Income Statement
Period = Jan 2021
Book = Cash ; Tree = ysi_is
                                       Period to Date        %       Year to Date                     %
 6999-9999    NET OPERATING INCOME         11,507.55      61.36        11,507.55                  61.36


 9496-9999    NET INCOME                   11,507.55      61.36        11,507.55                  61.36




                                                                             Thursday, February 04, 2021
                                                                                               12:26 PM
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                                                                                                                                                                 2/4/2021 12:30 PM
                                                                               1407 Palisade Avenue (1690-nj)

                                                                                Receipt Register
                                                                                   For Period = Jan 2021
 Control    Batch   Period    Date                     Person                                 Property            Cash Acct   Account    Amount      Reference     Check #     Notes
R-1227960   467187 01/2021 1/4/2021    Glenn Lesnick(lesn1690)                    1407 Palisade Avenue(1690-nj)   1020-0000                750.00                133646098
R-1227961   467187 01/2021 1/4/2021    David Poloner(polo1690)                    1407 Palisade Avenue(1690-nj)   1020-0000                450.00                698197022
R-1227962   467187 01/2021 1/4/2021    Universal Sourcing, Inc,(univ1690)         1407 Palisade Avenue(1690-nj)   1020-0000                370.00                0073125707
R-1227963   467187 01/2021 1/4/2021    Artem Horak(arte1690)                      1407 Palisade Avenue(1690-nj)   1020-0000               1,350.00               696732464
R-1229401   467876 01/2021 1/6/2021    Angelica Salazar(sala1690)                 1407 Palisade Avenue(1690-nj)   1020-0000               1,100.00               107
R-1229403   467876 01/2021 1/6/2021    Kids Journey(kidg1690)                     1407 Palisade Avenue(1690-nj)   1020-0000                 25.00                1990
R-1229406   467876 01/2021 1/6/2021    Kids Journey, Inc(kids1690)                1407 Palisade Avenue(1690-nj)   1020-0000               1,603.13               1989
R-1229408   467876 01/2021 1/6/2021    Guaranteed Rate Inc(guar1690)              1407 Palisade Avenue(1690-nj)   1020-0000               2,015.71               5077929
R-1231118   468436 01/2021 1/8/2021    Jairo A. Ortiz & Mary Ortiz(orti1690)      1407 Palisade Avenue(1690-nj)   1020-0000               1,250.00               3002
R-1235187   469935 01/2021 1/20/2021   Kaisha Hannon(kais1690)                    1407 Palisade Avenue(1690-nj)   1020-0000                600.00                27180657281
R-1235188   469935 01/2021 1/20/2021   Kaisha Hannon(kais1690)                    1407 Palisade Avenue(1690-nj)   1020-0000                600.00                27180657270
R-1235189   469935 01/2021 1/20/2021   Kaisha Hannon(kais1690)                    1407 Palisade Avenue(1690-nj)   1020-0000                600.00                27180658631
R-1235191   469935 01/2021 1/20/2021   Kaisha Hannon(kais1690)                    1407 Palisade Avenue(1690-nj)   1020-0000                600.00                27180658642
R-1235667   470198 01/2021 1/21/2021   Miryam Arrango Valdez(vald1690)            1407 Palisade Avenue(1690-nj)   1020-0000               1,100.00               201
R-1237131   470903 01/2021 1/27/2021   Betty Arboleda(arbol169)                   1407 Palisade Avenue(1690-nj)   1020-0000                850.00                27180658078
R-1237132   470903 01/2021 1/27/2021   Lizzie D. Barrantes(barra169)              1407 Palisade Avenue(1690-nj)   1020-0000               1,000.00               120
R-1237133   470903 01/2021 1/27/2021   Lizzie Barrantes(Garage)(lizz1690)         1407 Palisade Avenue(1690-nj)   1020-0000                130.00                121
R-1237134   470903 01/2021 1/27/2021   Juan B Palacio(pala1690)                   1407 Palisade Avenue(1690-nj)   1020-0000               2,250.00               1994
R-1237135   470903 01/2021 1/27/2021   Ricardo Alcivar(alci1690)                  1407 Palisade Avenue(1690-nj)   1020-0000                890.00                286
R-1237136   470903 01/2021 1/27/2021   Gloria Restropo(rest1690)                  1407 Palisade Avenue(1690-nj)   1020-0000               1,220.00               375
                                                                                                                                 Total   18,753.84




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                                                                                                                                                                2/4/2021 12:36 PM
                                                                         1407 Palisade Avenue (1690-nj)

                                                                               Check Register
                                                                               For Period = Jan 2021
 Control    Batch   Period    Date                                  Person                                           Property             Account    Amount     Reference   Notes
K-1381629   278394 01/2021 1/11/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)                      1407 Palisade Avenue(1690-nj)               148.80 367
K-1381630   278394 01/2021 1/11/2021   Cooper Pest Solutions, Inc. (coop351)                              1407 Palisade Avenue(1690-nj)               938.30 368
K-1381631   278394 01/2021 1/11/2021   Lawns by Yorkshire (lawn9)                                         1407 Palisade Avenue(1690-nj)              1,492.75 369
K-1381632   278394 01/2021 1/11/2021   SUEZ Water (unit3718)                                              1407 Palisade Avenue(1690-nj)               221.21 370
K-1381633   278394 01/2021 1/11/2021   Verizon Wireless (veri408)                                         1407 Palisade Avenue(1690-nj)                22.92 371
K-1388588   280083 01/2021 1/28/2021   COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)                     1407 Palisade Avenue(1690-nj)              2,750.00 372
K-1388589   280083 01/2021 1/28/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)                      1407 Palisade Avenue(1690-nj)                65.60 373
K-1388590   280083 01/2021 1/28/2021   INTERSTATE WASTE SERVICES OF NEW JERSEY (inte5547)                 1407 Palisade Avenue(1690-nj)              1,460.95 374
K-1388591   280083 01/2021 1/28/2021   SUEZ Water (unit3718)                                              1407 Palisade Avenue(1690-nj)               146.38 375
                                                                                                                                             Total   7,246.91




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                                                         Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 217 of 274 PageID: 4387
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Aging Detail
DB Caption: USA LIVE 7s Property: 1690-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month               Current    0-30   31-60     61-90        Over       Pre-                Total
                                                                     Code                                          Owed     Owed    Owed      Owed     90 Owed    payments               Owed
1407 Palisade Avenue (1690-nj)
Angelica Salazar (sala1690)
1690-nj                Angelica Salazar        Current   R-         Prepay       10/19/2020   10/2020                0.00    0.00    0.00       0.00       0.00   -2,700.00           -2,700.00
                                                         1197896
                      Angelica Salazar                                                                               0.00    0.00    0.00       0.00       0.00   -2,700.00           -2,700.00


Artem Horak (arte1690)
1690-nj               Artem Horak              Current   C-         rent         05/01/2020   05/2020             350.00     0.00    0.00       0.00    350.00        0.00              350.00
                                                         2281280
1690-nj               Artem Horak              Current   C-         rent         09/01/2020   09/2020            1,000.00    0.00    0.00       0.00   1,000.00       0.00            1,000.00
                                                         2338273
1690-nj               Artem Horak              Current   C-         rent         10/01/2020   10/2020            1,350.00    0.00    0.00       0.00   1,350.00       0.00            1,350.00
                                                         2363859
1690-nj               Artem Horak              Current   C-         rent         12/01/2020   12/2020            1,350.00    0.00    0.00   1,350.00       0.00       0.00            1,350.00
                                                         2416096
                      Artem Horak                                                                                4,050.00    0.00    0.00   1,350.00   2,700.00       0.00            4,050.00


Betty Arboleda (arbol169)
1690-nj                Betty Arboleda          Current   C-         rent         11/01/2019   05/2020             850.00     0.00    0.00       0.00    850.00        0.00              850.00
                                                         2281240
1690-nj               Betty Arboleda           Current   C-         rent         12/01/2019   05/2020             850.00     0.00    0.00       0.00    850.00        0.00              850.00
                                                         2281241
                      Betty Arboleda                                                                             1,700.00    0.00    0.00       0.00   1,700.00       0.00            1,700.00


David Poloner (polo1690)
1690-nj               David Poloner            Current   C-         rent         10/01/2019   10/2020             450.00     0.00    0.00       0.00    450.00        0.00              450.00
                                                         2382347
1690-nj               David Poloner            Current   C-         rent         11/01/2019   10/2020             450.00     0.00    0.00       0.00    450.00        0.00              450.00
                                                         2382348
1690-nj               David Poloner            Current   C-         rent         12/01/2019   10/2020             450.00     0.00    0.00       0.00    450.00        0.00              450.00
                                                         2382349
                      David Poloner                                                                              1,350.00    0.00    0.00       0.00   1,350.00       0.00            1,350.00


Etc. Steakhouse, LLC (stea1690)
1690-nj               Etc. Steakhouse, LLC     Current   C-         rent         10/01/2019   05/2020            3,200.00    0.00    0.00       0.00   3,200.00       0.00            3,200.00
                                                         2281110
1690-nj               Etc. Steakhouse, LLC     Current   C-         rent         12/01/2019   05/2020            3,200.00    0.00    0.00       0.00   3,200.00       0.00            3,200.00
                                                         2281112
1690-nj               Etc. Steakhouse, LLC     Current   C-         rent         01/01/2020   05/2020            3,200.00    0.00    0.00       0.00   3,200.00       0.00            3,200.00
                                                         2281113
1690-nj               Etc. Steakhouse, LLC     Current   C-         rent         02/01/2020   05/2020            3,200.00    0.00    0.00       0.00   3,200.00       0.00            3,200.00
                                                         2281114
1690-nj               Etc. Steakhouse, LLC     Current   C-         rent         03/01/2020   05/2020            3,200.00    0.00    0.00       0.00   3,200.00       0.00            3,200.00
                                                         2281115
1690-nj               Etc. Steakhouse, LLC     Current   C-         rent         04/01/2020   05/2020            3,200.00    0.00    0.00       0.00   3,200.00       0.00            3,200.00
                                                         2281116


                                                                                                                                                                    Thursday, February 04, 2021
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                                                                                                                                                                                             Page 2
Aging Detail
DB Caption: USA LIVE 7s Property: 1690-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60     61-90        Over        Pre-                Total
                                                                     Code                                           Owed       Owed     Owed      Owed     90 Owed     payments               Owed
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         05/01/2020   05/2020             3,200.00       0.00    0.00       0.00    3,200.00       0.00            3,200.00
                                                         2281117
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         06/01/2020   06/2020             3,200.00       0.00    0.00       0.00    3,200.00       0.00            3,200.00
                                                         2281118
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         07/01/2020   07/2020             3,200.00       0.00    0.00       0.00    3,200.00       0.00            3,200.00
                                                         2286804
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         08/01/2020   08/2020             3,200.00       0.00    0.00       0.00    3,200.00       0.00            3,200.00
                                                         2323114
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         09/01/2020   09/2020             3,200.00       0.00    0.00       0.00    3,200.00       0.00            3,200.00
                                                         2338283
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         10/01/2020   10/2020             3,200.00       0.00    0.00       0.00    3,200.00       0.00            3,200.00
                                                         2363869
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         11/01/2020   11/2020             3,200.00       0.00    0.00       0.00    3,200.00       0.00            3,200.00
                                                         2395665
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         12/01/2020   12/2020             3,200.00       0.00    0.00   3,200.00        0.00       0.00            3,200.00
                                                         2416106
1690-nj                Etc. Steakhouse, LLC    Current   C-         rent         01/01/2021   01/2021             3,200.00   3,200.00    0.00       0.00        0.00       0.00            3,200.00
                                                         2446460
                       Etc. Steakhouse, LLC                                                                      48,000.00   3,200.00    0.00   3,200.00   41,600.00       0.00           48,000.00


Guaranteed Rate Inc (guar1690)
1690-nj               Guaranteed Rate Inc      Current   R-         Prepay       12/07/2020   12/2020                 0.00       0.00    0.00       0.00        0.00     -58.71               -58.71
                                                         1217197
                       Guaranteed Rate Inc                                                                            0.00       0.00    0.00       0.00        0.00     -58.71               -58.71


Juan B Palacio (pala1690)
1690-nj               Juan B Palacio           Current   C-         rent         10/01/2019   05/2020             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00
                                                         2281194
                       Juan B Palacio                                                                             1,125.00       0.00    0.00       0.00    1,125.00       0.00            1,125.00


Kaisha Hannon (kais1690)
1690-nj              Kaisha Hannon             Current   R-         Prepay       01/20/2021   01/2021                 0.00       0.00    0.00       0.00        0.00      -4.00                -4.00
                                                         1235191
                       Kaisha Hannon                                                                                  0.00       0.00    0.00       0.00        0.00      -4.00                -4.00


Kids Journey (kidg1690)
1690-nj               Kids Journey             Current   C-         rent         12/01/2020   12/2020               25.00        0.00    0.00     25.00         0.00       0.00               25.00
                                                         2416108
                       Kids Journey                                                                                 25.00        0.00    0.00     25.00         0.00       0.00               25.00


Kids Journey, Inc (kids1690)
1690-nj                 Kids Journey, Inc      Current   C-         rent         01/01/2021   01/2021             1,603.13   1,603.13    0.00       0.00        0.00       0.00            1,603.13
                                                         2446456
                       Kids Journey, Inc                                                                          1,603.13   1,603.13    0.00       0.00        0.00       0.00            1,603.13


Lizzie D. Barrantes (barra169)

                                                                                                                                                                         Thursday, February 04, 2021
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Aging Detail
DB Caption: USA LIVE 7s Property: 1690-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                Current      0-30    31-60   61-90       Over        Pre-                Total
                                                                     Code                                           Owed       Owed     Owed    Owed    90 Owed     payments               Owed
1690-nj              Lizzie D. Barrantes       Current   C-         rent         11/01/2020   11/2020             1,000.00       0.00    0.00    0.00    1,000.00       0.00            1,000.00
                                                         2395657
                     Lizzie D. Barrantes                                                                          1,000.00       0.00    0.00    0.00    1,000.00       0.00            1,000.00


Max G (maxg1690)
1690-nj              Max G                     Past      C-         rent         10/01/2019   05/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2281248
1690-nj              Max G                     Past      C-         rent         11/01/2019   05/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2281249
1690-nj              Max G                     Past      C-         rent         12/01/2019   05/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2281250
1690-nj              Max G                     Past      C-         rent         01/01/2020   05/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2281251
1690-nj              Max G                     Past      C-         rent         02/01/2020   05/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2281252
1690-nj              Max G                     Past      C-         rent         04/01/2020   05/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2281254
1690-nj              Max G                     Past      C-         rent         05/01/2020   05/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2281255
1690-nj              Max G                     Past      C-         rent         06/01/2020   06/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2281256
1690-nj              Max G                     Past      C-         rent         07/01/2020   07/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2286807
1690-nj              Max G                     Past      C-         rent         08/01/2020   08/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2323117
1690-nj              Max G                     Past      C-         rent         09/01/2020   09/2020              950.00        0.00    0.00    0.00     950.00        0.00              950.00
                                                         2338286
                     Max G                                                                                       10,450.00       0.00    0.00    0.00   10,450.00       0.00           10,450.00


Sheina Maria (shei1690)
1690-nj               Sheina Maria             Current   C-         rent         10/01/2019   05/2020             1,100.00       0.00    0.00    0.00    1,100.00       0.00            1,100.00
                                                         2281257
1690-nj              Sheina Maria              Current   C-         rent         01/01/2021   01/2021             1,100.00   1,100.00    0.00    0.00        0.00       0.00            1,100.00
                                                         2446461
                     Sheina Maria                                                                                 2,200.00   1,100.00    0.00    0.00    1,100.00       0.00            2,200.00


Teaneck Doghouse (dogh1690)
1690-nj             Teaneck Doghouse           Current   C-         rent         10/01/2019   05/2020             3,300.00       0.00    0.00    0.00    3,300.00       0.00            3,300.00
                                                         2281317
1690-nj              Teaneck Doghouse          Current   C-         rent         11/01/2019   05/2020             3,300.00       0.00    0.00    0.00    3,300.00       0.00            3,300.00
                                                         2281318
1690-nj              Teaneck Doghouse          Current   C-         rent         12/01/2019   05/2020             3,300.00       0.00    0.00    0.00    3,300.00       0.00            3,300.00
                                                         2281319
1690-nj              Teaneck Doghouse          Current   C-         rent         01/01/2020   05/2020             3,300.00       0.00    0.00    0.00    3,300.00       0.00            3,300.00
                                                         2281320
1690-nj              Teaneck Doghouse          Current   C-         rent         02/01/2020   05/2020             3,300.00       0.00    0.00    0.00    3,300.00       0.00            3,300.00
                                                         2281321


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Aging Detail
DB Caption: USA LIVE 7s Property: 1690-nj Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property   Customer Lease                     Status      Tran#      Charge      Date         Month                 Current      0-30    31-60     61-90          Over       Pre-                Total
                                                                     Code                                            Owed       Owed     Owed      Owed       90 Owed    payments               Owed
1690-nj               Teaneck Doghouse          Current   C-        rent         03/01/2020   05/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2281322
1690-nj               Teaneck Doghouse          Current   C-        rent         04/01/2020   05/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2281323
1690-nj               Teaneck Doghouse          Current   C-        rent         05/01/2020   05/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2281324
1690-nj               Teaneck Doghouse          Current   C-        rent         06/01/2020   06/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2281325
1690-nj               Teaneck Doghouse          Current   C-        rent         07/01/2020   07/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2286808
1690-nj               Teaneck Doghouse          Current   C-        rent         08/01/2020   08/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2323118
1690-nj               Teaneck Doghouse          Current   C-        rent         09/01/2020   09/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2338287
1690-nj               Teaneck Doghouse          Current   C-        rent         10/01/2020   10/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2363873
1690-nj               Teaneck Doghouse          Current   C-        rent         11/01/2020   11/2020              3,300.00       0.00    0.00       0.00     3,300.00       0.00            3,300.00
                                                          2395669
1690-nj               Teaneck Doghouse          Current   C-        rent         12/01/2020   12/2020              3,300.00       0.00    0.00   3,300.00         0.00       0.00            3,300.00
                                                          2416109
1690-nj               Teaneck Doghouse          Current   C-        rent         01/01/2021   01/2021              3,300.00   3,300.00    0.00       0.00         0.00       0.00            3,300.00
                                                          2446463
                      Teaneck Doghouse                                                                            52,800.00   3,300.00    0.00   3,300.00    46,200.00       0.00           52,800.00


1690-nj                                                                                                          124,303.13   9,203.13    0.00   7,875.00   107,225.00   -2,762.71         121,540.42


Grand                                                                                                            124,303.13   9,203.13    0.00   7,875.00   107,225.00   -2,762.71         121,540.42
Total


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                                                                                                                                 Payables Aging Report
                                                                                                                                                 1690-nj
                                                                                                                                             Period: 01/2021
                                                                                                                                            As of : 01/31/2021
    Payee        Payee Name                       Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date     Post Month             Account                Invoice #    Base    Current       0-30           31-60          61-90          Over          Future          Notes
     Code                                                                                                                                                                             Curren   Owed          Owed           Owed           Owed            90           Invoice
                                                                                                                                                                                                                                                          Owed
     sillone     SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                                      0.00
                                                              P-1912328   652871     1690-nj     11/5/2020     11/5/2020     11-2020     7905-0000 Legal                  1785335                74,370.41           0.00           0.00    74,370.41            0.00            0.00 Sills Cummis & Gross Legal Invoi
Total sillone                                                                                                                                                                                  74,370.41            0.00           0.00    74,370.41             0.00         0.00


   unit3718      SUEZ Water                                                                                                                                                                                                                                                      0.00
                                                              P-1943414   655301     1690-nj     12/11/2020    12/30/2020    01-2021     5215-0000 Water              340758-2101                  843.59            0.00      843.59              0.00          0.00            0.00 WATER CHARGES FOR 206 THE PLAZA TEANECK
Total unit3718                                                                                                                                                                                    843.59            0.00      843.59              0.00           0.00         0.00


    veri408      Verizon Wireless                                                                                                                                                                                                                                                0.00
                                                              P-1943424   655301     1690-nj     1/12/2021     1/12/2021     01-2021     5845-0000 Telephone        423057200001/0121               22.98           22.98           0.00           0.00          0.00            0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                       22.98       22.98              0.00           0.00           0.00         0.00


Grand Total                                                                                                                                                                                    75,236.98        22.98         843.59       74,370.41             0.00         0.00




                                                                                                                                                            Page 1 of 1
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                       Rent Roll                                                                                                                                 Page:
                                                                                                                                                                 Date:
                                                                                                                                                                          1
                                                                                                                                                                          02/04/2021
                       1407 Palisade Avenue (1690-nj)                                                                                                            Time:    12:29 pm
                       January 2021


                                                                                                             Current                       Base Rent Inc.
                                       Square                                      Security              Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name               Feet                Term                   Deposit    Chg Code       Amount        Amount PSF     Date       Rate                Comments

1409          Etc. Steakhouse, LLC                      10/1/19 to                  $0.00     rent            3,200.00            0.00   10/1/19     $3,200.00
                                                   Original Lease 10/1/19 to




1413-15       Teaneck Doghouse                          10/1/19 to                  $0.00     rent            3,300.00            0.00   10/1/19     $3,300.00
                                                   Original Lease 10/1/19 to




198PLAZA      Kids Journey, Inc                         10/1/19 to                  $0.00     rent            1,603.13            0.00   10/1/19     $1,603.13
                                                   Original Lease 10/1/19 to




202PLAZA      Guaranteed Rate Inc                  1/8/18 to 12/31/21               $0.00     rent            2,015.71            0.00   1/1/21      $2,015.71
                                                Original Lease 1/8/18 to12/31/21




APT1          Kaisha Hannon                             10/1/19 to                  $0.00     rent            1,200.00            0.00   10/1/19     $1,200.00
                                                   Original Lease 10/1/19 to




APT12         Juan B Palacio                            10/1/19 to                  $0.00     rent            1,125.00            0.00   10/1/19     $1,125.00
                                                   Original Lease 10/1/19 to




APT13         Miryam Arrango Valdez                     10/1/19 to                  $0.00     rent            1,100.00            0.00   10/1/19     $1,100.00
                                                   Original Lease 10/1/19 to




APT14         Lizzie D. Barrantes                       10/1/19 to                  $0.00     rent            1,000.00            0.00   10/1/19     $1,000.00
                                                   Original Lease 10/1/19 to




APT15         Gloria Restropo                           10/1/19 to                  $0.00     rent            1,220.00            0.00   10/1/19     $1,220.00
                                                   Original Lease 10/1/19 to




APT16         Ricardo Alcivar                           10/1/19 to                  $0.00     rent             890.00             0.00   10/1/19       $890.00
                                                   Original Lease 10/1/19 to




APT2          Betty Arboleda                            10/1/19 to                  $0.00     rent             850.00             0.00   10/1/19       $850.00
                                                   Original Lease 10/1/19 to
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                       Rent Roll                                                                                                                                            Page:
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                                                                                                                                                                                     02/04/2021
                       1407 Palisade Avenue (1690-nj)                                                                                                                       Time:    12:29 pm
                       January 2021


                                                                                                                        Current                       Base Rent Inc.
                                            Square                                           Security               Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name                    Feet                    Term                    Deposit     Chg Code       Amount        Amount PSF     Date       Rate                Comments

APT3          Jairo A. Ortiz & Mary Ortiz                   11/1/20 to 10/31/21              $1,875.00   rent            1,250.00            0.00   11/1/20     $1,250.00
                                                         Original Lease 11/1/20 to10/31/21




APT4          Sheina Maria                                        10/1/19 to                  $0.00      rent            1,100.00            0.00   10/1/19     $1,100.00
                                                             Original Lease 10/1/19 to




APT5          Angelica Salazar                                    6/15/20 to                 $1,650.00   rent            1,100.00            0.00   6/15/20     $1,100.00
                                                             Original Lease 6/15/20 to




APT6          Artem Horak                                         10/1/19 to                  $0.00      rent            1,350.00            0.00   10/1/19     $1,350.00
                                                             Original Lease 10/1/19 to




APT7          David Poloner                                       10/1/19 to                  $0.00      rent             450.00             0.00   10/1/19       $450.00
                                                             Original Lease 10/1/19 to




GAR3          Lizzie Barrantes(Garage)                             9/1/20 to                 $130.00     rent             130.00             0.00   9/1/20        $130.00
                                                             Original Lease 9/1/20 to




GARG4         Kids Journey                                        10/1/19 to                  $0.00      rent              25.00             0.00   10/1/19        $25.00
                                                             Original Lease 10/1/19 to




STE11         Glenn Lesnick                                       10/1/19 to                  $0.00      rent             750.00             0.00   10/1/19       $750.00
                                                             Original Lease 10/1/19 to




STE8          Universal Sourcing, Inc,                            10/1/19 to                  $0.00      rent             370.00             0.00   10/1/19       $370.00
                                                             Original Lease 10/1/19 to




GAR5          VACANT                                 0                                                                                       0.00




STE10         VACANT                                 0                                                                                       0.00
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                          Rent Roll                                                                                                                      Page:
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                          1407 Palisade Avenue (1690-nj)                                                                                                 Time:    12:29 pm
                          January 2021


                                                                                                          Current                       Base Rent Inc.
                                          Square                        Security                      Monthly Charges                   CPI or Step Up
    Suite No.    Tenant Name               Feet                  Term   Deposit     Chg Code              Amount         Amount PSF    Date       Rate           Comments

STE9             VACANT                            0                                                                            0.00




Totals for 1407 Palisade Avenue:                   0                    $3,655.00
                                                                                           Current Monthly Charges
                Vacant:                            0    0.00%                       rent                     24,028.84

                Occupied:                          0   100.00%
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                                           1407 Palisade Ave Operating                                       2/4/2021


                                           Bank Reconcilation Report
                                                       01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                                  38,965.23
   Outstanding Checks

   Check Date               Check Number       Payee                                              Amount
   12/30/2020                      356         emco9815 - EMCOR Services Fluidics                 -243.80
   12/30/2020                      357         emco9815 - EMCOR Services Fluidics                -2,574.91
   01/28/2021                      372         coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.    -2,750.00
   01/28/2021                      373         coll666a - COLLIERS INT'L HOLDINGS (coll666a)       -65.60
   01/28/2021                      374         inte5547 - INTERSTATE WASTE SERVICES OF NEW       -1,460.95
                                               JERSEY
   01/28/2021                      375         unit3718 - SUEZ Water                              -146.38
   Less:              Outstanding Checks                                                        -7,241.64
                      Reconciled Bank Balance                                                   31,723.59



   Balance per GL as of 01/31/2021                                                              31,723.59
                      Reconciled Balance Per G/L                                                31,723.59
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                       0.00
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                                      1407 Palisade Ave Operating                                                          2/4/2021


                                      Bank Reconcilation Report
                                                 01/31/2021



   Cleared Items:


   Cleared Checks

   Date               Tran #             Notes                                            Amount            Date Cleared
   12/01/2020                   341      impa1575 - IMPALA EMPIRE CLEANING SERVICES                377.45       01/31/2021
                                         CORP
   12/01/2020                   342      impa1575 - IMPALA EMPIRE CLEANING SERVICES                303.88       01/31/2021
                                         CORP
   12/30/2020                   354      coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.        2,750.00         01/31/2021
   12/30/2020                   355      coll666a - COLLIERS INT'L HOLDINGS (coll666a)              65.60       01/31/2021
   12/30/2020                   358      engi1 - ESSI LLC                                          618.43       01/31/2021
   12/30/2020                   359      impa1575 - IMPALA EMPIRE CLEANING SERVICES                349.73       01/31/2021
                                         CORP
   12/30/2020                   360      inte5547 - INTERSTATE WASTE SERVICES OF NEW               949.18       01/31/2021
                                         JERSEY
   12/30/2020                   361      pseg1444 - PSE&G Co.                                      118.89       01/31/2021
   12/30/2020                   362      pseg1444 - PSE&G Co.                                      110.13       01/31/2021
   12/30/2020                   363      pseg1444 - PSE&G Co.                                      411.29       01/31/2021
   12/30/2020                   364      unit3718 - SUEZ Water                                     647.46       01/31/2021
   12/30/2020                   365      unit3718 - SUEZ Water                                     201.97       01/31/2021
   12/30/2020                   366      unit3718 - SUEZ Water                                     455.94       01/31/2021
   01/11/2021                   367      coll666a - COLLIERS INT'L HOLDINGS (coll666a)             148.80       01/31/2021
   01/11/2021                   368      coop351 - Cooper Pest Solutions, Inc.                     938.30       01/31/2021
   01/11/2021                   369      lawn9 - Lawns by Yorkshire                            1,492.75         01/31/2021
   01/11/2021                   370      unit3718 - SUEZ Water                                     221.21       01/31/2021
   01/11/2021                   371      veri408 - Verizon Wireless                                 22.92       01/31/2021
   Total Cleared Checks                                                                      10,183.93
   Cleared Deposits

   Date               Tran #             Notes                                            Amount            Date Cleared
   01/04/2021                  115                                                             2,920.00         01/31/2021
   01/06/2021                  116                                                             4,743.84         01/31/2021
   01/08/2021                  117                                                             1,250.00         01/31/2021
   01/20/2021                  118                                                             2,400.00         01/31/2021
   01/21/2021                  119                                                             1,100.00         01/31/2021
   01/27/2021                  120                                                             6,340.00         01/31/2021
   Total Cleared Deposits                                                                    18,753.84
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       TEANECK PLAZA VENTURES, LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                    4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $30,395.32        Number of Days in Cycle                                  29
6 Deposits/Credits                                        $18,753.84        Minimum Balance This Cycle                       $30,395.32
18 Checks/Debits                                        ($10,183.93)        Average Collected Balance                        $33,949.09
Service Charges                                                $0.00
Ending Balance 01/29/21                                   $38,965.23

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021            - JANUARY 29, 2021


Date       Description                                                 Deposits/Credits    Withdrawals/Debits          Resulting Balance
01/04      Customer Deposit                                                   $2,920.00                                        $33,315.32
01/06      Customer Deposit                                                   $4,743.84                                        $38,059.16
01/07      Check     363                                                                                 $411.29               $37,647.87
01/07      Check     361                                                                                 $118.89               $37,528.98
01/07      Check     362                                                                                 $110.13               $37,418.85
01/08      Customer Deposit                                                   $1,250.00                                        $38,668.85
01/08      Check     354                                                                               $2,750.00               $35,918.85
01/08      Check     355                                                                                  $65.60               $35,853.25
01/12      Check     359                                                                                 $349.73               $35,503.52
01/13      Check     364                                                                                 $647.46               $34,856.06
01/13      Check     366                                                                                 $455.94               $34,400.12
01/13      Check     365                                                                                 $201.97               $34,198.15
01/14      Check     360                                                                                 $949.18               $33,248.97
01/19      Check     369                                                                               $1,492.75               $31,756.22
01/19      Check     341                                                                                 $377.45               $31,378.77
01/19      Check     342                                                                                 $303.88               $31,074.89
01/19      Check     367                                                                                 $148.80               $30,926.09
01/20      Customer Deposit                                                   $2,400.00                                        $33,326.09
01/21      Customer Deposit                                                   $1,100.00                                        $34,426.09


                                                          Thank you for banking with us.                                    PAGE 1 OF 2

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 ACCOUNT DETAIL              CONTINUED FOR PERIOD JANUARY 01, 2021              - JANUARY 29, 2021
 Date    Description                                         Deposits/Credits     Withdrawals/Debits         Resulting Balance
 01/21   Check     368                                                                        $938.30                 $33,487.79
 01/26   Check     370                                                                        $221.21                 $33,266.58
 01/27   Customer Deposit                                           $6,340.00                                         $39,606.58
 01/27   Check     371                                                                         $22.92                 $39,583.66
 01/29   Check     358                                                                        $618.43                 $38,965.23
 Total                                                            $18,753.84                $10,183.93



         * designates gap in check sequence
 Check No.    Date                Amount      Check No.   Date           Amount       Check No.   Date                   Amount
 341          01/19               $377.45     360         01/14          $949.18      366         01/13                $455.94
 342          01/19               $303.88     361         01/07          $118.89      367         01/19                $148.80
 354*         01/08             $2,750.00     362         01/07          $110.13      368         01/21                $938.30
 355          01/08                $65.60     363         01/07          $411.29      369         01/19              $1,492.75
 358*         01/29               $618.43     364         01/13          $647.46      370         01/26                $221.21
 359          01/12               $349.73     365         01/13          $201.97      371         01/27                 $22.92




                                                                                                              PAGE 2 OF 2



                                                                                                         PSI: 0 / SHC: 0 / LOB :C
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                                               Teaneck Plaza Sec Dep                                            2/4/2021


                                              Bank Reconcilation Report
                                                         01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                            3,657.93
                     Reconciled Bank Balance                                              3,657.93



   Balance per GL as of 01/31/2021                                                        3,657.93
                      Reconciled Balance Per G/L                                          3,657.93
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                0.00



   Cleared Items:


   Cleared Other Items

   Date                  Tran #                  Notes                           Amount          Date Cleared
   01/31/2021                     JE 511632                                               0.62       01/31/2021
   Total Cleared Other Items                                                              0.62
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       TEANECK PLAZA VENTURES LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                     4Contact your Relationship Manager to discuss
                                                                                      targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                   $3,657.31        Number of Days in Cycle                                    29
0 Deposits/Credits                                              $0.00        Minimum Balance This Cycle                         $3,657.31
Interest Paid                                                   $0.62        Average Collected Balance                          $3,657.31
0 Checks/Debits                                                 $0.00        Interest Earned During this Cycle                       $0.62
Service Charges                                                 $0.00        Interest Paid Year-To-Date                              $0.62
Ending Balance 01/29/21                                     $3,657.93        Annual Percentage Yield                                0.20%
                                                                             (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021             - JANUARY 29, 2021


Date       Description                                                  Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/31      Interest paid                                                           $0.62                                           $3,657.93
Total                                                                              $0.62                      $0.00




                                                          Thank you for banking with us.                                      PAGE 1 OF 2

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  Portal v. Levine Civil Action No. 19-cv-19611 (MCA

  (LDW)
  January 2021
  PREPARED BY:
  Kirsten Cole
  704-910-84
  kirsten.cole@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 233 of 274 PageID: 4403




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               1. Statement of Case
               2. Balance Sheet
               3. Income Statement
               4. Receipt Register
               5. Check Register
               6. Aged Receivables
               7. Accounts Payable Aging
               8. Rent Roll
               9. Bank Reconciliation and Statement
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 234 of 274 PageID: 4404



    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
    for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
    particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
    International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
    deferred maintenance and abandonment of their other management responsibilities for these
    properties resulted in profound and immediate issues for which this appointment was necessary. Due to
    an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
    provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
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                                                                                             2/4/2021 10:49 AM
                               2817 Palisade Ave (1688-nj)

                                  Balance Sheet
                                    Period = Jan 2021
                               Book = Cash ; Tree = ysi_bs
                                                                       Current Balance
  1000-0000    ASSETS




  1005-0000    CASH & EQUIVALENTS
   1020-0000     Cash-Operating                                                  9,233.10


  1099-9999    TOTAL CASH & EQUIVALENTS                                         9,233.10


  1999-9999    TOTAL ASSETS                                                     9,233.10




  2000-0000    LIABILITY AND EQUITY




  3000-0000    EQUITY
   3100-0300     Funding from Loan Servicer                                     42,183.05
   3800-0000     Current Year Earnings                                           4,756.84
   3811-0000     Prior Year Retained Earnings                                   -37,706.79


  3900-9999    TOTAL EQUITY                                                     9,233.10


  3999-9999    TOTAL LIABILITY & EQUITY                                         9,233.10




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                                                                                                             2/4/2021 10:48 AM
                                           2817 Palisade Ave (1688-nj)

                                           Income Statement
                                               Period = Jan 2021
                                           Book = Cash ; Tree = ysi_is
                                              Period to Date             %            Year to Date                 %
  4001-0000   REVENUE




  4005-0000   RENT
  4006-0000     Prepaid Income                              853.85             7.70             853.85                    7.70
  4110-0000     Rent                                     10,238.06            92.30           10,238.06                  92.30


  4299-4999   TOTAL RENT                                11,091.91            100.00          11,091.91                  100.00


  4998-9999   TOTAL REVENUE                             11,091.91            100.00          11,091.91                  100.00




  5000-0000   OPERATING EXPENSES




  5001-0000   RECOVERABLE EXPENSES




  5200-0000   UTILITIES
  5205-0000     Electricity                                 111.55             1.01             111.55                    1.01
  5210-0000     Gas                                          66.49             0.60                  66.49                0.60
  5215-0000     Water                                       404.22             3.64             404.22                    3.64


  5249-9999   TOTAL UTILITIES                              582.26              5.25             582.26                    5.25




  5250-0000   ENGINEERING
  5255-0000     Engineering Compensation                  2,395.73            21.60            2,395.73                  21.60


  5299-9999   TOTAL ENGINEERING                          2,395.73             21.60           2,395.73                   21.60




  5400-0000   PLUMBING
  5405-0000     Plumbing                                    298.55             2.69             298.55                    2.69


  5449-9999   TOTAL PLUMBING                               298.55              2.69             298.55                    2.69




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                                                                                                                   2/4/2021 10:48 AM
                                                  2817 Palisade Ave (1688-nj)

                                                  Income Statement
                                                      Period = Jan 2021
                                                  Book = Cash ; Tree = ysi_is
                                                     Period to Date             %           Year to Date                 %
  5650-0000   GEN BLDG REPAIR/MAINT.
  5680-0000     Pest Control                                       762.37            6.87             762.37                    6.87


  5699-9999   TOTAL GEN BLDG REPAIR/MAINT.                        762.37             6.87             762.37                    6.87




  5800-0000   MANAGEMENT/ADMIN
  5805-0000     Management Fees                                  2,300.00           20.74            2,300.00                  20.74
  5810-0000     Management Compensation                            -74.30           -0.67              -74.30                  -0.67
  5845-0000     Telephone                                             4.86           0.04                   4.86                0.04
  5895-0000     Miscellaneous Operating Expense                     65.60            0.59                  65.60                0.59


  5899-9999   TOTAL MANAGEMENT/ADMIN                            2,296.16            20.70           2,296.16                   20.70


  5950-9999   TOTAL RECOVERABLE EXPENSES                        6,335.07            57.11           6,335.07                   57.11


  6998-9999   TOTAL OPERATING EXPENSES                          6,335.07            57.11           6,335.07                   57.11


  6999-9999   NET OPERATING INCOME                              4,756.84            42.89           4,756.84                   42.89


  9496-9999   NET INCOME                                        4,756.84            42.89           4,756.84                   42.89




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                                                                                                                                                                              2/4/2021 10:52 AM

                                                                                 2817 Palisade Ave (1688-nj)

                                                                                 Receipt Register
                                                                                   For Period = Jan 2021
  Control    Batch   Period    Date                      Person                    Property     Cash Acct      Account    Amount      Reference     Check #                   Notes
 R-1228721   467542 01/2021 1/6/2021    Amy Marquez(amym1688)                     1688-nj      1020-0000                    766.31                1304
 R-1228723   467542 01/2021 1/6/2021    Jose Pujols(jose1688)                     1688-nj      1020-0000                    984.29                239
 R-1228725   467542 01/2021 1/6/2021    Jose Sangama(joss1688)                    1688-nj      1020-0000                    340.96                1191
 R-1228726   467542 01/2021 1/6/2021    Hector Vega(vega1688)                     1688-nj      1020-0000                   1,009.90               673
 R-1229352   467875 01/2021 1/7/2021    William Martinez(will1688)                1688-nj      1020-0000                       0.00               APPLY010721    apply prepay 01/07/21
 R-1230070   468120 01/2021 1/8/2021    Georgeth Rojas(geor1688)                  1688-nj      1020-0000                   1,021.82               137
 R-1231953   468760 01/2021 1/12/2021   William Martinez(will1688)                1688-nj      1020-0000                    363.00                106
 R-1234874   469782 01/2021 1/20/2021   William Polanco(pala1688)                 1688-nj      1020-0000                    842.00                138
 R-1234875   469782 01/2021 1/20/2021   July Paulino and Andres Leon(july1688)    1688-nj      1020-0000                    853.85                19-199417518
 R-1234877   469782 01/2021 1/20/2021   Vivian Salgado(salg1688)                  1688-nj      1020-0000                    850.00                26837876957
 R-1236964   470819 01/2021 1/27/2021   Arana Belgica(aran1688)                   1688-nj      1020-0000                   4,059.78               100064         Union City Rental Assist Grant
                                                                                                                  Total   11,091.91




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                                                                                                                                2/4/2021 10:51 AM
                                                                2817 Palisade Ave (1688-nj)

                                                                 Check Register
                                                                    For Period = Jan 2021
  Control     Batch    Period      Date                              Person                    Property   Account    Amount     Reference   Notes
 K-1379368   277914   01/2021   1/6/2021    COLLIERS INT'L HOLDINGS (coll666a) (coll666a)     1688-nj                 148.80 262
 K-1379369   277914   01/2021   1/6/2021    SUEZ Water (unit3718)                             1688-nj                 223.99 263
 K-1381949   278484   01/2021   1/12/2021   Cooper Pest Solutions, Inc. (coop351)             1688-nj                 762.37 264
 K-1381950   278484   01/2021   1/12/2021   Verizon Wireless (veri408)                        1688-nj                  22.92 265
 K-1384379   279078   01/2021   1/19/2021   TOLEDO PLUMBING & HEATING INC (tolplu62)          1688-nj                 298.55 266
 K-1385207   279322   01/2021   1/20/2021   EMCOR Services Fluidics (emco9815)                1688-nj                2,395.73 1202021
 K-1387312   279800   01/2021   1/26/2021   COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)    1688-nj                2,300.00 267
 K-1387313   279800   01/2021   1/26/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)     1688-nj                  65.60 268
 K-1387314   279800   01/2021   1/26/2021   PSE&G Co. (pseg1444)                              1688-nj                 178.04 269
 K-1387315   279800   01/2021   1/26/2021   SUEZ Water (unit3718)                             1688-nj                 180.23 270
 K-1391037            01/2021   1/31/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)     1688-nj                 -223.10 242
 K-1391038            01/2021   1/31/2021   Verizon Wireless (veri408)                        1688-nj                  -18.06 243
                                                                                                             Total   6,335.07




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                                                                                                                                                                                      2/4/2021 10:40 AM

 Aging Detail
 DB Caption: USA LIVE 7s Property: 1688-nj     Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
 Property       Customer     Lease                                 Status    Tran#       Charge    Date          Month     Current        0-30     31-60     61-90        Over         Pre-       Total
                                                                                         Code                                Owed        Owed      Owed      Owed      90 Owed     payments      Owed
 2817 Palisade Ave (1688-nj)
 Amy Marquez (amym1688)
 1688-nj                     Amy Marquez                           Current   R-1091757   Prepay    2/4/2020      02/2020       0.00        0.00     0.00       0.00        0.00      -379.28    -379.28
                             Amy Marquez                                                                                       0.00        0.00     0.00       0.00        0.00     -379.28    -379.28


 Arana Belgica (aran1688)
 1688-nj                     Arana Belgica                         Current   C-2194306   rent      10/1/2019     02/2020    1,094.13       0.00     0.00       0.00     1,094.13        0.00    1,094.13
 1688-nj                     Arana Belgica                         Current   C-2194307   rent      11/1/2019     02/2020    1,094.13       0.00     0.00       0.00     1,094.13        0.00    1,094.13
 1688-nj                     Arana Belgica                         Current   C-2199730   rent      2/1/2020      02/2020     637.39        0.00     0.00       0.00      637.39         0.00     637.39
 1688-nj                     Arana Belgica                         Current   C-2203274   rent      3/1/2020      03/2020    1,094.13       0.00     0.00       0.00     1,094.13        0.00    1,094.13
 1688-nj                     Arana Belgica                         Current   C-2363436   rent      10/1/2020     10/2020    1,094.13       0.00     0.00       0.00     1,094.13        0.00    1,094.13
 1688-nj                     Arana Belgica                         Current   C-2393690   rent      11/1/2020     11/2020    1,094.13       0.00     0.00       0.00     1,094.13        0.00    1,094.13
 1688-nj                     Arana Belgica                         Current   C-2416082   rent      12/1/2020     12/2020    1,094.13       0.00     0.00    1,094.13       0.00         0.00    1,094.13
 1688-nj                     Arana Belgica                         Current   C-2441811   rent      1/1/2021      01/2021    1,094.13    1,094.13    0.00       0.00        0.00         0.00    1,094.13
                             Arana Belgica                                                                                 8,296.30    1,094.13     0.00   1,094.13    6,108.04        0.00    8,296.30


 Erica Rodriguez (rod1688)
 1688-nj                     Erica Rodriguez                       Current   C-2199731   rent      2/1/2020      02/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Current   C-2203275   rent      3/1/2020      03/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Current   C-2202694   rent      4/1/2020      04/2020     907.44        0.00     0.00       0.00      907.44         0.00     907.44
 1688-nj                     Erica Rodriguez                       Current   C-2286781   rent      7/1/2020      07/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Current   C-2323091   rent      8/1/2020      08/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Current   C-2338260   rent      9/1/2020      09/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Current   C-2363437   rent      10/1/2020     10/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Current   C-2393691   rent      11/1/2020     11/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Current   C-2416083   rent      12/1/2020     12/2020    1,006.48       0.00     0.00    1,006.48       0.00         0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Current   C-2441812   rent      1/1/2021      01/2021    1,006.48    1,006.48    0.00       0.00        0.00         0.00    1,006.48
                             Erica Rodriguez                                                                               9,965.76    1,006.48     0.00   1,006.48    7,952.80        0.00    9,965.76


 Erica Rodriguez (rodr1688)
 1688-nj                     Erica Rodriguez                       Future    C-2194294   rent      10/1/2019     02/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Future    C-2194295   rent      11/1/2019     02/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Future    C-2194296   rent      12/1/2019     02/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
 1688-nj                     Erica Rodriguez                       Future    C-2194297   rent      1/1/2020      02/2020    1,006.48       0.00     0.00       0.00     1,006.48        0.00    1,006.48
                             Erica Rodriguez                                                                               4,025.92        0.00     0.00       0.00    4,025.92        0.00    4,025.92


 Georgeth Rojas (geor1688)
 1688-nj                     Georgeth Rojas                        Current   C-2194274   rent      10/1/2019     02/2020     328.18        0.00     0.00       0.00      328.18         0.00     328.18
 1688-nj                     Georgeth Rojas                        Current   C-2194275   rent      11/1/2019     02/2020     328.18        0.00     0.00       0.00      328.18         0.00     328.18




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                                                                                                                                                                               2/4/2021 10:40 AM

 Aging Detail
 DB Caption: USA LIVE 7s Property: 1688-nj      Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
 Property       Customer    Lease                                   Status    Tran#       Charge    Date          Month     Current     0-30    31-60   61-90       Over        Pre-        Total
                                                                                          Code                                Owed     Owed     Owed    Owed     90 Owed    payments       Owed
 1688-nj                    Georgeth Rojas                          Current   C-2194276   rent      12/1/2019     02/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2194277   rent      1/1/2020      02/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2199723   rent      2/1/2020      02/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2203267   rent      3/1/2020      03/2020     325.18     0.00    0.00     0.00     325.18        0.00      325.18
 1688-nj                    Georgeth Rojas                          Current   C-2202686   rent      4/1/2020      04/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2230406   rent      5/1/2020      05/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2259533   rent      6/1/2020      06/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2286773   rent      7/1/2020      07/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2323083   rent      8/1/2020      08/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2338252   rent      9/1/2020      09/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2363430   rent      10/1/2020     10/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2393684   rent      11/1/2020     11/2020     328.18     0.00    0.00     0.00     328.18        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2416076   rent      12/1/2020     12/2020     328.18     0.00    0.00   328.18       0.00        0.00      328.18
 1688-nj                    Georgeth Rojas                          Current   C-2441805   rent      1/1/2021      01/2021     328.18   328.18    0.00     0.00       0.00        0.00      328.18
                            Georgeth Rojas                                                                                  5,247.88   328.18    0.00   328.18   4,591.52       0.00    5,247.88


 Jose Pujols (jose1688)
 1688-nj                    Jose Pujols                             Current   C-2194286   rent      10/1/2019     02/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2194287   rent      11/1/2019     02/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2194288   rent      12/1/2019     02/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2194289   rent      1/1/2020      02/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2199721   rent      2/1/2020      02/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2203265   rent      3/1/2020      03/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2202684   rent      4/1/2020      04/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2230404   rent      5/1/2020      05/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2259531   rent      6/1/2020      06/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2286771   rent      7/1/2020      07/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2323081   rent      8/1/2020      08/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2338250   rent      9/1/2020      09/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2363428   rent      10/1/2020     10/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2393682   rent      11/1/2020     11/2020     278.90     0.00    0.00     0.00     278.90        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2416074   rent      12/1/2020     12/2020     278.90     0.00    0.00   278.90       0.00        0.00      278.90
 1688-nj                    Jose Pujols                             Current   C-2441803   rent      1/1/2021      01/2021     278.90   278.90    0.00     0.00       0.00        0.00      278.90
                            Jose Pujols                                                                                     4,462.40   278.90    0.00   278.90   3,904.60       0.00    4,462.40


 Jose Sangama (joss1688)
 1688-nj                    Jose Sangama                            Current   C-2194302   rent      10/1/2019     02/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2194303   rent      11/1/2019     02/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2194304   rent      12/1/2019     02/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2194305   rent      1/1/2020      02/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2199724   rent      2/1/2020      02/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2203268   rent      3/1/2020      03/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2202687   rent      4/1/2020      04/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2230407   rent      5/1/2020      05/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2259534   rent      6/1/2020      06/2020     349.81     0.00    0.00     0.00     349.81        0.00      349.81
 1688-nj                    Jose Sangama                            Current   C-2286774   rent      7/1/2020      07/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2323084   rent      8/1/2020      08/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2338253   rent      9/1/2020      09/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2363431   rent      10/1/2020     10/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2393685   rent      11/1/2020     11/2020       8.85     0.00    0.00     0.00       8.85        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2416077   rent      12/1/2020     12/2020       8.85     0.00    0.00     8.85       0.00        0.00        8.85
 1688-nj                    Jose Sangama                            Current   C-2441806   rent      1/1/2021      01/2021       8.85     8.85    0.00     0.00       0.00        0.00        8.85
                            Jose Sangama                                                                                     482.56      8.85    0.00     8.85    464.86        0.00      482.56


 July Paulino and Andres Leon (july1688)
 1688-nj                    July Paulino and Andres Leon            Current   R-1219769   Prepay    12/10/2020    12/2020       0.00     0.00    0.00     0.00       0.00     -853.85     -853.85
 1688-nj                    July Paulino and Andres Leon            Current   R-1234875   Prepay    1/20/2021     01/2021       0.00     0.00    0.00     0.00       0.00     -853.85     -853.85
                            July Paulino and Andres Leon                                                                       0.00      0.00    0.00     0.00      0.00    -1,707.70   -1,707.70


 Latifa Elmoutahir (lati1688)
 1688-nj                    Latifa Elmoutahir                       Current   C-2202685   rent      4/1/2020      04/2020     806.04     0.00    0.00     0.00     806.04        0.00      806.04
 1688-nj                    Latifa Elmoutahir                       Current   C-2230405   rent      5/1/2020      05/2020     806.04     0.00    0.00     0.00     806.04        0.00      806.04
 1688-nj                    Latifa Elmoutahir                       Current   C-2259532   rent      6/1/2020      06/2020     806.04     0.00    0.00     0.00     806.04        0.00      806.04
 1688-nj                    Latifa Elmoutahir                       Current   C-2338251   rent      9/1/2020      09/2020     806.04     0.00    0.00     0.00     806.04        0.00      806.04
 1688-nj                    Latifa Elmoutahir                       Current   C-2363429   rent      10/1/2020     10/2020     806.04     0.00    0.00     0.00     806.04        0.00      806.04
 1688-nj                    Latifa Elmoutahir                       Current   C-2393683   rent      11/1/2020     11/2020     806.04     0.00    0.00     0.00     806.04        0.00      806.04
 1688-nj                    Latifa Elmoutahir                       Current   C-2416075   rent      12/1/2020     12/2020     806.04     0.00    0.00   806.04       0.00        0.00      806.04



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                                                                                                                                                                                       2/4/2021 10:40 AM

 Aging Detail
 DB Caption: USA LIVE 7s Property: 1688-nj        Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
 Property        Customer     Lease                                   Status    Tran#       Charge    Date          Month      Current       0-30    31-60     61-90        Over        Pre-        Total
                                                                                            Code                                 Owed       Owed     Owed      Owed     90 Owed     payments       Owed
 1688-nj                      Latifa Elmoutahir                       Current   C-2441804   rent      1/1/2021      01/2021      806.04     806.04    0.00       0.00        0.00        0.00      806.04
                              Latifa Elmoutahir                                                                                6,448.32    806.04     0.00    806.04     4,836.24       0.00     6,448.32


 Vivian Salgado (salg1688)
 1688-nj                      Vivian Salgado                          Current   C-2441810   rent      1/1/2021      01/2021      850.00     850.00    0.00       0.00        0.00        0.00      850.00
                              Vivian Salgado                                                                                    850.00     850.00     0.00      0.00        0.00        0.00      850.00


 William Martinez (will1688)
 1688-nj                      William Martinez                        Current   R-1157777   Prepay    7/14/2020     07/2020        0.00       0.00    0.00       0.00        0.00     -490.85     -490.85
 1688-nj                      William Martinez                        Current   R-1231953   Prepay    1/12/2021     01/2021        0.00       0.00    0.00       0.00        0.00     -363.00     -363.00
                              William Martinez                                                                                    0.00       0.00     0.00      0.00        0.00     -853.85     -853.85


 William Polanco (pala1688)
 1688-nj                      William Polanco                         Current   C-2323088   rent      8/1/2020      08/2020      338.22       0.00    0.00       0.00      338.22        0.00      338.22
                              William Polanco                                                                                   338.22       0.00     0.00      0.00      338.22        0.00      338.22


 1688-nj                                                                                                                      40,117.36   4,372.58    0.00   3,522.58   32,222.20   -2,940.83   37,176.53


 Grand Total                                                                                                                  40,117.36   4,372.58    0.00   3,522.58   32,222.20   -2,940.83   37,176.53


 UserId : kirstencole Date : 2/4/2021 Time : 10:39 AM




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                                                                                                                                                                                                                                                                                         2/4/2021 10:54 AM


                                                                                                                               Payables Aging Report
                                                                                                                                              1688-nj
                                                                                                                                           Period: 01/2021
                                                                                                                                         As of : 01/31/2021
 Payee Payee Name                              Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date     Post Month                  Account                  Invoice #         Base      Current    0-30     31-60 61-90      Over     Future Notes
  Code                                                                                                                                                                                         Currency   Owed       Owed     Owed     Owed     90      Invoice
                                                                                                                                                                                                                                               Owed
 coll666a COLLIERS INT'L HOLDINGS (coll666a)                                                                                                                                                                                                               0.00
                                                           P-1901255   651939     1688-nj     10/25/2020                  10-2020     5810-0000 Management Compensation      1688pr102520                   223.10     0.00     0.00    0.00   223.10      0.00 Reimb Payroll 09/14-10/25/2020
Total coll666a                                                                                                                                                                                            223.10      0.00     0.00     0.00 223.10        0.00


 sillone SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                        0.00
                                                           P-1944590   655429     1688-nj     1/12/2021     1/12/2021     01-2021     7914-0000 Legal Fees                     1789314                      518.50   518.50     0.00    0.00     0.00      0.00 legal services through 12/31/20
Total sillone                                                                                                                                                                                             518.50 518.50        0.00     0.00    0.00       0.00


 veri408 Verizon Wireless                                                                                                                                                                                                                                  0.00
                                                           P-1899023   651722     1688-nj     10/12/2020    10/12/2020    10-2020     5845-0000 Telephone                    9864802987                      18.06     0.00     0.00    0.00    18.06      0.00 9/13-10/12/20 - Cell Phones
                                                           P-1943424   655301     1688-nj     1/12/2021     1/12/2021     01-2021     5845-0000 Telephone                 4423057200001/0121                 22.98    22.98     0.00    0.00     0.00      0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                               41.04    22.98     0.00     0.00   18.06       0.00


Grand Total                                                                                                                                                                                               782.64 541.48        0.00     0.00 241.16        0.00




                                                                                                                                                   Page 1 of 1
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                       Rent Roll                                                                                                                            Page:
                                                                                                                                                            Date:
                                                                                                                                                                     1
                                                                                                                                                                     02/04/2021
                       2817 Palisade Ave (1688-nj)                                                                                                          Time:    11:02 am
                       January 2021


                                                                                                        Current                       Base Rent Inc.
                                        Square                                Security              Monthly Charges                   CPI or Step Up
  Suite No.   Tenant Name                Feet             Term                Deposit    Chg Code       Amount        Amount PSF     Date       Rate                Comments

APT1          William Polanco               200        10/1/19 to              $0.00     rent             842.00             4.21   11/1/20       $842.00
                                                  Original Lease 10/1/19 to




APT10         Latifa Elmoutahir             225        10/1/19 to              $0.00     rent             806.04             3.58   10/1/19       $806.04
                                                  Original Lease 10/1/19 to




APT11         Georgeth Rojas                500        10/1/19 to              $0.00     rent            1,350.00            2.70   10/1/19     $1,350.00
                                                  Original Lease 10/1/19 to




APT12         Amy Marquez                   225        10/1/19 to              $0.00     rent             766.31             3.41   10/1/19       $766.31
                                                  Original Lease 10/1/19 to




APT13         William Martinez              225        10/1/19 to              $0.00     rent             363.00             1.61   10/1/19       $363.00
                                                  Original Lease 10/1/19 to




APT3          Super                         225        10/1/19 to              $0.00                                         0.00
                                                  Original Lease 10/1/19 to




APT4          Jose Pujols                   225        10/1/19 to              $0.00     rent            1,263.19            5.61   10/1/19     $1,263.19
                                                  Original Lease 10/1/19 to




APT5          Hector Vega                   500        10/1/19 to              $0.00     rent            1,009.90            2.02   10/1/19     $1,009.90
                                                  Original Lease 10/1/19 to




APT6          Vivian Salgado                225        10/1/19 to              $0.00     rent             850.00             3.78   10/1/19       $850.00
                                                  Original Lease 10/1/19 to




APT7          Jose Sangama                  225        10/1/19 to              $0.00     rent             349.81             1.55   10/1/19       $349.81
                                                  Original Lease 10/1/19 to




APT8          Erica Rodriguez               500        10/1/19 to              $0.00     rent            1,006.48            2.01   10/1/19     $1,006.48
                                                  Original Lease 10/1/19 to
                                Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 245 of 274 PageID: 4415
                          Rent Roll                                                                                                                                         Page:
                                                                                                                                                                            Date:
                                                                                                                                                                                     2
                                                                                                                                                                                     02/04/2021
                          2817 Palisade Ave (1688-nj)                                                                                                                       Time:    11:02 am
                          January 2021


                                                                                                                       Current                        Base Rent Inc.
                                           Square                                     Security                     Monthly Charges                    CPI or Step Up
    Suite No.    Tenant Name                Feet                  Term                Deposit    Chg Code              Amount         Amount PSF     Date       Rate                Comments

 APT9            Arana Belgica                 225             10/1/19 to              $0.00     rent                    1,094.13            4.86   10/1/19     $1,094.13
                                                          Original Lease 10/1/19 to




 APT2            VACANT                             0                                                                                        0.00




Totals for 2817 Palisade Ave:                 3,500                                    $0.00
                                                                                                        Current Monthly Charges
                Vacant:                             0    0.00%                                   rent                      9,700.86

                Occupied:                     3,500     100.00%
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                                         2817 Palisade Avenue Operating                                                         2/4/2021


                                           Bank Reconcilation Report
                                                      01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                                           18,455.16
   Outstanding Checks

   Check Date               Check Number      Payee                                                         Amount
   12/30/2020                      256        city3715 - CITY OF UNION CITY                                 -225.00
   12/30/2020                      257        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.              -2,300.00
   12/30/2020                      258        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                  -65.60
   12/30/2020                      259        didi1100 - Di Dio Electric Inc.                               -799.69
   12/30/2020                      260        emco9815 - EMCOR Services Fluidics                          -2,187.40
   12/30/2020                      261        pseg1444 - PSE&G Co.                                          -135.21
   01/12/2021                      264        coop351 - Cooper Pest Solutions, Inc.                         -762.37
   01/12/2021                      265        veri408 - Verizon Wireless                                     -22.92
   01/26/2021                      267        coll1625 - COLLIERS INT'L HOLDINGS (USA), INC.              -2,300.00
   01/26/2021                      268        coll666a - COLLIERS INT'L HOLDINGS (coll666a)                  -65.60
   01/26/2021                      269        pseg1444 - PSE&G Co.                                          -178.04
   01/26/2021                      270        unit3718 - SUEZ Water                                         -180.23
   Less:              Outstanding Checks                                                                 -9,222.06
                      Reconciled Bank Balance                                                             9,233.10



   Balance per GL as of 01/31/2021                                                                        9,233.10
                      Reconciled Balance Per G/L                                                          9,233.10
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                0.00



   Cleared Items:


   Cleared Checks

   Date               Tran #                  Notes                                            Amount            Date Cleared
   12/08/2020                     254         didi1100 - Di Dio Electric Inc.                       1,039.59          01/31/2021
   01/06/2021                     262         coll666a - COLLIERS INT'L HOLDINGS (coll666a)             148.80        01/31/2021
   01/06/2021                     263         unit3718 - SUEZ Water                                     223.99        01/31/2021
   01/19/2021                     266         tolplu62 - TOLEDO PLUMBING & HEATING INC                  298.55        01/31/2021
   01/20/2021                  1202021        emco9815 - EMCOR Services Fluidics                    2,395.73          01/31/2021
   Total Cleared Checks                                                                            4,106.66
   Cleared Deposits

   Date               Tran #                  Notes                                            Amount            Date Cleared
   01/06/2021                     84                                                                3,101.46          01/31/2021
   01/08/2021                     85                                                                1,021.82          01/31/2021
   01/12/2021                     86                                                                    363.00        01/31/2021
   01/20/2021                     87                                                                2,545.85          01/31/2021
   01/27/2021                     88                                                                4,059.78          01/31/2021
   Total Cleared Deposits                                                                         11,091.91
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       2917 PALISADE VENTURES LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                         4Contact your Relationship Manager to discuss
                                                                                         targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $11,469.91             Number of Days in Cycle                                  29
5 Deposits/Credits                                        $11,091.91             Minimum Balance This Cycle                       $11,469.91
5 Checks/Debits                                           ($4,106.66)            Average Collected Balance                        $14,360.11
Service Charges                                                 $0.00
Ending Balance 01/29/21                                   $18,455.16

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021                  - JANUARY 29, 2021


Date       Description                                                     Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/06      Customer Deposit                                                        $3,101.46                                        $14,571.37
01/06      Check      254                                                                                   $1,039.59               $13,531.78
01/08      Customer Deposit                                                        $1,021.82                                        $14,553.60
01/11      Check      262                                                                                     $148.80               $14,404.80
01/12      Customer Deposit                                                         $363.00                                         $14,767.80
01/15      Check      263                                                                                     $223.99               $14,543.81
01/20      Customer Deposit                                                        $2,545.85                                        $17,089.66
01/20      Wire transfer withdrawal Fluidics Inc                                                            $2,395.73               $14,693.93

01/27      Customer Deposit                                                        $4,059.78                                        $18,753.71
01/29      Check     266                                                                                      $298.55               $18,455.16
Total                                                                            $11,091.91                 $4,106.66



            * designates gap in check sequence
Check No.         Date                   Amount          Check No.      Date            Amount      Check No.      Date                Amount
254               01/06                $1,039.59         263            01/15           $223.99     266*           01/29              $298.55
262*              01/11                  $148.80



                                                          Thank you for banking with us.                                         PAGE 1 OF 2

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                                                                             PAGE 2 OF 2



                                                                        PSI: 1 / SHC: 0 / LOB :C
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                                            2917 Palisade Sec Dep                       2/4/2021


                                         Bank Reconcilation Report
                                                   01/31/2021




   Balance Per Bank Statement as of 01/31/2021                                   0.00
                     Reconciled Bank Balance                                     0.00



   Balance per GL as of 01/31/2021                                               0.00
                      Reconciled Balance Per G/L                                 0.00
   Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)   0.00
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       2917 PALISADE VENTURES LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                       4Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                         $0.00        Number of Days in Cycle                                    29
0 Deposits/Credits                                                $0.00        Minimum Balance This Cycle                              $0.00
Interest Paid                                                     $0.00        Average Collected Balance                               $0.00
0 Checks/Debits                                                   $0.00        Interest Earned During this Cycle                       $0.00
Service Charges                                                   $0.00        Interest Paid Year-To-Date                              $0.00
Ending Balance 01/29/21                                           $0.00        Annual Percentage Yield                                0.00%
                                                                               (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021               - JANUARY 29, 2021


Date       Description                                                    Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/01                                                                                                                                     $0.00


           No Account Activity this Statement Period

01/29                                                                                                                                     $0.00

Total                                                                                $0.00                      $0.00
No Items Processed




                                                          Thank you for banking with us.                                        PAGE 1 OF 2

Products and services are offered by Capital One, N.A., Member FDIC.
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  190 Ackerman Avenue, 286 Parker Avenue, 77
  Randolph Avenue
  Clifton DL Ventures LLC

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  &LYLO$FWLRQ1RFY 0&$  /':
  January 2021




  PREPARED BY:
  Connor Noonan
  704-910-8460
  connor.noonan@colliers.com
Case 2:19-cv-19611-MCA-LDW Document 50-1 Filed 02/15/21 Page 253 of 274 PageID: 4423




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               1. Statement of Case
               2. Balance Sheet
               3. Income Statement
               4. Receipt Register
               5. Check Register
               6. Aged Receivables
               7. Accounts Payable Aging
               8. Rent Roll
               9. Bank Reconciliation and Statement
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    Portal Statement of the Case: In this action, Plaintiffs allege that Defendants engaged in a fraudulent
    scheme to induce Plaintiffs to invest and/or loan Defendant limited liability companies millions of dollars
    for the purchase of residential apartment buildings located throughout the State of New Jersey, as more
    particularly identified and described in the Schedule annexed to this Court’s Order appointing Colliers
    International NJ LLC to serve as the Receiver for the properties at issue. The corporate borrowers
    deferred maintenance and abandonment of their other management responsibilities for these
    properties resulted in profound and immediate issues for which this appointment was necessary. Due to
    an ongoing criminal investigation, the managing member for these entities (Seth Levine) refused to
    provide critical operating information or to otherwise assist with the Receiver’s assumption of the
    management responsibilities necessary to stabilize these assets at the time of its appointment. This
    Inventory and Report is provided pursuant to the Court’s Order.
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                                                                                                     190 Ackerman 286 Parker 77 Randolph Ave's (1701-nj)

                                                                                                                 Receipt Register
                                                                                                                    For Period = Jan 2021
Control     Batch      Period        Date                             Person                                                 Property                       Cash Acct           Account            Recovery   Amount      Reference         Check #   Notes
R-1229256 467827    01/2021     1/7/2021    Nancy McShane(mcsh1701)                                    190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          877.91                2138


R-1229260 467827    01/2021     1/7/2021    Elizabeth Gutierrez & Sergio O. Ceballos(guti1701)         190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          145.00                108347588459


R-1229262 467827    01/2021     1/7/2021    Elizabeth Gutierrez & Sergio O. Ceballos(guti1701)         190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          750.00                108347588448


R-1229269 467827    01/2021     1/7/2021    Elizabeth Gutierrez & Sergio O. Ceballos(guti1701)         190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          750.00                108347588426


R-1229272 467827    01/2021     1/7/2021    Elizabeth Gutierrez & Sergio O. Ceballos(guti1701)         190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          145.00                108347588437


R-1229275 467827    01/2021     1/7/2021    Reggie Brown & Josefina Ortiz(brow1701)                    190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                        1,033.35                698719750


R-1231194 468472    01/2021     1/11/2021   Beatriz Chahua(chah1701)                                   190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                        1,000.00                4998


R-1231213 468480    01/2021     1/11/2021   Benito Vasquez & Maria Gutierrez(vasq1701)                 190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                        1,200.00                122


R-1231819 468721    01/2021     1/12/2021   Maria Falcan(mari1701)                                     190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          807.20                659
                                                                                                       190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4006-0000 Prepaid Income                 24.22                659


R-1231820 468721    01/2021     1/12/2021   Rudolf Corny & Jakub Hierman (corn1701)                    190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          803.08                193


R-1231821 468721    01/2021     1/12/2021   Felipe Martinez & Marie Ruiz (mart1701)                    190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          950.60                26567343494


R-1235252 469954    01/2021     1/21/2021   Pepe Appliance-Apt(pep1701)                                190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                        1,236.00                230
                                                                                                       190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4006-0000 Prepaid Income                 37.08                230


R-1235253 469954    01/2021     1/21/2021   Pepe Appliances, Storage(berm1701)                         190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4006-0000 Prepaid Income                 50.00                229
                                                                                                       190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          650.00                229


R-1235255 469954    01/2021     1/21/2021   Alicia Ponce & Abel Cavero(alic1701)                       190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                        1,015.00                112


R-1235256 469954    01/2021     1/21/2021   Melvin Lopez(falc1701)                                     190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          950.85                1066
                                                                                                       190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          941.15                1066


R-1235257 469954    01/2021     1/21/2021   Ismari Rojas (roja1701)                                    190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          994.15                1105


R-1235258 469954    01/2021     1/21/2021   Evaristo Rodriguez(rodr1701)                               190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                        1,002.17                1262


R-1235259 469954    01/2021     1/21/2021   Vianey Perez(pier1701)                                     190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          750.00                108826081595


R-1235260 469954    01/2021     1/21/2021   Vianey Perez(pier1701)                                     190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          261.18                108826081606


R-1240658           01/2021     1/12/2021   Benito Vasquez & Maria Gutierrez(vasq1701)                 190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                        -1,200.00               122


R-1240684           01/2021     1/22/2021   Melvin Lopez(falc1701)                                     190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                         -950.85                1066
                                                                                                       190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                         -941.15                1066


R-1240705 472171    01/2021     1/27/2021   BB&C Travel Multiservices LLC, Alicia Ponce (bbct1701)     190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                          800.00                1207


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                                                                                        190 Ackerman 286 Parker 77 Randolph Ave's (1701-nj)

                                                                                                    Receipt Register
                                                                                                       For Period = Jan 2021
Control    Batch      Period        Date                          Person                                        Property                       Cash Acct           Account   Recovery   Amount     Reference         Check #   Notes


R-1240706 472171   01/2021     1/27/2021   Benito Vasquez & Maria Gutierrez(vasq1701)     190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent               1,200.00               119


R-1240708 472171   01/2021     1/27/2021   Barbina Peralta & Jose Adames(pera1701)        190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent                 700.00               126


R-1240710 472171   01/2021     1/27/2021   Mariel Gonzalez(gonz1701)                      190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent               1,100.00               6776402618


R-1240711 472171   01/2021     1/27/2021   Mariel Gonzalez(gonz1701)                      190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)   1020-0000   4110-0000 Rent               1,100.00               6776402632
                                                                                                                                                                                 Total 18,181.94




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                                                                                                                              190 Ackerman 286 Parker 77 Randolph Ave's (1701-nj)

                                                                                                                                           Check Register
                                                                                                                                             For Period = Jan 2021
Control     Batch      Period      Date                           Person                                           Property                                             Account                 Recovery     Amount        Reference                                      Notes
K-1379510 277954    01/2021     1/6/2021   COLLIERS INT'L HOLDINGS (coll666a) (coll666a)    190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5810-0000 Management Compensation                            148.80 318


K-1379511 277954    01/2021     1/6/2021   Passaic Valley Water Commission (pass1139)       190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5215-0000 Water                                              831.71 319            8/19-11/16/20 -WATER- 290 Parker


K-1379512 277954    01/2021     1/6/2021   PSE&G Co. (pseg1444)                             190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5205-0000 Electricity                                         55.51 320            ELECTRICITY CHARGES FOR 190 ACKERMAN AVE HS 11/03/20-12/03/20


K-1379513 277954    01/2021     1/6/2021   PSE&G Co. (pseg1444)                             190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5205-0000 Electricity                                        104.90 321            ELECTRICITY CHARGES FOR 288 PARKER AVE HSE 11/03/20-12/03/20


K-1382103 278526    01/2021     1/12/2021 CITY OF CLIFTON (citcli9)                         190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5220-0000 Sewer                                             2,718.22 322           9/10/20 - SEWER 2nd half - 286 PARKER AVE


K-1382104 278526    01/2021     1/12/2021 EMCOR Services Fluidics (emco9815)                190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5255-0000 Engineering Compensation                          2,325.11 323           11/2020 -Engineerg Comp- 190 Ackerman


K-1382105 278526    01/2021     1/12/2021 EMCOR Services Fluidics (emco9815)                190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5655-0000 General Building Expense                           975.15 324            11/2020 - Gen Bldg Expp - 190 Ackerman


K-1382106 278526    01/2021     1/12/2021 Verizon Wireless (veri408)                        190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5845-0000 Telephone                                           22.92 325            12/13/20-01/12/21 - CELL PHONE SVC


K-1383845           01/2021     1/14/2021 Passaic Valley Water Commission (pass1139)        190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5215-0000 Water                                              -831.71 319           8/19-11/16/20 -WATER- 290 Parker


K-1383922           01/2021     1/14/2021 Passaic Valley Water Commission (pass1139)        190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5215-0000 Water                                              -939.23 277           WATER CHARGES FOR 290 PARKER AVE


K-1385060 279295    01/2021     1/20/2021 EMCOR Services Fluidics (emco9815)                190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5255-0000 Engineering Compensation                          2,546.55 1202021       12/2020 - Engineering Comp - 190 Ackerman


K-1386092 279507    01/2021     1/21/2021 Passaic Valley Water Commission (pass1139)        190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5215-0000 Water                                              939.23 326            WATER CHARGES FOR 290 PARKER AVE


K-1386093 279507    01/2021     1/21/2021 Passaic Valley Water Commission (pass1139)        190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5215-0000 Water                                              831.71 327            8/19-11/16/20 -WATER- 290 Parker


K-1389241 280232    01/2021     1/29/2021 COLLIERS INT'L HOLDINGS (USA), INC. (coll1625)    190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5805-0000 Management Fees                                   3,500.00 328           01.21 Management Fee


K-1389242 280232    01/2021     1/29/2021 COLLIERS INT'L HOLDINGS (coll666a) (coll666a)     190 Ackerman 286 Parker 77 Randolph Ave's(1701-nj)      5895-0000 Miscellaneous Operating Expense                     65.60 329
                                                                                                                                                                                                     Total     13,294.47




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Aging Detail
DB Caption: USA LIVE 7s Property: 1701-nj    Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property       Customer     Lease                                                 Status    Tran#        Charge     Date        Month       Current       0-30     31-60     61-90         Over         Pre-       Total
                                                                                                         Code                                Owed        Owed      Owed      Owed       90 Owed     payments      Owed
190 Ackerman 286 Parker 77 Randolph Ave's (1701-nj)
Barbina Peralta & Jose Adames (pera1701)
1701-nj                     Barbina Peralta & Jose Adames                         Current   C-2416403    rent       12/1/2020   12/2020      700.00        0.00     0.00     700.00         0.00        0.00      700.00
                            Barbina Peralta & Jose Adames                                                                                   700.00         0.00     0.00    700.00          0.00        0.00     700.00


BB&C Travel Multiservices LLC, Alicia Ponce (bbct1701)
1701-nj                     BB&C Travel Multiservices LLC, Alicia Ponce           Current   C-2197609    rent       2/1/2020    02/2020      800.00        0.00     0.00       0.00       800.00        0.00      800.00
                            BB&C Travel Multiservices LLC, Alicia Ponce                                                                     800.00         0.00     0.00       0.00      800.00         0.00     800.00


Beatriz Chahua (chah1701)
1701-nj                     Beatriz Chahua                                        Current   C-2197595    rent       10/1/2019   02/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2197596    rent       11/1/2019   02/2020     1,013.77       0.00     0.00       0.00      1,013.77       0.00     1,013.77
1701-nj                     Beatriz Chahua                                        Current   C-2197597    rent       12/1/2019   02/2020     1,013.77       0.00     0.00       0.00      1,013.77       0.00     1,013.77
1701-nj                     Beatriz Chahua                                        Current   C-2197598    rent       1/1/2020    02/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2197599    rent       2/1/2020    02/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2203471    rent       3/1/2020    03/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2202892    rent       4/1/2020    04/2020     1,013.77       0.00     0.00       0.00      1,013.77       0.00     1,013.77
1701-nj                     Beatriz Chahua                                        Current   C-2230217    rent       5/1/2020    05/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2259305    rent       6/1/2020    06/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2287060    rent       7/1/2020    07/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2323343    rent       8/1/2020    08/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2338559    rent       9/1/2020    09/2020     1,013.77       0.00     0.00       0.00      1,013.77       0.00     1,013.77
1701-nj                     Beatriz Chahua                                        Current   C-2363176    rent       10/1/2020   10/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2392828    rent       11/1/2020   11/2020       13.77        0.00     0.00       0.00        13.77        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2416398    rent       12/1/2020   12/2020       13.77        0.00     0.00      13.77         0.00        0.00       13.77
1701-nj                     Beatriz Chahua                                        Current   C-2446688    rent       1/1/2021    01/2021       13.77       13.77     0.00       0.00         0.00        0.00       13.77
                            Beatriz Chahua                                                                                                 4,220.32      13.77      0.00     13.77      4,192.78        0.00    4,220.32


Benito Vasquez & Maria Gutierrez (vasq1701)
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2197675    rent       10/1/2019   02/2020     1,200.00       0.00     0.00       0.00      1,200.00       0.00     1,200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2197676    rent       11/1/2019   02/2020      200.00        0.00     0.00       0.00       200.00        0.00      200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2197677    rent       12/1/2019   02/2020      200.00        0.00     0.00       0.00       200.00        0.00      200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2197678    rent       1/1/2020    02/2020      200.00        0.00     0.00       0.00       200.00        0.00      200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2197679    rent       2/1/2020    02/2020     1,200.00       0.00     0.00       0.00      1,200.00       0.00     1,200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2203478    rent       3/1/2020    03/2020     1,200.00       0.00     0.00       0.00      1,200.00       0.00     1,200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2202899    rent       4/1/2020    04/2020     1,200.00       0.00     0.00       0.00      1,200.00       0.00     1,200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2230224    rent       5/1/2020    05/2020     1,200.00       0.00     0.00       0.00      1,200.00       0.00     1,200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2287067    rent       7/1/2020    07/2020      200.00        0.00     0.00       0.00       200.00        0.00      200.00
1701-nj                     Benito Vasquez & Maria Gutierrez                      Current   C-2416405    rent       12/1/2020   12/2020     1,200.00       0.00     0.00    1,200.00        0.00        0.00     1,200.00
                            Benito Vasquez & Maria Gutierrez                                                                               8,000.00        0.00     0.00   1,200.00     6,800.00        0.00    8,000.00


Carola Guerrero & Milko Alcalde (guer1701)
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2197565    rent       10/1/2019   02/2020     1,160.53       0.00     0.00       0.00      1,160.53       0.00     1,160.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2197566    rent       11/1/2019   02/2020       34.53        0.00     0.00       0.00        34.53        0.00       34.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2197567    rent       12/1/2019   02/2020     1,160.53       0.00     0.00       0.00      1,160.53       0.00     1,160.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2197568    rent       1/1/2020    02/2020       33.75        0.00     0.00       0.00        33.75        0.00       33.75
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2197569    rent       2/1/2020    02/2020       34.53        0.00     0.00       0.00        34.53        0.00       34.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2203475    rent       3/1/2020    03/2020       96.71        0.00     0.00       0.00        96.71        0.00       96.71
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2202896    rent       4/1/2020    04/2020       96.71        0.00     0.00       0.00        96.71        0.00       96.71
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2230221    rent       5/1/2020    05/2020       96.71        0.00     0.00       0.00        96.71        0.00       96.71
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2259309    rent       6/1/2020    06/2020       96.71        0.00     0.00       0.00        96.71        0.00       96.71
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2312414    rent       3/1/2020    07/2020     1,063.82       0.00     0.00       0.00      1,063.82       0.00     1,063.82
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2312415    rent       4/1/2020    07/2020     1,063.82       0.00     0.00       0.00      1,063.82       0.00     1,063.82
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2312416    rent       5/1/2020    07/2020     1,063.82       0.00     0.00       0.00      1,063.82       0.00     1,063.82
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2312417    rent       6/1/2020    07/2020     1,063.82       0.00     0.00       0.00      1,063.82       0.00     1,063.82
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2287064    rent       7/1/2020    07/2020       96.71        0.00     0.00       0.00        96.71        0.00       96.71
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2312418    rent       7/1/2020    07/2020     1,063.82       0.00     0.00       0.00      1,063.82       0.00     1,063.82
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2323347    rent       8/1/2020    08/2020     1,160.53       0.00     0.00       0.00      1,160.53       0.00     1,160.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2338563    rent       9/1/2020    09/2020        0.53        0.00     0.00       0.00         0.53        0.00        0.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2363180    rent       10/1/2020   10/2020     1,160.53       0.00     0.00       0.00      1,160.53       0.00     1,160.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2392832    rent       11/1/2020   11/2020     1,160.53       0.00     0.00       0.00      1,160.53       0.00     1,160.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2416402    rent       12/1/2020   12/2020     1,160.53       0.00     0.00    1,160.53        0.00        0.00     1,160.53
1701-nj                     Carola Guerrero & Milko Alcalde                       Current   C-2446692    rent       1/1/2021    01/2021     1,160.53    1,160.53    0.00       0.00         0.00        0.00     1,160.53
                            Carola Guerrero & Milko Alcalde                                                                               14,029.70    1,160.53     0.00   1,160.53    11,708.64        0.00   14,029.70


Clinton Jones (jone1701)
1701-nj                     Clinton Jones                                         Current   C-2338546    subsidre   9/1/2020    09/2020      922.61        0.00     0.00       0.00       922.61        0.00      922.61
1701-nj                     Clinton Jones                                         Current   C-2363163    subsidre   10/1/2020   10/2020      922.61        0.00     0.00       0.00       922.61        0.00      922.61
1701-nj                     Clinton Jones                                         Current   C-2392815    subsidre   11/1/2020   11/2020      922.61        0.00     0.00       0.00       922.61        0.00      922.61
1701-nj                     Clinton Jones                                         Current   C-2416385    subsidre   12/1/2020   12/2020      922.61        0.00     0.00     922.61         0.00        0.00      922.61
1701-nj                     Clinton Jones                                         Current   C-2446675    subsidre   1/1/2021    01/2021      922.61      922.61     0.00       0.00         0.00        0.00      922.61
                            Clinton Jones                                                                                                  4,613.05     922.61      0.00    922.61      2,767.83        0.00    4,613.05


Elizabeth Gutierrez & Sergio O. Ceballos (guti1701)
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos              Current   C-2197670    rent       10/1/2019   02/2020        1.39        0.00     0.00       0.00         1.39        0.00        1.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos              Current   C-2197671    rent       11/1/2019   02/2020        1.39        0.00     0.00       0.00         1.39        0.00        1.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos              Current   C-2197672    rent       12/1/2019   02/2020       11.39        0.00     0.00       0.00        11.39        0.00       11.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos              Current   C-2197673    rent       1/1/2020    02/2020       11.39        0.00     0.00       0.00        11.39        0.00       11.39


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Aging Detail
DB Caption: USA LIVE 7s Property: 1701-nj     Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property       Customer     Lease                                                  Status    Tran#        Charge     Date         Month       Current     0-30    31-60   61-90        Over         Pre-        Total
                                                                                                          Code                                 Owed       Owed    Owed     Owed     90 Owed     payments       Owed
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2197674    rent       2/1/2020     02/2020       11.39      0.00    0.00     0.00       11.39        0.00        11.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2203460    rent       3/1/2020     03/2020       11.39      0.00    0.00     0.00       11.39        0.00        11.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2202881    rent       4/1/2020     04/2020        6.39      0.00    0.00     0.00        6.39        0.00         6.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2230206    rent       5/1/2020     05/2020        1.39      0.00    0.00     0.00        1.39        0.00         1.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2259294    rent       6/1/2020     06/2020        1.39      0.00    0.00     0.00        1.39        0.00         1.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2287049    rent       7/1/2020     07/2020        1.39      0.00    0.00     0.00        1.39        0.00         1.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2323332    rent       8/1/2020     08/2020        1.39      0.00    0.00     0.00        1.39        0.00         1.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2338548    rent       9/1/2020     09/2020        1.39      0.00    0.00     0.00        1.39        0.00         1.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2363165    rent       10/1/2020    10/2020      896.39      0.00    0.00     0.00      896.39        0.00       896.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2392817    rent       11/1/2020    11/2020      896.39      0.00    0.00     0.00      896.39        0.00       896.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2416387    rent       12/1/2020    12/2020      896.39      0.00    0.00   896.39        0.00        0.00       896.39
1701-nj                     Elizabeth Gutierrez & Sergio O. Ceballos               Current   C-2446677    rent       1/1/2021     01/2021      896.39    896.39    0.00     0.00        0.00        0.00       896.39
                            Elizabeth Gutierrez & Sergio O. Ceballos                                                                         3,647.24    896.39    0.00   896.39    1,854.46        0.00     3,647.24


Geovanna Pauuelo & Kavthel Herrera (pauu1701)
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2197570    rent       10/1/2019    02/2020      966.87      0.00    0.00     0.00      966.87        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2197571    rent       11/1/2019    02/2020      966.87      0.00    0.00     0.00      966.87        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2197572    rent       12/1/2019    02/2020      966.87      0.00    0.00     0.00      966.87        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2197573    rent       1/1/2020     02/2020      966.87      0.00    0.00     0.00      966.87        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2197574    rent       2/1/2020     02/2020      966.87      0.00    0.00     0.00      966.87        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2203477    rent       3/1/2020     03/2020       80.57      0.00    0.00     0.00       80.57        0.00        80.57
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2202898    rent       4/1/2020     04/2020       80.57      0.00    0.00     0.00       80.57        0.00        80.57
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2230223    rent       5/1/2020     05/2020       80.57      0.00    0.00     0.00       80.57        0.00        80.57
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2259311    rent       6/1/2020     06/2020       80.57      0.00    0.00     0.00       80.57        0.00        80.57
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2325732    rent       3/1/2020     07/2020      886.30      0.00    0.00     0.00      886.30        0.00       886.30
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2325733    rent       4/1/2020     07/2020      886.30      0.00    0.00     0.00      886.30        0.00       886.30
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2325734    rent       5/1/2020     07/2020      886.30      0.00    0.00     0.00      886.30        0.00       886.30
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2325735    rent       6/1/2020     07/2020      886.30      0.00    0.00     0.00      886.30        0.00       886.30
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2287066    rent       7/1/2020     07/2020       80.57      0.00    0.00     0.00       80.57        0.00        80.57
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2325736    rent       7/1/2020     07/2020      886.30      0.00    0.00     0.00      886.30        0.00       886.30
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2323349    rent       8/1/2020     08/2020       80.57      0.00    0.00     0.00       80.57        0.00        80.57
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2325738    rent       8/1/2020     08/2020      886.30      0.00    0.00     0.00      886.30        0.00       886.30
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2338565    rent       9/1/2020     09/2020      966.87      0.00    0.00     0.00      966.87        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2363182    rent       10/1/2020    10/2020      966.87      0.00    0.00     0.00      966.87        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2392834    rent       11/1/2020    11/2020      966.87      0.00    0.00     0.00      966.87        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2416404    rent       12/1/2020    12/2020      966.87      0.00    0.00   966.87        0.00        0.00       966.87
1701-nj                     Geovanna Pauuelo & Kavthel Herrera                     Current   C-2446694    rent       1/1/2021     01/2021      966.87    966.87    0.00     0.00        0.00        0.00       966.87
                            Geovanna Pauuelo & Kavthel Herrera                                                                              15,469.92    966.87    0.00   966.87   13,536.18        0.00    15,469.92


Jimy Vargas & Myriam Acevedo (acee1701)
1701-nj                     Jimy Vargas & Myriam Acevedo                           Current   C-2446682    rent       1/1/2021     01/2021      785.08    785.08    0.00     0.00        0.00        0.00       785.08
                            Jimy Vargas & Myriam Acevedo                                                                                      785.08     785.08    0.00     0.00        0.00        0.00      785.08


Maria Falcan (mari1701)
1701-nj                     Maria Falcan                                           Current   R-1231819    Prepay     1/12/2021    01/2021        0.00      0.00    0.00     0.00        0.00       -24.22       -24.22
                            Maria Falcan                                                                                                         0.00      0.00    0.00     0.00        0.00      -24.22       -24.22


Mariel Gonzalez (gonz1701)
1701-nj                     Mariel Gonzalez                                        Current   C-2360182    rent       8/1/2020     09/2020       17.74      0.00    0.00     0.00       17.74        0.00        17.74
1701-nj                     Mariel Gonzalez                                        Current   C-2363185    rent       10/1/2020    10/2020     1,100.00     0.00    0.00     0.00     1,100.00       0.00      1,100.00
1701-nj                     Mariel Gonzalez                                        Current   C-2392837    rent       11/1/2020    11/2020     1,100.00     0.00    0.00     0.00     1,100.00       0.00      1,100.00
                            Mariel Gonzalez                                                                                                  2,217.74      0.00    0.00     0.00    2,217.74        0.00     2,217.74


Melvin Lopez (falc1701)
1701-nj                     Melvin Lopez                                           Current   R-1080207    Prepay     1/13/2020    01/2020        0.00      0.00    0.00     0.00        0.00        -0.10        -0.10
1701-nj                     Melvin Lopez                                           Current   R-1094461    Prepay     2/14/2020    02/2020        0.00      0.00    0.00     0.00        0.00        -0.15        -0.15
1701-nj                     Melvin Lopez                                           Current   R-1117815    Prepay     4/6/2020     04/2020        0.00      0.00    0.00     0.00        0.00        -1.15        -1.15
1701-nj                     Melvin Lopez                                           Current   R-1131212    Prepay     5/11/2020    05/2020        0.00      0.00    0.00     0.00        0.00        -1.15        -1.15
1701-nj                     Melvin Lopez                                           Current   R-1144223    Prepay     6/9/2020     06/2020        0.00      0.00    0.00     0.00        0.00        -1.15        -1.15
1701-nj                     Melvin Lopez                                           Current   R-1156447    Prepay     7/8/2020     07/2020        0.00      0.00    0.00     0.00        0.00        -1.15        -1.15
1701-nj                     Melvin Lopez                                           Current   R-1172110    Prepay     8/17/2020    08/2020        0.00      0.00    0.00     0.00        0.00        -1.15        -1.15
1701-nj                     Melvin Lopez                                           Current   R-1180708    Prepay     9/9/2020     09/2020        0.00      0.00    0.00     0.00        0.00        -1.15        -1.15
1701-nj                     Melvin Lopez                                           Current   C-2363179    rent       10/1/2020    10/2020      950.85      0.00    0.00     0.00      950.85        0.00       950.85
1701-nj                     Melvin Lopez                                           Current   R-1195010    Prepay     10/8/2020    10/2020        0.00      0.00    0.00     0.00        0.00        -1.15        -1.15
1701-nj                     Melvin Lopez                                           Current   R-1207442    Prepay     11/11/2020   11/2020        0.00      0.00    0.00     0.00        0.00        -1.15        -1.15
1701-nj                     Melvin Lopez                                           Current   C-2416401    rent       12/1/2020    12/2020      950.85      0.00    0.00   950.85        0.00        0.00       950.85
1701-nj                     Melvin Lopez                                           Current   C-2446691    rent       1/1/2021     01/2021      950.85    950.85    0.00     0.00        0.00        0.00       950.85
                            Melvin Lopez                                                                                                     2,852.55    950.85    0.00   950.85     950.85        -9.45     2,843.10


Miguel Cisneros Dlila Cisneros (migu1701)
1701-nj                     Miguel Cisneros Dlila Cisneros                         Current   C-2197594    rent       2/1/2020     02/2020     1,020.00     0.00    0.00     0.00     1,020.00       0.00      1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                         Current   C-2202885    rent       4/1/2020     04/2020     1,020.00     0.00    0.00     0.00     1,020.00       0.00      1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                         Current   C-2230210    rent       5/1/2020     05/2020     1,020.00     0.00    0.00     0.00     1,020.00       0.00      1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                         Current   C-2259298    rent       6/1/2020     06/2020     1,020.00     0.00    0.00     0.00     1,020.00       0.00      1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                         Current   C-2287053    rent       7/1/2020     07/2020     1,020.00     0.00    0.00     0.00     1,020.00       0.00      1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                         Current   C-2323336    rent       8/1/2020     08/2020     1,020.00     0.00    0.00     0.00     1,020.00       0.00      1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                         Current   C-2338552    rent       9/1/2020     09/2020     1,020.00     0.00    0.00     0.00     1,020.00       0.00      1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                         Current   C-2363169    rent       10/1/2020    10/2020     1,020.00     0.00    0.00     0.00     1,020.00       0.00      1,020.00


                                                                                                                 Page 2 of 3
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Aging Detail
DB Caption: USA LIVE 7s Property: 1701-nj    Status: Current, Past, Future Age As Of: 01/31/2021 Post To: 01/2021
Property       Customer     Lease                                                 Status    Tran#        Charge     Date         Month       Current       0-30     31-60     61-90         Over          Pre-       Total
                                                                                                         Code                                 Owed        Owed      Owed      Owed       90 Owed     payments       Owed
1701-nj                     Miguel Cisneros Dlila Cisneros                        Current   C-2392821    rent       11/1/2020    11/2020     1,020.00       0.00     0.00       0.00      1,020.00        0.00     1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                        Current   C-2416391    rent       12/1/2020    12/2020     1,020.00       0.00     0.00    1,020.00        0.00         0.00     1,020.00
1701-nj                     Miguel Cisneros Dlila Cisneros                        Current   C-2446681    rent       1/1/2021     01/2021     1,020.00    1,020.00    0.00       0.00         0.00         0.00     1,020.00
                            Miguel Cisneros Dlila Cisneros                                                                                 11,220.00    1,020.00     0.00   1,020.00     9,180.00        0.00    11,220.00


Pepe Appliance-Apt (pep1701)
1701-nj                     Pepe Appliance-Apt                                    Current   R-1125935    Prepay     4/30/2020    04/2020        0.00        0.00     0.00       0.00         0.00       -32.16       -32.16
1701-nj                     Pepe Appliance-Apt                                    Current   R-1135979    Prepay     5/22/2020    05/2020        0.00        0.00     0.00       0.00         0.00       -37.08       -37.08
1701-nj                     Pepe Appliance-Apt                                    Current   R-1146469    Prepay     6/15/2020    06/2020        0.00        0.00     0.00       0.00         0.00       -37.08       -37.08
1701-nj                     Pepe Appliance-Apt                                    Current   R-1161443    Prepay     7/27/2020    07/2020        0.00        0.00     0.00       0.00         0.00       -37.08       -37.08
1701-nj                     Pepe Appliance-Apt                                    Current   R-1169360    Prepay     8/12/2020    08/2020        0.00        0.00     0.00       0.00         0.00       -37.08       -37.08
1701-nj                     Pepe Appliance-Apt                                    Current   C-2338567    rent       9/1/2020     09/2020      586.00        0.00     0.00       0.00       586.00         0.00      586.00
1701-nj                     Pepe Appliance-Apt                                    Current   R-1195715    Prepay     10/13/2020   10/2020        0.00        0.00     0.00       0.00         0.00       -37.08       -37.08
1701-nj                     Pepe Appliance-Apt                                    Current   R-1207427    Prepay     11/11/2020   11/2020        0.00        0.00     0.00       0.00         0.00       -37.08       -37.08
1701-nj                     Pepe Appliance-Apt                                    Current   R-1221214    Prepay     12/15/2020   12/2020        0.00        0.00     0.00       0.00         0.00       -37.08       -37.08
1701-nj                     Pepe Appliance-Apt                                    Current   R-1235252    Prepay     1/21/2021    01/2021        0.00        0.00     0.00       0.00         0.00       -37.08       -37.08
                            Pepe Appliance-Apt                                                                                               586.00         0.00     0.00       0.00      586.00      -328.80      257.20


Pepe Appliances, Storage (berm1701)
1701-nj                     Pepe Appliances, Storage                              Current   R-1182811    Prepay     9/16/2020    09/2020        0.00        0.00     0.00       0.00         0.00      -623.08      -623.08
1701-nj                     Pepe Appliances, Storage                              Current   R-1235253    Prepay     1/21/2021    01/2021        0.00        0.00     0.00       0.00         0.00       -50.00       -50.00
                            Pepe Appliances, Storage                                                                                            0.00        0.00     0.00       0.00         0.00     -673.08      -673.08


Reggie Brown & Josefina Ortiz (brow1701)
1701-nj                     Reggie Brown & Josefina Ortiz                         Current   C-2446687    rent       1/1/2021     01/2021     1,033.35    1,033.35    0.00       0.00         0.00         0.00     1,033.35
                            Reggie Brown & Josefina Ortiz                                                                                   1,033.35    1,033.35     0.00       0.00         0.00        0.00     1,033.35


Rosanna Rivera (rive1701)
1701-nj                     Rosanna Rivera                                        Current   R-1053719    Prepay     10/18/2019   10/2019        0.00        0.00     0.00       0.00         0.00        -2.39        -2.39
1701-nj                     Rosanna Rivera                                        Current   R-1070114    Prepay     12/16/2019   12/2019        0.00        0.00     0.00       0.00         0.00        -4.78        -4.78
1701-nj                     Rosanna Rivera                                        Current   R-1080206    Prepay     1/13/2020    01/2020        0.00        0.00     0.00       0.00         0.00        -2.39        -2.39
1701-nj                     Rosanna Rivera                                        Current   R-1096236    Prepay     2/20/2020    02/2020        0.00        0.00     0.00       0.00         0.00        -2.71        -2.71
1701-nj                     Rosanna Rivera                                        Current   R-1109746    Prepay     3/17/2020    03/2020        0.00        0.00     0.00       0.00         0.00        -2.71        -2.71
1701-nj                     Rosanna Rivera                                        Current   R-1146465    Prepay     6/11/2020    06/2020        0.00        0.00     0.00       0.00         0.00        -2.71        -2.71
1701-nj                     Rosanna Rivera                                        Current   R-1146466    Prepay     6/11/2020    06/2020        0.00        0.00     0.00       0.00         0.00        -2.71        -2.71
1701-nj                     Rosanna Rivera                                        Current   R-1159721    Prepay     7/16/2020    07/2020        0.00        0.00     0.00       0.00         0.00        -2.71        -2.71
1701-nj                     Rosanna Rivera                                        Current   R-1159722    Prepay     7/16/2020    07/2020        0.00        0.00     0.00       0.00         0.00        -2.71        -2.71
1701-nj                     Rosanna Rivera                                        Current   C-2323340    rent       8/1/2020     08/2020      891.29        0.00     0.00       0.00       891.29         0.00      891.29
1701-nj                     Rosanna Rivera                                        Current   R-1188725    Prepay     9/30/2020    09/2020        0.00        0.00     0.00       0.00         0.00        -2.71        -2.71
1701-nj                     Rosanna Rivera                                        Current   C-2363173    rent       10/1/2020    10/2020      891.29        0.00     0.00       0.00       891.29         0.00      891.29
1701-nj                     Rosanna Rivera                                        Current   C-2392825    rent       11/1/2020    11/2020      891.29        0.00     0.00       0.00       891.29         0.00      891.29
1701-nj                     Rosanna Rivera                                        Current   C-2416395    rent       12/1/2020    12/2020      891.29        0.00     0.00     891.29         0.00         0.00      891.29
1701-nj                     Rosanna Rivera                                        Current   C-2446685    rent       1/1/2021     01/2021      891.29      891.29     0.00       0.00         0.00         0.00      891.29
                            Rosanna Rivera                                                                                                  4,456.45     891.29      0.00    891.29      2,673.87      -28.53     4,427.92


Simona De Leon & Reynaldo (simo1701)
1701-nj                     Simona De Leon & Reynaldo                             Current   R-1052570    Prepay     10/18/2019   10/2019        0.00        0.00     0.00       0.00         0.00       -29.00       -29.00
1701-nj                     Simona De Leon & Reynaldo                             Current   R-1052692    Prepay     10/29/2019   10/2019        0.00        0.00     0.00       0.00         0.00       -34.72       -34.72
1701-nj                     Simona De Leon & Reynaldo                             Current   R-1065497    Prepay     12/3/2019    12/2019        0.00        0.00     0.00       0.00         0.00       -49.00       -49.00
1701-nj                     Simona De Leon & Reynaldo                             Current   R-1065499    Prepay     12/3/2019    12/2019        0.00        0.00     0.00       0.00         0.00        -6.93        -6.93
1701-nj                     Simona De Leon & Reynaldo                             Current   R-1081179    Prepay     1/15/2020    01/2020        0.00        0.00     0.00       0.00         0.00       -49.00       -49.00
1701-nj                     Simona De Leon & Reynaldo                             Current   R-1081181    Prepay     1/15/2020    01/2020        0.00        0.00     0.00       0.00         0.00        -6.93        -6.93
1701-nj                     Simona De Leon & Reynaldo                             Current   R-1197813    Prepay     10/19/2020   10/2020        0.00        0.00     0.00       0.00         0.00       -22.51       -22.51
1701-nj                     Simona De Leon & Reynaldo                             Current   C-2392814    rent       11/1/2020    11/2020      993.07        0.00     0.00       0.00       993.07         0.00      993.07
1701-nj                     Simona De Leon & Reynaldo                             Current   C-2416384    rent       12/1/2020    12/2020      993.07        0.00     0.00     993.07         0.00         0.00      993.07
1701-nj                     Simona De Leon & Reynaldo                             Current   C-2446674    rent       1/1/2021     01/2021      993.07      993.07     0.00       0.00         0.00         0.00      993.07
                            Simona De Leon & Reynaldo                                                                                       2,979.21     993.07      0.00    993.07       993.07      -198.09     2,781.12


Vianey Perez (pier1701)
1701-nj                     Vianey Perez                                          Current   C-2197602    rent       12/1/2019    02/2020     1,009.72       0.00     0.00       0.00      1,009.72        0.00     1,009.72
1701-nj                     Vianey Perez                                          Current   C-2197604    rent       2/1/2020     02/2020     1,011.18       0.00     0.00       0.00      1,011.18        0.00     1,011.18
1701-nj                     Vianey Perez                                          Current   C-2203472    rent       3/1/2020     03/2020     1,011.18       0.00     0.00       0.00      1,011.18        0.00     1,011.18
1701-nj                     Vianey Perez                                          Current   C-2202893    rent       4/1/2020     04/2020     1,011.18       0.00     0.00       0.00      1,011.18        0.00     1,011.18
1701-nj                     Vianey Perez                                          Current   C-2230218    rent       5/1/2020     05/2020        0.18        0.00     0.00       0.00         0.18         0.00        0.18
                            Vianey Perez                                                                                                    4,043.44        0.00     0.00       0.00     4,043.44        0.00     4,043.44


1701-nj                                                                                                                                    81,654.05    9,633.81     0.00   9,715.38    62,304.86    -1,262.17   80,391.88


Grand Total                                                                                                                                81,654.05    9,633.81     0.00   9,715.38    62,304.86    -1,262.17   80,391.88


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                                                                                                                                                   Payables Aging Report
                                                                                                                                                               1701-nj
                                                                                                                                                           Period: 01/2021
                                                                                                                                                          As of : 01/31/2021
    Payee        Payee Name                   Doc Seq #   Control     Batch Id   Property   Invoice Date   Due Date Post Month          Account               Invoice #         Base    Current       0-30           31-60          61-90          Over          Future          Notes
     Code                                                                                                                                                                      Curren   Owed          Owed           Owed           Owed            90           Invoice
                                                                                                                                                                                                                                                   Owed
   pseg1444      PSE&G Co.                                                                                                                                                                                                                                                0.00
                                                          P-1944171   655390     1701-nj      1/7/2021     1/7/2021    01-2021   5205-0000 Electricity    7481634718/0121                    73.10           73.10           0.00           0.00          0.00            0.00 12/04-01/05/21 - ELECTRICITY - 190 Ackerman Ave HS
                                                          P-1944170   655390     1701-nj      1/7/2021     1/7/2021    01-2021   5205-0000 Electricity    7481635005/0121                   114.10       114.10              0.00           0.00          0.00            0.00 12/04-01/05/21 - ELECTRICITY - 288 Parker
Total pseg1444                                                                                                                                                                             187.20       187.20           0.00           0.00              0.00         0.00


     sillone     SILLS, CUMMIS & GROSS P.C.                                                                                                                                                                                                                               0.00
                                                          P-1944630   655436     1701-nj     1/12/2021     1/12/2021   01-2021   7905-0000 Legal              1789300                      1,563.57    1,563.57              0.00           0.00          0.00            0.00 12.20 Legal Services
Total sillone                                                                                                                                                                             1,563.57    1,563.57           0.00           0.00              0.00         0.00


    veri408      Verizon Wireless                                                                                                                                                                                                                                         0.00
                                                          P-1943424   655301     1701-nj     1/12/2021     1/12/2021   01-2021   5845-0000 Telephone     4423057200001/0121                  22.98           22.98           0.00           0.00          0.00            0.00 Cell Phone - 12/13/20-01/12/21
Total veri408                                                                                                                                                                                22.98       22.98           0.00           0.00              0.00         0.00


Grand Total                                                                                                                                                                               1,773.75    1,773.75           0.00           0.00              0.00         0.00




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       CLIFTON DL VENTURES LLC
       DISTRICT OF NEW JERSEY
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                    4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                 $20,470.35        Number of Days in Cycle                                  29
6 Deposits/Credits                                        $24,023.94        Minimum Balance This Cycle                       $19,670.66
12 Checks/Debits                                        ($15,507.07)        Average Collected Balance                        $25,834.56
Service Charges                                                $0.00
Ending Balance 01/29/21                                   $28,987.22

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021            - JANUARY 29, 2021


Date       Description                                                 Deposits/Credits    Withdrawals/Debits          Resulting Balance
01/05      Check      315                                                                                $799.69               $19,670.66
01/06      Customer Deposit                                                   $3,701.26                                        $23,371.92
01/07      Customer Deposit                                                   $1,000.00                                        $24,371.92
01/08      Customer Deposit                                                   $1,200.00                                        $25,571.92
01/11      Check      318                                                                                $148.80               $25,423.12
01/12      Customer Deposit                                                   $2,585.10                                        $28,008.22
01/12      Chargeback NSF 1st                 010821                                                   $1,200.00               $26,808.22
01/20      Customer Deposit                                                   $7,887.58                                        $34,695.80
01/20      Wire transfer withdrawal Fluidics Inc.                                                      $2,546.55               $32,149.25

01/20      Check     321                                                                                 $104.90               $32,044.35
01/20      Check     320                                                                                  $55.51               $31,988.84
01/22      Chargeback Altered/Fictitio                                                                 $1,892.00               $30,096.84
           012021
01/27      Customer Deposit                                                   $7,650.00                                        $37,746.84
01/27      Check      1                                                                                $2,718.22               $35,028.62
01/27      Check     322                                                                               $2,718.22               $32,310.40
01/27      Check     323                                                                               $2,325.11               $29,985.29
01/27      Check     324                                                                                 $975.15               $29,010.14



                                                          Thank you for banking with us.                                    PAGE 1 OF 2

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 ACCOUNT DETAIL              CONTINUED FOR PERIOD JANUARY 01, 2021              - JANUARY 29, 2021
 Date    Description                                         Deposits/Credits     Withdrawals/Debits           Resulting Balance
 01/28   Check        325                                                                         $22.92                $28,987.22
 Total                                                            $24,023.94                $15,507.07



         * designates gap in check sequence
 Check No.    Date                Amount      Check No.   Date           Amount       Check No.     Date                   Amount
 1            01/27             $2,718.22     320*        01/20            $55.51     323           01/27              $2,325.11
 315*         01/05               $799.69     321         01/20           $104.90     324           01/27                $975.15
 318*         01/11               $148.80     322         01/27         $2,718.22     325           01/28                 $22.92




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       CLIFTON DL VENTURES LLC
       DISTRICT OF NEW JERSEY-SECURITY DEPOSIT
       C/O COLLIERS INTERNATIONAL REMS US, LLC                                     4Contact your Relationship Manager to discuss
                                                                                      targeted solutions for your evolving business needs.
       AS RECEIVER
       2550 WEST TYVOLA ROAD, SUITE 300
       CHARLOTTE NC 28217




ACCOUNT SUMMARY                             FOR PERIOD JANUARY 01, 2021 - JANUARY 29, 2021



Previous Balance 12/31/20                                   $1,650.97        Number of Days in Cycle                                    29
0 Deposits/Credits                                              $0.00        Minimum Balance This Cycle                         $1,650.97
Interest Paid                                                   $0.28        Average Collected Balance                          $1,650.97
0 Checks/Debits                                                 $0.00        Interest Earned During this Cycle                       $0.28
Service Charges                                                 $0.00        Interest Paid Year-To-Date                              $0.28
Ending Balance 01/29/21                                     $1,651.25        Annual Percentage Yield                                0.20%
                                                                             (This Statement Period)

ACCOUNT DETAIL                     FOR PERIOD JANUARY 01, 2021             - JANUARY 29, 2021


Date       Description                                                  Deposits/Credits     Withdrawals/Debits          Resulting Balance
01/31      Interest paid                                                           $0.28                                           $1,651.25
Total                                                                              $0.28                      $0.00




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